Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24297 Page 1 of 314




                         EXHIBIT 26

                                                                                     000718
Case 2:15-cv-00201-SMJ      ECF No. 423   filed 01/29/20   PageID.24298 Page 2 of 314




Expert Report of Frank Gobas, Ph.D

Effect of Discharges of PCBs by the City
of Spokane on Concentrations of PCBs
in Fish of the Spokane River

City of Spokane v. Monsanto Co., et al.
No. 2:15‐CV‐0201‐SMJ




Prepared for:

Baron & Budd, PC

Dallas, TX




October 10, 2019




Report by Dr. Frank Gobas




                                                                                   i


                                                                                        000719
Case 2:15-cv-00201-SMJ                          ECF No. 423                  filed 01/29/20                PageID.24299 Page 3 of 314




TABLE OF CONTENTS
TABLE OF CONTENTS....................................................................................................................... II
LIST OF FIGURES .............................................................................................................................. 4
LIST OF TABLES ................................................................................................................................ 7
LIST OF ATTACHMENTS ................................................................................................................... 7
ACRONYMS ..................................................................................................................................... 8
1. QUALIFICATIONS ...................................................................................................................... 11
    1.1.     Education..................................................................................................................................... 11
    1.2.     Area of Research ......................................................................................................................... 11
    1.3.     Professional Experience & Scientific Publications ....................................................................... 11
    1.4.     Deposition and Trial Testimony in Past Four Years ..................................................................... 12
2. PROBLEM STATEMENT ............................................................................................................. 12
3. SUMMARY OF OPINIONS ......................................................................................................... 14
4. DATA & INFORMATION CONSULTED ....................................................................................... 15
5. BACKGROUND INFORMATION ................................................................................................. 16
    5.1.     The Spokane River ....................................................................................................................... 16
             5.1.1.        Geography .................................................................................................................... 16
             5.1.2.        Hydrology ..................................................................................................................... 19
             5.1.3.        Sediments ..................................................................................................................... 22
             5.1.4.        Fish and Aquatic Resources.......................................................................................... 22
    5.2.     PCBs ............................................................................................................................................. 29
             5.2.1.        What are PCBs? ............................................................................................................ 29
             5.2.2.        Physical and Chemical Properties of PCBs ................................................................... 30
             5.2.3.        Measuring PCBs............................................................................................................ 32
    5.3.     PCB Studies in the Spokane River................................................................................................ 33
    5.4.     Sources of PCBs to the Spokane River ........................................................................................ 36
             5.4.1.        Legacy PCB Source Areas ............................................................................................. 36
                           5.4.1.1        Contaminated Soils & Groundwater ............................................................. 36
                           5.4.1.2        River and Lake Sediment .............................................................................. 37
                           5.4.1.3        Other Sources Areas ..................................................................................... 37
             5.4.2.        Direct Delivery Mechanisms ........................................................................................ 37
    5.5.     Environmental Fate and Bioaccumulation of PCBs ..................................................................... 38
             5.5.1.        PCB Transport within the Spokane River ..................................................................... 38


                                                                                                                                                                ii


                                                                                                                                                                     000720
Case 2:15-cv-00201-SMJ                         ECF No. 423                  filed 01/29/20                PageID.24300 Page 4 of 314




            5.5.2.         PCB Bioaccumulation in Organisms ............................................................................. 39
6. DEVELOPMENT OF OPINIONS .................................................................................................. 41
    6.1.     Approach ..................................................................................................................................... 41
            6.1.1.         Relationship between PCB Inputs and Concentrations of PCBs in Water, Sediment and
                           Fish ............................................................................................................................... 41
            6.1.2.         Conceptual Model ........................................................................................................ 44
            6.1.3.         Time Period Scenarios .................................................................................................. 49
    6.2.     Methods ...................................................................................................................................... 51
            6.2.1.         Analysis I: Compilation and Analysis of PCB Discharge Rates into the Spokane River 51
            6.2.2.         Analysis II: Compilation and Analysis of Measured Concentrations of PCBs in Water,
                           Sediments and Fish of the Spokane River .................................................................... 54
            6.2.3.         Analysis III: Application of a Mass-Balance Approach to Assess the Effect of PCB
                           Discharges by the City of Spokane on Concentrations of PCBs in Fish of the Spokane
                           River ............................................................................................................................. 58
    6.3.     Results & Discussion .................................................................................................................... 60
            6.3.1.         Compilation and Analysis of PCB Discharge Rates into the Spokane River ................. 60
                           6.3.1.1       Baseline Time Period Analysis ...................................................................... 61
                           6.3.1.2       Intermediary (2012) Time Period Analysis ................................................... 61
                           6.3.1.3       Current (2018) Time Period Analysis ............................................................ 62
                           6.3.1.4       Expected Changes in Concentrations between Baseline, 2012 and Current 62
                           6.3.1.5       Future Predictions ........................................................................................ 63
            6.3.2.         Compilation and Analysis of Concentrations of PCBs in Water, Sediments and Fish of
                           the Spokane River ........................................................................................................ 75
                           6.3.2.1       Surface Water ............................................................................................... 75
                           6.3.2.2       Sediments ..................................................................................................... 79
                           6.3.2.3       Fish ................................................................................................................ 82
            6.3.3.         Assessment of Future Predicted Concentrations of PCBs in Water, Sediment and Fish
                           of the Spokane River as a Result of Treatment of the City of Spokane Facilities ........ 87
    6.4.     Conclusions ................................................................................................................................. 94
ATTACHMENTS .............................................................................................................................. 96
    Attachment A: Curriculum Vitae
    Attachment B: List of References
    Attachment C: Spokane River PCB Concentration Data Analysis: Technical Memorandum By Azimuth




                                                                                                                                                               iii


                                                                                                                                                                     000721
Case 2:15-cv-00201-SMJ                  ECF No. 423               filed 01/29/20             PageID.24301 Page 5 of 314




LIST OF FIGURES
Figure 1:    Map of the Spokane River showing dams and river mile markers. ....................................... 18
Figure 2:    Spokane River hydrograph of average daily discharge (cubic feet per second) at Spokane,
             WA USGS 12422500 gauge (RM 72.9) for the period of January 2018 to January 2019.
             Developed using data accessed from the USGS National Water Information System (United
             States Geological Survey 2019) .............................................................................................. 20
Figure 3:    Spokane River 2018 flow rates (annual mean, minimum, and maximum; cubic feet per
             second) as a function of river mile from upstream to downstream at Post Falls (RM 102),
             Greene Street (RM 77.0), Spokane Gauge (RM 72.9), Nine Mile Dam (RM 58.1) and Long
             Lake Dam (RM 33.9). Developed using data accessed from the USGS National Water
             Information System (United States Geological Survey 2019). ............................................... 21
Figure 4:    Spokane River 2005 flow rates (annual mean, minimum, and maximum; cubic feet per
             second) as a function of river mile from upstream to downstream at Post Falls (RM 102),
             Spokane Gauge (RM 72.9) and Long Lake Dam (RM 33.9). Developed using data accessed
             from the USGS National Water Information System (United States Geological Survey 2019).21
Figure 5:    Chemical structure of PCBs. ................................................................................................... 29
Figure 6:    Diagram of PCB inputs and concentrations of PCBs in water, sediment and fish. ................ 45
Figure 7:    River sections of the Spokane River. ...................................................................................... 47
Figure 8:    Conceptual model of the Spokane River. ............................................................................... 48
Figure 9:    Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane
             River between 2003-2007 and 2018 as a function of river mile, based on changes in PCB
             discharges. The blue line assumes that non-detected concentrations of PCB congeners or
             Aroclors in water are equal to zero for determination of PCB loadings. The green line
             assumes that non-detected concentrations of PCB congeners or Aroclors in water are equal
             to the detection limit for determination of PCB loadings. Actual expected changes in
             concentrations are expected to fall in between the blue and green lines. ........................... 67
Figure 10:   Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane
             River between 2012 and 2018 as a function of river mile, based on changes in PCB
             discharges. The blue line assumes that non-detected concentrations of PCB congeners or
             Aroclors in water are equal to zero for determination of PCB loadings. The green line
             assumes that non-detected concentrations of PCB congeners or Aroclors in water are equal
             to the detection limit for determination of PCB loadings. Actual expected changes in
             concentrations are expected to fall in between the blue and green lines. ........................... 68




                                                                                                                                             4


                                                                                                                                                  000722
Case 2:15-cv-00201-SMJ                    ECF No. 423                  filed 01/29/20               PageID.24302 Page 6 of 314




Figure 11:   Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane
             River from 2018 levels as a function of river mile in response to maximum treatment at the
             City of Spokane facilities. The blue line assumes that non-detected concentrations of PCB
             congeners or Aroclors in water are equal to zero for determination of PCB loadings. The
             green line assumes that non-detected concentrations of PCB congeners or Aroclors in water
             are equal to the detection limit for determination of PCB loadings. Actual changes in
             concentrations are expected to fall in between the blue and green lines. ........................... 69
Figure 12:   Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane
             River from 2018 levels as a function of river mile in response to an intermediary level of
             treatment at the City of Spokane facilities. The blue line assumes that non-detected
             concentrations of PCB congeners or Aroclors in water are equal to zero for determination
             of PCB loadings. The green line assumes that non-detected concentrations of PCB
             congeners or Aroclors in water are equal to the detection limit for determination of PCB
             loadings. Actual changes in concentrations are expected to fall in between the blue and
             green lines. ............................................................................................................................. 70
Figure 13:   Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane
             River from 2018 levels as a function of river mile in response to minimum treatment at the
             City of Spokane facilities. The blue line assumes that non-detected concentrations of PCB
             congeners or Aroclors in water are equal to zero for determination of PCB loadings. The
             green line assumes that non-detected concentrations of PCB congeners or Aroclors in water
             are equal to the detection limit for determination of PCB loadings. Actual changes in
             concentrations are expected to fall in between the green and the blue lines. ..................... 71
Figure 14:   Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane
             River from 2012 levels as a function of river mile in response to maximum treatment at the
             City of Spokane facilities. The blue line assumes that non-detected concentrations of PCB
             congeners or Aroclors in water are equal to zero for determination of PCB loadings. The
             green line assumes that non-detected concentrations of PCB congeners or Aroclors in water
             are equal to the detection limit for determination of PCB loadings. Actual changes in
             concentrations are expected to fall in between the green and the blue lines. ..................... 72
Figure 15:   Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane
             River from 2012 levels as a function of river mile in response to an intermediary level of
             treatment at the City of Spokane facilities. The blue line assumes that non-detected
             concentrations of PCB congeners or Aroclors in water are equal to zero for determination
             of PCB loadings. The green line assumes that non-detected concentrations of PCB
             congeners or Aroclors in water are equal to the detection limit for determination of PCB




                                                                                                                                                        5


                                                                                                                                                             000723
Case 2:15-cv-00201-SMJ                    ECF No. 423                 filed 01/29/20               PageID.24303 Page 7 of 314




             loadings. Actual changes in concentrations are expected to fall in between the green and
             the blue lines. ......................................................................................................................... 73
Figure 16:   Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane
             River from 2012 levels as a function of river mile in response to minimum treatment at the
             City of Spokane facilities. The blue line assumes that non-detected concentrations of PCB
             congeners or Aroclors in water are equal to zero for determination of PCB loadings. The
             green line assumes that non-detected concentrations of PCB congeners or Aroclors in water
             are equal to the detection limit for determination of PCB loadings. Actual changes in
             concentrations are expected to fall in between the green and the blue lines. ..................... 74
Figure 17:   Concentrations of PCBs in water (ng/L) of various sections of the Spokane River (expressed
             in terms of river miles), as a function of the year of water sample collection. The error bars
             represent the range of concentrations that include the actual concentrations. .................. 78
Figure 18:   Concentrations of PCBs in sediments (mg/kg OC) of various sections of the Spokane River
             (expressed in terms of river miles (RM)) as a function of the year of sediment sample
             collection. The error bars represent the range of concentrations that include the actual
             concentrations. ...................................................................................................................... 81
Figure 19:   Concentrations of PCBs in Largescale Sucker (mg/kg lipid) in reaches of the Spokane River
             over time (1992-2012). .......................................................................................................... 84
Figure 20:   Concentrations of PCBs in Rainbow Trout (mg/kg lipid) in reaches of the Spokane River over
             time (1992-2012). .................................................................................................................. 85
Figure 21:   Concentrations of PCBs in Mountain Whitefish (mg/kg lipid) in reaches of the Spokane River
             over time (1992-2012). .......................................................................................................... 86
Figure 22:   Predicted future (2030) concentrations of PCBs in surface water (ng/L) in reaches of the
             Spokane River......................................................................................................................... 91
Figure 23:   Predicted future (2030) concentrations of PCBs in sediment (mg/kg OC) in reaches of the
             Spokane River......................................................................................................................... 92
Figure 24:   Baseline, 2012 and predicted current (2018) and future (2030) concentrations of PCBs
             (mg/kg ww) in fish species in reaches of the Spokane River. ................................................ 93




                                                                                                                                                       6


                                                                                                                                                            000724
Case 2:15-cv-00201-SMJ                   ECF No. 423                 filed 01/29/20               PageID.24304 Page 8 of 314




LIST OF TABLES
Table 1:    River miles of geographic markers in the Spokane River....................................................... 17
Table 2:    Fish and crayfish present in the Spokane River system including common names, scientific
            name, taxon group, and invasive status. ............................................................................... 25
Table 3:    Washington State Department of Health fish consumption advisories for the Spokane River.29
Table 4:    Physical and chemical properties of some Aroclors. Adapted from (ATSDR 2000). .............. 31
Table 5:    Spokane River sections and river mile ranges. ...................................................................... 46
Table 6:    Loadings scenarios based on time periods of interest........................................................... 50
Table 7:    Future scenarios investigating the effect of different levels of PCB treatment at City of
            Spokane facilities and considering lower and upper bound estimates of non-City of Spokane
            PCB loadings. .......................................................................................................................... 53
Table 8:    City of Spokane MS4 stormwater basins and CSO outfalls discharging above and below
            Monroe Street Dam. .............................................................................................................. 54
Table 9:    List of studies included in the Spokane River fish tissue PCB dataset: study identification
            number (ID#), year sampled and references. ........................................................................ 55
Table 10:   List of studies included in the Spokane River sediment PCB dataset: study identification
            number (ID#), year sampled and references. ........................................................................ 56
Table 11:   List of studies included in the Spokane River surface water PCB dataset: study identification
            number (ID#), year sampled and references. ........................................................................ 57
Table 12:   Location of loadings source entry points in the Spokane River. ............................................ 60
Table 13:   Loadings (mg/d) of PCBs discharged into the Spokane River from various sources for
            baseline (2003-2007), intermediary (2012), current (2018) and future scenarios (2030). ... 66




LIST OF ATTACHMENTS
Attachment A: Curriculum Vitae
Attachment B: List of References
Attachment C: Spokane River PCB Concentration Data Analysis: Technical Memorandum By Azimuth




                                                                                                                                                     7


                                                                                                                                                          000725
Case 2:15-cv-00201-SMJ       ECF No. 423        filed 01/29/20   PageID.24305 Page 9 of 314




ACRONYMS
CEPA         Canadian Environmental Protection Act
cfs          cubic feet per second
CLAM         Continuous low-level aqueous monitoring
COS          City of Spokane
CSO          Combined sewer overflow
CV           Curriculum vitae
d            day
dw           dry weight
Ecology      Washington State Department of Ecology
EIM          Environmental Information Management System (Washington State)
EU           European Union
FAO          Food and Agricultural Organization (UN)
g            gram, one thousandth of a kilogram
GESAMP       UN Joint Group of Experts on the Scientific Aspects of Marine Environmental
             Protection
IAEA         International Atomic Energy Agency (UN)
ID           Idaho State
ID#          Identification (label or number)
IF           Impact factor
IMO          International Maritime Organization (UN)
IOC          Intergovernmental Oceanographic Commission (UNESCO)
kg           kilogram
km           kilometer, one thousand meters
KOW          Octanol-water partition coefficient
L            liter
lb           pound
m            meter
mg           milligram, one millionth of a kilogram
MGD          Million gallons per day



                                                                                           8


                                                                                               000726
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20      PageID.24306 Page 10 of 314




 mm          millimeter, one millionth of a meter
 MS4         Municipal separate storm sewers
 n           number, count
 NRDA        Natural Resource Damage Assessments (US)
 NSERC       National Science and Engineering Research Council (Canada)
 OC          Organic carbon
 PCBs        Polychlorinated biphenyls
 pg          picogram, one quadrillionth of a kilogram
 PGG         Pacific Groundwater Group
 POC         Particulate organic carbon
 POP         Persistent organic pollutant
 ppb         parts per billion
 ppm         parts per million
 QA          Quality assurance
 QC          Quality control
 REACH       Registration, Evaluation, Authorization and Restriction of Chemical Substances (EU)
 RM          River mile
 RPWRF       Riverside Park Water Reclamation Facility (City of Spokane)
 s           second
 SARA        Species at Risk Act (Canada)
 SD          Standard deviation
 SETAC       Society of Environmental Toxicology and Chemistry
 SFU         Simon Fraser University
 SPE         Solid phase extraction disks
 SPMD        Semipermeable membrane device
 SRRTTF      Spokane River Regional Toxics Taskforce
 TMDL        Total maximum daily load
 TMF         Trophic magnification factor
 TOC         Total organic carbon
 TSCA        Toxic Substances Control Act
 TSS         Total suspended solids



                                                                                                   9


                                                                                                       000727
Case 2:15-cv-00201-SMJ       ECF No. 423        filed 01/29/20   PageID.24307 Page 11 of 314




 UN          United Nations
 UNEP        United Nations Environment Program
 UNESCO      United Nations Educational, Scientific and Cultural Organization
 US          United States
 USEPA       United States Environmental Protection Agency
 USFWS       United States Fish and Wildlife Service
 USGS        United States Geological Service
 WA          Washington State
 WDOH        Washington Department of Health
 WHO         World Health Organization (UN)
 WMO         World Meteorological Organization (UN)
 ww          wet weight
 WWTP        Wastewater treatment plant
 μg          microgram, one billionth of a kilogram




                                                                                        10


                                                                                               000728
Case 2:15-cv-00201-SMJ       ECF No. 423        filed 01/29/20      PageID.24308 Page 12 of 314




 1.      QUALIFICATIONS
         This section provides an overview of the qualifications of Dr. Gobas for providing opinions on
         the fate of PCBs in the Spokane River. A detailed account of his contributions to the science
         and education of hydrophobic organic contaminants in the environment are listed in his CV,
         which is included in Attachment A.

 1.1.    Education
         Dr. Gobas received a B.Sc. from the Free University of Amsterdam, a M.Sc. in Environmental
         Chemistry and Toxicology from the University of Amsterdam, and a Ph.D. in Chemical
         Engineering and Applied Chemistry from the University of Toronto. He is now a full professor
         in the School of Resource & Environmental Management and an associate member of the
         Department of Biological Sciences at Simon Fraser University (SFU).

 1.2.    Area of Research
         Dr. Gobas is an environmental toxicologist with expertise in environmental chemistry,
         chemical engineering, biology and policy analysis. Dr. Gobas' research focuses on the
         environmental behavior and effects of pollutants. His research investigates how pollutants
         are taken up by wildlife and humans; how pollutants behave in food webs and ecosystems;
         how pollutants cause health effects; and how contaminated environmental systems can be
         remediated. His research involves laboratory studies, field studies, simulation modelling and
         policy analysis.

 1.3.    Professional Experience & Scientific Publications
         Dr. Gobas has published approximately 200 scientific publications, mostly in high quality
         international scientific journals including Science (impact factor (IF=37), Environmental
         Science and Technology (IF=6.2), Science of the Total Environment (IF=4.9) and Water
         Research (IF=7.1). He has provided approximately 300 invited presentations at scientific,
         regulatory and public meetings. He has been a member of the Science Advisory Board of the
         USEPA, Director of the Science Advisory Board for Contaminated Sites in British Columbia
         and served for 6 years as a Member of the UN Joint Group of Experts on the Scientific
         Aspects of Marine Environmental Protection (GESAMP), which is the scientific advisory body
         of the IMO, FAO, UNESCO, IOC, WMO, WHO, IAEA, UN and UNEP on global marine
         environmental protection. He has provided expert advice to Environment Canada (related to
         the Canadian Environmental Protection Act [CEPA]) , Fisheries and Oceans Canada (related to
         the Species at Risk Act [SARA] and the recovery of the Southern Resident Killer Whale


                                                                                                      11


                                                                                                           000729
Case 2:15-cv-00201-SMJ                       ECF No. 423               filed 01/29/20          PageID.24309 Page 13 of 314




                  population), the European Chemical Agency (related to REACH legislation), the USEPA
                  (regarding water quality criteria and pesticide use), the International Council of Chemical
                  Association (regarding chemical evaluation and risk assessment), the European Chemical
                  Industry Council (regarding research priorities), the Japanese EPA (regarding
                  bioaccumulation criteria) and several Natural Resource Damage Assessments (NRDAs) in the
                  US, including the Hudson River, the Housatonic River and San Francisco Bay (for 21 years).
                  Dr. Gobas wrote the Pathway report for the NRDA for the Hudson River together with Dr.
                  Lisa Rodenburg on behalf of the Hudson River Natural Resources Trustees. Dr. Gobas has
                  served on the editorial boards of 4 scientific journals and was the editor of the
                  Bioaccumulation section of SETAC Globe. He has organized many workshops, conferences
                  and sessions at conferences. His research has attracted approximately $6.7 million dollars in
                  research funding from a variety of sources including NSERC, various industry associations and
                  government agencies in Canada and the US. Details regarding Dr. Gobas’ experience can be
                  found in Attachment A.

                  Dr. Gobas was an expert witness in the 2011 Canada Board of Review of
                  Decamethylcyclopentasiloxane (D5).

                  A selected list of scientific publications is provided in Dr. Gobas’ CV in Attachment A.

 1.4.             Deposition and Trial Testimony in Past Four Years
                  Dr. Gobas has not been deposed or provided trial testimony in the past 4 years.



 2.               PROBLEM STATEMENT
                  The Spokane River is subject to inputs of PCBs from a variety of sources. PCBs discharged into
                  the Spokane River have caused concentrations of PCBs in certain fish species to exceed limits
                  for the safe consumption of fish from the Spokane River by human consumers.

                  The City of Spokane is responsible for the operation of three facilities/systems that discharge
                  PCBs into the Spokane River. These facilities are (i) the City of Spokane Riverside Park Water
                  Reclamation Facility (RPWRF; formerly Waste Water Treatment Plant [WWTP]); (ii) the City
                  of Spokane MS4 stormwater basins1; and (iii) the City of Spokane combined sewer overflow


 1
     There are 12 MS4 stormwater basins: Superior, Cochran, Union, Riverton, Washington, Greene, Hollywood, Howard, Mission, Lincoln, Rifle,
 and Kiernan. These are collectively referred to as MS4 basins in this report.




                                                                                                                                               12


                                                                                                                                                    000730
Case 2:15-cv-00201-SMJ                        ECF No. 423               filed 01/29/20            PageID.24310 Page 14 of 314




                   (CSO) outfalls2. The City of Spokane RPWRF discharges to the Spokane River at river mile
                   (RM) 67.4. The City of Spokane MS4 stormwater basins and CSO outfalls discharge to the
                   Spokane River between Upriver Dam (RM 80.2) and Nine Mile Dam (RM 58.1). Over the past
                   decade, the City of Spokane made several modifications to these facilities to reduce the
                   discharge of PCBs into the Spokane River (e.g. CSO improvement projects, and implementing
                   best management practices (BMPs) to reduce PCBs in stormwater). The City of Spokane is
                   planning additional modifications to further reduce discharges of PCBs into the Spokane
                   River with the goal to achieve concentrations of PCBs in fish of the Spokane River that do not
                   harm human consumers of fish.

                   This opinion addresses two questions, namely:

                        1. How have reductions of PCB discharges by the City of Spokane, implemented after
                              the Washington State Department of Ecology’s (Ecology) 2003-2007 PCB source
                              assessment (published April 2011), affected present-day concentrations of PCBs in
                              fish of the Spokane River?

                        2. How will further reductions of PCB discharges by the City of Spokane, projected to
                              2030, affect the concentrations of PCBs in fish of the Spokane River in the future?

                   To address these questions, several analyses were conducted. The first analysis involved
                   analyzing PCB discharge rates from the facilities operated by the City of Spokane as well as
                   those originating from other sources in the Spokane River watershed. The objective of this
                   analysis was to (i) establish the actual discharge rates of PCBs by the City of Spokane; (ii)
                   document the change in PCB discharge rates by the City of Spokane over time as a result of
                   remediation efforts at the City of Spokane facilities; and (iii) determine the contribution of
                   PCB discharges by the facilities operated by the City of Spokane to the total input of PCBs
                   into the Spokane River resulting from all known sources.

                   The second analysis involved compiling and analyzing information on the concentrations of
                   PCBs in water, sediments and fish of the Spokane River. Changes in the concentrations of
                   PCBs over time were investigated to determine the effect of remedial efforts at the City of
                   Spokane facilities since 2003-2007 to present on the concentrations of PCBs in fish of the
                   Spokane River.




 2
     Includes 20 CSO outfalls numbered: 002, 006, 007, 010, 012, 014, 015, 016B, 019, 020, 022B, 023, 024, 025, 026, 033, 034, 038, 041, 042, plus
 a RPWRF CSO bypass.




                                                                                                                                                13


                                                                                                                                                     000731
Case 2:15-cv-00201-SMJ         ECF No. 423         filed 01/29/20   PageID.24311 Page 15 of 314




         The third analysis involved combining information on the discharge rates of PCBs from the
         City of Spokane facilities and with the measured concentrations of PCBs in fish of the
         Spokane River to determine the concentrations of PCBs in fish of the Spokane River that can
         be expected as a result of past and on-going remedial efforts.

         In this opinion, I document the sources of information and methods used in each analysis in
         Section 6.2, with more detailed information in Attachment B - References and Attachment C
         – Spokane River PCB Concentration Data Analysis. In Section 6.3, I discuss the results of
         each analysis and present answers to the two questions stated in the problem statement.



 3.      SUMMARY OF OPINIONS
         The reductions in PCB discharges by the City of Spokane have reduced concentrations of
         PCBs in water, sediment, and fish in the Spokane River by between 7.1 and 12.1% since the
         2003-2007 period.

         Based on my analysis, the reductions of PCB discharges at three City of Spokane facilities
         between the 2003-2007 period and 2018 have caused a 7.1 to 12.1% reduction in the
         combined PCB inputs downstream of the City of Spokane RPWRF, MS4 stormwater basins
         and CSO outfalls. Concentrations of PCBs in water, sediment and fish respond to reductions
         in total PCB inputs in a linear (or proportional) fashion; therefore, concentrations of PCBs in
         water, sediments and fish can be expected to have been reduced from 2003-2007 levels by
         7.1 to 12.1%, depending on the location in the River, as a result of PCB emission reduction
         initiatives at the City of Spokane facilities.

         From measurements of the concentrations of PCBs in water, sediment and fish in the
         Spokane River, it can be concluded that concentrations of PCBs in water, sediments and fish
         of the Spokane River have declined in various sections of the River between 2003-2007 and
         2018. This is likely due to PCB discharge reductions by the City of Spokane facilities and other
         remediation activities in the Spokane River, notably the capping of PCB contaminated
         sediments near Upriver Dam/Donkey Island (near RM 80 to 84).

         Should Spokane implement the future remediation measures proposed in the Expert
         Report of Michael Baker International (2019), I expect concentrations of PCBs in water,
         sediments and fish to decline by up to 17.4%, relative to the 2003-2007 period.

         Downstream of the facilities of the City of Spokane, future concentrations of PCBs in water,
         sediment and fish can be expected to fall by a further 4.1 to 5.9% from 2018 levels (which is
         a 3.8 to 5.2% drop relative to 2003-2007 levels), if the smaller reductions in PCB discharges



                                                                                                         14


                                                                                                              000732
Case 2:15-cv-00201-SMJ         ECF No. 423       filed 01/29/20      PageID.24312 Page 16 of 314




         are achieved, or by 4.2 to 6.0% from 2018 levels (which is 3.9 to 5.3% drop relative to 2003-
         2007 levels), if the higher reductions in PCB discharges are achieved, in response to planned
         PCB emission control initiatives at the City of Spokane facilities. These reductions in
         concentrations are due to expected reductions in PCB discharges, of between a 4.1-fold (for
         a “low treatment” option) to 4.7-fold (for a “high treatment” option), from the City of
         Spokane facilities, relative to present-day discharges.

         Prediction of the concentrations of PCBs in fish of the Spokane River after PCB emission
         control initiatives at the City of Spokane facilities are implemented show that, in sections of
         the River affected by PCB discharges from the City of Spokane facilities, the planned
         treatment at the City of Spokane facilities will reduce concentrations of PCBs in fish
         downstream of the City of Spokane facilities from the latest levels measured in 2012 by
         somewhere between 4.2 to 7.2%.

         When future (2030) projected loadings of PCBs are compared to baseline loadings of PCBs,
         concentrations of PCBs in water, sediments and fish are expected to decline by 10.9 to 17.4%
         relative to baseline levels in the sections of the River downstream from the City of Spokane
         facilities as a result of implemented and planned PCB discharge reductions at the City of
         Spokane facilities.



 4.      DATA & INFORMATION CONSULTED
         In developing my analysis and opinions, I examined the following data and information:

                Available datasets (see Attachment C)

                Reports

                Peer-reviewed literature

         Attachment B contains a comprehensive list of the data and information consulted, including
         a list of all documents reviewed.




                                                                                                       15


                                                                                                            000733
Case 2:15-cv-00201-SMJ        ECF No. 423        filed 01/29/20      PageID.24313 Page 17 of 314




 5.       BACKGROUND INFORMATION
 5.1.     The Spokane River

 5.1.1.   Geography
          The Spokane River (the “River”) originates from Lake Coeur d’Alene in Western Idaho, and
          flows east to west for 112 RM. The River drains into Franklin D. Roosevelt Lake, a reservoir of
          the Columbia River created by the Grand Coulee Dam in Eastern Washington State. Of the
          112 RM, the majority (i.e. lower 96.1 RM), are contained within Washington State (Serdar et
          al. 2011, LimnoTech 2016a).

          The Spokane River is located in the Columbia Plateau geographic region of Eastern
          Washington and Northern Idaho. The River initially runs through the Rathdrum Prairie in
          Idaho, and then zigzags through the southern extend of the Selkirk Mountains. The
          surrounding terrestrial environment is predominately permeable glacial till and outwash soil
          overlaying bedrock. These geographic characteristics, combined with limited precipitation in
          this semi-arid region, result in minimal surface runoff to the River (Beckwith 2003).

          A number of municipalities dot the Spokane River including Post Falls ID, Coeur d’Alene ID,
          Liberty Lake WA, Deer Park WA, and Medical Lake WA, and the larger urban areas
          encompassing the City of Spokane and Spokane County in Eastern Washington. The cities of
          Wallace ID and Kellogg ID, among others, are upstream from Lake Coeur d’Alene. The
          downstream extent of the Spokane River (RM 32.5 to RM 0) forms the southern boundary of
          the Spokane Tribe of Indians Reservation (Serdar et al. 2011, LimnoTech 2016a).

          There are two main tributaries to the Spokane River: Latah Creek (formerly Hangman), and
          Little Spokane River. Coulee Creek converges with Deep Creek just before entering the
          Spokane River. Deep Creek is a minor tributary that is often dry in lower reaches (Johnson
          and Norton 2001, Serdar et al. 2011, Wong and Era-Miller 2019c).

          The Spokane River has seven hydroelectric dams that operate under natural flow regimes.
          The dams create a series of pools, with the largest being the 24-mile long Lake Spokane
          reservoir (Serdar et al. 2011, Mathieu 2018). The dams and other geographic markers of the
          Spokane River are shown in Table 1 and Figure 1 based on (Serdar et al. 2011, LimnoTech
          2016a).




                                                                                                        16


                                                                                                             000734
Case 2:15-cv-00201-SMJ        ECF No. 423        filed 01/29/20    PageID.24314 Page 18 of 314




 Table 1:   River miles of geographic markers in the Spokane River.

            River Mile        Geographic Marker

            112               Lake Coeur d’Alene Outlet

            102               Post Falls Dam

            96.1              Idaho-Washington Stateline

            85.3              Trent Avenue Bridge

                              Donkey Island sediment depositional area above Upriver
            83.25-83.75
                              Dam

            80.2              Upriver Dam

            77.0              Greene Street Gauge

                              Upper Falls Dam (coupled with second dam structure at
            74.7
                              Monroe Street)

            74.0              Monroe Street Dam

            72.9              Spokane Gauge

            72.2              Entry of Latah (Hangman) Creek into the Spokane River

                              Entry of Coulee/Deep Creek into Spokane River (Avista
            59.0
                              Corporation 2006)

            58.1              Nine Mile Dam

            56.3              Entry of Little Spokane River into Spokane River

                              Long Lake Dam, which creates Lake Spokane (formerly Long
            33.9
                              Lake)

            29.3              Little Falls Dam

            0                 Franklin D. Roosevelt Lake




                                                                                          17


                                                                                                 000735
Case 2:15-cv-00201-SMJ         ECF No. 423        filed 01/29/20      PageID.24315 Page 19 of 314




 5.1.2.   Hydrology
          The Spokane River watershed encompasses approximately 6,600 square miles (17,100 km2),
          with more than half of this area located in Idaho (3,800 square miles or 9,842 km2) and the
          remainder in Washington. Lake Coeur d’Alene has two primary inflows: Coeur d’Alene River
          and St. Joe River, whose headwaters are in subranges of the Bitterroot Mountains west of
          the Idaho-Montana border (Jack et al. 2003, Parsons and Terragraphics Inc. 2007, Serdar et
          al. 2011).

          The Spokane Valley-Rathdrum Prairie Aquifer (the “Aquifer”) underlies the Spokane River
          from Lake Coeur d’Alene outlet to approximately Nine Mile Dam (MacInnis 2009). The
          Aquifer interacts with the Spokane River; both receiving and contributing in excess of one
          billion gallons per day in bidirectional flow (Hobbs et al. 2019). The Spokane River typically
          loses flow from the outlet of Lake Coeur d’Alene to downstream of the Stateline (about RM
          90.4 at Barker Road) as it recharges the Aquifer. Between Stateline/Barker Road and the City
          of Spokane (Spokane Gauge at RM 72.9), flow rates gradually increase due to groundwater
          inputs (Serdar et al. 2011, LimnoTech 2016a).

          The two main tributaries provide influx of water to the Spokane River. Latah Creek is smaller
          and extremely flashy, responding rapidly to rainfall and snowmelt with an average flow
          range of 20 to 20,000 cubic feet per second (cfs; or 0.57-570 m3/s) (Washington State
          Department of Ecology 1994). The discharge volume from Little Spokane River is 10-times
          higher than that of Latah Creek (Serdar et al. 2011). Deep Creek and Coulee Creek contribute
          minimally to the Spokane River. Deep Creek is often dry in the lower reaches (Wong and Era-
          Miller 2019c).

          Seasonal flow regimes in the Spokane River are driven by precipitation, freezing
          temperatures in the winter and the onset of snowmelt in the spring (“freshet”). Flow rates
          are also partially controlled by Post Falls Dam for approximately half of the year (Jack et al.
          2003, Serdar et al. 2011, LimnoTech 2016a). Long Lake Dam controls the level of Lake
          Spokane, the largest reservoir in the Spokane River.

          A hydrograph of average flows at the Spokane Gauge (RM 72.9) in 2018 (Figure 2), shows the
          seasonal flow regime of the River. Maximum flow rates (27,700 cfs or 784 m3/sec) occurred
          in late spring due to freshet and minimum flows (1,020 cfs or 29 m3/sec) occurred in late
          summer.




                                                                                                            19


                                                                                                                 000736
                                                            Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24316 Page 20 of 314




Figure 1:   Map of the Spokane River showing dams and river mile markers.


                                                                                                                                                  18


                                                                                                                                                       000737
Case 2:15-cv-00201-SMJ           ECF No. 423        filed 01/29/20     PageID.24317 Page 21 of 314




 Figure 2:    Spokane River hydrograph of average daily discharge (cubic feet per second) at Spokane,
              WA USGS 12422500 gauge (RM 72.9) for the period of January 2018 to January 2019.
              Developed using data accessed from the USGS National Water Information System
              (United States Geological Survey 2019)



             Stream flows, measured approximately every 15 minutes by a stream gauge, are shown from
             upstream to downstream in the River in Figure 3 (2018) and Figure 4 (2005). The 2018
             annual mean flow slightly increases from 7,035 cfs at Post Falls (RM 102) to 7,546 cfs at
             Spokane gauge (RM 72.9), reflecting the influence of groundwater influx over this reach. This
             pattern was also observed in 1969-2016 data, reported by (LimnoTech 2016a). Flow
             increases further to 8,588 cfs at Long Lake (2018), due to groundwater and tributary influx.
             While fewer monitoring locations were available for 2005, upstream to downstream patterns
             in flow rates were similar to those measured in 2018.




                                                                                                            20


                                                                                                                 000738
Case 2:15-cv-00201-SMJ         ECF No. 423      filed 01/29/20     PageID.24318 Page 22 of 314




 Figure 3:   Spokane River 2018 flow rates (annual mean, minimum, and maximum; cubic feet per
             second) as a function of river mile from upstream to downstream at Post Falls (RM 102),
             Greene Street (RM 77.0), Spokane Gauge (RM 72.9), Nine Mile Dam (RM 58.1) and Long
             Lake Dam (RM 33.9). Developed using data accessed from the USGS National Water
             Information System (United States Geological Survey 2019).




 Figure 4:   Spokane River 2005 flow rates (annual mean, minimum, and maximum; cubic feet per
             second) as a function of river mile from upstream to downstream at Post Falls (RM 102),
             Spokane Gauge (RM 72.9) and Long Lake Dam (RM 33.9). Developed using data accessed
             from the USGS National Water Information System (United States Geological Survey
             2019).




                                                                                                   21


                                                                                                        000739
Case 2:15-cv-00201-SMJ        ECF No. 423        filed 01/29/20      PageID.24319 Page 23 of 314




 5.1.3.   Sediments
          A defining feature of the Spokane River is the general absence of fine depositional
          sediments, with much of the riverbed consisting of gravel, cobbles and boulders (Serdar et al.
          2011, Wong and Era-Miller 2019c). High river velocities in the Spokane River scour the
          riverbed, even behind the dams. An exception to this is an area of sediment deposition
          behind Upriver Dam/Donkey Island, which was remediated (capped) in 2007 for PCB
          contamination (Serdar et al. 2011). Lake Spokane is another exception. Water in this large
          reservoir moves at low velocities, resulting in the highest sediment deposition in the River
          (Mathieu 2018).

          The Spokane River receives little sediment load between Lake Coeur d’Alene, which acts as a
          sediment settling basin, and Latah Creek, the first tributary to enter at RM 72.2. Latah Creek
          and the Little Spokane River both contribute sediments to the Spokane River above Lake
          Spokane. Latah Creek is prone to erosion and provides slightly higher sediment loads than
          the larger Little Spokane River (Johnson and Norton 2001, Serdar et al. 2011).

 5.1.4.   Fish and Aquatic Resources
          The Spokane River is home to a diverse Pacific Northwest freshwater ecosystem. A variety of
          species of flora and fauna ranging in complexity from bacteria and aquatic algae (e.g.
          periphyton) to invertebrates and fish inhabit this River. The organisms that make up an
          aquatic ecosystem can be categorized based on their trophic position or level in the food
          web. Aquatic ecosystems generally contain four trophic levels. Primary producers such as
          phytoplankton, algae, and periphyton comprise the lowest trophic level. The second trophic
          level includes primary consumers such as invertebrates living in the water column (pelagic)
          or associated with sediments (benthic). Invertebrates feed upon primary producers and
          organic detritus. Foraging fish make up the third trophic level which are in turn fed upon by
          predatory fish which make up the fourth trophic level (ISAB 2011).

          i   Periphyton & Aquatic Plants

          Periphyton (or biofilm) refers to a mixture of algae, bacteria, microbes, and detritus that
          attaches to and grows on rocks or other submerged surfaces in aquatic ecosystems. This
          material can serve as the base of the food web and supplies nutrients to invertebrates
          (Wong and Era-Miller 2019c). Periphyton can be found throughout the Spokane River and
          has been recently sampled for measuring PCB concentrations at the base of the food web
          (Wong and Era-Miller 2019a, Wong and Era-Miller 2019b, Wong and Era-Miller 2019c).




                                                                                                         22


                                                                                                              000740
Case 2:15-cv-00201-SMJ         ECF No. 423       filed 01/29/20      PageID.24320 Page 24 of 314




         Aquatic plants (macrophytes) are another group of primary producers that can provide
         important food and shelter to invertebrates and fish. These plants tend to occur in shallower
         areas with slower moving water. Large aquatic macrophyte beds are present in Lake
         Spokane, starting about 2.5 miles below Nine Mile Dam. These beds cover approximately 15
         miles of river length along the northern shoreline of Lake Spokane, which is characterized by
         gentle slopes and shallow bays (Osborne et al. 2003).

         ii    Invertebrates

         Pelagic invertebrates are small organisms that live suspended in the water column. Some
         examples of “micro-zooplankton” include calanoid copepods, pelagic cladocerans, and
         rotifers. These primary consumers rely on the flow of water for their movement and ability
         to collect food (Plotnikoff 1997).

         Freshwater benthic invertebrates are organisms that reside on or within sediments or
         bottom substrates of freshwater lakes, rivers, and streams. These animals may spend part or
         all of their lives in the aquatic system, with some only found in freshwater during their larval
         stage and emerge to become terrestrial insects as adults. Benthic invertebrates are low in
         the food web, mainly feeding upon leaf litter, substrate algae, organic matter, or suspended
         solids and algae. Examples of groups of benthic invertebrates that are often monitored in
         riverine and stream systems include mayflies, caddisflies, plecoptera, and diptera (Plotnikoff
         1997).

         Crayfish are larger invertebrate crustaceans related to lobsters that live in freshwater
         systems, including the Spokane River. Pacifastacus leniusculus, a brightly-colored species
         native to the Pacific Northwest, are resident to the Spokane River and feed opportunistically
         on a variety of diet items (U.S. Fish and Wildlife Service 2011).

         iii   Fish

         Fish represent higher trophic levels in the food web, including both foragers and predators.
         The Spokane River, and the reservoirs and pools located along it, contain a variety of habitats
         suitable for cold, cool, and warmwater species. Fish species are specialized to take advantage
         of these niches based on their tolerance of and preference for certain water characteristics
         such as water temperature, flow rate, and depth.

         Lee and King (2013) investigated the assemblage of fish species present in the middle
         Spokane River, between Upriver Dam (RM 80.2) and Upper Falls Dam (RM 74.7), and found
         minnows, suckers, trout, sculpin, bass, sunfish and perch. The most abundant fish species
         was the Redband Trout (Onchorynchus mykiss gairdneri), the Spokane River’s native



                                                                                                       23


                                                                                                            000741
Case 2:15-cv-00201-SMJ       ECF No. 423         filed 01/29/20      PageID.24321 Page 25 of 314




         subspecies of the Rainbow Trout, closely followed by the Largescale Sucker (Catostomus
         macrocheilus). Other species observed included Mountain Whitefish (Prosopium
         williamsoni), Northern Pikeminnow (Ptychocheilus oregonensis), Redside Shiner
         (Richardsonius balteatus), and Smallmouth Bass (Micropterus dolomieui). Hatchery origin
         Rainbow Trout have been stocked into the middle Spokane River.
         Osborne et al. (2003) surveyed both inshore and offshore habitats of Lake Spokane (RM
         58.1-33.9) and found Northern Pikeminnow, Yellow Perch (Perca flavescens), and Largescale
         Sucker were the most abundant species. Fish species assemblages differed between habitats
         of the Lake. Lake Spokane is managed by the Washington State Department of Fish and
         Wildlife as a mixed species fishery and has been stocked with Rainbow Trout, Brown Trout
         (Salmo trutta), Eastern Brook Trout (Salvelinus fontinalis) and Smallmouth Bass. Popular
         gamefish include Mountain Whitefish, Redband/Rainbow Trout, Yellow Perch, and bass.
         Table 2 lists several of the fish and crayfish species present in the Spokane River.




                                                                                                    24


                                                                                                         000742
Case 2:15-cv-00201-SMJ           ECF No. 423         filed 01/29/20   PageID.24322 Page 26 of 314




 Table 2:       Fish and crayfish present in the Spokane River system including common names, scientific
                name, taxon group, and invasive status.

 Common Name                      Scientific Name                     Taxon Group         Native/
                                                                                          Invasive

 Black Crappie                    Pomoxis nigromaculatus              Sunfish             Invasive
 Bridgelip Sucker                 Catostomus columbianus              Sucker              Native
 Brown Trout                      Salmo trutta                        Salmonid            Invasive
 Channel Catfish                  Ictalurus punctatus                 Ray-finned fish     Invasive
 Chiselmouth                      Acrocheilus alutaceus               Minnow              Native
 Common Carp                      Cyprinus carpio                     Carp                Invasive
 Crayfish (Signal Crayfish)       Pacifastacus leniusculus            Crayfish            Native
 Kokanee Salmon                   Oncorhynchus nerka                  Salmonid            Native
 Largemouth Bass                  Micropterus salmoides               Bass                Invasive
 Largescale Sucker                Catostomus macrocheilus             Sucker              Invasive
 Longnose Sucker                  Catostomus catostomus               Sucker              Invasive
 Mountain Whitefish               Prosopium williamsoni               Salmonid            Native
 Northern Pikeminnow              Ptychocheilus oregonensis           Minnow              Native
 Rainbow Trout (hatchery)         Oncorhynchus mykiss                 Salmonid            Hatchery
 Redband Trout                    Oncorhynchus mykiss gairdneri       Salmonid            Native
 Redside Shiner                   Richardsonius balteatus             Minnow              Native
 Sculpin spp.                     Cottus spp.
 (e.g. Columbia sculpin)          (Cottus hubbsi)                     Sculpins            Native
 Smallmouth Bass                  Micropterus dolomieui               Bass                Invasive
 Tench                            Tinca tinca                         Cyprinid            Invasive
 Walleye                          Sander vitreus                      Perciform           Invasive
 Westslope Cutthroat Trout        Oncorhynchus clarki lewisi          Salmonid            Native
 White Crappie                    Pomoxis annularis                   Ray-finned fish     Invasive
 Yellow Perch                     Perca flavescens                    Perches             Invasive
 Pumpkinseed Sunfish              Lepomis gibbosus                    Sunfish             Invasive
 Brown Bullhead                   Ameiurus nebulosus                  Catfish             Invasive
 Yellow Bullhead                  Ameiurus natalis                    Catfish             Invasive




                                                                                                     25


                                                                                                           000743
Case 2:15-cv-00201-SMJ       ECF No. 423        filed 01/29/20      PageID.24323 Page 27 of 314




         A brief description of some of the key fish species in the Spokane River, and their dietary
         preferences, is provided below for native fish species:

                The Redband Trout/Rainbow Trout is a cold-water salmonid that is important to
                 sport fishing as well as the integrity of the Spokane River freshwater ecosystem.
                 Redband is the native subspecies and other Rainbow Trout are released from
                 hatcheries. The natural range of Rainbow Trout includes freshwater tributaries to the
                 Pacific Ocean. These 1-5 lb (0.5-2.3 kg) fish inhabit highly-oxygenated low-
                 temperature shallow lotic (fast flowing) systems featuring gravel substrates. While
                 opportunistic, this predatory species mostly feeds upon benthic invertebrates such
                 as caddisflies, stoneflies, mayflies, and dipterans (British Columbia Ministry of
                 Fisheries 2018, Wong and Era-Miller 2019c).

                Mountain Whitefish is a salmonid mountain-dwelling species with a range
                 throughout the Western reaches of North America (Starnes 2019). Its prey includes
                 crayfish, snails, and amphipods (Moyle 2002). Mountain Whitefish prefer aquatic
                 environments featuring deep, cold-water pools with a tendency to reside in the
                 lower portion of the water column (Moyle 2002).

                Largescale Sucker is a fish species that feeds upon benthic invertebrates, algae, and
                 plant material opportunistically on the creek bottom. The species is distributed
                 throughout the Columbia River system including the Spokane River and its tributaries
                 (Williams et al. 2014). Largescale Sucker are an important source of food to both
                 piscivorous fish and stream-feeding mammals (Williams et al. 2014).

                The Bridgelip Sucker (Catostomus columbianus) is a native species to the Columbia
                 River system that inhabits the margins of lakes, river pools, and riffles. The main
                 sources of food are algae and benthic invertebrates (Eigenmann 1893).

                The Northern Pikeminnow is a native Pacific Northwest warm-water fish that prefers
                 slower flow rates. It benefits from the construction of dams due to the reduced
                 stream velocity created upstream of the structures. Pikeminnow feed on a variety of
                 benthic invertebrates that inhabit muddy and gravel streambeds (Bradford 2004).
         Some of the common invasive fish species present in the Spokane River include:

                Common Carp is a large deep-bodied fish that inhabits the Spokane River This
                 species is native to Asia but has become widely distributed throughout North
                 America. Carp feed upon aquatic vegetation and prefer warm, shallow bodies of
                 water (DFO 2018).




                                                                                                       26


                                                                                                            000744
Case 2:15-cv-00201-SMJ        ECF No. 423        filed 01/29/20      PageID.24324 Page 28 of 314




                 The invasive Smallmouth Bass is a cool-water fish tolerant of high-water
                  temperatures prefers streams with alternating pools and riffles. Adults prey upon
                  insects, crayfish, and fish, including minnows, sculpin, and juvenile salmonids (Brown
                  2009a).

                 Brown Trout are native to Europe but have been introduced to North America as
                  game fish (Hart 1973). Similar to other salmonids, Brown Trout feed upon
                  invertebrates and prey fish. This recreationally-important species now features a
                  range in the United States including the Upper Spokane where they are stocked
                  (United States Geological Survey 2019).

                 Although native to North America, Largemouth Bass is an invader in the Spokane
                  River. Largemouth Bass are habitat generalists but do best in shallow nearshore
                  zones with extensive aquatic vegetation. This species mainly predates upon juvenile
                  and small-bodied adult fish forage, crayfish, and insects (Brown 2009b).

                 Yellow Perch are native to large portions of North America but invasive to the
                  Spokane River. Juveniles feed upon the larval benthic invertebrates as well as
                  zooplankton invertebrates. Adults consume insects, invertebrates, fish eggs, juvenile
                  fish, and crayfish. These cool-water fish are found in low-velocity rivers but are also
                  tolerant of brackish and saline conditions (Brown 2009c).

         iv   Fish Movement

         Both natural and anthropogenic barriers in aquatic systems will influence fish movement and
         can affect biodiversity and population structure of fish species (Small et al. 2007). Migratory
         fish originating from the Columbia River have not been found in the Coeur d’Alene sub-basin
         due to natural barriers in the Spokane River such as the Spokane Falls located at
         approximately RM 74, as well as other falls at RMs 96, 84, and 64. Fish movement and
         migration in the Spokane River is further limited by large dams, increasing the impediments
         already created by natural falls (Northwest Power and Conservation Council 2000, Northwest
         Power and Conservation Council 2019).

         Small et al. (2007) conducted genetic studies on fish of the Spokane River to investigate
         intermixing of stocks and fish movement. They report that native steelhead (anadromous O.
         mykiss gairdneri) were eliminated from the Spokane River in the 1900s because steelhead
         were unable to migrate to and from the ocean due to dam construction. They also report
         that hatchery fish have genetically mixed with native populations in tributaries containing
         hatcheries and in locations where hatchery fish have escaped. However, native inland
         Redband Trout have been retained in areas separated from hatcheries by dam barriers. This



                                                                                                        27


                                                                                                             000745
Case 2:15-cv-00201-SMJ                         ECF No. 423              filed 01/29/20            PageID.24325 Page 29 of 314




                   demonstrates that dams in the Spokane River disrupt fish movement and connectivity
                   between Rainbow Trout sub-groups.

                   Movement of Redband Trout was also monitored in 2003 by radio tagging fish in the upper
                   Spokane River (Post Falls Dam at RM 102 to Upriver Dam at RM 80.2 ) and farther
                   downstream between Monroe Dam (RM 74.0) and Nine Mile Dam (RM 58.1) (Parametrix
                   2004). During the spawning period, fish tended to move very short distances (often less the
                   0.5 miles) to available spawning habitat. While movement increased after spawning,
                   sometimes in response to seeking refuge from increased water temperatures, fish generally
                   stayed within several miles of the location from where they were released. Out of 55 fish
                   tagged in the upper reach during two events, only two fish migrated to the lower study area,
                   passing three dam structures. This study, as well as others such as Osborne et al. (2003),
                   indicate that, while the occasional fish may migrate across dam structures of the Spokane
                   River, in general, fish remain within river reaches between dams of the Spokane River.

                   v     Uses of Aquatic Resources & Consumption Restrictions

                   The Spokane River is an important source of economic and recreational value. Hydroelectric
                   power generation, agricultural irrigation, industrial use, and cultural activities rely on the
                   River (Wong and Era-Miller 2019c). In addition, the Spokane River is used for recreational
                   and sport fishing. Lake Spokane is the largest hydroelectric reservoir along the Spokane River
                   and is a managed fishery (Osborne et al. 2003). The Spokane River is regularly stocked with
                   sport fish.
                   Fish consumption advisories3, related to PCB contamination, are in effect for the Spokane
                   River and apply to various species and reaches defined by WDOH (2019) as shown in Table 3.




 3
     In addition to these fish consumption advisories related to PCBs, two statewide fish consumption advisories are in place and apply to every
 waterbody in Washington State. Both advisories are for mercury contamination, and are intended for pregnant or nursing women and children.
 These include a Do Not Eat advisory for Northern pikeminnow and a limit of 2 meals per month for Largemouth Bass and Smallmouth Bass.




                                                                                                                                                   28


                                                                                                                                                        000746
Case 2:15-cv-00201-SMJ              ECF No. 423        filed 01/29/20     PageID.24326 Page 30 of 314




 Table 3:       Washington State Department of Health fish consumption advisories for the Spokane
                River.

 Fish Species     Idaho Border to     Upriver Dam to    Long Lake (Lake    Little Falls Pool   Spokane Arm
                    Upriver Dam       Nine Mile Dam        Spokane)        (RM 33.9-29.3)       (RM 29.3-0)
                   (RM 96.1-80.2)     (RM 80.2-58.1)     (RM 58.1-33.9)
  All Species        Do Not Eat               -                -                   -                 -
 Brown Trout             -                    -          1 meal/month              -           4 meals/month

  Common                 -                    -            Do Not Eat              -                 -
    Carp

  Largescale             -            2 meals/month      1 meal/month      4 meals/month       1 meal/month
    Sucker
  Mountain               -            1 meal/month       2 meals/month             -                 -
  Whitefish
  Northern               -                    -          2 meals/month     4 meals/month             -
 Pikeminnow
   Rainbow               -            2 meals/month      4 meals/month             -           4 meals/month
    Trout
 Yellow Perch            -                    -          8 meals/month             -                 -




 5.2.         PCBs

 5.2.1.       What are PCBs?
              PCBs are a group of persistent hydrophobic organic chemicals. PCBs consist of two joined
              benzene (phenyl) rings on which one or more chlorines have been substituted for the
              hydrogens (Figure 5).




 Figure 5:      Chemical structure of PCBs.


                                                                                                          29


                                                                                                               000747
Case 2:15-cv-00201-SMJ         ECF No. 423        filed 01/29/20       PageID.24327 Page 31 of 314




          Because the chlorine atoms can be in various positions on the two rings, there are a total of
          209 possible PCB molecules, which are referred to as congeners. The numbering system for
          the positions of the chlorines is shown in Figure 5. 2, 2', 6, and 6' are called ortho positions;
          positions 3, 3', 5, and 5' are called meta positions; and positions 4 and 4' are called para
          positions (ATSDR 2000). The International Union of Pure and Applied Chemistry has
          developed an identification system in which higher numbered congeners have more
          chlorines (i.e. PCB 1 has one chlorine (2-chlorobiphenyl) and PCB 209 has ten chlorines
          (2,2’,3,3’,4,4’,5,5’,6,6’-decachlorobiphenyl)). A group of congeners having the same number
          of chlorines is called a homologue (sometimes spelled homolog).

          There are no natural sources of PCBs. The sole manufacturer of PCBs in the United States
          was the Monsanto Company, which sold PCBs using the tradename “Aroclor” (Sofaer 1976).
          Not all Aroclors consisted solely of PCBs, but Aroclors 1016, 1242, 1248, 1254, and 1260
          consisted almost entirely of PCBs and together constituted about 97 percent of all Aroclors
          produced (Brown 1994). Monsanto’s numbering scheme used the last two digits of the
          Aroclor designation to refer to the chlorine content of the mixture (i.e. Aroclor 1242 was 42
          percent chlorine by weight). The exception to this numbering scheme is Aroclor 1016.
          Monsanto began producing Aroclor 1016 in 1974 as a derivative of Aroclor 1242 (ATSDR
          2000). These two Aroclors therefore have similar congener patterns except that Aroclor 1242
          contained six to seven percent of homologues with five or more chlorines and Aroclor 1016
          contained about 0.4 percent of such homologues (Erickson 1997).

          PCBs were banned from production in the United States in 1977 because they are toxic,
          persistent, and bioaccumulative. The properties of PCBs work in concert to make PCBs
          particularly problematic in the environment. The United Nations has classified PCBs as a
          Persistent Organic Pollutant or POP because of its properties and its risk to global
          environmental and human health under the UN Stockholm Convention.

 5.2.2.   Physical and Chemical Properties of PCBs
          Most PCB congeners do not readily degrade under most environmentally relevant
          conditions. The 209 PCB congeners have physical-chemical properties that vary widely,
          primarily as a function of the number of chlorines. These physical-chemical properties
          determine the role that volatilization, dissolution, and transport have in controlling the
          ultimate fate of the PCBs in the Spokane River. The properties of PCBs that are most
          important in determining the environmental fate of PCBs are aqueous solubility, Henry’s law




                                                                                                          30


                                                                                                               000748
Case 2:15-cv-00201-SMJ           ECF No. 423       filed 01/29/20        PageID.24328 Page 32 of 314




            constant, and hydrophobicity as expressed by the octanol-water partition coefficient (Kow).
            Table 4 provides numeric values for these and other properties.



 Table 4:    Physical and chemical properties of some Aroclors. Adapted from (ATSDR 2000).

            Property                     Aroclor     Aroclor      Aroclor        Aroclor       Aroclor
                                         1016        1221         1242           1254          1260

            Molecular weight (g/mol)     257.9       200.7        266.5          328           357.7

                                                                                 Light         Light
            Color                        Clear       Clear        Clear
                                                                                 yellow        yellow

                                                                                 Viscous
            Physical state               Oil         Oil          Oil                          Sticky resin
                                                                                 liquid

            Density (g/cm3 at 25˚C)      1.37        1.18         1.38           1.54          1.62

            Aqueous solubility                                    0.24, 0.34,    0.012,        0.0027,
                                         0.42        0.59
            (mg/L at 25˚C)                                        0.10           0.057         0.08

            Log Kow                      5.6         4.7          5.6            6.5           6.8

            Vapor pressure
                                         0.0004      0.0067       0.000406       0.0000771     0.0000405
            (mm mercury at 25˚C)

            Henry's law constant
                                         0.00029     0.0035       0.00052        0.002         0.0046
            (atm-m3/mol at 25˚C)



            The aqueous solubility of PCBs varies over several orders of magnitude, with congeners
            containing more chlorines generally having a lower aqueous solubility. Because Aroclors
            1016, 1221, and 1242 contain mostly congeners with three or four chlorines, they are
            generally more soluble that Aroclors 1254 and 1260, which contain congeners with more
            chlorines (ATSDR 2000).

            The Henry’s law constant is the equilibrium partition coefficient between water and air. It is
            important in controlling the rate and extent of volatilization of the PCBs from the dissolved
            phase in the water column to the air. The Henry’s law constants of some Aroclors are high
            enough that PCBs dissolved in water can volatilize into the atmosphere (NUS Corporation
            1984).


                                                                                                            31


                                                                                                                 000749
Case 2:15-cv-00201-SMJ        ECF No. 423         filed 01/29/20     PageID.24329 Page 33 of 314




          The hydrophobicity of PCBs causes them to sorb to relatively non-polar media, such as lipids
          and natural organic matter, rather than remain dissolved in water. Hydrophobicity is usually
          expressed as the octanol-water partition coefficient (Kow). Octanol resembles lipids in
          organisms in many ways. Hence, octanol is a good surrogate phase for lipids and Kow values
          of PCBs are approximately equal to the partition coefficients of PCBs between water and
          lipids of organisms. Log Kow values for the most common Aroclors are in the range of 5.6 to
          6.8, meaning that the PCBs in these Aroclors are 105.6 to 106.8 (about 400,000 to 6.3 million)
          times more likely to dissolve into octanol than into water, when exposed to both. Hence,
          PCBs have a very high affinity for lipids of aquatic biota and tend to accumulate in the lipids
          of fish. The high hydrophobicity of PCBs causes PCBs to sorb onto natural organic matter in
          sediment, where they can remain for long periods of time, as the reverse process of
          desorption is generally very slow.

 5.2.3.   Measuring PCBs
          Measuring the concentration or amount of PCBs in the environment is complex because
          PCBs consist of 209 closely related compounds. The most frequently used methods for
          measuring PCBs report “sum of PCBs” or “total PCBs” even though they do not always
          measure or report all 209 congeners. Sum of PCBs or total PCBs typically refers to the sum of
          the concentrations of those PCB congeners that have been included in the analysis. The
          number of PCB congeners included in the analysis can vary among studies. However, in
          general, most analytical laboratories attempt to include all the PCB congeners that
          contribute significantly to the total concentration of PCBs.

          There are different analytical methods for measuring the concentrations of PCBs in a matrix.
          These include “low resolution” analysis that tests for an Aroclor mixture, a “high resolution”
          method that quantifies concentrations of individual PCB congeners and an in-between
          technique that measures PCB homologue groups (Louis Berger US 2019). The Aroclor method
          involves the analytical chemist identifying distinct patterns in the gas chromatograph that
          are characteristic of one of the commercial Aroclor mixtures. For example, while an Aroclor
          mixture may include >100 PCB congeners, a relatively smaller number of these congeners
          (e.g. 10-20) may comprise more than half of the mixture. These congener proportions
          provide the Aroclor signature. One disadvantage of the Aroclor method is that, once released
          in the environment, PCBs are subject to a number of fate processes (degradation,
          weathering, dechlorination, transport, uptake into organisms, etc.) that act to change the
          congener composition in an environmental sample from the original source Aroclor mixture.
          Due to uncertainty in the methodology, Aroclor quantitations can over- or under-report PCB
          concentrations. The high-resolution congener method is considered the most accurate



                                                                                                        32


                                                                                                             000750
Case 2:15-cv-00201-SMJ                         ECF No. 423               filed 01/29/20             PageID.24330 Page 34 of 314




                   quantification of PCB congeners and total PCBs in environmental samples. However, this
                   method requires more sophisticated analysis and is therefore more costly (Louis Berger US
                   2019).

                   PCB concentration data used in this report includes total PCB concentrations determined
                   using both Aroclor and congener-based methods. In this report, the terms “sum of PCBs” and
                   “total PCBs” refer to adding together all the concentrations of all the congeners, or Aroclors,
                   that were included in the analysis4.

 5.3.              PCB Studies in the Spokane River
                   Numerous studies have investigated PCB concentrations in fish/crayfish tissues, sediment
                   and water of the Spokane River. These studies date back to the late 1970’s (Joy 1984,
                   Hopkins et al. 1985, Hopkins 1991), with early investigations by Washington’s State
                   Department of Ecology and USEPA targeting fish collections. Ecology continued monitoring
                   PCBs in Spokane River fish throughout the 1990s (Davis 1994, Davis and Serdar 1994, Serdar
                   et al. 1994, Johnson 1994a, Johnson 1994b, Davis et al. 1995, Ecology 1995, Johnson 1997,
                   Johnson 2000) and 2000s (Jack and Roose 2002, Seiders and Kinney 2004, Seiders et al. 2006,
                   Serdar and Johnson 2006, Seiders et al. 2007, Serdar et al. 2011, Seiders et al. 2014). Studies
                   identified elevated PCB concentrations in fish from the Spokane River, relative to other
                   waterbodies in Washington State (COS and RPWRF 2017) and relative to State and Federal
                   screening criteria (Serdar et al. 2011, Ecology 2017). PCB concentrations in fish reportedly
                   have declined in the Spokane River over time (Serdar and Johnson 2006, Serdar et al. 2011,
                   Seiders et al. 2014). Fish data have been used in an ecological risk assessment (Johnson
                   2001) and human health consumption advisories, which are currently in-effect (see Table 3)
                   (WDOH and SRHD 2009, WDOH 2011, WDOH 2019).

                   The most comprehensive recent studies on PCB concentrations in fish from the Spokane
                   River are from 2003 and 2004 (Serdar et al. 2011), 2005 (Serdar and Johnson 2006), and
                   2012 (Seiders et al. 2014). More recent biota collections have targeted specific fish species
                   such as Common Carp, (Era-Miller 2015a), and 1-year old hatchery-raised Rainbow Trout,
                   (Wong 2018), or lower trophic level organisms, such as periphyton/biofilm and invertebrates
                   (Wong and Era-Miller 2019b, Wong and Era-Miller 2019c).




 4
     Note that in rare cases, only a very limited number of congeners, of the possible 209 congeners, were quantified in the analysis of fish tissue
 or sediment. These data were not included in the total PCB data set; see Attachment C for details.




                                                                                                                                                   33


                                                                                                                                                        000751
Case 2:15-cv-00201-SMJ       ECF No. 423        filed 01/29/20      PageID.24331 Page 35 of 314




         The Spokane River is generally described as erosional with few depositional areas (Serdar et
         al. 2011). As a result, there are few studies on PCB concentrations in bottom sediments.
         However, depositional areas near Upriver Dam (RM 80.2), Monroe Street below Upper Falls
         Dam (RM 74.7) and throughout Lake Spokane (RM 58.1-33.9) have been investigated
         between 1990 and 2018 through a combination of surface grab and core sampling (Hopkins
         1991, Serdar et al. 1994, Batts and Johnson 1995, Ecology 1995, Johnson and Norton 2001,
         Anchor Environmental LLC 2005, Serdar et al. 2011, Fernandez 2012, Ecology 2015, Borgias
         and Hamlin 2017, Mathieu 2018, Wong and Era-Miller 2019a, Wong and Era-Miller 2019b,
         Wong and Era-Miller 2019c). Coring data on PCB concentrations in Lake Spokane sediments
         indicate declining PCB concentrations from peak levels in the 1960s. However, these results
         show relatively consistent concentrations of PCBs in Lake Spokane sediments from
         approximately 1990 to 2016 (Serdar et al. 2011, Mathieu 2018).

         Measuring PCB concentrations in surface water is challenging due to PCB’s low solubility in
         water, resulting in low concentrations, which can be difficult to detect. As a result, methods
         that involve continuous flow sampling over long time periods and/or extraction of PCBs onto
         solid phases (e.g. continuous low level aqueous monitoring [CLAM] devices; semipermeable
         membrane devices [SPMDs]; solid phase extraction disks [SPE]) have been used to measure
         PCBs in Spokane River surface water (Ecology 1995, Anchor Environmental LLC 2005, Ecology
         2005, Sandvik 2009, Sandvik 2010, Sandvik and Seiders 2011, Serdar et al. 2011, Sandvik and
         Seiders 2012, Era-Miller 2014a, Era-Miller and McCall 2017). PCB concentrations in water
         determined from SPMD, SPE and CLAM methods were considered by the investigators to be
         unreliable and data have not been entered into Washington’s Environmental Information
         Management System (EIM) database. The main issue with SPMD, SPE and CLAM water data,
         as cited by the study investigators, is high levels of background contamination of PCBs
         introduced during the sampling and analytical process, including from the filters/membranes
         and filter-housings (Sandvik and Seiders 2012, Era-Miller 2014a, Era-Miller and McCall 2017).
         Background contamination is tested for by measuring PCB concentrations in method blank
         samples. Blank samples are composed of a PCB analyte‐free matrix that is analyzed in the
         same manner as a field-collected environmental sample, using the same sample preparation
         and laboratory techniques (LimnoTech 2014).

         Grab samples of Spokane River surface water have been collected by Ecology (Golding 2001,
         Serdar et al. 2011, Era-Miller 2014a, Era-Miller and McCall 2017, Hobbs et al. 2019) and most
         recently during several investigations of PCB sources to the River undertaken by LimnoTech
         on behalf of the Spokane River Regional Toxics Task Force (SRRTTF) (LimnoTech 2015,
         LimnoTech 2016b, Dilks and Helfand 2017, LimnoTech 2017, LimnoTech 2019). While PCB
         measurements in water collected through grab sampling are still challenging due to low


                                                                                                       34


                                                                                                            000752
Case 2:15-cv-00201-SMJ                       ECF No. 423                filed 01/29/20   PageID.24332 Page 36 of 314




                   environmental concentrations, grab sample measurements have fewer issues with
                   background contamination. LimnoTech (2014) has used a consistent data censoring
                   approach that screens concentrations of each PCB congener in field samples against 3x the
                   concentration of each PCB congener in a blank sample. Congeners present in field samples at
                   concentrations above 3x those in the blank sample are considered “detects". Congeners not-
                   detected by the analysis or detected at concentrations less than 3x the concentration in the
                   blank sample are considered "non-detects".

                   Recent sampling of the water column has included collection of suspended sediments for
                   PCB analysis using sediment traps (Era-Miller 2014a, Era-Miller and McCall 2017).

                   Over the 2003-2007 period, a PCB source assessment study5 (Serdar et al. (2011) with inputs
                   from Parsons and Terragraphics Inc. (2007)), investigated the reductions in PCB loads
                   required to meet the Human Health Criteria for water quality in-effect at the time (i.e. 170
                   pg/L for the State of Washington and 3.37 pg/L for the Spokane Tribe of Indians). This study
                   concluded that large reductions in PCB loadings in the River would be needed to meet the
                   Spokane Tribe’s criteria. This included a 95% reduction of PCB loading from upstream at the
                   Idaho border, a 97% reduction in the Little Spokane River, and >99% reductions in municipal,
                   industrial, and stormwater discharges. Serdar et al. (2011) reported the largest source of
                   PCBs (totaling 44%) to the Spokane River was the City of Spokane’s stormwater and CSO
                   inputs. Upstream PCB river loads, originating from Lake Coeur d’Alene, reportedly
                   comprised 30% of the loads present at Long Lake dam. A food web bioaccumulation model
                   indicated that reductions in concentrations of PCBs in water and sediments of >99% are
                   required to meet the Spokane Tribe’s fish tissue criterion in the Spokane Arm. In response to
                   these results, SRRTTF was formed with the goal of making progress in reducing PCBs in the
                   Spokane River system (Ecology 2012, COS and RPWRF 2017).

                   Remediation works to address PCBs in the Spokane River system to-date have included
                   remediation of contaminated sediments near Upriver Dam and Donkey Island (Anchor
                   Environmental LLC 2005, Ecology 2012, Ecology 2015, LimnoTech 2016a, COS and RPWRF
                   2017), as well as other efforts to address upland sources (i.e. soil removal in 2009 from a City
                   of Spokane parcel of a former transformer recycling facility; soil removal in 2007 from Kaiser
                   Aluminum; and removal and vitrification of soils in the mid-1990s at a General Electric
                   transformer service site) (Ecology 2012, COS and RPWRF 2017). Other initiatives are



 5
     Formerly referred to as a total maximum daily load [TMDL] study.




                                                                                                                  35


                                                                                                                       000753
Case 2:15-cv-00201-SMJ          ECF No. 423       filed 01/29/20      PageID.24333 Page 37 of 314




           underway to remediate PCBs in groundwater from the Kaiser Aluminum facility (Ecology
           2010, Leber 2019).

 5.4.      Sources of PCBs to the Spokane River
           On behalf of the SRRTTF, LimnoTech (2016a) prepared a Comprehensive Plan to Reduce
           Polychlorinated Biphenyls (PCBs) in the Spokane River, and a memorandum on Sources and
           Pathways of PCBs to the Spokane River Watershed (Dilks 2016a), in which sources of PCBs to
           the Spokane River system are documented. The dominant source of PCBs in the Spokane
           River are legacy PCBs produced by Monsanto as Aroclors (LimnoTech 2016a). PCBs enter the
           Spokane River through point and non-point source inputs. Tributaries, groundwater seepage,
           combined sewer outfalls, wastewater treatment plants are examples of sources of PCBs. In-
           river cycling between sediment and water also influences PCB loading. Atmospheric
           deposition to the watershed is also a suspected source of PCBs. There is limited information
           on atmospheric deposition rates of PCBs into the Spokane River basin (LimnoTech 2016a).

 5.4.1.    Legacy PCB Source Areas

 5.4.1.1   Contaminated Soils & Groundwater
           Soils can have the potential for a high burden of PCBs because of activities like on-land PCB-
           usage, PCB-leaching from buildings, equipment, and landfills. The high affinity of PCBs to
           organic content combined with their slow rate of degradation, means that surface soils may
           remain contaminated for extended periods of time. Loading of PCBs to the Spokane River
           requires mobilization by way of surface water runoff (e.g. delivered via stormwater
           discharges) or groundwater leaching. Given that the Spokane River is largely fed by
           groundwater with minimal surface water tributary inputs, subsurface inputs from solid waste
           disposal sites is a potential loading pathway. There is lack of a comprehensive dataset for the
           Spokane River watershed resulting in uncertainty of the uplands area surrounding the
           Spokane River (Dilks 2016a).

           Sub-surface soils are at risk of long-term contamination as a result of legacy and modern-day
           contaminant loading. High organic subsurface soil may act as a long-term reservoir of PCBs
           with a very low leaching rate or cycling rate to other parts of the environment and
           ecosystems of the Spokane River watershed. Mineral soils are resistant to the binding of
           PCBs.

           There have been 31 cleanup sites identified that may be leaching PCBs to the Spokane River
           by way of groundwater. Of these sites, 23 have confirmed PCB releases to soils – 13 have
           been cleaned-up with “No Further Action” required, and the remaining 10 are undergoing or


                                                                                                        36


                                                                                                             000754
Case 2:15-cv-00201-SMJ         ECF No. 423        filed 01/29/20      PageID.24334 Page 38 of 314




           awaiting cleanup. Although these actions have reduced the overall PCB burden in the
           Spokane River watershed, there remains sub-surface leaching of PCBs from soils to
           groundwater feeding the Spokane River (LimnoTech 2016a).

 5.4.1.2   River and Lake Sediment
           River and lake bottoms are subject to deposition of organic and inorganic materials from
           both the surrounding terrestrial environment and the upstream aquatic environment. The
           composition of this substrate influences the ecological function and nutrient cycling in the
           system. Contaminants interact with sediments differently based on the physical and
           chemical characteristics of both the substrate and the contaminant of concern.

           Historical PCB contamination of Spokane River sediments near Upriver Dam and Lake
           Spokane has been identified and monitored. Elsewhere, the Spokane River features
           sediment with minimal organics having a composition of gravel, cobbles, and boulders. This
           is congruent with the relatively high stream flow velocity through most of the River’s
           reaches. Much of the Lake Spokane bed also contains low organic matter and is comprised of
           stones. Lake Coeur d’Alene and Latah Creek were similar in their sediment makeup
           containing low organic matter (Dilks 2016c).

 5.4.1.3   Other Sources Areas
           Contributions of PCBs from sources such as demolition of buildings, industrial activities, and
           unlawful disposal of consumer products containing PCBs are difficult to measure but may
           provide significant inputs of PCBs to the Spokane River. The long life of PCBs in the
           environment and their prolific use in building materials and electrical devices makes them
           likely candidates for long-term leaching (LimnoTech 2016). Although there are no known
           current or historic major industrial producers of PCBs in the Spokane River watershed, spills,
           on-site disposal, and volatilization of PCB-containing materials from industrial sites remain
           possible pathways for PCBs to enter the River (LimnoTech 2016).

 5.4.2.    Direct Delivery Mechanisms
           PCBs are discharged to the Spokane River through a number of mechanisms (Dilks 2016a,
           LimnoTech 2016a, Dilks 2016c). Direct loading sources include:

                  Upstream loading from Lake Coeur D’Alene – because the Spokane River is mainly
                   fed by Lake Coeur D’Alene, this represents a major source of PCBs to the River due to
                   the large volume of water it contributes.

                  Tributary inputs – the two main tributaries to the Spokane River in the study area
                   contribute PCBs to the Spokane River. Little Spokane River contributes more PCBs


                                                                                                           37


                                                                                                                000755
Case 2:15-cv-00201-SMJ         ECF No. 423         filed 01/29/20       PageID.24335 Page 39 of 314




                  than Latah Creek. Deep Creek becomes dry in the lower reaches so is not a source of
                  water or PCBs to the Spokane River (Serdar et al. 2011, LimnoTech 2016a).

                 Groundwater inputs from contaminated soil areas represent a source of PCBs to the
                  Spokane River.

                 Stormwater and CSOs direct PCBs in overland runoff and municipal sanitary sewer
                  systems to the Spokane River.

                 Discharges form municipal and industrial WWTP contribute to PCB loadings into the
                  Spokane River. There are a number of industrial and municipal WWTP upstream of
                  the City of Spokane’s RPWRF, which is the largest treatment plant in the region. The
                  RPWRF facility was constructed in 1958 with primary treatment. It was subsequently
                  upgraded to include secondary treatment and disinfection. RPWRF has a capacity of
                  150 million gallons but on average treats 34 million gallons daily with all effluent
                  discharged to the Spokane River (Dilks 2016a).

                 Other PCB discharges include releases from fish hatcheries (wastewater and fish
                  releases), resuspension of PCBs in bottom sediments, and atmospheric deposition.

 5.5.     Environmental Fate and Bioaccumulation of PCBs

 5.5.1.   PCB Transport within the Spokane River
          The initial source of PCBs to the Spokane River is Lake Coeur d’Alene. Lake Coeur d’Alene
          contains PCBs which flow through the Spokane River to the Columbia River. At various
          locations along the Spokane River, there are additional inputs of PCBs to the River. These
          inputs include 16 known sources that discharge PCBs into the River. After being released into
          the River, PCBs are subject to a number of processes that control the environmental “fate”
          of PCBs in the River. One important process is the dissolution of the PCBs in the River water
          and the subsequent distribution of PCBs between the water and the sediments in the River.
          A second process is the downstream movement of water-dissolved and particle-bound PCBs
          as a result of the river flow rate. In sections of the River with a high flow rate, this process is
          very important and can quickly transport PCBs downstream. In sections of the River (e.g.
          Lake Spokane) with slow flow rates, this downstream hydrodynamic transport process is
          slower than in the river sections with high flow rates. Also, slow flow rates facilitate
          deposition of particle-bound PCBs into bed sediments. Deposited PCB contaminated
          sediments can build-up to form reservoirs of PCBs that can act like an internal source of PCBs
          for many years. PCBs can also evaporate from surface water into the atmosphere. However,
          in rivers this process tends to be of minor importance as the surface area of a river is



                                                                                                            38


                                                                                                                 000756
Case 2:15-cv-00201-SMJ         ECF No. 423        filed 01/29/20      PageID.24336 Page 40 of 314




          relatively small and PCBs in the water are bound to a high degree to sediment particulate
          matter and hence are unavailable for evaporation. PCBs are very stable compounds and
          known to degrade very slowly. For this reason, PCBs are referred to as Persistent Organic
          Pollutants (or POPs) under the UN Stockholm Convention on Persistent Organic Pollutants
          (UNEP 2001). Persistent means that PCBs last a long time and are not quickly broken-down.
          In riverine sections of the Spokane River, the fate of PCBs is therefore largely controlled by
          the water flow rates of the River. Evaporation and degradation do not play a significant role.
          In Lake Spokane, the slower flow rate means a slower removal of PCBs while evaporation
          and degradation play a slightly greater role than in the riverine sections of the River. More
          important is the deposition of sediments in Lake Spokane that provides historical deposits of
          PCBs that may be slow to dissipate.

 5.5.2.   PCB Bioaccumulation in Organisms
          Because PCBs are very hydrophobic and lipophilic, PCBs are highly susceptible to uptake and
          bioaccumulation in aquatic organisms. Aquatic organisms, including algae, zooplankton,
          invertebrates and fish are all known to take up PCBs from water and to store PCBs in their
          fats.

          The direct uptake of PCBs by aquatic organisms from the water is often referred to as direct
          uptake or bioconcentration and involves the uptake of PCBs from water via the respiratory
          area of aquatic organisms (e.g. gills in a fish). The uptake of PCBs from water is similar to the
          uptake of oxygen from water in fish. Within aquatic organisms, diffusion and blood flow (in
          certain organisms) distribute the PCBs throughout the tissues of the organism including the
          eggs of sexually mature female fish. Transfer of PCBs into eggs provides a pathway for inter-
          generational transfer of PCBs (Russell et al. 1999). Because many PCBs are not degraded in
          aquatic organisms and only transfer back to the water very slowly (because of their
          hydrophobicity), bioconcentration causes concentrations of PCBs in the organisms to exceed
          those in the water by many fold. The ratio of the concentration of PCBs in a particular
          aquatic organism (e.g. fish) and that in the water is called the bioconcentration factor.
          Bioconcentration factors have been measured in many laboratory tests (Arnot and Gobas
          2006) and mathematical models exist to estimate bioconcentration factors (Thomann et al.
          1992a, Thomann et al. 1992b, Arnot and Gobas 2004). It is important to stress that
          bioconcentration is a reversible process. If the concentration of PCBs in the water declines,
          so does the concentration of PCBs in the fish. There can be lag-phase between the declines
          in concentration in water and fish, especially when the concentration decline is rapid and/or
          the fish are large. However, over time, concentrations of PCBs in fish will reflect those in the
          water.



                                                                                                           39


                                                                                                                000757
Case 2:15-cv-00201-SMJ        ECF No. 423         filed 01/29/20      PageID.24337 Page 41 of 314




         The uptake of PCBs from food items is referred to as indirect uptake or dietary
         bioaccumulation or biomagnification. Dietary bioaccumulation specifically refers to the
         uptake of substances like PCBs via the gastro-intestinal tract. Dietary bioaccumulation of
         PCBs involves the ingestion of PCB-contaminated food items. After ingestion, food digestion
         releases the PCBs from the food matrix. The PCBs can then diffuse through intestinal
         membranes into the organism. Within organisms, PCBs are distributed throughout the
         organism through a combination of molecular diffusion and advective transport processes. In
         higher-level organisms (e.g. fish), blood flow transports PCBs, first to the liver and then
         throughout all tissues and organs of the organism. The initial transport of PCBs and other
         substances from the intestinal tract to the liver is often referred to as a “first pass effect”.
         This first pass effect plays an important role in the uptake of substances in higher level
         organisms. If the substance can be broken down or biotransformed in the liver, then the
         distribution of the substance in the organism can be reduced. However, many PCB congeners
         resist biotransformation and are biotransformed at very low rates. As a result, the great
         majority of PCB congeners absorbed through the diet are distributed throughout the
         organism. Indirect uptake of PCBs also causes PCBs to biomagnify. Biomagnification is a
         phenomenon where concentrations of PCBs in the lipids of organisms attain levels that are
         greater than those in the lipids of ingested food. Biomagnification does not occur if the
         ingested substance is quickly biotransformed in the organism. However, the rate of
         biotransformation of many PCB congeners is so slow that certain PCBs biomagnify to a high
         degree. Biomagnification is of toxicological concern because it amplifies the concentration of
         the chemical in organisms with increasing trophic level. Dietary bioaccumulation of PCBs has
         been observed in numerous laboratory tests and field studies (Arnot and Quinn 2015) and
         mathematical models of this process are available and used (Arnot and Gobas 2004).

         In food webs, PCBs are transferred from predator to prey. This is called food-web transfer or
         trophic transfer. Food web or trophic transfer of PCBs, which is the distribution of PCBs
         throughout all organisms of aquatic food webs, is the result of successive trophic
         interactions, where one organism preys on other organisms. The complexity of predator-
         prey interactions produces a set of complex pathways that distribute the PCBs through a
         food web. While specific pathways are hard to specify, there is a general transport of PCBs
         from lower trophic levels to higher trophic levels. These pathways can be characterized and
         measured by trophic magnification factors (TMFs). TMFs of PCBs have been studied in many
         aquatic systems (Mackintosh et al. 2004, Walters et al. 2011, Walters et al. 2016). While
         there is variability in reported TMF values, TMFs of many PCB congeners have been found to
         be greater than one. This indicates a general increase in the concentration of PCBs in
         organisms with increasing trophic level.


                                                                                                            40


                                                                                                                 000758
Case 2:15-cv-00201-SMJ         ECF No. 423         filed 01/29/20      PageID.24338 Page 42 of 314




          The combination of direct uptake, indirect uptake, and food web transfer provide pathways
          for PCBs to move from the water and sediments of the Spokane River to all aquatic species in
          the Spokane River system. All of these processes are reversible. This means that a reduction
          on the concentration of PCBs in water and/or sediments of the River can be expected to
          result in similar reductions in the concentration of PCBs in all organisms of the food web.
          There can be a lag-phase between the decline in PCB concentration in the water and the
          decline in in PCB concentrations in organisms. However, over time, concentrations of PCBs in
          aquatic organisms will adapt to reflect those in the water and sediment that they interact
          with.



 6.       DEVELOPMENT OF OPINIONS
 6.1.     Approach

 6.1.1.   Relationship between PCB Inputs and Concentrations of PCBs in Water, Sediment and
          Fish
          The basic relationships between the inputs of PCBs into the Spokane River and the resulting
          concentrations of PCBs in water, sediment and aquatic biota is controlled by the Laws of
          Conservation of Mass. These relationships are often characterized in mathematical form and
          referred to as mass balance models. At any location of the River, the change of mass of PCB
          over time is the result of inputs and removals. Mathematically, this can be described as:

                                         dMW,i/dt = I - kW,j.MW,i                                     (1)



                  o   where dMW,i/dt (g/d) is the change in the mass of PCB in the water of the Spokane
                      River over time t at any particular location i of the River;
                  o   I is the total combined input of PCBs (g/d) at location i;

                  o   kW,j is the sum of all removal rates (kW,j) in units of the fraction of mass of PCBs
                      removed from the water at location i per unit of time (e.g. 1/day); and
                  o   MW,i is the mass of PCBs in the water (g) of the Spokane River at location i.
                  o   The subscript j refers to the number of removal processes that act on the PCBs
                      and includes downstream flow, evaporation, degradation and any other loss
                      processes that may apply.




                                                                                                             41


                                                                                                                  000759
Case 2:15-cv-00201-SMJ         ECF No. 423         filed 01/29/20         PageID.24339 Page 43 of 314




         If the input and loss processes remain constant over time, then dMW,i/dt approaches zero,
         which is a condition that is referred to as steady-state, and MW,i can be found as:

                                               MW,i = I / kW,j                                       (2)



         Dividing the mass of PCBs in the water by the volume of water at location i (VW,i), then
         provides a simple equation that relates the concentration of PCBs in the water at location i
         (CW,i) to the total inputs of PCBs to the water at location i:

                                            CW,i = I / (VW,i.kW,j)                                   (3)



         This equations states that the concentration of PCB in water at location i at steady-state is a
         simple linear function of the combined PCB inputs at location i. In other words, if, for
         example, inputs of PCBs go down by 50%, so does the concentration of PCBs in the water,
         given sufficient time for steady-state to be reached and assuming river conditions (e.g.
         flow rates) remain the same. This equation is very useful, because it allows us to calculate
         reductions in the concentrations of PCBs in water from reductions of PCB inputs to the River
         in a fairly simple manner.

         The same laws of conservation of mass can be used to derive similar relationships for
         concentrations of PCBs in water, sediments and fish tissue.

         The basic relationship between the masses of PCBs in the water and sediments at any
         location i of the River is:

                                       dMS,i/dt = kWS.MW,i - kS,n.MS,i                               (4)



                 o   where dMS,i/dt is the change in the mass of PCBs (g/d) in the sediment of the
                     Spokane River over time t at any particular location i;
                 o   kWS is the rate of transfer of PCBs from the water to the sediments, expressed as
                     the fraction of the mass of PCB in the water transferring to the sediments (1/day);
                     and

                 o   kS,n is the sum of all removal rates kS,n in units of the fraction of mass of PCBs
                     removed from the sediment at location i per unit of time (1/day); and
                 o   MS,i is the mass of PCBs in the sediment (g) of the Spokane River at location i.




                                                                                                            42


                                                                                                                 000760
Case 2:15-cv-00201-SMJ       ECF No. 423           filed 01/29/20             PageID.24340 Page 44 of 314




                o   The subscript n refers to the number of removal processes that act on the PCBs in
                    the sediments and includes diffusion, accretion, degradation and any other loss
                    processes that may apply.

         If the transfer rates kWS and kS,n remain constant over time, then dMS,i/dt approaches zero
         over time (i.e. steady-state), and MS,i can be found as:

                                         MS,i = (kWS / kS,n).MW,i                                    (5)



         Dividing the mass of PCBs in the water and sediments by their respective volume VW,i for
         water and VS,i for sediment at location i, then generates:

                                    CS,i = (kWS / kS,n).(VW,i / VS,i).CW,i                           (6)



         This equation states that at steady-state, the concentration of PCB in sediment at location i is
         a simple linear function of the concentration of PCBs in the water at location i. Hence, if, for
         example, the concentration of PCBs in the water declines by 50%, then, given sufficient
         time for steady-state to be reached and river conditions remaining the same, the
         concentration of PCBs in the sediments will also decline by 50%.

         The relationship between the concentration of PCBs in fish and other aquatic organism in the
         River and the concentration in the water and/or sediments at any location i of the River can
         be expressed in a similar manner as those for sediment and water, but is somewhat more
         complex because organisms can take up PCBs directly from the water, sediment (for
         sediment ingesting organisms) and consumption of prey. Refer to Arnot and Gobas (2004)
         for a full account of the mathematical treatment of these relationships. One of the key
         features of the relationship between the concentration of PCBs in fish and other aquatic
         organism of a food web and the concentration in the water and/or sediments is that the
         relationships are linear in nature. This means that an increase or decrease in the
         concentration of PCBs in water or sediments is matched by a proportional increase or
         decrease in the concentration of PCBs in the aquatic organisms over time.

         The main implication of the current understanding of the fate of PCBs in aquatic
         environments with respect to the effects of changes in PCBs inputs into the Spokane River on
         the concentrations of PCBs in fish of the River is that concentrations of PCBs in fish follow a
         linear relationship with PCB inputs in the River. Hence, declines in PCB discharges to the
         Spokane River can be expected to result in proportional declines in concentrations of PCBs in
         fish of the Spokane River. The response of the concentrations of PCBs in fish to reductions in



                                                                                                            43


                                                                                                                 000761
Case 2:15-cv-00201-SMJ        ECF No. 423         filed 01/29/20     PageID.24341 Page 45 of 314




          PCB inputs to the River is not immediate. Through detailed environmental fate and
          bioaccumulation modelling it is possible to assess the length of time it takes for
          concentrations of PCBs in the River to fully adapt to the change in PCB inputs into the River.
          This type of modelling was not done for this analysis. However, in much of the Spokane River
          (with the exception of Lake Spokane) river flow rate is high and fine depositional sediments
          are minimal. This indicates that the concentrations of PCBs in water and sediments can be
          expected to respond quickly to changes in PCB inputs. Concentrations of PCBs in fish will
          respond more slowly than concentrations of PCBs in water. However, even in large fish, loss
          rates of PCBs from fish can be expected to be in the range of 1% per day, suggesting that
          concentrations of PCBs in fish can effectively reach (i.e. be within 5% of) their new values in
          about 3/0.01 or 300 days. These estimations indicate that in much of the Spokane River,
          concentrations of PCBs in water, sediment and fish can be expected to respond to PCB
          emission reductions in a reasonable length of time.

 6.1.2.   Conceptual Model
          A simplified representation of the link between PCB inputs to the Spokane River and the
          resulting PCB concentrations in water, sediments and fish is shown in Figure 6. Figure 6
          represents a section of the River that receives PCB inputs from upstream, City of Spokane
          sources, and other non-City of Spokane sources, resulting in concentrations of PCBs in water,
          sediments and fish that reflect these loadings. PCBs are also transported downstream to the
          next river section. Within each medium of the river (e.g. water, sediment, fish species), the
          mass balance model assumes that contaminants are evenly distributed, within a given river
          section, and that the different environmental media are homogenous.




                                                                                                          44


                                                                                                               000762
Case 2:15-cv-00201-SMJ           ECF No. 423        filed 01/29/20      PageID.24342 Page 46 of 314




 Figure 6:    Diagram of PCB inputs and concentrations of PCBs in water, sediment and fish.



             For many of the analyses conducted in this report, the Spokane River has been divided
             geographically into several sections, which are described in Table 5. In general, these river
             sections were delineated by structural features in the River, such as dams, or by jurisdictional
             boundaries, such as the Idaho-Washington Stateline. Many of the studies investigating PCB
             concentrations in the Spokane River used a similar spatial division as the one used in this
             report. A map showing the spatial Spokane River sections is presented as Figure 7.




                                                                                                             45


                                                                                                                  000763
Case 2:15-cv-00201-SMJ            ECF No. 423      filed 01/29/20      PageID.24343 Page 47 of 314




 Table 5:    Spokane River sections and river mile ranges.

                  River Section        River Mile Range     Under City of Spokane Influence?

                 Above Stateline           112-96.1                         No

                 Above Upriver             96.1-80.2                        No

                 Above Monroe              80.2-74.0                       Yes

                Above Nine Mile            74.0-58.1                       Yes

                  Lake Spokane             58.1-33.9                       Yes

                Above Little Falls         33.9-29.3                       Yes

                  Spokane Arm                29.3-0                        Yes



            The primary area of focus of this report is between Stateline (RM 96.1) and Little Falls Dam
            (RM 29.3). PCB inputs from the City of Spokane enter between Upriver Dam (RM 80.2) and
            Nine Mile Dam (RM 58.1), thus the river sections Above Monroe (RM 80.2-74.0) and all those
            below, are under the influence of the City of Spokane’s PCB discharges. While Spokane Arm
            (RM 29.3-0) is influenced by discharges from the City of Spokane sources, PCB inputs have
            not been fully characterized in this section because of a lack of data. Therefore, Spokane Arm
            has not been included in the predictive modelling contained in this report. Above Upriver
            (RM 96.1-80.2) represents the immediate upstream reference for the City of Spokane’s
            discharges. PCB loadings from upstream of the City of Spokane were quantified at the Trent
            Avenue Bridge station (RM 85.3), located within the Above Upriver compartment (Figure 7).

            Figure 8 shows the spatial river sections described above, combined with box models
            representing the reaches of interest, and identifies relevant PCB source locations (i.e.
            downstream of Trent Avenue), which are further described in Section 6.2.1. PCB loads at
            Trent Avenue include a combination of PCBs originating from Lake Couer d’Alene, as well as
            other sources entering upstream reaches of the Spokane River. While several different fish
            species were collected in different sections of the River, Figure 8 shows the three fish species
            most commonly collected from the Spokane River for PCB studies: Mountain Whitefish,
            Rainbow Trout and Largescale Sucker.




                                                                                                           46


                                                                                                                000764
                                                   Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24344 Page 48 of 314




Figure 7:   River sections of the Spokane River.


                                                                                                                                         47


                                                                                                                                              000765
                                                     Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24345 Page 49 of 314




Figure 8:   Conceptual model of the Spokane River.


                                                                                                                                           48


                                                                                                                                                000766
Case 2:15-cv-00201-SMJ        ECF No. 423        filed 01/29/20     PageID.24346 Page 50 of 314




 6.1.3.   Time Period Scenarios
          Different time periods of interest were included in this report to address the questions of
          interest. These include:

            i.    Baseline Period (2003-2007): This period corresponds to 2003-2007, before City of
                  Spokane began upgrading the MS4 stormwater basins to reduce PCB discharges to
                  the Spokane River. This period overlaps with the investigation period for the PCB
                  source assessment study of the Spokane River (Serdar et al. 2011).

            ii.   Intermediary (2012): An intermediary time period of 2012 was included in the
                  analysis to represent conditions during the latest comprehensive study on PCB
                  concentrations in fish from the Spokane River (Seiders et al. 2014). Because the City
                  of Spokane made improvements to their facilities after 2012, the 2012 scenario was
                  used as a reference point to estimate current (2018) and future concentrations of
                  PCBs in fish.

           iii.   Current Period (2018): The current period corresponds to 2018, and includes recent
                  PCB loadings information (2014-2018) and recent PCB concentration data (range of
                  2013-2018; see Table 6 for details) considered representative of current conditions.
                  This scenario represents the period after existing improvements to the City of
                  Spokane systems have been made.

           iv.    Future Scenario (2030): A future time period scenario represents projections of the
                  concentrations in water, sediment and fish to 2030 as a result of different remedial
                  options for further upgrading the City of Spokane facilities and systems.

          A summary of these time period scenarios, and concentration data representing these
          periods is provided in Table 6.




                                                                                                        49


                                                                                                             000767
Case 2:15-cv-00201-SMJ             ECF No. 423         filed 01/29/20        PageID.24347 Page 51 of 314




 Table 6:       Loadings scenarios based on time periods of interest.

                                                                                PCB Sediment   PCB Surface
      Scenario         PCB Loadings Information                 PCB Fish Data
                                                                                   Data        Water Data

                       Corresponds to PCB source                 2001-2005       2003-2004     2000, 2003
  Baseline Period assessment in Spokane River

  (2003-2007)          (Serdar et al. 2011), prior to City of
                       Spokane system upgrades.

                       Loadings information was                     2012            N/A           N/A
                       developed for the 2011-2012 time
  Intermediary
                       period, corresponding to most
  (2012)
                       recent comprehensive fish study
                       (2012) (Seiders et al. 2014).

                       Loadings information developed            2014 (carp)     2013-2018     2016-2018
                       for the 2014-2018 time period to            2018a,b
  Current Period
                       represent current conditions after        (estimated)
  (2018)
                       implementation of existing City of
                       Spokane system upgrades.

                       Modelled scenarios project City of           2030           2030           2030
  Future Scenario
                       Spokane loadings to 2030 based on
  (2030)
                       different remedial options.

            a
                A 2016 study by Wong (2018) that collected only 1-year old Rainbow Trout from Lake
            Spokane, 4- months after hatchery release, was not included in the “current” dataset. This is
            because the 2016 trout were younger and smaller than those collected in earlier fish studies.
            b
                2018 PCB concentrations in fish are predicted from 2012 data; see Section 6.2 for details.




                                                                                                             50


                                                                                                                  000768
Case 2:15-cv-00201-SMJ                        ECF No. 423              filed 01/29/20             PageID.24348 Page 52 of 314




 6.2.              Methods
                   In order to investigate the effect of past and future reductions in PCB discharges by the City
                   of Spokane on concentrations of PCBs in fish of the Spokane River, three analyses were
                   conducted.

 6.2.1.            Analysis I: Compilation and Analysis of PCB Discharge Rates into the Spokane River
                   Information on PCBs loadings into the Spokane River was obtained from Dilks (2019) and
                   Michael Baker International (2019). These references provided in-River loading estimates, as
                   well as PCB discharge rates for City of Spokane facilities and other industrial, municipal and
                   non-point sources (e.g. groundwater and stormwater). This information was used to develop
                   a PCB mass balance based analysis for the Spokane River from Trent Avenue Bridge (RM
                   85.3) to Long Lake Dam (RM 33.9). The Trent Avenue Bridge location receives PCB discharges
                   from the headwaters of the Spokane River at Lake Coeur d’Alene (RM 112), as well as from
                   all other point and non-point sources entering in Idaho and Washington, upstream of Trent
                   Avenue. According to Dilks (2019), PCB loadings in the Spokane River are not expected to
                   change substantially over the 4.6 mile stretch6 between Long Lake Dam (Rm 33.9) and Little
                   Falls Dam (RM 29.3). Therefore, PCB loadings estimates at Long Lake Dam were assumed to
                   represent PCB discharge rates up to Little Falls Dam (RM 29.3). Measurements of PCB
                   discharges to the Spokane River below RM 29.3 are not available. The PCB loadings estimates
                   by Dilks (2019) were used to characterize changes in PCB discharges to the Spokane River
                   between baseline, 2012, current and future projected time periods (Section 6.2.3).

                   Dilks (2019) provided upper and lower bounds of PCB inputs from upstream (Trent Avenue,
                   RM 85.3) and several of the sources discharging to the Spokane River above Long Lake Dam
                   (RM 33.9) during the baseline (2003-2007), intermediary (2012) and current (2018) time
                   periods. For many sources, the lower range of the loadings estimate was calculated using
                   water concentration data for which non-detected PCB congeners were assigned a zero
                   concentration in the summation of all measured PCB congeners. The upper range was


 6
     Between Long Lake Dam (RM 33.9) and Little Falls Dam (RM 29.3) there is a Tribal Fish Hatchery on Chamokane Creek, a tributary of the
 Spokane River. Given that the Washington State fish hatchery on the Little Spokane River is a negligible contributor of PCBs to Spokane River
 (<1% of total load), it is expected that the Tribal Hatchery is minor contributor of PCBs to the Spokane River as well (Dilks 2019). Thus, although
 PCB sources downstream of Long Lake Dam have not been fully characterized, there is expected to be little change to PCB loadings in the Little
 Falls Pool reach between Long Lake Dam (RM 33.9) and Little Falls Dam (RM 29.3).




                                                                                                                                                 51


                                                                                                                                                       000769
Case 2:15-cv-00201-SMJ        ECF No. 423        filed 01/29/20         PageID.24349 Page 53 of 314




         determined as the sum of PCB congener concentrations where the full analytical detection
         limit was assigned to represent the concentration of non-detected congeners. In some cases,
         a single, best estimate, PCB loading value was provided.

         Relative changes in PCB loadings between time periods were calculated from the data
         provided by Dilks (2019). Because the City of Spokane has continued to make improvements
         to reduce PCB discharges in recent years (i.e. since the 2012 fish study), two scenarios were
         developed to estimate potential changes in PCB concentrations in fish between 2012 and
         present-day (2018). The first scenario was based on the relative change between the lower
         bound of the PCB loading rate provided by Dilks (2019) for 2018 compared to the lower
         bound of the PCB loading rate provided for 2012. The second scenario calculated the relative
         change between time periods using the upper bound of PCB loadings in both time periods.

         Michael Baker International (2019) provided baseline (2003-2007), intermediary (2012) and
         current (2018) data on PCB loadings from the three City of Spokane sources: the RPWRF, 12
         MS4 stormwater basins, and 20 CSOs, which were incorporated into Dilks (2019). Michael
         Baker International (2019) also projected PCB loadings from the three City of Spokane
         sources into the future (2030). For the City of Spokane sources, different future predictions
         were provided for the RPWRF and MS4 stormwater basins. These discharge estimates were
         combined into three scenarios representing different levels of treatment: maximum
         treatment (i.e. highest level of treatment); minimum treatment (i.e. lowest level of
         treatment) and an intermediary level of treatment.

         To complete the estimates of future impacts of discharges on the Spokane River, it was
         assumed that the current-day PCB discharge rates for all non-City of Spokane sources
         provided in Dilks (2019) are maintained in the future. This assumption enabled the
         determination of the expected declines in PCB concentrations in fish, sediment and water,
         directly resulting from upgrades to the City of Spokane facilities and systems. Using the
         upper and lower estimates of PCB discharge rates for all non-Spokane sources, and the three
         possible treatment levels for the City of Spokane sources, six future scenarios were
         evaluated, as described in Table 7. Scenario 1 results in the highest reduction of PCB
         discharges in the future, relative to current levels. Scenario 6 results in the lowest reduction
         of PCB discharges in the future, relative to current levels.

         In addition to the above current and future scenarios, an additional hypothetical calculation
         was made to evaluate changes in loadings between time periods, under the condition that
         the PCB discharges from the City of Spokane remained constant at 2012 levels. This scenario
         was used to compare changes in loadings with City of Spokane implementing PCB loadings
         reductions after 2012 (i.e. status quo to 2018 and planned future treatment options) to


                                                                                                        52


                                                                                                             000770
Case 2:15-cv-00201-SMJ          ECF No. 423       filed 01/29/20      PageID.24350 Page 54 of 314




            changes in loadings without City of Spokane implementing PCB loadings reductions after
            2012. This hypothetical calculation also included both a lower bound and an upper bound
            scenario.



 Table 7:    Future scenarios investigating the effect of different levels of PCB treatment at City of
             Spokane facilities and considering lower and upper bound estimates of non-City of
             Spokane PCB loadings.

            Non-Spokane PCB
 Scenario                                City of Spokane Facilities Treatment Level (PCB Discharge Level)
            Loadings Estimate Level

 1          Lower bound                  Highest treatment level (= lowest PCB discharges)

 2          Upper bound                  Highest treatment level (= lowest PCB discharges)

 3          Lower bound                  Medium treatment level (= mid-level PCB discharges)

 4          Upper bound                  Medium treatment level (= mid-level PCB discharges)

 5          Lower bound                  Lowest treatment level (= highest PCB discharges)

 6          Upper bound                  Lowest treatment level (= highest PCB discharges)



            Because the City of Spokane MS4 and CSO basins discharge into two compartments of the
            Spokane River, loadings rates were divided between the Above Monroe stretch (RM 80.2-
            74.0) and the Above Nine Mile stretch (RM 74.0-58.1). The majority of loadings from the
            Spokane MS4 stormwater basins (73%), as well as the single RPWRF outlet (100%), discharge
            into the lower Above Nine Mile river reach. The majority (96%) of PCBs discharged to the
            River by the City of Spokane CSOs enter the upper Above Monroe reach. However, the CSOs
            discharge the lowest amount of PCBs of the three City of Spokane sources. To calculate
            future loadings, and reductions relative to current-day, discharges of the different MS4 and
            CSO basins were grouped as shown in Table 8, according to Michael Baker International
            (2019). PCB discharge rates for the different time periods and scenarios are provided in
            Section 6.3.1.




                                                                                                         53


                                                                                                              000771
Case 2:15-cv-00201-SMJ            ECF No. 423       filed 01/29/20      PageID.24351 Page 55 of 314




 Table 8:       City of Spokane MS4 stormwater basins and CSO outfalls discharging above and below
                Monroe Street Dam.

                           Basins/Outfalls Discharging East of      Basins/Outfalls Discharging West of
 City of Spokane Source
                           Monroe Street Dam (Above Monroe)         Monroe Street Dam (Above Nine Mile)

                           Washington, Superior, Union,
 MS4 Stormwater                                                     Rifle Club, Hollywood, Cochran,
                           Riverton, Howard, Lincoln, Greene,
 Basins                                                             Kiernan
                           Mission

 CSO Outfalls              CSO 33 to CSO 42                         CSO 2 to CSO 26



 6.2.2.     Analysis II: Compilation and Analysis of Measured Concentrations of PCBs in Water,
            Sediments and Fish of the Spokane River
            PCB concentrations in fish, surficial bottom sediments and in-river surface water of the
            Spokane River are used in this report. This section provides an overview of how these data
            were compiled and analyzed for this report, with Attachment C providing a more detailed
            description of the data analysis conducted by Azimuth Consulting Group (“Azimuth”). The
            following steps were taken to analyze the relevant PCB concentration data and information
            for the Spokane River:

                     A literature review was conducted by Azimuth on studies from the Spokane River
                      measuring PCBs in fish, sediments, and surface river water. This was used to identify
                      original reports relevant to the Spokane River PCB data analysis.

                     A project database was received from Baron & Budd’s consultants, Pacific
                      Groundwater Group (“PGG”). Based on when datasets for different media were
                      complete in the database, version 13 of the database (PGG 2019a) was used by
                      Azimuth to analyze fish tissue concentrations of PCBs and version 18 (PGG 2019b)
                      was used to analyze concentrations of PCBs in surface water and sediment.

                     As part of a quality assurance/quality control (QAQC) process, the project database
                      was compared with original studies to confirm accuracy and completeness by
                      Azimuth. Much of the PCB concentration data originated from studies conducted by
                      Ecology, which was imported to the project database from Washington’s EIM
                      database. Some of the water data from the SRRTTF studies were directly imported
                      into the project database.

                     Studies included in the fish tissue, sediment and surface water datasets are shown in
                      Table 9, Table 10, and Table 11, respectively (also see Attachment C). PCB


                                                                                                          54


                                                                                                               000772
Case 2:15-cv-00201-SMJ          ECF No. 423       filed 01/29/20       PageID.24352 Page 56 of 314




                   concentration data from all sections of the Spokane River were included in the
                   analysis.



 Table 9:    List of studies included in the Spokane River fish tissue PCB dataset: study identification
             number (ID#), year sampled and references.

 Fish Study ID#        Year                    Reference(s)

 DSER0002              1992                    (Serdar et al. 1994)

 AJOH0005              1993                    (Davis and Serdar 1994, Ecology 1995)

 AJOH0005              1994                    (Johnson 1994a, Ecology 1995)

 WSPMP93T              1993                    (Davis et al. 1995)

 AJOH0008              1996                    (Johnson 1997)

 AJOH0022              1999                    (Johnson 2000)

 RJAC002               2001                    (Jack and Roose 2002)

 DSER0010              2003                    (Serdar et al. 2011)

 DSER0010              2004                    (Serdar et al. 2011)

 WSTMP03T              2003                    (Serdar et al. 2011)

 DSER0016              2005                    (Serdar and Johnson 2006)

 WSTMP12               2012                    (Seiders et al. 2014)

 BERA0011              2014                    (Era-Miller 2015a)

 MIFR0003              2016                    (Wong 2018)




                                                                                                       55


                                                                                                            000773
Case 2:15-cv-00201-SMJ             ECF No. 423         filed 01/29/20      PageID.24353 Page 57 of 314




 Table 10:    List of studies included in the Spokane River sediment PCB dataset: study identification
              number (ID#), year sampled and references.

 Sediment Study ID#         Year         Reference

 BHOP0001                   1990         (Hopkins 1991)

 DSER0002                   1992         (Serdar et al. 1994)

 AJOH0005                   1993         (Ecology 1995)

 AJOH0005                   1994         (Ecology 1995)

 SPOK9394                   1993         (Ecology 1995)

 SPOK9394                   1994         (Ecology 1995)

 DBAT0001                   1994         (Batts and Johnson 1995)

 AJOH0019                   2000         (Johnson and Norton 2001)

 DSER0010                   2003         (Serdar et al. 2011)

 DSER0010                   2004         (Serdar et al. 2011)

 UPRVRDAM                   2003         (Anchor Environmental LLC 2005)

 UPRVRDAM                   2004         (Anchor Environmental LLC 2005)

 UPRDAM2008                 2008         (Ecology 2015)

 2010 UPRIVER DAM           2010         (Ecology 2015)
 MONITORING

 SRUW-SPOKANE*              2013         (Fernandez 2012, Borgias and Hamlin 2017, PGG 2019b)

 CITYOFSPOKANEWW            2015         (PGG 2019b)

 SEDCORE16                  2016         (Mathieu 2018)

 SWON0001                   2018         (Wong and Era-Miller 2019a, Wong and Era-Miller 2019b, Wong
                                         and Era-Miller 2019c)

 *From project database; earlier (non-sediment) data reported and Quality Assurance Project Plan available.




                                                                                                              56


                                                                                                                   000774
Case 2:15-cv-00201-SMJ                        ECF No. 423              filed 01/29/20            PageID.24354 Page 58 of 314




 Table 11:            List of studies included in the Spokane River surface water PCB dataset: study
                      identification number (ID#), year sampled and references.

 Surface Water Study ID#                             Year                       Reference

 SGOL001                                             2000                       (Golding 2001)

 DSER0010                                            2003                       (Serdar et al. 2011)

 BERA0009                                            2012                       (Era-Miller 2014a)

 BERA0009                                            2013                       (Era-Miller 2014a)

 BERA0012                                            2016                       (Era-Miller and McCall 2017)

 COMBINED IDAHO DATA                                 2014                       (PGG 2019b)

 COMBINED IDAHO DATA                                 2016                       (PGG 2019b)

 SRRTTF-2014                                         2014                       (LimnoTech 2015)

 SRRTTF-2015                                         2015                       (LimnoTech 2016b)

 SRRTTF-2016                                         2016                       (LimnoTech 2017)

 WHOB003                                             2016                       (Hobbs et al. 2019)

 WHOB003                                             2017                       (Hobbs et al. 2019)

 SRRTTF-2018                                         2018                       (LimnoTech 2019)



                             Concentrations of total PCBs in water and sediment and fish were calculated in the
                              project database as the sum of all individual Aroclors or PCB congeners measured in
                              a sample. To address certain PCB congeners or Aroclors that could not be detected
                              (i.e. exhibited concentrations in the sample below the detection limit7) in a sample,
                              concentrations of total PCBs in a sample were assessed using three methods, i.e.



 7
     These treatments were also applied to blank censored concentrations of PCBs in water, i.e. concentrations of PCB congeners in field samples
 that were less than 3x the concentration of PCB congeners in blank samples were treated as non-detects in the summation of total PCBs (see
 also Section 5.3).




                                                                                                                                              57


                                                                                                                                                   000775
Case 2:15-cv-00201-SMJ            ECF No. 423        filed 01/29/20     PageID.24355 Page 59 of 314




                        i.    Individual congeners/Aroclors that were non-detected were assumed to
                              make a zero contribution to the concentration of total PCBs. This provides a
                              lower limit of the concentration of total PCBs.

                        ii.   Individual congeners/Aroclors that were non-detected were assumed to
                              contribute a concentration equal to half the detection limit to the
                              concentration of total PCBs. This provides a mid-level estimate for the
                              concentration of total PCBs.

                       iii.   Individual congeners/Aroclors that were non-detected were assumed to
                              contribute a concentration equal to the detection limit to the concentration
                              of total PCBs. This provides an upper limit for the concentration of total
                              PCBs.

                     On PCB concentration data received from the database, Azimuth did further clean-up
                      and sorting to prepare the data for analysis. Azimuth calculated additional
                      parameters (e.g. lipid and organic carbon normalized concentrations), provided
                      summary statistics (e.g., arithmetic averages and geometric means on multiple
                      individual samples collected from the same river stretch and during the same time
                      period) and performed additional statistical analyses (e.g. regression analysis
                      between Aroclor on congener-based data, and temporal trend analyses on PCB
                      concentrations in fish). See Attachment C for additional information.

          PCB concentration data results are reported in Section 6.3.2.

 6.2.3.   Analysis III: Application of a Mass-Balance Approach to Assess the Effect of PCB
          Discharges by the City of Spokane on Concentrations of PCBs in Fish of the Spokane
          River
          In this analysis, expected changes in the concentrations of PCBs in water, sediment and fish
          of the Spokane River are determined from the relative change in PCB discharges to the River
          between time periods, or following PCB emission control initiatives by the City of Spokane
          (derived in Analysis I). These relative changes in PCB loadings are combined with measured
          concentrations of PCBs in water, sediment and fish of the Spokane River (derived in Analysis
          II) to estimate:

             i.       Due to a lack of recent fish data, current (2018) concentrations of PCBs in fish were
                      calculated from 2012 fish data based on changes in PCB loadings that occurred
                      between the intermediary (2012) and current time periods. Two scenarios were
                      calculated as described in Section 6.2.1.



                                                                                                           58


                                                                                                                000776
Case 2:15-cv-00201-SMJ                       ECF No. 423              filed 01/29/20             PageID.24356 Page 60 of 314




                      ii.    Future (2030) concentrations of PCBs in water, sediment and fish were calculated
                             using anticipated PCB loadings reductions after further treatment/upgrades of the
                             City of Spokane facilities/systems. These expected reductions were applied to recent
                             concentrations of PCBs in water (2016-2018), sediment (2013-2018) and fish (20128).
                             Six scenarios were calculated as described in Section 6.2.1.
                     iii.    PCB concentrations in fish were predicted for the 2018 and 20309 time periods under
                             the hypothetical condition that PCB discharges from the City of Spokane remained
                             constant at 2012 levels. Two scenarios were calculated (Section 6.2.1).
                   The calculation of the predicted concentration of PCBs (Analysis III) is based on the linearity
                   in response of the concentration of PCBs to changes in the combined total inputs of PCBs
                   into the River, which is controlled by mass balance principles (Section 6.1.1).

                   Since PCB inputs to the River vary spatially, calculations were made for each of the sections
                   of the Spokane River separately (see Table 12). Although there may be differences in
                   concentrations of PCBs within a river reach, depending on where PCB sources enter the
                   reach, organisms such as fish tend to integrate PCB concentrations over larger spatial areas
                   as they move within the reach. As described in Section 5.1.4, it is important to stress that
                   fish movement is limited by dams in the Spokane River, often causing fish to remain within
                   the reaches between dams.

                   Results of the calculation of current concentrations of PCBs in fish, as well as future
                   concentrations of PCBs in water, sediments and fish are presented in Section 6.3.3.




 8
     The fish analysis was based on loadings changes between the 2012 time period and future (2030) scenarios.
 9
     We note that under the hypothetical condition where the City of Spokane’s PCB discharges remain constant at 2012 levels, PCB
 concentrations in fish predicted for 2018 are the same as those predicted in the future (2030). This is because under the status quo assumption,
 only the City of Spokane PCB discharges are expected to be reduced in the future as a result of facility upgrades and treatment by the City of
 Spokane. Other sources of PCBs to the Spokane River are assumed to remain constant in the future at 2018 levels.




                                                                                                                                                  59


                                                                                                                                                       000777
Case 2:15-cv-00201-SMJ           ECF No. 423       filed 01/29/20     PageID.24357 Page 61 of 314




 Table 12:    Location of loadings source entry points in the Spokane River.

                                                         River Mile     River Stretch Where Sources
 Loadings Source
                                                                        Enter

 Upstream Spokane River at Trent Avenue Bridge§          85.3           Above Upriver (RM 96.1-80.2)

 Inland Empire Paper WWTP                                82.6

 Spokane County WWTP                                     78.5           Above Monroe (RM 80.2-74.0)

 City of Spokane MS4 basins above Monroe St. Dam         74.0*

 City of Spokane CSO outfalls above Monroe St. Dam       74.0*

 Hangman (Latah) Creek                                   72.4           Above Nine Mile (RM 74.0-58.1)

 City of Spokane RPWRF (WWTP)                            67.4

 City of Spokane MS4 basins below Monroe St. Dam         58.1*

 City of Spokane CSO outfalls below Monroe St. Dam       58.1*

 Groundwater USGS Gauge to Nine Mile                     58.1*

 Little Spokane River                                    56.3           Lake Spokane (RM 58.1-33.9)

 Lake Spokane Sediments                                  33.9*

 Assumed negligible PCB sources between Long Lake        N/A
                                                                        Above Little Falls (RM 33.9-29.3)
 Dam and Little Falls Dam

 Uncharacterized below Little Falls Dam                  N/A            N/A

             § Trent Avenue Bridge includes PCB loadings originating from Lake Coeur d’Alene, as well as
             other point and non-point sources entering the River above RM 85.3.

             *Approximate river mile or downstream extent of diffuse, non-point sources.




 6.3.        Results & Discussion

 6.3.1.      Compilation and Analysis of PCB Discharge Rates into the Spokane River
             Studies and surveys conducted by Serdar et al. (2011), Parsons and Terragraphics Inc. (2007),
             and LimnoTech on behalf of SRRTTF (LimnoTech 2015, LimnoTech 2016a, LimnoTech 2016b,
             LimnoTech 2017, LimnoTech 2019), and the Expert Report of Dilks (2019), indicate that the
             51 mile section of the Spokane River between Trent Avenue Bridge (RM 85.3) and Long Lake
             Dam (RM 33.9) receives inputs of PCBs from several sources. These include the three City of


                                                                                                         60


                                                                                                              000778
Case 2:15-cv-00201-SMJ         ECF No. 423         filed 01/29/20      PageID.24358 Page 62 of 314




           Spokane sources, two tributaries (i.e. Latah/Hangman Creek, and Little Spokane River), a
           municipal WWTP, an industrial WWTP, groundwater inputs, and resuspension of PCBs from
           Lake Spokane sediments (Table 13). The upstream PCB loads at Trent Avenue Bridge include
           PCBs from Lake Coeur d’Alene, which feeds the Spokane River, as well as inputs from
           municipal, and industrial discharges, stormwater and groundwater, as documented in
           LimnoTech (2016a). Water from Lake Coeur d’Alene contains PCBs and is the largest source
           of water to the River and it is therefore expected to be a primary source of PCBs to the
           Spokane River, as described in Serdar et al. (2011), LimnoTech (2016a). Between Long Lake
           Dam (RM 33.9) and Little Falls Dam (RM 29.3) there is a Tribal Fish Hatchery on Chamokane
           Creek, a tributary of the Spokane River, which is expected to be a minor contributor of PCBs
           to the Spokane River (Dilks 2019). The three City of Spokane facilities are the focus of this
           opinion.

 6.3.1.1   Baseline Time Period Analysis
           For the 2003-2007 baseline period, Dilks (2019) estimated that by the time river water
           reached the area of the River influenced by the City of Spokane discharges, a total of 1148 to
           1890 mg of PCB per day was added to the Spokane River. During this period, the City of
           Spokane added 129 mg PCB/d from stormwater (MS4) discharges, 36 mg PCB/d from CSO
           discharges and 194 mg PCB/d from the City of Spokane RPWRF. The combined discharge of
           PCBs by the City of Spokane during the baseline period amounted to 359 mg/d. Within and
           downstream of the City of Spokane sources, there were additional inputs of PCBs from Latah
           (Hangman) Creek, the Little Spokane River, groundwater, and Lake Spokane sediments at a
           combined rate of between 157 and 335 mg/d. Throughout the baseline period, the City of
           Spokane facilities contributions amounted to 22% (lower bound loading estimate) to 14%
           (upper bound loadings estimate) of the total known inputs of PCBs to the Spokane River. The
           PCBs in Spokane River upstream of the City of Spokane facilities at Trent Avenue station
           accounted for between 66% (lower bound loading estimate) to 71% (upper bound loadings
           estimate) of the total PCB loads in the River at Long Lake Dam (RM 33.9). Other sources such
           as Inland Empire Paper WWTP (2 to 3%), tributaries (5 to 10%) and groundwater in the
           Above Nine Mile reach (3 to 4%) contributed the majority of the remainder of PCBs added to
           the River.

 6.3.1.2   Intermediary (2012) Time Period Analysis
           For the 2012 time period, Dilks (2019) estimated that PCB loads present in the Spokane River
           upstream of the City of Spokane sources totalled 1166 to 1908 mg of PCB per day. These are
           higher than those estimated for the baseline period, mainly due to increased PCB loads from
           the Inland Empire Paper WWTP. The City of Spokane inputs in 2012 were lower than those


                                                                                                           61


                                                                                                                000779
Case 2:15-cv-00201-SMJ         ECF No. 423        filed 01/29/20     PageID.24359 Page 63 of 314




           during the baseline period and totalled 159 mg PCB/d, with 47 mg/d discharged in
           stormwater, 9 mg/d from CSOs and 103 mg/d from the RPWRF. This represents a reduction
           in PCB discharges from the City of Spokane of 359-159 = 200 mg/d (or 56%). Other sources
           between and downstream from the City of Spokane discharges were estimated to remain
           unchanged since the baseline period. Overall, PCBs discharged by the City of Spokane
           facilities comprised a smaller proportion of the total PCBs in the Spokane River in 2012
           compared to the baseline period (i.e. approximately 7% [upper bound loading estimate] to
           11% [lower bound loading estimate] of the total known PCB inputs). Spokane River PCB loads
           at the upstream Trent Avenue station comprised approximately three-quarters of the total
           PCB loads in the River at Long Lake Dam (RM 33.9).

 6.3.1.3   Current (2018) Time Period Analysis
           Between 2003-2007 and 2018, PCB discharges from upstream of the City of Spokane sources
           increased by 3 to 4% to between 1192 to 1939 mg PCB/d, largely because PCB discharges
           from Inland Empire Paper and the Spokane County WWTP were higher in 2018 than in the
           baseline period. However, between 2003-2007 and 2018, the combined discharge of PCBs by
           the City of Spokane sources fell from 359 mg/d to between 114 mg/d and 126 mg/d. The
           decline in PCB discharges by the three City of Spokane facilities between 2003-2007 and
           2018 was therefore between 359-126 = 233 mg/d and 359-114 = 245 mg/d (or 65 to 68%).
           City of Spokane sources also discharged lower amounts of PCBs in 2018 (114 to 126 mg/d)
           compared to 2012 (159 mg/d). Inputs of PCBs downstream of the City of Spokane sources
           remained unchanged since 2003-2007 (i.e., 157 to 335 mg/d). In 2018, the City of Spokane
           sources accounted for only 5% (upper bound loadings estimate) to 8% (lower bound loadings
           estimate) of total PCBs discharged into the Spokane River. Consistent with the 2012 time
           period, upstream sources of PCBs at the Trent Avenue station represented approximately
           three-quarters of the total PCB loads in the Spokane River present at Long Lake Dam (RM
           33.9).

 6.3.1.4   Expected Changes in Concentrations between Baseline, 2012 and Current
           Because of the linearity of the relationship between PCB inputs and resulting concentrations
           of PCBs in water, sediments and fish reached over time, it is possible to estimate the decline
           in the concentrations of PCBs in water, sediments and fish from the proportional decline in
           PCB loadings. Two figures illustrate the expected declines in concentrations of PCBs due to
           changes in PCB discharges between time periods , as a function of river mile: Figure 9 shows
           the expected changes from baseline to current; and Figure 10 shows the changes from 2012
           and current (for predicting current PCB concentrations in fish). Figure 9 shows that between
           RM 85.3 and 78.5, concentrations are expected to increase by 2.6 to 3.8% due to the


                                                                                                         62


                                                                                                              000780
Case 2:15-cv-00201-SMJ          ECF No. 423       filed 01/29/20      PageID.24360 Page 64 of 314




           increases in PCB discharges from Inland Empire Paper and the Spokane County WWTP. The
           combined reductions of PCB discharges at the City of Spokane sources over the period
           between 2003-2007 and 2018 are expected to reduce concentrations of PCBs in water,
           sediment and fish by approximately 7.1 to 12% in sections of the River downstream of the
           City of Spokane facilities.

           Figure 10 shows that differences in overall loadings (and expected concentrations) between
           2012 and 2018 are small. PCB concentrations in media upstream from the City of Spokane
           (between RM 85.3 and 78.5) are expected to have increased by 1.6% to 2.2% due to
           increases in PCB discharges from Inland Empire Paper and the Spokane County WWTPs. Due
           to reductions in PCBs discharged by the City of Spokane between 2012 and 2018, PCB
           concentrations in media downstream of the City of Spokane sources are expected to be the
           same or slightly lower (i.e. <0.1% to 1.3% lower) in 2018 than those in 2012. The effect of
           PCB discharge reductions at the City of Spokane facilities on the concentrations of PCBs
           downstream from the City of Spokane, are largely off-set by upstream PCB loadings increases
           between 2012 and 2018.

           Results of the hypothetical scenario, which explores the changes in PCB discharges to the
           Spokane River under the assumption that the City of Spokane did no further upgrades to the
           systems to reduce their PCB discharges after 2012, are provided in Attachment C. Under
           these conditions, PCB discharges to the River would have increased between 2012 and 2018
           for all river sections downstream of RM 80.2 (i.e. by 1.6% to 2.2% in Above Monroe [RM
           80.2-74.0], and 1.3% to 1.8% between RM 74.0 and 29.3). This demonstrates that, if the City
           of Spokane had not implemented system upgrades that reduced PCB discharges to the River,
           concentrations of PCBs in fish and other media would be expected to have increased
           between 2012 and 2018, due to increases in PCB discharges from other sources that
           occurred between these periods.

 6.3.1.5   Future Predictions
           Trapp (2019) projected future PCB loadings estimates for the City of Spokane
           facilities/systems for three different levels of treatment or remedial options. Trapp (2019)
           estimates that PCBs inputs by the City of Spokane can be expected to fall to combined rates
           between 26.66 mg/d and 27.59 mg/d. These values indicate that all three levels of treatment
           yield similar PCB discharges from the City of Spokane sources, with the RPWRF being the
           largest of the three sources (Table 13). The expected reductions in future PCB discharges by
           the City of Spokane constitute an approximately 4 to 5-fold decline compared to PCB
           discharges by the City of Spokane sources in 2018. These future PCB discharge rates also
           constitute an approximately 13-fold reduction in PCBs loads from City of Spokane since the


                                                                                                          63


                                                                                                               000781
Case 2:15-cv-00201-SMJ        ECF No. 423        filed 01/29/20      PageID.24361 Page 65 of 314




         baseline time period. Based on these estimates, a reduction in the concentration of PCBs in
         water, sediments and fish can be anticipated.

         Figure 11 (highest City of Spokane treatment level), Figure 12 (medium City of Spokane
         treatment level), and Figure 13 (lowest City of Spokane treatment level) illustrate the relative
         reductions in concentrations of PCBs that are forecasted in the future relative to 2018 levels,
         as a result of declines in PCB inputs due to additional PCB remedial efforts at the City of
         Spokane facilities. No reductions in concentrations of PCBs in water, sediment and fish are
         expected above RM 80.2 (Upriver Dam) because this section of the River is upstream of the
         City of Spokane sources and not affected by upgrades at the City of Spokane facilities.
         Reductions in concentrations of PCBs of between 0.8 to 1.3% are anticipated between RM
         80.2 and 74.0 (Above Monroe) for all three levels of treatment.

         Figure 11 to Figure 13 show that downstream of all of the City of Spokane facilities, between
         RM 78.5 and 58.1 (Above Nine Mile), concentrations of PCBs in water, sediment and fish can
         be expected to fall after 2018 by 4.5 to 6.0%, if the largest reductions in PCB discharges (i.e.
         higher level of treatment) are achieved, and by 4.4 to 5.9%, if the lower or mid-level
         reductions in PCB discharges (i.e. lower or mid-level of treatment) are achieved. In Lake
         Spokane and Little Falls Pool (RM 58.1 to 29.3), future concentrations are expected to be 4.2
         to 5.9% lower than current, if the higher level of treatment is applied, and 4.1 to 5.9% lower
         than current, if the lower or mid-level of treatment is applied. These anticipated reductions
         in PCB concentrations assume that only PCB discharges at the City of Spokane facilities
         decline after 2018. If PCB discharge levels from other sources also decline, greater reductions
         in concentrations of PCBs can be expected. After modifications are realized, the City of
         Spokane will only contribute 1.2 to 1.9% (if the higher treatment levels are achieved) or 1.2
         to 2.0% (if the lower or mid treatment levels are achieved) of the total estimated PCB
         loadings to the Spokane River.

         Figure 14 to 16 show the changes in concentrations of PCBs in fish anticipated for the three
         future scenarios, relative to concentrations of PCBs in fish measured in 2012: Figure 14
         depicts reductions as a result of the highest City of Spokane treatment level, Figure 15 for
         the medium treatment level, and Figure 16 for the lowest City of Spokane treatment level.
         Due to increases in PCB discharges between 2012 and 2018 from non-City of Spokane
         sources upstream from the City of Spokane facilities, a slight (i.e. 0.7%) increase in the
         concentrations of PCBs in fish is predicted in the future in the Above Monroe stretch (RM
         80.2 to 74.0), relative to 2012 levels. In the Above Nine Mile compartment (RM 74.0-58.1),
         concentrations of PCBs in fish in the future are expected to be 4.5 to 7.2% lower than those
         in 2012 for all levels of treatment. In Lake Spokane and Little Falls Pool (RM 58.1-29.3)



                                                                                                        64


                                                                                                             000782
Case 2:15-cv-00201-SMJ       ECF No. 423        filed 01/29/20      PageID.24362 Page 66 of 314




         concentrations of PCBs in fish are expected to fall by 4.2 to 7.2% (highest treatment) or 4.2
         to 7.1% (lowest and mid-level treatment).

         Results of the hypothetical scenario, where future City of Spokane PCB discharge rates are
         maintained constant at 2012 rates, illustrate that PCB loadings to the River in the future
         would be expected to be 1.3% to 2.2% higher than 2012 levels, in all sections of the Spokane
         River between RM 74.0-29.3 (for both upper and lower-bound estimates Attachment C). This
         increase is due to increases in loadings between 2012 and 2018 from non-City of Spokane
         sources. The difference between the “no further treatment” and “planned treatment”
         conditions can be used to show the actual improvement in PCB loadings as a result of
         treatment by the City of Spokane. For example, in the Above Nine Mile reach (RM 74.0-58.1),
         the City of Spokane future treatment actually reduces PCB loadings to the Spokane River,
         relative to 2012 levels, by up to 9.0% (= maximum reduction with treatment [7.2%] +
         maximum increase without treatment [1.8%]) (Attachment C).

         The anticipated reductions of PCB concentrations in water, sediments and fish from
         2018/2012 levels can be used to estimate the concentrations of PCBs in water, sediments
         and fish that can be expected to be achieved over time. This involves assessing the
         concentrations of PCBs in water, sediments and fish in 2018/2012 and applying the
         reductions in expected concentrations estimated from the reductions in PCB discharge
         levels. The following section presents the compilation and analysis of concentrations of PCBs
         in water, sediments and fish of the Spokane River for the period of 1990 and 2018, for which
         measurements are available. This is followed by a section that includes the calculation of
         expected concentrations of PCBs in fish as a result of the treatment option considered by the
         City of Spokane.




                                                                                                         65


                                                                                                              000783
                                                                Case 2:15-cv-00201-SMJ           ECF No. 423       filed 01/29/20      PageID.24363 Page 67 of 314



Table 13:   Loadings (mg/d) of PCBs discharged into the Spokane River from various sources for baseline (2003-2007), intermediary (2012), current (2018) and future scenarios (2030).



                                                            Lower Bound         Upper Bound                                               Lower Bound         Lower Bound
                                                                                                   Lower Bound        Lower Bound
                                                            PCB Loadings        PCB Loadings                                              PCB Loadings        PCB Loadings      High Treatment    Mid Treatment    Low Treatment
                                                 River                                             PCB Loadings       PCB Loadings                                             §                  §                §
Loadings Sources/In-River Locations                          2003-2007           2003-2007                                                2018 Current        2018 Current       PCB Loadings -   PCB Loadings -    PCB Loadings -
                                                 Mile                                              2012 Scenario      2012 Scenario
                                                              Scenario            Scenario                                                  Scenario            Scenario          2030 Future      2030 Future      2030 Future
                                                                                                     (mg/day)           (mg/day)
                                                              (mg/day)            (mg/day)                                                  (mg/day)            (mg/day)
                                                             Dilks (2019)        Dilks (2019)       Dilks (2019)        Dilks (2019)       Dilks (2019)        Dilks (2019)        MBI (2019)         MBI (2019)       MBI (2019)

Totals at Trent Avenue Bridge                    85.3           1103              1845                 1103              1845                 1103              1845
  Inland Empire Paper WWTP                       82.6           45.0              45.0                 62.6              62.6                 83.0              86.2
Totals at Upriver Dam                            80.2           1148              1890                 1166              1907                 1186              1931
  Spokane County WWTP                            78.5             0                 0                  0.38              0.38                 5.99              7.79
  City of Spokane MS4 u/s of Monroe St. Dam      74.0*          33.3              33.3                 12.3              12.3                 9.83              9.83                    0              6.05E-05         8.12E-03
  City of Spokane CSO u/s of Monroe St. Dam      74.0*          3.53              3.53                 5.28              5.28                 5.63              5.63                    0                  0                0
Totals at Monroe St. Dam                         74.0           1185              1926                 1184              1925                 1208              1954
  Hangman (Latah) Creek                          72.4           83.3             101.4                 83.3             101.4                 83.3             101.4
  City of Spokane RPWRF (WWTP)                   67.4           194.0            194.0                 102.7            102.7                 71.2              83.8                 26.64               27.53           27.53
  City of Spokane MS4 u/s of Nine Mile Dam       58.1*          95.7              95.7                 35.2              35.2                 26.8              26.8                   0               3.72E-04          0.031
  City of Spokane CSO u/s of Nine Mile Dam       58.1*          32.4              32.4                 3.65              3.65                 0.25              0.25                 0.022               0.022           0.022
  Groundwater USGS Gauge to Nine Mile            58.1*          66.1              66.1                 66.1              66.1                 66.1              66.1
Totals at Nine Mile Dam                          58.1           1657              2416                 1475              2234                 1455              2232
  Little Spokane River                           56.3            7.6             148.0                  7.6             148.0                  7.6             148.0
  Lake Spokane Sediments                         33.9*          0.05              20.0                 0.05              20.0                 0.05              20.0
Totals at Long Lake Dam                          33.9           1664              2584                 1483              2402                 1463              2400
Totals at Little Falls Dam                       29.3       assumed same as Long Lake Dam          assumed same as Long Lake Dam          assumed same as Long Lake Dam

   Total City of Spokane Sources                                358.9               358.9              159.1               159.1              113.6               126.3              26.66              27.55            27.59

Notes:
* Represents diffuse or multiple sources; approximate or lower River Mile limit is provided.
 § Three future PCB loadings levels for City of Spokane sources were based on: three PCB discharge rates for MS4 stormwater, two levels of treatment for the RPWRF, and one PCB discharge rate for CSOs.
MBI = Michael Baker International
In-river locations
City of Spokane sources




                                                                                                                                                                                                                                     66


                                                                                                                                                                                                                                          000784
                                                                                     Case 2:15-cv-00201-SMJ                                            ECF No. 423         filed 01/29/20   PageID.24364 Page 68 of 314




                                                                                                                     Change from Baseline to Current
                                                                                                                                                                                                                                                                  10%
                                                                                                                                                                                                                               Lower Bound Loading Estimate
                                                                                                                                                                                                                               Upper Bound Loading Estimate




                                                                                                                                                                                                                                                                         Change in Concentration of PCBs (%)
                                                                                                                                                                                                                               River Mile Markers                 5%




                                                                                                                                                                                                                                                                             Current Relative to Baseline
                                                                                                                                                                                                                               City of Spokane Inputs
                                                                                                                                                  River Mile
                                                                                                                                                                                                                                                                  0%
        120                                 100                                       80                                                              60                           40                                               20                        0


                                                                                                                                                                                                                                                                  -5%



                                                                                                                                                                                                                                                                  -10%



                                                                                                                                                                                                                                                                  -15%

                                                                                              City of Spokane MS4 & CSO Inputs

                                                                                                                                                                                                                                                                  -20%




                                                                                                                          City of Spokane RPWRF
                      Lake Coeur d'Alenne




                                                               Trent Avenue Bridge




                                                                                                     Monroe Street Dam
                                                                                      Upriver Dam




                                                                                                                                                           Nine Mile Dam
                                                  State Line




                                                                                                                                                                                                            Little Falls Dam
                                                                                                                                                                                            Long Lake Dam
Figure 9:     Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane River between 2003-2007 and 2018 as a function of river mile, based on changes in PCB discharges. The blue line assumes that
              non-detected concentrations of PCB congeners or Aroclors in water are equal to zero for determination of PCB loadings. The green line assumes that non-detected concentrations of PCB congeners or Aroclors in water are
              equal to the detection limit for determination of PCB loadings. Actual expected changes in concentrations are expected to fall in between the blue and green lines.




                                                                                                                                                                                                                                                                                                               67


                                                                                                                                                                                                                                                                                                                    000785
                                                                                     Case 2:15-cv-00201-SMJ                                          ECF No. 423         filed 01/29/20   PageID.24365 Page 69 of 314




                                                                                                                   Change from 2012 to Current Scenario
                                                                                                                                                                                                                                                                10%
                                                                                                                                                                                                                             Lower Bound Loading Estimate
                                                                                                                                                                                                                             Upper Bound Loading Estimate




                                                                                                                                                                                                                                                                       Change in Concentration of PCBs (%)
                                                                                                                                                                                                                             River Mile Markers                 5%




                                                                                                                                                                                                                                                                            Current Relative to 2012
                                                                                                                                                                                                                             City of Spokane Inputs
                                                                                                                                                River Mile
                                                                                                                                                                                                                                                                0%
        120                                 100                                       80                                                            60                           40                                               20                        0


                                                                                                                                                                                                                                                                -5%



                                                                                                                                                                                                                                                                -10%



                                                                                                                                                                                                                                                                -15%

                                                                                            City of Spokane MS4 & CSO Inputs

                                                                                                                                                                                                                                                                -20%
                                                               Trent Avenue Bridge




                                                                                                                        City of Spokane RPWRF
                      Lake Coeur d'Alenne




                                                                                                    Monroe Street Dam




                                                                                                                                                         Nine Mile Dam
                                                                                      Upriver Dam
                                                  State Line




                                                                                                                                                                                                          Little Falls Dam
                                                                                                                                                                                          Long Lake Dam
Figure 10:    Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane River between 2012 and 2018 as a function of river mile, based on changes in PCB discharges. The blue line assumes that non-
              detected concentrations of PCB congeners or Aroclors in water are equal to zero for determination of PCB loadings. The green line assumes that non-detected concentrations of PCB congeners or Aroclors in water are equal
              to the detection limit for determination of PCB loadings. Actual expected changes in concentrations are expected to fall in between the blue and green lines.




                                                                                                                                                                                                                                                                                                             68


                                                                                                                                                                                                                                                                                                                  000786
                                                                                     Case 2:15-cv-00201-SMJ                                            ECF No. 423         filed 01/29/20   PageID.24366 Page 70 of 314




                                                                                                                    Change from Current to Future: Highest Treatment Level
                                                                                                                                                                                                                                                                  10%
                                                                                                                                                                                                                               Lower Bound Loading Estimate
                                                                                                                                                                                                                               Upper Bound Loading Estimate




                                                                                                                                                                                                                                                                         Change in Concentration of PCBs (%)
                                                                                                                                                                                                                               River Mile Markers                 5%




                                                                                                                                                                                                                                                                             Future Relative to Current
                                                                                                                                                                                                                               City of Spokane Inputs
                                                                                                                                                  River Mile
                                                                                                                                                                                                                                                                  0%
        120                                 100                                       80                                                              60                           40                                               20                        0


                                                                                                                                                                                                                                                                  -5%



                                                                                                                                                                                                                                                                  -10%



                                                                                                                                                                                                                                                                  -15%

                                                                                           City of Spokane MS4 & CSO Inputs

                                                                                                                                                                                                                                                                  -20%




                                                                                                                          City of Spokane RPWRF
                      Lake Coeur d'Alenne




                                                                                                    Monroe Street Dam




                                                                                                                                                           Nine Mile Dam
                                                                                      Upriver Dam
                                                  State Line




                                                               Trent Avenue Bridge




                                                                                                                                                                                                            Little Falls Dam
                                                                                                                                                                                            Long Lake Dam
Figure 11:    Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane River from 2018 levels as a function of river mile in response to maximum treatment at the City of Spokane facilities. The blue line
              assumes that non-detected concentrations of PCB congeners or Aroclors in water are equal to zero for determination of PCB loadings. The green line assumes that non-detected concentrations of PCB congeners or Aroclors
              in water are equal to the detection limit for determination of PCB loadings. Actual changes in concentrations are expected to fall in between the blue and green lines.




                                                                                                                                                                                                                                                                                                               69


                                                                                                                                                                                                                                                                                                                    000787
                                                                                     Case 2:15-cv-00201-SMJ                                           ECF No. 423         filed 01/29/20   PageID.24367 Page 71 of 314




                                                                                                                    Change from Current to Future: Medium Treatment Level
                                                                                                                                                                                                                                                                 10%
                                                                                                                                                                                                                              Lower Bound Loading Estimate
                                                                                                                                                                                                                              Upper Bound Loading Estimate




                                                                                                                                                                                                                                                                        Change in Concentration of PCBs (%)
                                                                                                                                                                                                                              River Mile Markers                 5%




                                                                                                                                                                                                                                                                            Future Relative to Current
                                                                                                                                                                                                                              City of Spokane Inputs
                                                                                                                                                 River Mile
                                                                                                                                                                                                                                                                 0%
        120                                 100                                       80                                                             60                           40                                               20                        0


                                                                                                                                                                                                                                                                 -5%



                                                                                                                                                                                                                                                                 -10%



                                                                                                                                                                                                                                                                 -15%

                                                                                             City of Spokane MS4 & CSO Inputs

                                                                                                                                                                                                                                                                 -20%




                                                                                                                         City of Spokane RPWRF
                      Lake Coeur d'Alenne




                                                                                                    Monroe Street Dam
                                                               Trent Avenue Bridge




                                                                                                                                                          Nine Mile Dam
                                                                                      Upriver Dam
                                                  State Line




                                                                                                                                                                                                           Little Falls Dam
                                                                                                                                                                                           Long Lake Dam
Figure 12:    Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane River from 2018 levels as a function of river mile in response to an intermediary level of treatment at the City of Spokane facilities.
              The blue line assumes that non-detected concentrations of PCB congeners or Aroclors in water are equal to zero for determination of PCB loadings. The green line assumes that non-detected concentrations of PCB
              congeners or Aroclors in water are equal to the detection limit for determination of PCB loadings. Actual changes in concentrations are expected to fall in between the blue and green lines.




                                                                                                                                                                                                                                                                                                              70


                                                                                                                                                                                                                                                                                                                   000788
                                                                                     Case 2:15-cv-00201-SMJ                                           ECF No. 423         filed 01/29/20   PageID.24368 Page 72 of 314




                                                                                                                    Change from Current to Future: Lowest Treatment Level
                                                                                                                                                                                                                                                                 10%
                                                                                                                                                                                                                              Lower Bound Loading Estimate
                                                                                                                                                                                                                              Upper Bound Loading Estimate




                                                                                                                                                                                                                                                                        Change in Concentration of PCBs (%)
                                                                                                                                                                                                                              River Mile Markers                 5%




                                                                                                                                                                                                                                                                            Future Relative to Current
                                                                                                                                                                                                                              City of Spokane Inputs
                                                                                                                                                 River Mile
                                                                                                                                                                                                                                                                 0%
        120                                 100                                       80                                                             60                           40                                               20                        0


                                                                                                                                                                                                                                                                 -5%



                                                                                                                                                                                                                                                                 -10%



                                                                                                                                                                                                                                                                 -15%

                                                                                             City of Spokane MS4 & CSO Inputs

                                                                                                                                                                                                                                                                 -20%




                                                                                                                         City of Spokane RPWRF
                      Lake Coeur d'Alenne




                                                                                                    Monroe Street Dam
                                                               Trent Avenue Bridge




                                                                                                                                                          Nine Mile Dam
                                                                                      Upriver Dam
                                                  State Line




                                                                                                                                                                                                           Little Falls Dam
                                                                                                                                                                                           Long Lake Dam
Figure 13:    Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane River from 2018 levels as a function of river mile in response to minimum treatment at the City of Spokane facilities. The blue line
              assumes that non-detected concentrations of PCB congeners or Aroclors in water are equal to zero for determination of PCB loadings. The green line assumes that non-detected concentrations of PCB congeners or Aroclors
              in water are equal to the detection limit for determination of PCB loadings. Actual changes in concentrations are expected to fall in between the green and the blue lines.




                                                                                                                                                                                                                                                                                                              71


                                                                                                                                                                                                                                                                                                                   000789
                                                                                     Case 2:15-cv-00201-SMJ                                           ECF No. 423         filed 01/29/20   PageID.24369 Page 73 of 314




                                                                                                                    Change from 2012 to Future: Highest Treatment Level
                                                                                                                                                                                                                                                                 10%
                                                                                                                                                                                                                              Lower Bound Loading Estimate
                                                                                                                                                                                                                              Upper Bound Loading Estimate




                                                                                                                                                                                                                                                                        Change in Concentration of PCBs (%)
                                                                                                                                                                                                                              River Mile Markers                 5%

                                                                                                                                                                                                                              City of Spokane Inputs




                                                                                                                                                                                                                                                                              Future Relative to 2012
                                                                                                                                                 River Mile
                                                                                                                                                                                                                                                                 0%
        120                                 100                                       80                                                             60                           40                                               20                        0


                                                                                                                                                                                                                                                                 -5%



                                                                                                                                                                                                                                                                 -10%



                                                                                                                                                                                                                                                                 -15%
                                                                                            City of Spokane MS4 & CSO Inputs

                                                                                                                                                                                                                                                                 -20%
                                                               Trent Avenue Bridge




                                                                                                                         City of Spokane RPWRF
                      Lake Coeur d'Alenne




                                                                                                    Monroe Street Dam




                                                                                                                                                          Nine Mile Dam
                                                                                      Upriver Dam
                                                  State Line




                                                                                                                                                                                                           Little Falls Dam
                                                                                                                                                                                           Long Lake Dam
Figure 14:    Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane River from 2012 levels as a function of river mile in response to maximum treatment at the City of Spokane facilities. The blue line
              assumes that non-detected concentrations of PCB congeners or Aroclors in water are equal to zero for determination of PCB loadings. The green line assumes that non-detected concentrations of PCB congeners or Aroclors
              in water are equal to the detection limit for determination of PCB loadings. Actual changes in concentrations are expected to fall in between the green and the blue lines.




                                                                                                                                                                                                                                                                                                              72


                                                                                                                                                                                                                                                                                                                   000790
                                                                                     Case 2:15-cv-00201-SMJ                                           ECF No. 423         filed 01/29/20   PageID.24370 Page 74 of 314




                                                                                                                    Change from 2012 to Future: Medium Treatment Level
                                                                                                                                                                                                                                                                 10%
                                                                                                                                                                                                                              Lower Bound Loading Estimate
                                                                                                                                                                                                                              Upper Bound Loading Estimate




                                                                                                                                                                                                                                                                        Change in Concentration of PCBs (%)
                                                                                                                                                                                                                              River Mile Markers                 5%

                                                                                                                                                                                                                              City of Spokane Inputs




                                                                                                                                                                                                                                                                              Future Relative to 2012
                                                                                                                                                 River Mile
                                                                                                                                                                                                                                                                 0%
        120                                 100                                       80                                                             60                           40                                               20                        0


                                                                                                                                                                                                                                                                 -5%



                                                                                                                                                                                                                                                                 -10%



                                                                                                                                                                                                                                                                 -15%

                                                                                             City of Spokane MS4 & CSO Inputs

                                                                                                                                                                                                                                                                 -20%




                                                                                                                         City of Spokane RPWRF
                      Lake Coeur d'Alenne




                                                                                                    Monroe Street Dam
                                                               Trent Avenue Bridge




                                                                                                                                                          Nine Mile Dam
                                                                                      Upriver Dam
                                                  State Line




                                                                                                                                                                                                           Little Falls Dam
                                                                                                                                                                                           Long Lake Dam
Figure 15:    Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane River from 2012 levels as a function of river mile in response to an intermediary level of treatment at the City of Spokane facilities.
              The blue line assumes that non-detected concentrations of PCB congeners or Aroclors in water are equal to zero for determination of PCB loadings. The green line assumes that non-detected concentrations of PCB
              congeners or Aroclors in water are equal to the detection limit for determination of PCB loadings. Actual changes in concentrations are expected to fall in between the green and the blue lines.




                                                                                                                                                                                                                                                                                                              73


                                                                                                                                                                                                                                                                                                                   000791
                                                                                     Case 2:15-cv-00201-SMJ                                           ECF No. 423         filed 01/29/20   PageID.24371 Page 75 of 314




                                                                                                                    Change from 2012 to Future: Lowest Treatment Level
                                                                                                                                                                                                                                                                 10%
                                                                                                                                                                                                                              Lower Bound Loading Estimate
                                                                                                                                                                                                                              Upper Bound Loading Estimate




                                                                                                                                                                                                                                                                        Change in Concentration of PCBs (%)
                                                                                                                                                                                                                              River Mile Markers                 5%

                                                                                                                                                                                                                              City of Spokane Inputs




                                                                                                                                                                                                                                                                              Future Relative to 2012
                                                                                                                                                 River Mile
                                                                                                                                                                                                                                                                 0%
        120                                 100                                       80                                                             60                           40                                               20                        0


                                                                                                                                                                                                                                                                 -5%



                                                                                                                                                                                                                                                                 -10%



                                                                                                                                                                                                                                                                 -15%

                                                                                             City of Spokane MS4 & CSO Inputs

                                                                                                                                                                                                                                                                 -20%




                                                                                                                         City of Spokane RPWRF
                                                               Trent Avenue Bridge
                      Lake Coeur d'Alenne




                                                                                                    Monroe Street Dam




                                                                                                                                                          Nine Mile Dam
                                                                                      Upriver Dam
                                                  State Line




                                                                                                                                                                                                           Little Falls Dam
                                                                                                                                                                                           Long Lake Dam
Figure 16:    Expected changes (%) in concentrations of PCBs in water, sediment and fish of the Spokane River from 2012 levels as a function of river mile in response to minimum treatment at the City of Spokane facilities. The blue line
              assumes that non-detected concentrations of PCB congeners or Aroclors in water are equal to zero for determination of PCB loadings. The green line assumes that non-detected concentrations of PCB congeners or Aroclors
              in water are equal to the detection limit for determination of PCB loadings. Actual changes in concentrations are expected to fall in between the green and the blue lines.




                                                                                                                                                                                                                                                                                                              74


                                                                                                                                                                                                                                                                                                                   000792
Case 2:15-cv-00201-SMJ                         ECF No. 423              filed 01/29/20             PageID.24372 Page 76 of 314




 6.3.2.            Compilation and Analysis of Concentrations of PCBs in Water, Sediments and Fish of the
                   Spokane River
                   This section presents the compilation and analysis of concentrations of PCBs in water,
                   sediments and fish of the Spokane River for the period of 1990 and 2018, for which
                   measurements are available. The analysis explores whether there are apparent differences in
                   concentrations of PCBs in media of the Spokane River between earlier (i.e. before 2007) and
                   more recent (i.e. since 2012) time periods.

 6.3.2.1           Surface Water
                   Information on the concentrations of PCBs in surface water from the Spokane River was
                   compiled from several sources which are summarized in Attachment C. In the great majority
                   of studies (i.e. nine out of ten studies), concentrations of PCBs in water were expressed in
                   terms of the total concentration of PCB congeners, which is the concentration derived by
                   adding up the concentrations of all measured PCB congeners. Only one study reported
                   measured concentrations of PCBs in terms of the sum of Aroclors. Concentrations expressed
                   in terms of the sum of Aroclors were compared to concentrations expressed in terms of the
                   sum of PCB congeners without any conversion. The rationale for doing this is that when the
                   same samples were analyzed using the two different methods for analysis, concentrations of
                   PCBs expressed in terms of the sum of Aroclors were so close to the concentrations
                   expressed in terms of the total concentration of PCB congeners that a conversion was not
                   considered meaningful given the magnitude of other areas of uncertainty in the data. While
                   this comparative analysis involved fish samples instead of water samples, there is no reason
                   to assume that the near equality of concentrations based on sum of Aroclors and PCB
                   congeners would be significantly different between the sample types.

                   One of the difficulties of analyzing PCB congeners in river water is that the concentrations of
                   individual congeners are often very low. This makes them very hard to detect with analytical
                   instruments. This difficulty was also encountered in the analysis of water samples from the
                   Spokane River. In many of the water samples from the Spokane River, concentrations of
                   most of the PCB congeners that were included in the analysis were reported to be below the
                   detection limit10. In some water samples, not a single PCB congener could be detected above
                   the detection limit. The water sample with the highest fraction of detected PCB congeners



 10
      For the total PCB concentrations in water, this also includes congeners that were less that 3x the method blank (see Footnote 7).




                                                                                                                                          75


                                                                                                                                               000793
Case 2:15-cv-00201-SMJ        ECF No. 423         filed 01/29/20      PageID.24373 Page 77 of 314




         was collected Above Nine Mile Dam in 2014. In this sample, approximately 68% of the
         congeners investigated were detected at concentrations above the detection limit and 32%
         of the congeners were below the detection limit. A higher fraction of detected PCBs
         congeners in a water sample does not necessarily mean that the concentration of total PCBs
         in water is greater than that in a sample with a lower reported fraction of detected PCB
         congeners. This is because detection limits can vary greatly between labs and even between
         different analyses as a result of the operating conditions of the analytical instruments used
         to analyze the water sample and the quality of analysis process.

         Because a considerable number of PCB congeners in water samples were below the
         detection limit, it is not possible to state precisely the concentration of the PCBs (i.e. all the
         congeners combined) in the water samples. However, it is possible to determine the range
         between the minimum and maximum concentration of PCBs in water. The minimum
         concentration of PCBs in the water can be determined by assuming that the concentrations
         of non-detected PCB congeners (or Aroclors) were absent altogether (i.e. concentration of
         zero). The maximum concentration of PCB in the water can be found by assuming that the
         concentrations of non-detected PCB congeners (or Aroclors) were equal to the detection
         limit. The resulting range of concentrations is where the actual concentration of PCBs can be
         expected to be. The midpoint of this range is equivalent to using half the detection limit for
         undetected PCB congeners or Aroclors. If few congeners or Aroclors are detected and/or
         detection limits for PCB congeners or Aroclors are high, then the range of possible
         concentrations of PCBs can be large. However, if the great majority of congeners or Aroclors
         are detected and/or detection limits for PCB congeners or Aroclors are low, then the range
         of possible concentrations of PCBs is small and the concentrations can be determined with
         greater precision than if the less congeners or Aroclors are detected.

         Attachment C provides several statistics to summarize the concentrations of total PCBs in
         water samples from the Spokane River. In cases where multiple samples were collected, the
         PCB concentrations reported in this section represent averages (i.e. arithmetic means) of all
         samples collected within the same year and from the same section of the Spokane River.
         Attachment C illustrates that the earliest reported information on concentrations of PCBs in
         water were studies by Ecology dating back to 2000 (Golding 2001) and 2003 (Serdar et al.
         2011). Concentration data were measured on a regular basis only from 2012-2018. Much of
         the recent data (2014-2018) were collected by LimnoTech on behalf of SRRTTF (LimnoTech
         2015, LimnoTech 2016a, LimnoTech 2016b, LimnoTech 2017, LimnoTech 2019, PGG 2019b)
         and by Ecology (Era-Miller 2014a, Era-Miller and McCall 2017, Hobbs et al. 2019).




                                                                                                          76


                                                                                                               000794
Case 2:15-cv-00201-SMJ       ECF No. 423        filed 01/29/20      PageID.24374 Page 78 of 314




         Figure 17 illustrates the concentrations of PCBs in water of the Spokane River as a function of
         year. Different river sections are shown in different panels. The data points on the plot
         correspond to arithmetic averages calculated using half the detection limit for non-detected
         congeners/Aroclors, and the error bars correspond to averages calculated using the
         detection limit (upper bar) or zero (lower bar) for non-detected congeners/Aroclors. Figure
         17 shows that for all sections of the River, both upstream and downstream of the City of
         Spokane sources, concentrations of PCBs in water decreased since 2000-2003 and between
         2012 and 2018. The greatest declines appear to have taken place in the upper sections of the
         Spokane River. The smallest declines in the concentrations of PCBs in water occurred in the
         lower sections of the river (e.g. RM 58.1-33.9, Above Nine Mile).

         It can, therefore, be concluded that concentrations of PCBs in water of all sections of the
         Spokane River have declined since 2000-2003, and between 2012 and 2018. Declines in the
         concentration of PCB in water are likely due to significant reductions in PCB discharges
         between 2000-2003 and 2018. Upgrades at the City of Spokane facilities, as well as other
         remediation in the River such as capping of historic sediment contamination near Upriver
         Dam/Donkey Island (near RM 80 to 84), likely have contributed significantly to the reduction
         in PCB discharges over the 2000-2003 to 2018 time period.




                                                                                                       77


                                                                                                            000795
                                                                                                         Case 2:15-cv-00201-SMJ                    ECF No. 423   filed 01/29/20   PageID.24375 Page 79 of 314



                                                                             10                                                                                                                                                          100




                               Concentration of PCBs in Water (ng/L)




                                                                                                                                                                                        Concentration of PCBs in Water (ng/L)
                                                                                                                              Above Stateline                                                                                                                                                   Above Nine Mile
                                                                                                                               RM 112-96.1                                                                                                                                                       RM 74.0-58.1
                                                                              1                                                                                                                                                           10



                                                                             0.1                                                                                                                                                           1



                                                                            0.01                                                                                                                                                          0.1



                                                                           0.001                                                                                                                                                         0.01
                                                                                2011   2012     2013          2014          2015        2016       2017                                                                                      2000           2005               2010                2015              2020




                                                                            100                                                                                                                                                           10
                                                                                                                                   Above Upriver                                                                                                                                                 Lake Spokane
                                   Concentration of PCBs in Water (ng/L)




                                                                                                                                                                                                 Concentration of PCBs in Water (ng/L)
                                                                                                                                   RM 96.1-80.2                                                                                                                                                  RM 58.1-33.9
                                                                             10
                                                                                                                                                                                                                                           1


                                                                              1

                                                                                                                                                                                                                                          0.1
                                                                             0.1



                                                                                                                                                                                                                                         0.01
                                                                            0.01
                                                                                                                                                                                                                                             2011   2012    2013     2014      2015      2016      2017    2018      2019
                                                                                1995     2000          2005          2010             2015         2020




                                                                           0.40                                                                                                                                                          2.50
                                                                                                                                                                                                                                                                                                Above Little Falls




                                                                                                                                                                                               Concentration of PCBs in Water (ng/L)
                                                                                                                               Above Monroe
                                Concentration of PCBs in Water (ng/L)




                                                                           0.35
                                                                                                                                RM 80.2-74.0                                                                                             2.00                                                    RM 33.9-29.3
                                                                           0.30

                                                                           0.25                                                                                                                                                          1.50
                                                                           0.20

                                                                           0.15                                                                                                                                                          1.00

                                                                           0.10
                                                                                                                                                                                                                                         0.50
                                                                           0.05

                                                                           0.00                                                                                                                                                          0.00
                                                                               2013    2014     2015          2016          2017        2018       2019                                                                                      2011    2012     2013      2014          2015       2016     2017       2018




Figure 17:   Concentrations of PCBs in water (ng/L) of various sections of the Spokane River (expressed in terms of river miles), as a function of the year of water sample collection. The error bars represent the range of concentrations
             that include the actual concentrations.

                                                                                                                                                                                                                                                                                                                            78


                                                                                                                                                                                                                                                                                                                                 000796
Case 2:15-cv-00201-SMJ         ECF No. 423        filed 01/29/20      PageID.24376 Page 80 of 314




 6.3.2.2   Sediments
           Attachment C summarizes the compilation of the concentrations of PCBs in sediments of the
           Spokane River. As described in Sections 5.1.3 and 5.3, with the exception of Lake Spokane
           and Upriver Dam, much of the Spokane River bottom consists of gravel, cobbles and
           boulders. As a result, long-term monitoring of PCB concentrations in sediments is limited by
           a paucity of sediment and sampling is restricted to areas where sediment is present. There
           are also few PCB sediment studies from recent years (2013-2018). In total, 12 reports
           documented concentrations of PCBs in sediments of the Spokane River. Seven of the 12
           studies reported concentrations of PCBs in sediment in terms of the Aroclors and the
           remaining five studies reported concentrations of PCBs that were determined by adding up
           the concentrations of all measured PCB congeners. The use of different methods of
           measuring and reporting PCB concentrations introduces some uncertainty in the analysis of
           the available PCB concentrations. However, as discussed above for water samples, fish
           samples analyzed by the two methods of analysis tend to produce similar results. Hence, all
           reported PCB concentrations in sediment were used in the same analysis without
           manipulation of the data.

           Since sediment analyses also encountered non-detected PCB congeners and Aroclors, ranges
           of concentrations of total PCBs in river sediments are reported. As for the concentrations of
           PCBs in water, a range of total PCBs was determined, within which the actual concentration
           of total PCBs is expected to be. The minimum was determined by assuming that the
           concentrations of non-detected PCB congeners (or Aroclors) were zero. The maximum was
           determined by assuming that the concentrations of non-detected PCB congeners (or
           Aroclors) are equal to the detection limit. These concentration ranges were determined as
           arithmetic averages of all samples collected within the same year and from the same section
           of the Spokane River. The mid-range sample point shown on the figures corresponds to using
           one-half the detection limit for the non-detected congeners.

           Figure 18 illustrates temporal profiles of the concentrations of PCBs in sediments from
           different parts of the Spokane River between 1990 and 2018. It shows that concentrations of
           PCBs in sediments between RM 96.1 and 80.2 (i.e. Above Upriver, upstream of the City of
           Spokane facilities) fell, initially very rapidly between 1993 and 1994, and after that more
           slowly to concentrations of 1 to 2 mg/kg organic carbon in 2018. Immediately downstream of
           this location, between RM 80.2 and 74.0, (i.e. Above Monroe, upstream of the majority of
           City of Spokane discharges) concentrations of PCBs in sediments also appear to have
           dropped between 1993 and 2013, although a concentration measured in 2018 is not
           consistent with this trend. There are limited data from the 1990s and no data from recent



                                                                                                         79


                                                                                                              000797
Case 2:15-cv-00201-SMJ       ECF No. 423        filed 01/29/20      PageID.24377 Page 81 of 314




         years from the Above Nine Mile (RM 74.0-58.1) river section, downstream of the City of
         Spokane facilities. Concentrations of PCBs in sediments of Lake Spokane, Little Falls Pool, and
         Spokane Arm (RM 58.1 to 0) do not show changes over time and have remained relatively
         constant at concentrations of 1 to 4 mg/kg organic carbon.

         The data compilation indicates that there likely have been significant reductions in the
         concentration of PCBs in sediments over time in locations upstream of the City of Spokane
         facilities. However, for locations downstream of the City of Spokane facilities, there are
         insufficient data to make conclusions about changes in the concentrations of PCBs in
         sediments that may have occurred as a result of modifications at the City of Spokane
         facilities. In some locations downstream of the City of Spokane Facilities (e.g. Above Nine
         Mile), data limitations are a result of minimal sediment in the River.




                                                                                                       80


                                                                                                            000798
                                                                                                              Case 2:15-cv-00201-SMJ          ECF No. 423      filed 01/29/20                                             PageID.24378 Page 82 of 314




                                                           60                                                                                                                                                             60
                                                                                                                             Above Upriver                                                                                                                            Lake Spokane




                                                                                                                                                                           Concentration of PCBs in Sediment (mg/kg OC)
         Concentration of PCBs in Sediment (mg/kg OC)
                                                           50
                                                                                                                             RM 96.1 - 80.2                                                                                                                           RM 58.1 - 33.9
                                                                                                                                                                                                                          50



                                                           40                                                                                                                                                             40



                                                           30                                                                                                                                                             30



                                                           20                                                                                                                                                             20



                                                           10                                                                                                                                                             10



                                                            0                                                                                                                                                              0
                                                             1990          1995          2000          2005           2010          2015          2020                                                                      1990     1995       2000    2005   2010       2015         2020




                                                           30
         Concentration of PCBs in Sediment (mg/kg OC)




                                                                                                                              Above Monroe
                                                           25                                                                 RM 80.2 - 74.0


                                                           20



                                                           15



                                                           10



                                                            5



                                                            0
                                                             1990          1995          2000          2005          2010          2015           2020




Figure 18:                                              Concentrations of PCBs in sediments (mg/kg OC) of various sections of the Spokane River (expressed in terms of river miles (RM)) as a function of the year of sediment sample collection. The error bars represent the range
                                                        of concentrations that include the actual concentrations.




                                                                                                                                                                                                                                                                                              81


                                                                                                                                                                                                                                                                                                   000799
Case 2:15-cv-00201-SMJ          ECF No. 423        filed 01/29/20      PageID.24379 Page 83 of 314




 6.3.2.3   Fish
           Attachment C summarizes the compilation of the concentrations of PCBs in fish of the
           Spokane River. In total, 13 reports documented concentrations of PCBs in 14 species of fish
           of the Spokane River. This section focuses on the three fish species that were sampled most
           frequently in the Spokane River: Largescale Sucker, Rainbow Trout and Mountain Whitefish.
           PCB concentrations in other fish species from the Spokane River are summarized in
           Attachment C. Concentrations of PCBs in fish are reported both in terms of Aroclors and PCB
           congeners. A number of fish samples were analyzed by both methods of analysis. The
           analyses of these fish samples showed that PCB concentrations expressed in terms of the
           sum of Aroclors are very close to PCB concentrations expressed in terms of the sum of PCB
           congeners. All reported PCB concentrations were therefore used without manipulation.

           As with sediment and water, minimum total PCB concentrations assume that concentrations
           of non-detected PCB congeners (or Aroclors) were zero, and maximum total PCB
           concentrations assume non-detected PCB congeners (or Aroclors) are equal to the detection
           limit. The sample points presented on the figure represent arithmetic average
           concentrations of PCBs in fish on a lipid normalized basis, and assigning half the detection
           limit to non-detected congeners/Aroclors. Because concentrations of PCBs in fish are
           generally high, the impact of non-detected concentrations on the sum concentration of all
           PCB congeners or all Aroclors is relatively low. The range between minimum and maximum
           concentrations is therefore small in most cases.

           Figure 19 (Largescale Sucker) Figure 20 (Rainbow Trout) and Figure 21 (Mountain Whitefish)
           illustrate that among the three fish species for which most data are available, concentrations
           of PCBs in Largescale Suckers were generally the highest and higher than those in Rainbow
           Trout. Concentrations of PCBs in Mountain Whitefish were the lowest. These observations
           indicate that there are substantial species-specific differences in the PCB concentrations
           among fish species in the Spokane River. These differences are likely related to differences in
           fish behavior, including dietary and habitat preferences. This indicates that it is important to
           investigate temporal changes in PCB concentrations on a species-specific basis.

           Figure 19 to Figure 21 also illustrate that in certain sections of the River, concentrations of
           PCBs in fish have declined over time. For example, Figure 19 illustrates that concentrations
           of PCBs in Largescale Suckers declined in sections of the River both above and below City of
           Spokane’s sources (i.e. between RM 96.1-80.2, 74.0-58.1 and 58.1-33.9). Figure 20 illustrates
           that concentrations of PCBs in Rainbow Trout also declined between RM 96.1-80.2 and 74.0-
           58.1, but not in the intermediary reach. Concentrations of PCBs in Mountain Whitefish
           declined in two sections of the River receiving PCB inputs from the City of Spokane, but not


                                                                                                             82


                                                                                                                  000800
Case 2:15-cv-00201-SMJ        ECF No. 423        filed 01/29/20      PageID.24380 Page 84 of 314




         farther downstream in Lake Spokane (Figure 21). These results are supported by a temporal
         trends analysis that detected statistically significant declines in concentrations of PCBs in fish
         tissues over time (since the 1990s) and specifically between 2005 and 2012 in the species
         and river sections described above (Attachment C).




                                                                                                        83


                                                                                                              000801
                                                                                                              Case 2:15-cv-00201-SMJ                                                     ECF No. 423   filed 01/29/20    PageID.24381 Page 85 of 314




                                                                                                                                                                                                                                 Concentration of PCBs in Fish (mg/kg lipid)
      Concentration of PCBs in Fish (mg/kg lipid)




                                                                                                                         Concentration of PCBs in Fish (mg/kg lipid)
                                                    30                                                                                                                 80                                                                                                      30
                                                                                       Above Stateline                                                                 70      Above Monroe                                                                                                                 Lake Spokane
                                                    25                                  RM 112-96.1                                                                            RM 80.2-74.0                                                                                    25                           RM 58.1-33.9
                                                                                                                                                                       60
                                                    20                                                                                                                                                                                                                         20
                                                                                                                                                                       50

                                                    15                                                                                                                 40                                                                                                      15

                                                                                                                                                                       30
                                                    10                                                                                                                                                                                                                         10
                                                                                                                                                                       20
                                                     5                                                                                                                                                                                                                          5
                                                                                                                                                                       10

                                                     0                                                                                                                  0                                                                                                       0
                                                     1990      1995       2000       2005        2010       2015                                                        1990     1995      2000    2005      2010        2015                                                   1990   1995   2000   2005      2010        2015




                                                                                                                       Concentration of PCBs in Fish (mg/kg lipid)
    Concentration of PCBs in Fish (mg/kg lipid)




                                                    80                                                                                                                 40

                                                    70                                      Above Upriver                                                              35                              Above Nine Mile
                                                                                            RM 96.1-80.2                                                                                                RM 74.0-58.1
                                                    60                                                                                                                 30

                                                    50                                                                                                                 25

                                                    40                                                                                                                 20

                                                    30                                                                                                                 15

                                                    20                                                                                                                 10

                                                    10                                                                                                                  5

                                                     0                                                                                                                  0
                                                     1990      1995       2000       2005        2010       2015                                                        1990      1995     2000    2005      2010        2015




Figure 19:                                                  Concentrations of PCBs in Largescale Sucker (mg/kg lipid) in reaches of the Spokane River over time (1992-2012).




                                                                                                                                                                                                                                                                                                                                  84


                                                                                                                                                                                                                                                                                                                                       000802
                                                              Case 2:15-cv-00201-SMJ          ECF No. 423       filed 01/29/20                                              PageID.24382 Page 86 of 314




   Concentration of PCBs in Fish (mg/kg lipid)




                                                                                                                       Concentration of PCBs in Fish (mg/kg lipid)
                                                 120                                                                                                                 35
                                                                                              Above Upriver                                                                                             Above Nine Mile
                                                 100                                                                                                                 30
                                                                                              RM 96.1-80.2                                                                                               RM 74.0-58.1
                                                                                                                                                                     25
                                                 80
                                                                                                                                                                     20
                                                 60
                                                                                                                                                                     15
                                                 40
                                                                                                                                                                     10

                                                 20                                                                                                                  5

                                                  0                                                                                                                  0
                                                  1990          1995       2000        2005        2010       2015                                                   1990      1995     2000     2005         2010        2015
   Concentration of PCBs in Fish (mg/kg lipid)




                                                 20
                                                 18                                           Above Monroe
                                                 16                                           RM 80.2-74.0
                                                 14
                                                 12
                                                 10
                                                 8
                                                 6
                                                 4
                                                 2
                                                 0
                                                 1990          1995        2000       2005        2010        2015




Figure 20:                                              Concentrations of PCBs in Rainbow Trout (mg/kg lipid) in reaches of the Spokane River over time (1992-2012).


                                                                                                                                                                                                                          85


                                                                                                                                                                                                                                 000803
                                                              Case 2:15-cv-00201-SMJ           ECF No. 423        filed 01/29/20                                              PageID.24383 Page 87 of 314




                                                                                                                        Concentration of PCBs in Fish (mg/kg lipid)
   Concentration of PCBs in Fish (mg/kg lipid)
                                                 12                                                                                                                   120
                                                                                              Above Monroe                                                                                                Lake Spokane
                                                 10                                           RM 80.2-74.0                                                            100                                 RM 58.1-33.9

                                                 8                                                                                                                    80


                                                 6                                                                                                                    60


                                                 4                                                                                                                    40


                                                 2                                                                                                                    20


                                                 0                                                                                                                     0
                                                 1990          1995       2000       2005        2010          2015                                                    1990       1995    2000     2005      2010        2015
   Concentration of PCBs in Fish (mg/kg lipid)




                                                 35

                                                 30                                          Above Nine Mile
                                                                                              RM 74.0-58.1
                                                 25

                                                 20

                                                 15

                                                 10

                                                 5

                                                 0
                                                 1990          1995        2000       2005         2010         2015




Figure 21:                                              Concentrations of PCBs in Mountain Whitefish (mg/kg lipid) in reaches of the Spokane River over time (1992-2012).


                                                                                                                                                                                                                         86


                                                                                                                                                                                                                                000804
Case 2:15-cv-00201-SMJ        ECF No. 423         filed 01/29/20     PageID.24384 Page 88 of 314




 6.3.3.   Assessment of Future Predicted Concentrations of PCBs in Water, Sediment and Fish of
          the Spokane River as a Result of Treatment of the City of Spokane Facilities
          Using the compilation of existing measured concentrations of PCBs in water, sediments and
          fish of the Spokane River, and the changes in PCB discharges to the River between time
          periods or following treatment by the City of Spokane, it is possible to calculate the
          concentrations of PCBs that can be expected in water, sediment and fish in various sections
          of the Spokane River over time. Three assessments were conducted:

            i.    Due to a lack of recent fish data, current (2018) concentrations in fish were
                  calculated from 2012 fish data based on changes in PCB loadings that occurred
                  between the intermediary (2012) and current time periods. Results from two
                  scenarios calculating PCB concentrations in fish are presented below (see Section
                  6.2.1. for scenario descriptions).
            ii.   Future (2030) concentrations in water, sediment and fish were calculated based on
                  anticipated PCB loadings reductions after further remedial treatment of the City of
                  Spokane facilities/systems. Six future loadings reductions scenarios were evaluated
                  in Section 6.2.1. For simplicity, results of the minimum and maximum scenarios are
                  reported in this section. Because predicted future loadings from the City of Spokane
                  under low, medium and high treatment levels were very similar, the predicted
                  concentrations resulting from different treatment scenarios are similar, with most of
                  the variation due to using either the lower or upper bounds of the PCB loadings
                  estimates for non-City of Spokane sources.
           iii.   A third hypothetical scenario was used to predict PCB concentrations in fish in 2018
                  and 2030, under the assumption that the City of Spokane did not reduce PCB
                  discharges to the River after 2012. Predicted PCB concentrations resulting from this
                  scenario are not discussed in detail but are provided in Attachment C. Under this “no
                  further treatment” condition, concentrations of PCBs in fish would be expected to
                  increase after 2012 in all sections of the River (RM 80.2 to 29.3) and predicted
                  concentrations in 2018 and 2030 are higher than those predicted for these time
                  periods under the status quo treatment by the City of Spokane (i.e. assessments i
                  and ii above).

          Data reported in this section are geometric mean concentrations of total PCBs using the half
          detection limit for non-detected congeners/Aroclors. Error bars on the plots represent
          variability in concentrations of PCBs measured in multiple samples and are equivalent to one
          standard deviation of above and below the geometric mean.



                                                                                                        87


                                                                                                             000805
Case 2:15-cv-00201-SMJ       ECF No. 423         filed 01/29/20      PageID.24385 Page 89 of 314




         Future concentrations of PCBs that can be expected in water are shown along with measured
         baseline and current concentrations of PCBs in Figure 22. Figure 22 shows that current
         (2016-2018) concentrations fell substantially below baseline (2000-2003) concentrations and
         that future concentrations are expected to be even lower. Treatment at the City of Spokane
         facilities will reduce the concentrations of PCBs in water downstream of the City of Spokane
         facilities. The greatest reduction in the concentration of PCBs in water, of approximately
         6.0%, is expected for the section of the River between RM 74.0-58.1 (Above Nine Mile) in
         response to the highest level of treatment, and assuming the lower bound of PCB loads for
         non-City of Spokane sources. The minimum reduction in concentrations of PCBs in water
         expected in RM 74.0-58.1 between 2018 and 2030 is 4.4% and results from the lower level of
         treatment and assuming the upper bound of PCB loads for non-City of Spokane sources.
         Future predicted concentrations of PCBs in water in this river section range from 80.3 to 81.6
         pg/L. Concentrations of PCBs in Lake Spokane are expected to be 4.1 to 5.9% lower in the
         future than in 2018 and range between 92.5 and 94.3 pg/L. No reduction in concentration is
         expected for upstream sections of the River unaffected by remediation initiatives at the City
         of Spokane and concentrations of PCBs are predicted to remain unchanged in sections above
         RM 80.2.

         Baseline, current and future predicted concentrations of PCBs in sediment, normalized to
         organic carbon, of the Spokane River are presented in Figure 23. Figure 23 illustrates that
         concentrations of PCBs in sediments downstream of the City of Spokane facilities are also
         expected to decline in the future as a result of treatment at the City of Spokane facilities. The
         Above Nine Mile river stretch (RM 74.0 to 58.1) is not shown due to a lack of sediment in this
         section of the river. In Lake Spokane (RM 58.1-33.9) and Little Falls Pool (RM 33.9-29.3), the
         maximum reduction in the concentration of PCBs in sediment relative to current levels that is
         expected to be achieved over time in response to highest level of treatment, and assuming
         the lower bound of PCB loading estimates for non-City of Spokane sources, is approximately
         5.9%. A minimum reduction of 4.1% is expected to result from the lower level of treatment
         and assuming the upper bound of PCB loading estimates for non-City of Spokane sources.
         These future predicted concentrations of PCBs in sediment equal 3.68 to 3.75 mg/kg organic
         carbon in Lake Spokane and 0.79 to 0.85 mg/kg organic carbon in Little Falls Pool. No
         reduction in concentration of PCBs is expected for sections of the River unaffected by
         remediation initiatives at the City of Spokane.

         Along with measured baseline and 2012 concentrations of PCBs in fish, Figure 24 illustrates
         the predictions of 2018 (current) and future concentrations of PCBs in Largescale Sucker,
         Rainbow Trout and Mountain Whitefish. These fish species are shown because they have the
         most concentration data available in different sections of the River and from different time


                                                                                                       88


                                                                                                             000806
Case 2:15-cv-00201-SMJ        ECF No. 423         filed 01/29/20      PageID.24386 Page 90 of 314




         periods. Predicted concentrations of PCBs in other fish species (e.g. Common Carp, Brown
         Trout, Northern Pikeminnow and Yellow Perch) are presented in Attachment C and these
         fish are expected to undergo similar changes in concentrations as a result of treatment.

         Figure 24 shows that in all three fish species, concentrations of PCBs in sections of the River
         upstream of the City of Spokane facilities (above RM 80.2) are not expected to undergo
         changes as a result of emission reduction initiatives at the City of Spokane facilities. This is
         because reductions in PCBs inputs at the City of Spokane facilities only affect downstream
         sections of the Spokane River. Concentrations of PCBs in fish above RM 80.2 are expected to
         remain the same as levels measured in 2012. This prediction does not include analysis of
         upstream migration of fish from sections of the River downstream of the City of Spokane
         facilities to sections upstream of the City of Spokane facilities. Fish genetic and tracking
         studies suggest that this type of fish movement is not prevalent in the Spokane River.

         In the Above Monroe river stretch (RM 80.2 to 74.0) there is an increase in concentration
         predicted between 2012 and 2018 (1.5 to 2.0%) and between 2012 to future (approximately
         0.7%) for all scenarios modelled. This is due to increases in PCB loadings from sources
         upstream of the City of Spokane between the 2012 and 2018 time periods (see Section
         6.3.1.4). In sections of the River downstream of the City of Spokane facilities (RM 74.0-58.1,
         RM 58.1-33.9, and RM 33.9-29.3), concentrations of PCBs in fish are expected to have
         declined between 2012 and 2018 and are predicted to decline further in the future, as a
         results of loading reductions by the City of Spokane. The reduction in concentrations of PCBs
         in fish is expected to be greatest in RM 74.0-58.1 (i.e. 0.08 to 1.3% reduction between 2012
         and 2018, and 4.5 to 7.2% lower between 2012 and future), and slightly lower between RM
         58.1 and 29.3.

         In the section of the River immediately downstream of the City of Spokane facilities (i.e.
         Above Nine Mile; RM 74.0-58.1), concentrations of PCBs in Largescale Suckers are predicted
         to fall from 0.0512 mg/kg ww in 2012 to 0.0506 to 0.0512 mg/kg ww in 2018 and further to
         between 0.0475 to 0.0489 mg/kg ww for all levels of treatment/scenarios in the future. In
         Lake Spokane, between RM 58.1 to 33.9, concentrations of PCBs in Largescale Suckers are
         expected to approach concentrations of 0.202 to 0.204 mg/kg ww in 2018 and between
         0.190 and 0.196 mg/kg ww in response to future treatment by the City of Spokane. The
         reason PCB concentrations in Lake Spokane are predicted to be higher than those in the
         Above Nine Mile section is because higher concentrations of PCBs were observed in
         Largescale Suckers in Lake Spokane than in the Above Nine Mile section in 2012.
         Concentrations of PCBs in Largescale Suckers of Lake Spokane have declined from 0.309
         mg/kg measured in the baseline period.



                                                                                                            89


                                                                                                                 000807
Case 2:15-cv-00201-SMJ       ECF No. 423        filed 01/29/20      PageID.24387 Page 91 of 314




         Concentrations of PCBs in Rainbow Trout in the section of the River just downstream of the
         City of Spokane facilities (i.e. RM 74.0-58.1), are expected to reach concentrations of 0.0418-
         0.0423 mg/kg ww in 2018 and 0.0393-0.0404 mg/kg ww in the future under both high and
         low treatment scenarios. In Mountain Whitefish, concentrations of PCBs in sections of the
         River downstream of the City of Spokane facilities (i.e. RM 74.0-58.1), are expected to attain
         concentrations of 0.206-0.208 mg/kg ww in 2018 and 0.193-0.199 mg/kg ww as a result of
         both the highest and lowest levels of treatment.




                                                                                                      90


                                                                                                           000808
                                                      Case 2:15-cv-00201-SMJ             ECF No. 423     filed 01/29/20     PageID.24388 Page 92 of 314




                                        10,000
                                                                                                                    Water
   Concentration of Total PCBs (pg/L)




                                         1,000

                                                                                                                                   Baseline (2000)
                                                                                                                                   Baseline (2003)
                                                                                                                                   Current (2016-2018)

                                          100                                                                                      Future Maximum
                                                                                                                                   Future Minimum




                                           10
                                                     112-96.1    96.1-80.2   80.2-74.0     74.0-58.1   58.1-33.9   33.9-29.3
                                                                                River Mile Reach


Figure 22:                                       Predicted future (2030) concentrations of PCBs in surface water (ng/L) in reaches of the Spokane River.




                                                                                                                                                           91


                                                                                                                                                                000809
                                                        Case 2:15-cv-00201-SMJ          ECF No. 423       filed 01/29/20      PageID.24389 Page 93 of 314




                                            10.0
                                                                                                                                 Sediment
   Concentration of Total PCBs (mg/kg OC)




                                                                                                                                                             Baseline (2003-2004)

                                                                                                                                                             Current (2013-2018)
                                             1.0
                                                                                                                                                             Future Minimum




                                                                                                                                        Reach not modelled
                                                                                                                                                             Future Maximum




                                             0.1
                                                        96.1-80.2          80.2-74.0          58.1-33.9           33.9-29.3           29.3-0
                                                                                           River Mile Reach




Figure 23:                                         Predicted future (2030) concentrations of PCBs in sediment (mg/kg OC) in reaches of the Spokane River.




                                                                                                                                                                                    92


                                                                                                                                                                                         000810
                                                         Case 2:15-cv-00201-SMJ                  ECF No. 423      filed 01/29/20      PageID.24390 Page 94 of 314




                                                                                                                                        Largescale Sucker
   Concentration of Total PCBs (mg/kg ww)




                                            1.000


                                                                                                                                                                                                           Baseline (2001-2005)
                                                                                                                                                                                                           2012
                                                                                                                                                                                                           2018 Scenario 2

                                            0.100                                                                                                                                                          2018 Scenario 1




                                                                                                                                                                                      Reach not modelled
                                                                                                                                                                                                           Future Maximum
                                                                                                                                                                                                           Future Minimum




                                            0.010
                                                        112-96.1         96.1-80.2         80.2-74.0      74.0-58.1       58.1-33.9         33.9-29.3           29.3-0
                                                                                                       River Mile Reach




                                                                                                                                               Rainbow Trout
   Concentration of Total PCBs (mg/kg ww)




                                            0.100

                                                                                                                                                                                                           Baseline (2001-2005)
                                                                                                                                                                                                           2012
                                                                                                                                                                                                           2018 Scenario 2
                                                                                                                                                                                                           2018 Scenario 1


                                                                                                                                                                 Reach not modelled
                                                                                                                                                                                                           Future Maximum
                                                                                                                                                                                                           Future Minimum




                                            0.010
                                                           96.1-80.2                 80.2-74.0            74.0-58.1             58.1-33.9                    29.3-0
                                                                                                       River Mile Reach




                                                                                                                                      Mountain Whitefish
   Concentration of Total PCBs (mg/kg ww)




                                            0.300




                                                                                                                                                                                                           Baseline (2001-2005)
                                                                                                                                                                                                           2012
                                                                                                                                                                                                           2018 Scenario 2
                                                                                                                                                                                                           2018 Scenario 1
                                                                                                                                                                                                           Future Maximum
                                                                                                                                                                                                           Future Minimum




                                            0.030
                                                                   80.2-74.0                              74.0-58.1                              58.1-33.9
                                                                                                       River Mile Reach



Figure 24:                                          Baseline, 2012 and predicted current (2018) and future (2030) concentrations of PCBs (mg/kg ww) in fish species in reaches of
                                                    the Spokane River.




                                                                                                                                                                                                                                  93


                                                                                                                                                                                                                                       000811
Case 2:15-cv-00201-SMJ        ECF No. 423        filed 01/29/20      PageID.24391 Page 95 of 314




 6.4.    Conclusions
         Since the 2003-2007 time period, the City of Spokane has reduced discharges of PCBs from
         its facilities to the Spokane River by 65 to 68%, i.e. a reduction in PCB discharges by a factor
         of 2.8 to 3.2. These reductions in PCB discharge are expected to have contributed to a
         reduction in the concentrations of PCBs in water, sediments and fish species by
         approximately 7.1 to 12.1% in sections of the River downstream of the City of Spokane
         facilities. Reductions in the concentrations of PCBs in water and several fish species, over the
         period of approximately 2000 to 2018 have indeed been observed in sections of the Spokane
         River both upstream and downstream of the City of Spokane facilities. The empirical
         concentration data indicate that PCB discharge reduction efforts at the City of Spokane
         facilities as well as at other locations in the River (e.g. near Upriver Dam/Donkey Island [RM
         80 to 84] where River sediments were capped) have caused a significant reduction in the
         concentrations of PCBs in fish of the Spokane River.

         Further planned reductions of PCB discharges by the City of Spokane will drastically reduce
         the discharges of PCBs by the City of Spokane to levels where the City of Spokane contributes
         only 1.2 to 2.0% of the total known PCB inputs into the Spokane River. Relative to the
         current time period, the planned remedial efforts at the City of Spokane facilities are
         expected to reduce concentrations of PCBs in water, sediments and fish over time by 4.2 to
         6.0% in response to the higher level of treatment, or 4.1 to 5.9% in response to the lower
         level of treatment, in the sections of the River downstream from the City of Spokane’s
         discharges. Relative to the 2012 time period, these future planned improvements by the City
         of Spokane are expected to reduce PCB concentrations in fish of the Spokane River by 4.2 to
         7.2%, downstream of the City’s discharges.

         In comparison to the baseline period, future (2030) projected loadings of PCBs are expected
         to reduce concentrations of PCBs in water, sediments and fish by 10.9 to 17.4% from
         baseline levels in the Spokane River downstream from the City of Spokane facilities as a
         result of implemented and planned upgrades at the City of Spokane facilities. (Reductions of
         7.1 to 12.1% are expected to have occurred between the baseline and current time periods.
         Additional declines in PCB concentrations of between 3.8 to 5.3%, relative to baseline levels,
         are expected to occur between 2018 and 2030, in response to planned facility upgrades by
         the City of Spokane. Overall this results in a combined total reduction of 10.9 to 17.4%,
         relative to baseline levels).

         In the section of the Spokane River immediately downstream of the City of Spokane facilities
         (RM 74.0-58.1), concentrations of PCBs in Largescale Suckers are predicted to reach
         concentrations of 0.0475 to 0.0489 mg/kg ww in the future as a result of both the highest


                                                                                                        94


                                                                                                             000812
Case 2:15-cv-00201-SMJ       ECF No. 423        filed 01/29/20     PageID.24392 Page 96 of 314




         and lowest level of treatment, which yielded similar results. For the same section of the
         River, concentrations of PCBs in Rainbow Trout are expected to reach concentrations of
         0.0393-0.0404 mg/kg ww under all treatment scenarios. In Mountain Whitefish,
         concentrations of PCBs in this section of the River downstream of the City of Spokane
         facilities are expected to attain concentrations of 0.193-0.199 mg/kg ww in the future in
         response to both the highest and lowest levels of treatment.




                                                                                                     95


                                                                                                          000813
Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24393 Page 97 of 314




 ATTACHMENTS




                                                                                      000814
Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24394 Page 98 of 314




 ATTACHMENT A: CURRICULUM VITAE




                                                                                      000815
Case 2:15-cv-00201-SMJ       ECF No. 423     filed 01/29/20     PageID.24395 Page 99 of 314



                          Curriculum Vitae of Frank A.P.C. Gobas


 Academic Address:                                                Home Address:
 School of Resource and Environmental Management                  764 Edgewood Road
 Faculty of the Environment                                       North Vancouver, BC
 Simon Fraser University                                          V7R 1Y4
 8888 University Drive                                            Canada
 Burnaby, British Columbia V5A 1S6                                (604) 984-4505
 Canada
 tel. (778) 782-5928; fax (778) 782-4968; email: gobas@sfu.ca

 Website: http://www.sfu.ca/rem/toxicology.html

 Education & Academic Career

 2010-2013            Chair, School of Resource and Environmental Management, Faculty of
                      the Environment, Simon Fraser University.
                      Responsible for the implementation of a Master’s and Ph.D. Program in
                      Resource & Environmental Management, a Co-Op program and an
                      undergraduate program in support of the Environmental Science &
                      Environmental Studies curricula at SFU. These programs involve
                      approximately 120 full time equivalent graduate students, 100 full time
                      equivalent undergraduate students, 17 faculty members and 5 staff
                      members.

 2004                 Full Professor, School of Resource and Environmental Management,
                      Faculty of Environment, Simon Fraser University.
                      Associate Faculty Member, Biological Sciences, Faculty of Science,
                      Simon Fraser University.
                      Research: Environmental fate, toxicology and risk assessment of
                      pollutants. Bioaccumulation and food-chain transfer modelling and
                      ecosystem based studies of the environmental fate and effects of organic
                      chemicals and mercury.

 2002-2005            Chair, School of Resource and Environmental Management, Faculty of
                      Applied Sciences, Simon Fraser University.

 1999-2002            Chair of Graduate Studies, School of Resource and Environmental
                      Management, Faculty of Applied Sciences, Simon Fraser University.

 1996-1997            Chair, School of Resource and Environmental Management, Faculty of
                      Applied Sciences, Simon Fraser University.


                                               1




                                                                                                 000816
Case 2:15-cv-00201-SMJ   ECF No. 423     filed 01/29/20    PageID.24396 Page 100 of 314




 1995              Associate Professor, School of Resource and Environmental
                   Management, Faculty of Applied Sciences, Simon Fraser University.

 1990              Assistant Professor, School of Resource and Environmental
                   Management, Faculty of Applied Sciences, Simon Fraser University.

 1989              Adjunct Professor, Department of Civil and Environmental Engineering,
                   University of Windsor.

 1989              Senior Research Scientist, Great Lakes Institute, University of Windsor

 1988              Postdoctoral Fellow at the Great Lakes Institute, University of Windsor.

 1984-1988         Ph.D. in Chemical Engineering and Applied Chemistry
                   Department of Chemical Engineering and Applied Chemistry & Institute
                   for Environmental Studies, University of Toronto
                   Dissertation: Bioaccumulation of Hydrophobic Organic Chemicals in Fish
                   Supervisor : Dr. D. Mackay
                   Graduated June 6, 1988.
 1982-1984         M.Sc. in Environmental Chemistry and Toxicology
                   Department of Chemistry, University of Amsterdam
                   Graduated "cum laude" August 1984
                   Major : Environmental Chemistry and Toxicology
                   Thesis : Uptake and Bioaccumulation of Hydrophobic Organic Chemicals
                            in Aquatic Organisms
                   Supervisor : Dr. O. Hutzinger
                   Minor : Molecular Toxicology/Pharmacochemistry
                   Thesis : The Role of Metabolic Activation by Cytochrome P450 in
                            Covalent Binding of VP16-213 to HeLa-cell Microsomal Proteins
                   Supervisor : Dr. H.M.S. Pinedo
 1978-1982         B.Sc. in Chemistry
                   Free University of Amsterdam
                   graduated December 1981


 Academic Awards

 2011              Excellence in Review Award, Environmental Science & Technology
                   2011

 1987              SETAC Best Student Paper Award, at the 8th annual meeting of the
                   Society of Environmental Toxicology and Chemistry, November 12,
                                            2




                                                                                              000817
Case 2:15-cv-00201-SMJ       ECF No. 423   filed 01/29/20    PageID.24397 Page 101 of 314



                     Pensacola, Florida

 1987                J.R. Brown Prize for research in Occupational and Environmental Health,
                     November 24, 1987.

 Professional Experience I

 2018-2019           Member of Southern Resident Killer Whale (SRKW) Technical Working
                     Group (TWG) on Contaminants.
 2019                Member of expert panel for the Evaluation of the Chemicals Management
                     Plan (CMP).
 2019                Chair of session “Very Persistent and Very Bioaccumulative Substances.”.
                     29th Annual Meeting of the Society of Environmental Toxicology and
                     Chemistry in Europe, Helsinki, Finland, May 26-30, 2019.
 2018                Chair of session on “Recent Developments in Bioaccumulation Science
                     for the 45th Canadian Ecotoxicity Workshop. Vancouver, British
                     Columbia. September 30 – October 2.
 2015                Chair of SETAC session (with Doris Vidal-Dorsch): “Bioaccumulation in
                     Management and Regulation” 36th SETAC North America Conference,
                     November 1-5, Salt Lake City, USA.
 2015                Chair of SETAC session (with Philip Leber): “Difficult Substances - Their
                     testing and ecological risk assessments” 36th SETAC North America
                     Conference, November 1-5, Salt Lake City, USA.
 2014                Instructor SETAC short course: “Activity Based Environmental Risk
                     Assessment” 35th SETAC North America Conference, August 10-14,
                     November 9-13, Vancouver, Canada.
 2014                Chair of Symposium on “Bioaccumulation risk assessment: Problems and
                     possibilities” 13th IUPAC International Congress on Pesticide Chemistry,
                     August 10-14, San Francisco, California, US
 2014                Chair of SETAC session (with M. Bonnell & J. Arnot): “Bioaccumulation:
                     Science & Regulations” 35th SETAC North America Conference, August
                     10-14, November 9-13, Vancouver, Canada.
 2010-2011           Environment Canada Board of Review Expert Witness on
                     Decamethylcyclopentasiloxane (D5)
 2011                External Evaluation of the Fisheries program of the University of
                     Malaysia at Terengganu
 2007-2010           Editor of the Bioaccumulation Science Advisory Group section of the
                     SETAC Globe Journal
 2007-2008           Member of the steering committee for organizing a SETAC Pellston
                     Conference on POPs Criteria
 2006-2012           Member of the SETAC Bioaccumulation Science Advisory Group
 2005                Member of the Aquatic Life Criteria Panel of the US-EPA Science
                     Advisory Board
 2004                Director of the Science Advisory Board for Contaminated Sites in British
                     Columbia
                                             3




                                                                                                 000818
Case 2:15-cv-00201-SMJ   ECF No. 423     filed 01/29/20   PageID.24398 Page 102 of 314



 2004              Guest Editor: Special Issue of the international journal Environmental
                   Toxicology and Chemistry, Issue 23(10), 2004.
 2003              Member of the Science Advisory Board for Contaminated Sites in British
                   Columbia
 2003-2009         Member of the UN Joint Group of Experts on the Scientific Aspects of
                   Marine Environmental Protection (GESAMP): This is the scientific
                   advisory body of the IMO, FAO, UNESCO, IOC, WMO, WHO ,IAEA,
                   UN and UNEP on global marine environment & protection.
 2003              Session Chair: Bioaccumulation. 2003 SETAC Europe Meeting,
                   Hamburg, Germany.
 2002-2005         Chair of the UN Joint Group of Experts on the Scientific Aspects of
                   Marine Environmental Protection (GESAMP) Working Group 33:
                   Environmental Exposure Models for Application in Seafood Risk Analysis
 2001-2005         Member: IMO/FAO/UNESCO-IOC/WMO/WHO/IAEA/UN/UNEP
                   GESAMP Working Group 33: Environmental Exposure Models for
                   Application in Seafood Risk Analysis
 2004              Guest Editor: Special Journal Issue of Environmental Toxicology &
                   Chemistry. Don Mackay Celebratory Issue
 2002              Chair: Toxic Substances Research Initiative Scientific Review Committee
                   on POPs
 2002              Session Chair: Environmental Modeling. 2002 Aquatic Toxicity
                   Workshop, Whistler, BC.
 1999-2002         Member of Environment Canada Technical Advisory Committee for the
                   evaluation of chemicals on the DSL under CEPA 1999
 2001              Member of the Editorial Board of the peer-reviewed scientific
                   international journal: Environmental Chemistry
 1998 - 2001       Member of the Editorial Board of the peer-reviewed scientific
                   international journal: Environmental Toxicology & Chemistry
 1995-current      Member of the Editorial Board of the peer-reviewed scientific
                   international journal: Science of the Total Environment
 1993 - 1995       Member of the Editorial Board of the peer-reviewed scientific
                   international journal: Environmental Toxicology & Chemistry
 1992 - 1997       Member of the Editorial Board of the peer-reviewed scientific
                   international journal: Bulletin of Environmental Contamination &
                   Toxicology
 1997              External Reviewer of Hudson River PCB Contamination Study (Industrial
                   Economics)
 1996              Session Chair: Bioavailability. 1996 Annual Meeting of the Society of
                   Environmental Toxicology and Chemistry, Washington DC
 1992 – 1995       Co-organizer & Platform Session Chair: 1995 Annual Meeting of the
                   Society of Environmental Toxicology and Chemistry, Vancouver
 1995              Symposium Chair: Global Environmental Fate of Organic Pollutants. 1995
                   Annual Meeting of the Society of Environmental Toxicology and
                   Chemistry, Vancouver
 1995              Session Chair: Bioaccumulation. 1995 Annual Meeting of the Society of

                                           4




                                                                                             000819
Case 2:15-cv-00201-SMJ      ECF No. 423     filed 01/29/20   PageID.24399 Page 103 of 314



                      Environmental Toxicology and Chemistry
 1990                 Lake Ontario Toxics Committee; Member of the Review Panel of the
                      Niagara River/Lake Ontario Fate-of-Toxics Committee
 1990                 Program Chair, 33rd Annual Conference of the International Association
                      of Great Lakes Research
 1989-1992            Member of the Awards Committee of the Society of Environmental
                      Toxicology and Chemistry
 1986-2003            Member of the Society of Environmental Toxicology & Chemistry


 Professional Experience II : Professional Projects

 2015-2018            PCB Pathway Determination For The Hudson River Natural Resource
                      Damage Assessment
 2015                 Risk assessment of contaminants in migrating salmon. For USEPA.
 2014                 Expert witness for BENPAT Risk Assessment. For Goodyear Inc.
 2011                 Food-Web Bioaccumulation Modeling of PCBs in Victoria Harbour. With
                      Azimuth Consulting Inc.
 2011                 Expert witness for Siloxane D5 Board of Review of Environment Canada
 2010                 Open Ocean Disposal of Contaminated Sediments in Killer Whale Critical
                      Habitat. With the Department of Fisheries and Oceans
 2006                 BC Hydro East Ditch Storm water and Receiving Environment Mass
                      Balance Model for PCBs. With Azimuth Consulting Inc.
 2005                 Total Maximum Daily Loading Model Review for Newark Bay. With
                      Malcolm & Pirnie Ltd.
 2004-2005            Consultant to the Petroleum Additives Panel Risk Assessment Task Group
                      (RATG) of the American Chemistry Council.
 2004-2005            External Review of the Housatonic River Model Calibration and
                      Validation. With SRA International
 2004                 External Review of the Lower Passaic River Restoration Study. With
                      Malcolm & Pirnie Ltd.
 2004-2007            Development of a Mass Balance Model for PCBs and PBDEs in the
                      Georgia Basin. For Environment Canada
 2004-2007            Development of Mass Balance Model for POPs in Burrard Inlet. For the
                      BC Ministry of Water, Lands and Parks
 2004-2005            Development of a higher trophic food-web bioaccumulation model as part
                      of the San Francisco Bay TMDL (Total Maximum Daily Loading) for
                      PCBs. For the Clean Estuaries Partnership
 2000-2002            Development of a food-web bioaccumulation model for PCBs in San
                      Francisco Bay. For the San Francisco Estuary Institute
 1999-2004            Evaluation of Chemicals on the Domestic Substances List for
                      Environment Canada. For Environment Canada
 2000-2002            Development of the TMDL for PCBs in San Francisco Bay
                      With the San Francisco Estuary Institute
 1999                 Dioxin Bioaccumulation Assessment Manual, US-EPA.

                                              5




                                                                                               000820
Case 2:15-cv-00201-SMJ         ECF No. 423       filed 01/29/20    PageID.24400 Page 104 of 314



 1997                   Human Health and Ecological Risk Assessment of Homebush Bay
                        Sediments. For Office of Marine Administration (Australia) with EVS
                        Consultants Ltd.
 1997                   The Applicability and Feasibility of Using a Fugacity Based Approach to
                        Develop a Multi-Media Model in support of the HWIR (Conceptual multi-
                        media model development for waste management units) - For US Office
                        of Solid Waste with Research Triangle Institute
 1997-1998              Development of an Environmental Fate Model for PCBs in
                        Commencement Bay, Seattle. For William, Kastner and Gibbs on behalf
                        of General Metals of Tacoma.
 1997                   Prepared “Bioaccumulation Modelling Review”, for US-EPA with Ogden
                        Environmental Ltd.
 1997                   Prepared Guidance Document for the use of Bioaccumulation Factors in
                        the Great Lakes water Quality Initiative, for US-EPA with Ogden
                        Environmental Ltd.
 1995-1996              Developed a “Model of the Fate of Contaminant Discharges in the Burrard
                        Inlet”. For Environment Canada with EVS Consultants Ltd.
 1995-1996              Contracted to conduct a study entitled “Assessment of the Assimilative
                        Capacity of Saanich Inlet”. For the British Columbia Ministry of the
                        Environment & Parks with EVS Consultants
 1994                   Served on a committee to review the "Southern California Bight Damage
                        Assessment: Food-Web Pathway Study". For US Department of Justice
 1992                   Developed a computer simulation model of the distribution of
                        organochlorines from pulp mill effluents in the Fraser & Thompson Rivers
                        and food-chains. For the British Columbia Ministry of the Environment &
                        Parks.
 1991 – 1992            Prepared a simulation model for pulp mill effluents in the Fraser River in
                        support of the Fraser River Action Plan. For Environment Canada
 1990                   Contracted to conduct a study of the presence & effects of Persistent Toxic
                        Substances in Human Breast Milk of mothers in the Great Lakes Basin.
                        For the International Joint Commission
 1989                   Developed models and procedures to set effluent limitations for industrial
                        discharges to the St. Clair River. For the Ontario Ministry of the
                        Environment
 1988                   Prepared a manual for the assessment of the biosorption, bioaccumulation
                        and food-chain transfer potential of organic chemicals, to be used in
                        MISA. For the Ontario Ministry of the Environment



 Research Support Awarded
 (years within brackets refers to the duration of the funding; % refers to the fraction of the joint
 funding allocated to Dr. F. Gobas)

 2018-2022             Wetland treatment of Oil Sands Process Water (OSPW)

                                                   6




                                                                                                       000821
Case 2:15-cv-00201-SMJ   ECF No. 423    filed 01/29/20   PageID.24401 Page 105 of 314



                  Frank A.P.C. Gobas
                  NSERC-CRD
                  $304,825 (4 years), 100%
 2018-2019        A Framework for Assessing Bioaccumulation and Exposure Risks of
                  Per and Polyfluoroalkyl Substances in Threatened and Endangered
                  Species on Aqueous Film Forming Foam (AFFF)-Impacted Sites.
                  Frank A.P.C. Gobas
                  Department of Defence
                  $218,000 (1 year), 100%
 2018-2021        Improved Characterization Of Partitioning And Biotransformation
                  For Screening Organic Compounds For The Potential To
                  Bioaccumulate In Air-Breathing Species (ECO 41)
                  Wania Frank, Frank Gobas, Jon Arnot
                  European Chemical Industry Council-Long Range Research Initiative
                  $696,000 (3 years), 46%
 2017-2018        Identification and prioritization of contaminants and their sources to
                  Northern and Southern Resident Killer Whales in BC
                  Frank A.P.C. Gobas
                  Department of Fisheries & Oceans
                  $18,375 (1 year), 100%
 2016-2019        Determination of the in-vivo Hepatic, Somatic and Intestinal
                  Biotransformation Rates of Siloxanes D4, D5, D6, L3, L4 and L5 in
                  Rainbow Trout at Varying Exposure Concentrations
                  Frank A.P.C Gobas
                  European Center for Silicone Research
                  $436,000 (3 years), 100%
 2016-2018        Environmental Fate Model for Assessing Waste Water Remediation
                  Capacity
                  A. Cancelli, F. Gobas
                  MITACS & Imperial Oil
                  $30,000.00 (2 years)
 2014-2017        The effect of pre-exposure and mixture-exposure on
                  biotransformation rates of high volume production chemicals
                  Frank A.P.C Gobas
                  Unilever
                  $ 168,000 (3 years)
 2014-2019        Natural and Constructed Wetlands for Pollution Remediation
                  F. Gobas
                  NSERC-Discovery Grant
                  $ 175,000 (5 years)
 2014-2017        Health risk-based evaluation of emerging pollutants in killer whales
                  (Orcinus orca): Priority-setting in support of recovery
                   F. Gobas
                  Department of Fisheries & Oceans
                  $148,125.00 (3 years)

                                           7




                                                                                           000822
Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24402 Page 106 of 314



 2015-2016        Development and Testing of a Fugacity Based Treatment Wetland
                  Environmental Fate Model for Assessing Waste Water Remediation
                  Capacity: Model Testing in the Kearl Lake Pilot Treatment Wetland.
                  F. Gobas
                  Imperial Oil
                  $47,000.00 (2 years)
 2012             Activity Based Risk Assessment for Phthalate Esters
                  Gobas, F.A.P.C.
                  American Chemistry Council
                  $18,000 (1 year)
 2013             Development of a Model to Simulate the Fate of Contaminants in
                  Engineered Treatment Wetlands
                  Gobas, F.A.P.C.
                  ExxonMobile
                  $85,000 (1 year)
 2011-2012        Modeling PBDEs in a BC Marine Mammalian Food-Webs
                  Gobas, F.A.P.C.
                  Department of Fisheries and Oceans
                  $25,000 (1 year)
 2011             Derivation of Sediment Target Concentrations for Contaminants at
                  Contaminated Sites
                  Gobas, F.A.P.C.
                  Department of Fisheries and Oceans
                  $6,000 (1 year)
 2011             Fugacity Ratios of Phthalate Esters
                  Gobas, F.A.P.C.
                  American Chemistry Council
                  $18,000 (1 year)
 2010             Open Ocean Disposal of Contaminated Sediments in Killer Whale
                  Critical Habitat
                  Gobas, F.A.P.C.
                  Department of Fisheries and Oceans
                  $5,000 (1 year)
 2010             Sediment Quality Guideline Development for Marine Mammals
                  Gobas, F.A.P.C.
                  Department of Fisheries and Oceans
                  $6,000 (1 year)
 2010             Environmental Pollution in Steller Sea Lions
                  Gobas, F.A.P.C.
                  Department of Fisheries and Oceans
                  $7,500 (1 year)
 2010             Sediment Exposure Model
                  Gobas, F.A.P.C.
                  Environment Canada
                  $10,000 (1 year)

                                         8




                                                                                       000823
Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24403 Page 107 of 314



 2009-2013        Biotransformation of Commercial Chemicals in Food-Webs
                  F. Gobas
                  NSERC-Discovery Grant
                  $ 154,000 (4 years)
 2009-2010        Environmental Fate Mono-Alkyl Phthalate Esters
                  Gobas, F.A.P.C.
                  American Chemistry Council
                  $19,000 (1 year)
 2009             Harbour Seal-Sediment Relationship and Guideline Development
                  Gobas, F.A.P.C.
                  Department of Fisheries and Oceans
                  $9,500 (1 year)
 2008-2011        Improving Commercial Chemical Stewardship in Canada
                  F. Gobas (PI), M. Moore and C. Kennedy
                  NSERC-Strategic Grant
                  $ 194,000 (3years)
 2008-2009        Biodegradation of Di-Isodecyl phthalate Ester
                  Gobas, F.A.P.C.
                  Exxon Mobile
                  $50,000 (1 year)
 2008             Harbour Seal-Sediment Relationship and Guideline Development
                  Gobas, F.A.P.C.
                  Department of Fisheries and Oceans
                  $9,500 (1 year)
 2006-2008        Harbour Seal-Sediment Relationship
                  Gobas, F.A.P.C.
                  Department of Fisheries and Oceans
                  $30,000 (3 years)
 2006-2007        Environmental Fate Mono-Alkyl Phthalate Esters
                  Gobas, F.A.P.C.
                  American Chemistry Council
                  $12,100 (100%)
 2006-2011        Environmental Fate of Phthalate Ester Degradation Products
                  F. Gobas
                  NSERC-Collaborative Research Development Grant
                  $ 224,200 (5 years)
 2004-2008        Bioaccumulation of Organic Chemicals in Food-Webs
                  F. Gobas
                  NSERC-Discovery Grant
                  $ 156,000 / year (4 years)
 2004             Development and Application of Models of Chemical Fate in Canada
                  Mackay, D., Wania, F., Gobas, F.A.P.C.
                  Grant from Environment Canada
                  $45,000 (1 year), 22%
 2004-2007        Mass Balance Model for PCBs and PBDEs in the Georgia Basin

                                         9




                                                                                       000824
Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24404 Page 108 of 314



                  Gobas, F.A.P.C.
                  Grant from Environment Canada
                  $75,000 (3 years)
 2004-2007        Mass Balance Model for POPs in Burrard Inlet
                  Gobas, F.A.P.C.
                  Grant from the BC Ministry of Water, Lands and Air Protection
                  $75,000 (3 years)
 2004-2005        Environmental Fate Mono-Alkyl Phthalate Esters
                  Gobas, F.A.P.C. and M. Ikonomou
                  American Chemistry Council
                  $203,726 (100% over 3 years)
 2004-2005        Development of a Food-web Bioaccumulation model for PCBs in the
                  San Francisco Bay
                  Gobas, F.A.P.C.
                  Contribution from the Clean Estuaries Partnership
                  US$84,700 (1 year)
 2003             Chemical Analysis of POPs of Emerging Concern in Fish
                  Gobas, F.A.P.C.
                  Grant from Department of Fisheries and Oceans
                  $7,000 (1 year)
 2002-2005        Evaluating the Bioavailability of Sedimentary Organic Contaminants
                  in the Marine Environment and it’s Implications for Australian
                  Sediment Quality Guidelines
                  Birch, G. and F.A.P.C. Gobas
                  Grant from Australian Research Council
                  $250,000 (20%, over 3 years)
 2002             Chemical Analysis of POPs of Emerging Concern in Fish
                  Gobas, F.A.P.C.
                  Grant from Department of Fisheries and Oceans
                  $24,000 (1 year)
 2001-2002        Food-Chain Bioaccumulation of Phthalate Esters: Part II Mono-alkyl
                  Phthalate Esters
                  Gobas, F.A.P.C. and M. Ikonomou
                  American Chemistry Council
                  $160,000 (100% over 2 years)
 2002-2003        Bioaccumulation of Chemicals of Emerging Concern in Canada's
                  Eastern Arctic Marine Ecosystem
                  Gobas, F.A.P.C.
                  Northern Ecosystem Initiative
                  $64,000 (over 2 years)
 2001             Chemical Analysis of POPs of Emerging Concern in Fish
                  Gobas, F.A.P.C.
                  Grant from Department of Fisheries and Oceans
                  $16,000 (1 year)
 2000-2003        Improving exposure estimates for risk assessment: development and

                                        10




                                                                                       000825
Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24405 Page 109 of 314



                  validation of an in vitro test of bioavailability
                  Moore M. (PI) and Gobas, F.A.P.C.
                  NSERC Strategic Grant
                  $131,250 (over 3 years) (40%)
 2000             Analysis of Diazinon in Burnaby streams
                  Li, P (PI) and F.A.P.C. Gobas
                  City of Burnaby
                  $7,000 (50%, over 1 year)
 2000-2002        Development of a food-web bioaccumulation model for PCBs in San
                  Francisco Bay
                  Gobas, F.A.P.C.
                  Contribution from the San Francisco Estuary Institute
                  US$32,000 (1 year)
 2000-2003        Development of a Marine Mercury Cycling Model
                  Gobas, F.A.P.C. (PI), Cranston R. and B. Brianfirun
                  NSERC Strategic Research Grant
                  $190,000 (80%, over 3 years)
 2000-2004        Bioavailability of Super-Hydrophobic Organic Chemicals:
                  Measurement, Mechanism and Models
                  Gobas, F.A.P.C.
                  NSERC Individual Research Grant
                  $140,000 (over 4 years)
 2000-2003        Bioaccumulation Modelling
                  Gobas, F.A.P.C.
                  Grant from Dupont Inc.
                  $75,000 (over 3 years)
 2000-2001        Environmental Fate of Mercury in the Gulf of Maine
                  Gobas, F.A.P.C.
                  Gulf of Maine Research Council Grant
                  $11,400 (over 1 year)
 1999-2001        Food-Chain Bioaccumulation of Phthalate Esters
                  Gobas, F.A.P.C. and M. Ikonomou
                  NSERC Industry Oriented Research Grant
                  $124,332 (over 2 years)
 1999-2001        Food-Chain Bioaccumulation of Phthalate Esters
                  Gobas, F.A.P.C. and M. Ikonomou
                  Grant from Health Canada - Toxic Substances Research Initiative
                  $254,000 (over 2 years)
 1998-2001        Development & Verification of an Environmental Fate Model for PAHs
                  in Kitimat arm
                  Gobas, F.A.P.C.
                  Grant from Alcan Ltd.
                  $ 114,459 (over 3 years)
 1999             Analysis of Phthalate Esters
                  Gobas, F.A.P.C.

                                        11




                                                                                       000826
Case 2:15-cv-00201-SMJ   ECF No. 423     filed 01/29/20   PageID.24406 Page 110 of 314



                  Grant from Chemical Manufacturers Association
                  $10,000 (over 1 year)
 1998-2000        An in-situ Investigation of the Food-Chain Bioaccumulation Potential
                  of Phthalate Ester Congeners in a Marine Food-Chain
                  Gobas, F.A.P.C.
                  Grant from Chemical Manufacturers Association
                  $172,500 (over 2 years)
 1996-1999        Development & Verification of an Ecosystem-Based Environmental
                  Risk Assessment Model for Industrial Chemicals & Contaminants
                  Gobas, F.A.P.C.
                  NSERC Operating Grant
                  $82,500 (over 3 years)
 1995-1996        Assessment of the Assimilative Capacity of Saanich Inlet
                  B. Powers, S. Davidson, F.A.P.C. Gobas
                  British Columbia Ministry of the Environment, Lands & Parks
                  $90,000 (25%)
 1995-1996        Burrard Inlet Chemical Fate Model
                  Gobas, F.A.P.C., S. Davidson, B. Powers
                  Environment Canada
                  $80,000 (40%)
 1994-1997        Development & verification of an integrated environmental fate,
                  bioaccumulation and a physiologically based internal toxicokinetic
                  model for hazard & risk assessment of pollutant emissions in marine
                  ecosystems
                  Gobas, F (PI), F. Law
                  NSERC Strategic Grant
                  $ 329,670 (3 years, 60%)
 1994-1996        EcoFate Commercialization Plan
                  F. Gobas
                  Simon Fraser University Industry Liaison Office
                  $17,100 (to date)
 1994             Ecotoxicology of Coplanar PCBs in Lake Erie
                  D. Haffner, C. Metcalfe (PI), F. Gobas, M. Dufresne, Evans, Ciborowski,
                  Corkum, MacIsaac, Adeli, Petras, Blais, Weis, McCorquodale.
                  NSERC Great Lakes University Research Fund
                  $ 222,500 / year (1 year, 6%)
 1993-1994        Hazard Assessment of Organic Chemical Emissions by Pulp and
                  Paper Mills in BC
                  F. Gobas
                  BC Ministry of the Environment
                  $40,000 / year (1 year)
 1993-1997        Modelling the Environmental Fate and Effects of Chemical Emissions
                  by Pulp and Paper Mills in the Fraser-Thompson River Basin
                  F. Gobas
                  Environment Canada

                                          12




                                                                                            000827
Case 2:15-cv-00201-SMJ   ECF No. 423    filed 01/29/20   PageID.24407 Page 111 of 314



                  $150,000 (over 3 years)
 1993-1996        Fate and Effects of Organic Chemical Emissions in Aquatic
                  Ecosystems
                  F. Gobas
                  NSERC-Operating Grant
                  $ 78,000 / year (3 years)
 1992-1993        Modelling the Environmental Fate and Effects of Organochlorines
                  discharges by pulp mill in the Fraser River basin
                  BC Science Council
                  $29,200 /year (1 year) grant
 1992-1995        Developing a Quantitative Method for the Interpretation of
                  Biomonitoring Data in Terms of Chemical Loadings to the Great
                  Lakes
                  Gobas, F. (PI) and R. Peterman
                  NSERC Great Lakes University Research Fund
                  $ 60,000 / year (3 years, 100%)
 1992-1995        Ecotoxicology of Coplanar PCBs
                  C. Metcalfe (PI), F. Gobas, D. Haffner, M. Dufresne
                  NSERC Great Lakes University Research Fund
                  $ 225,000 / year (3 years, 20%)
 1992             An Integrated Research-Management Strategy for Aquatic
                  Ecosystems of the Lower Fraser River & Strait of Georgia
                  Gobas, F., A. Farrell and C. Day
                  Simon Fraser University President's Research Grant
                  administered by C. Day $ 10,400 / year (1 year)
 1991-1992        Ecosystem Fate and Effects of Pulp Mill Effluents in the Fraser River:
                  Identification of Research Priorities through the Development of a
                  Computer Simulation Model
                  Environmental & Social System Analysts Ltd and F. Gobas
                  Inland Waters, Environment Canada
                  $ 60,000 / year (1 year, 11%)
 1991-1993        An Integrative Water Quality Impact Assessment Model for the
                  Fraser River
                  F. Gobas
                  BC Science Council
                  $ 18,000 / year (1.5 years)
 1991             NSERC Equipment Grant
                  F. Gobas
                  $ 33,000 / year ( 1 year)
 1991             Ecotoxicology of Coplanar PCBs
                  F. Gobas, C. Metcalfe (PI), D. Haffner
                  NSERC Great Lakes University Research Fund
                  $ 75,000 / year (1 year, 20%)
 1991             Bioavailability of Dibenzo-p-dioxins and Dibenzofurans in Fish
                  F. Gobas

                                          13




                                                                                           000828
Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24408 Page 112 of 314



                  Simon Fraser University President's Research Grant
                  $ 8,600 / year (1 year)
 1990-1993        Relating Structure and Properties of Organic Chemicals to
                  Environmental Fate
                  F. Gobas
                  NSERC-Operating Grant
                  $ 54,000 / year (3 years)
 1988-1991        Exposure and Effects of Organic Chemicals in the Huron-Erie
                  corridor
                  D. Haffner (PI) and F. Gobas (PI)
                  Ontario Ministry of the Environment
                  $ 600,000 / year (3 years, 50%)
 1990             Bioaccumulation of Toxics in the Great Lakes Food-Chain
                  F. Gobas
                  Ontario Ministry of the Environment
                  $ 35,000 / year (1 year)
 1990             Persistent Toxic Substances in Human Breast Milk in the Great Lakes
                  Basin
                  F. Gobas
                  International Joint Commission
                  $ 7,000 / year (1 year)
 1990             Fate Modelling in the Niagara River/Lake Ontario
                  F. Gobas, J. Kramer (PI), J. DePinto
                  National Water Research Institute
                  $ 10,000 / year (1 year, 33%)
 1990             Modelling Coliform Discharge & Distribution from Combined Sewer
                  Overflows in the Detroit River
                  J.A. McCorquodale (PI) and F. Gobas
                  National Water Research Institute
                  $ 21,000 / year (1 year, 10%)
 1990             Modelling Effluent Discharge of the West-Windsor Water Treatment
                  Plant in the Detroit River
                  J.A. McCorquodale (PI) and F. Gobas
                  City of Windsor
                  $ 15,000 / year (1 year, 50%)
 1990             Distribution, Trophic Enrichment and Toxicology of Coplanar PCBs
                  in Mink Populations in the Great Lakes Basin
                  G.D. Haffner (PI), R. Lazar, F. Gobas
                  Renewable Resource Research Grant, Ontario Ministry of Natural
                  Resources
                  $ 22,500 / year (1 year, 50%)




                                         14




                                                                                        000829
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24409 Page 113 of 314



 1989                  Effluent Limitations for Industrial Load Allocations to the St. Clair
                       River
                       F. Gobas and J.A. McCorquodale (PI)
                       Ontario Ministry of the Environment
                       $ 13,000 / year (1 year, 50%)
 1989                  Modelling Food-Chain Transfer of Environmental Contaminants in
                       the Lake St. Clair Ecosystem
                       F. Gobas (PI)
                       Ontario Ministry of the Environment
                       $ 8,200 / year (1 year)
 1988                  Food-Chain Transfer of Environmental Contaminants in the Lake St.
                       Clair Ecosystem
                       F. Gobas (PI)
                       Ontario Ministry of the Environment
                       $ 9,000 / year (1 year)
 1988-1989             Biosorption, Bioaccumulation and Food-Chain Transfer of Organic
                       Chemicals
                       F. Gobas and D. Mackay (PI)
                       Ontario Ministry of the Environment
                       $ 20,000 / year (1 year, 80%)

 Teaching Activities

 Year          Course          Course Title

 2019          REM-610         Applied Environmental Toxicology
 2018          REM-445         Environmental Risk Assessment
 2017          REM-445         Environmental Risk Assessment
 2016          REM-610         Applied Environmental Toxicology
               REM-445         Environmental Risk Assessment
 2015          REM-610         Applied Environmental Toxicology
               REM-698         Introduction to Resource Management
 2014          REM-664         Directed Studies
               BISC-490        Research Design
               BISC-491        Research Techniques
               BISC-492        Research Reporting
 2013          REM-610         Applied Environmental Toxicology
               REM-698         Introduction to Resource Management
               REM-664         Directed Studies
               BISC-490        Research Design
               BISC-491        Research Techniques
               BISC-492        Research Reporting
 2012          REM-610         Applied Environmental Toxicology
               REM-661         Special Topics: Environmental Risk Assessment
               REM-698         Introduction to Resource Management

                                               15




                                                                                               000830
Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24410 Page 114 of 314



             REM-491      Directed Studies
 2011        REM-610      Applied Environmental Toxicology
             REM-661      Special Topics: Environmental Risk Assessment
             REM-698      Introduction to Resource Management
             REM-664      Directed Studies in Resource Management
 2010        REM-610      Applied Environmental Toxicology
             REM-661      Special Topics: Environmental Risk Assessment
             REM-698      Introduction to Resource Management
             REM-664      Directed Studies in Resource Management
 2009        REM-445      Environmental Risk Assessment
             REM-100      Global Change
             REM-610      Applied Environmental Toxicology
             REM-664      Directed Studies in Resource Management
 2007        REM-610      Applied Environmental Toxicology
             REM-664      Directed Studies in Resource Management (4 times)
             REM-698      Introduction to Resource Management
 2006        REM-664      Directed Studies in Resource Management
             REM-698      Introduction to Resource Management
 2005        REM-610      Applied Environmental Toxicology
             REM-664      Directed Studies in Resource Management
             REM-698      Introduction to Resource Management
 2004        REM-610      Applied Environmental Toxicology
             REM-664      Directed Studies in Resource Management
             REM-698      Introduction to Resource Management
 2003        REM-610      Applied Environmental Toxicology
             REM-664      Directed Studies in Resource Management
 2002        REM-610      Applied Environmental Toxicology
             REM-664      Directed Studies in Resource Management
 2001        REM-610      Applied Environmental Toxicology
             REM-664      Directed Studies in Resource Management
 2000        REM-445      Environmental Risk Assessment
             REM-610      Applied Environmental Toxicology
             REM-664      Directed Studies in Resource Management
 1999        REM-445      Environmental Risk Assessment
             REM-612      Simulation Modelling in Natural Resource Management
             REM-610      Applied Environmental Toxicology
             REM-664      Directed Studies in Resource Management
 1998        REM-664      Directed Studies in Resource Management
                          The Application of Multi-Media Mass Balance Modeling in Water
                          Quality Management & Risk Assessment” University of Sydney,
                          New South Wales, Australia
 1997        REM-610      Management of Contaminants in the Environment
             REM-664      Directed Studies in Resource Management
 1996        REM-610      Management of Contaminants in the Environment
 1995        REM-612      Simulation Modelling in Natural Resource Management

                                         16




                                                                                          000831
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20   PageID.24411 Page 115 of 314



               REM-602         Advanced Research Seminar in Resource & Environmental
                               Management
               REM-664         Directed Studies in Natural Resource Management: Scientific
                               Expertise vs. Public Perception
               REM-801         Research Methods in Resource & Environmental Management
 1994          REM-612         Simulation Modelling in Natural Resource Management
               REM-610         Management of Contaminants in the Environment
               REM-602         Advanced Research Seminar in Resource & Environmental
                               Management
 1993          REM-612         Simulation Modelling in Natural Resource Management
               REM-610         Management of Contaminants in the Environment
               REM-664         Directed Studies in Natural Resource Management: Application of
                               Genetic Algorithms in Natural Resource & Environmental
                               Management
 1992          REM-612         Simulation Modelling in Natural Resource Management
               REM-610         Management of Contaminants in the Environment
               REM-660         Special Topics in Natural Resource Management: Management of
                               Contaminants in the Environment
 1991          REM-612         Simulation Modelling in Natural Resource Management
               REM-646         Environmental & Social Impact Assessment
               REM-660         Special Topics in Natural Resource Management: Management of
                               Contaminants in the Environment
               REM-664         Special Topics in Natural Resource Management: Soil Erosion
                               Modelling in Nepal
               REM-664         Directed Studies in Natural Resource Management:
                               Biomonitoring


 Professional Courses Taught

 Gobas, F.A.P.C. 2015. Development of a Trophic Magnification Model: Evaluations with Field
 Data for Persistent and Non-Persistent Organic Chemicals in Aquatic Food Webs. Webinar,
 March 11, 2015.

 Gobas, F.A.P.C. 2014. 1-day Short Course. Activity Based Risk Assessment. 35th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry in North America,
 Vancouver, Canada, November 9.

 Gobas, F.A.P.C. 2012. Developing Ecologically Relevant Sediment Quality Criteria. 1 day Short
 Course. 39th Aquatic Toxicity Workshop, Sun Peaks, BC, September 30 to October 3, 2012.

 Gobas, F.A.P.C. 2012. Application of Data & Models to Develop Ecologically Relevant
 Sediment Quality Criteria. 1 day SETAC Short Course. Pacific North West SETAC Regional
 Conference. Vancouver. April 26-28, 2012.


                                              17




                                                                                                 000832
Case 2:15-cv-00201-SMJ       ECF No. 423    filed 01/29/20   PageID.24412 Page 116 of 314



 Gobas, F.A.P.C. 2012. Towards Developing Ecologically Relevant Sediment Quality Criteria.
 Webinar, February 15, 2012.

 Arnot, J.A., Mark Bonnell and Frank A.P.C. Gobas. 2006. BCF and BAF data and models for
 organic chemicals in aquatic species. European Commission Bureau Training Course on QSARs.
 July 24, 2006.

 Gobas, Frank A.P.C. and J.A. Arnot. 2006. Food-Web Bioaccumulation Modeling. 1 day
 SETAC Short Course. 27th Annual Meeting of the Society of Environmental Toxicology and
 Chemistry, Montreal, November 5-9.

 Gobas, Frank A.P.C., D. Mackay and K. Solomon. 2008. EcoRisk Assessment Workshop.
 American Chemical Society. Honolulu, Hawaii, June 5. 1 day Course.


 Graduate Student Supervision

 Name          Status        Years          Title of Project or Thesis       Present
                             Supervised                                      Position
                             or Co-
                             supervised
 Mark Cantu   PH.D.          2017-
              In Progress
 Kate         PH.D.          2018-
 Fremlin      In Progress
 Nina Piggott REM            2017-
              In progress
 John Mora    REM            2017-
              In progress
 Kapilan      MET            Supervised     In-Vitro Biotransformation is    Environment
 Ratneswaran Completed       2016-2018      Fish Liver S9                    Canada
 Robyn        REM            Supervised     PCBs in Killer Whales: Local     Department of
 Pearce       Completed      2016-2018      vs Global Sources                Fisheries and
                                                                             Oceans
 Karen         REM           Supervised     Biotransformation and            Department of
 Compton       In progress   2015-          Bioaccumulation of Cyclic        Fisheries and
                                            Methyl Siloxanes in Fish         Oceans
 Marianna      REM           Supervised     Method for Measuring In-Vivo     SGS Azimuth
 DiMauro       Completed     2015-          Biotransformation Rates of       Consulting
                                            Hydrophobic Organic              Group
                                            Chemicals in Fish
 Kate          BISC          Committee      Bioaccumulation of               Ph.D. student
 Fremlin       Completed     Member         Hydrophobic Organic
                             2015-          Chemicals in an Avian
                                            Terrestrial Food-Chains
                                             18




                                                                                              000833
Case 2:15-cv-00201-SMJ      ECF No. 423   filed 01/29/20   PageID.24413 Page 117 of 314



 Wang He      Ph.D.         Co-           Wetland Remediation
              Completed     Supervised
                            2015-2018
 Alex         REM Ph.D.     Supervised    Wetland Remediation               Ph.D. student
 Cancelli     In progress   2014-
 Leslie       Biology       Supervised    Biotransformation                 Ph.D. student
 Saunders     Ph.D.         2014-
              In progress
 Jayda Guy    REM           Supervised    Killer whale protection and       DJ
              Completed     2013-2018     conservation
 Alex         MET           Supervised    Modeling Chemical Fate in         Ph.D. student
 Cancelli     Completed     2013-2014     Wetlands
 Kevin        BISC          Committee
 Haines       In progress   Member
 Mandy        REM           Supervised    Bioaccumulation of Ionogenic      student
 McDougal     In progress   2012-2016     Substances in Aquatic Food-
                                          Webs.
 Laura        REM           Supervised    Mixture Toxicity of Phthalate     Environmental
 Tupper       Completed     2012-2015     Esters                            analyst with
                                                                            Dillon
                                                                            Consulting

 Meara        REM           Supervised    Activity Based Risk               SGS Azimuth
 Crawford     Completed     2011-2015     Assessment of Petroleum           Consulting
                                          Hydrocarbon at Contaminated       Group
                                          Sites
 Tao          REM           Supervised    Selenium Bioaccumulation in       Golder
 Eastman      Completed     2011-2015     Aquatic Food-Webs.                Associates
 Sabine       MET           Supervised    Risk Assessment of Naphthanic     student
 Feldman      In progress   2012-2015     acids
 Golnar       MET           Supervised    Modeling the Environmental        Consultant with
 Zandpour     Completed     2009-2012     Fate and Bioaccumulation of       Stantec
                                          Phthalate Esters and their
                                          Metabolites in a Marine
                                          Ecosystem
 John         PDF           2012-2014     Fate of PFCs in Aquatic Food-     Professor U. of
 Benskin                                  Webs                              Stockholm
 Aimee        REM           Supervised    Relationship between the BCF      BC Ministry of
 Brisebois    Completed     2010-2013     and TMF                           the Environment
 Pierre Luk   MET           Supervised    Bioaccumulation model of          student
              In progress   2011-         PBDEs
 Leslie       MET           Supervised    The Role of Pre-Exposure on       Continued into
 Saunders     In progress   2011-2013     Biotransformation Rates in Fish   PH.D. program
 Gurinder     Undergrad     Supervised    Measuring In Vitro                unknown
 Saroya       Research      2013          Biotransformation Rates of
                                           19




                                                                                              000834
Case 2:15-cv-00201-SMJ     ECF No. 423   filed 01/29/20   PageID.24414 Page 118 of 314



             project                     Hydrophobic Chemicals in Fish
                                         Liver S9 Using A EVA – Thin
                                         Film Dosing Method
 James Oh    Undergrad     Supervised    Assessing the Health of Coral    unknown
             Research      2013          Reefs
             project
 Justin Lo   Ph.D.         Supervised    Measuring In-Vivo                Student
             in progress   2007-         Biotransformation Rates of
                                         Hydrophobic Substances in
                                         Fish
 Mandeep     MET           Supervised    Derivation of Petroleum          Consultant with
 Purewal     Completed     2010-2012     Hydrocarbon Wildlands            SNC Lavelin
                                         Criteria for British Columbia
 Jennifer    REM           Supervised    Developing Ecosystem Based       Consultant with
 Arblaster   Completed     2009- 2012    Sediment Quality Guidelines in   Environ
                                         British Columbia                 Consulting
 Hsiao-Yi    MET           Supervised    Applying thin-film solid-phase   Consultant with
 (Danny) Lee Completed     2007-2009     extraction to measure in vitro   Golder &
                                         biotransformation rates of       Associates
                                         organic chemicals in rainbow
                                         trout (Oncorhynchus mykiss)
 Jennifer    MET           Committee     Biotransformation and            Azimuth
 Trowel      completed     member        modelled bioconcentration        Consultants
                           2009-2010     factors (BCFs) of select
                                         hydrophobic organic
                                         compounds using rainbow trout
                                         hepatocytes
 Stephanie   REM           Supervised    Using an in-vitro method for     Golder &
 Ko          Completed     2007- 2010    determining metabolic            Associates
                                         biotransformation rates for
                                         hydrophobic organic
                                         compounds in rat intestines
 Andrew      REM           Supervised    A conceptual Framework for       Imperial Oil
 Taylor      in progress   2007- 2010    Developing Criteria for the
                                         protection of Wildlands in BC
 Janey Lam   B.Sci         Committee     Degradation of DEHP in an in-    Research
             Completed     member        vitro intestinal medium          Scientist SFU
                           2006-2008
 Janey Lam   MET           Committee     Development of in vitro        Research
             In progress   member        methods to measure metabolism Scientist SFU
                           2008          of hydrophobic chemicals in
                                         Rainbow Trout (Onchorynchus
                                         mykiss) enterocytes and caco-2
                                         microsomes
 Carlos      Ph.D.         Committee     Land-use impacts in the        Ministry of the
                                          20




                                                                                            000835
Case 2:15-cv-00201-SMJ     ECF No. 423   filed 01/29/20    PageID.24415 Page 119 of 314



 Palomera    in progress   member        Ayuquila river’s food webs         Environment,
             Biology       2006-2012                                        Mexico
             SFU
 Molly       REM           Supervised    Validation of a Food Web           Consultant with
 Brewis      completed     2006-2010     Bioaccumulation Model for          Stantec
                                         PCBs in Burrard Inlet, British
                                         Columbia
 Juan Jose   Ph.D.         Supervised    Persistent organic pollutants in   Post Doctoral
 Alava       in progress   2005-2011     the Galapagos sea lion             Fellow
                                         (zalophus wollebaeki
 Yung-Shan   Ph.D.         Supervised    in vitro and in vivo metabolism    Student
 Lee         in progress   2005-2015     transformation rates of organic
                                         chemicals in rats and fish
 Hao-Feng    MET           Supervised    Development and Application        Teacher
 Lai         In progress   2006 - 2010   of a Time-Dependent Food
                                         Web Bioaccumulation Model
                                         for Organic Chemicals in the
                                         Aquatic Ecosystem
 Peter       MET           Supervised    Biodegradation of Phthalate        BC Ministry of
 Kickham     Completed     2006 - 2010   Esters in sediments                the Environment
 Adebayo     MET           Supervised    An in vitro method for             Consultant with
 Adekola     Completed     2006 - 2009   measuring biotransformation        Maxxam
                                         rates of chemicals in fish: A
                                         study with pyrene.
 Yongshu     MET           Supervised    A Bioenergetic Food- Web           Health Canada
 Fan         Completed     2006 - 2008   Bioaccumulation Model
 Colm        REM           Supervised    Development, evaluation, and       Contaminated
 Condon      Completed     2003 - 2007   application of a food web          Sites
                                         bioaccumulation model for          Assessment
                                         PCBs in the Strait of Georgia,     Office, BC
                                         British Columbia                   Ministry of the
                                                                            Environment
 Diego       REM           Supervised    Modeling the Distribution of       Environmental
 Natale      Completed     2003 - 2007   PCBs in Vancouver Harbour          Services
                                                                            Specialist for the
                                                                            Engineering
                                                                            Department
                                                                            (City of
                                                                            Chilliwack)
 Margaret    REM           Supervised    Distribution of Mono-Alkyl         Azimuth
 McConnell   Completed     2003 - 2007   Phthalate Esters in an Aquatic     Consultants
                                         Food-Web
 Srinivas    MET           Supervised    Sorption of Mono-Alkyl             Ph.D. student,
 Sura        Completed     2002 – 2007   Phthalate Esters                   U. of
                                                                            Saskatchewan
                                          21




                                                                                                 000836
Case 2:15-cv-00201-SMJ     ECF No. 423    filed 01/29/20     PageID.24416 Page 120 of 314



 Adrian        PDF         Supervised     Bioenergetics of                  Consultant with
 DeBruyn       Completed   2002 – 2005    Bioaccumulation                   Golder
                                                                            Associates Ltd.
 Oana          MET         Committee      Environmental Fate of Personal    BC Ministry of
 Gheorghiu     Completed   member         Care products                     the Environment
                            2001 – 2006
 Barry Kelly   PhD REM     Supervised     Bioaccumulation Potential of   Professor,
               Completed   1999 – 2006    Organic Contaminants in an     University of
                                          Arctic Marine Food-Web         Singapore
 Janice        MET         Supervised     Food-Web Bioaccumulation of    Canadian Food
 Weightman     Completed   2001 - 2004    Mercury in the Bay of Fundy    Inspection
                                                                         Agency
 Luba          PhD         Committee      Oral Bioavailability of        Dept. of Land
 Vasiluk       Biology     member         Hydrophobic Organic Substances Resource
               Completed   2001 – 2006                                   Science,
                                                                         University of
                                                                         Guelph
 Martin        PhD         Committee                                     ?
 Haefele       Geography   member
               Completed   1998 – 2004
 Natasha       PDF         Supervised     Analysis of Phthalate Esters in   Environmental
 Hoover        Completed   2003 – 2004    Water, Sediment and Biota         Analyst with
                                                                            Axxys
 Jaswinder     MET         Committee      Mobilization of Hydrophobic       Consultant
 Minhas        Completed   member         Contaminants from Soil in a
                            2002 – 2004   Model Digestive System
 Deborah       MET         Supervised     Bioconcentration and              Pest
 Ratzlaff      Completed   2001 – 2004    Biotransformation of Selected     Management
                                          Phthalate Esters in Rainbow       Regulatory
                                          Trout (Oncorhynchus Mykiss)       Agency of
                                                                            Health Canada
 James         REM         Supervised     Development and Evaluation of     PhD Candidate,
 Armitage      Completed   2001 - 2004    a Terrestrial Food Web            University of
                                          Bioaccumulation Model             Stockholm
 Javier        MET         Committee      The Bioaccumulation of            Toxicologist,
 Maldonado     Completed   member         Polychlorinated                   Canadian Food
                           2001 - 2004    Biphenyls(PCBs) in a Marine       Inspection
                                          Food Web                          Agency
                                                                            (Fertilizers
                                                                            Section)
 Lizanne       REM         Supervised     Assessing Sediment Quality: A     BC Ministry of
 Meloche       Completed   2001 - 2004    Method to Measure the             the
                                          Fugacity of Hydrophobic           Environment,
                                          Organic Contaminants in           Consultant
                                          Sediment                          Golder
                                           22




                                                                                              000837
Case 2:15-cv-00201-SMJ    ECF No. 423   filed 01/29/20   PageID.24417 Page 121 of 314



                                                                           International
 Victoria     REM         Supervised    A Method to Measure the            Research
 Otton        Completed   1999 - 2004   Sorptive Capacity of Sediment      Associate,
                                        and Plankton for Selected          Environmental
                                        Organochlorines                    Toxicology
                                                                           Group, SFU
 Curtis       PhD         Committee     Studies of Polycyclic Aromatic     Director
 Eickhoff     Biology     member        Hydrocarbons in Dungeness          Ecotoxicology,
              Completed   1994 - 2004   Crabs: Biomonitoring,              Cantest Ltd.
                                        Physiologically Based
                                        Toxicokinetic Model, and
                                        Human Health Risk Assessment
 Blair        MET         Committee     Comparison of Porewater and        Consultant with
 McDonald     Completed   member        Elutriate Bivalve Larval           Golder
                          2001 – 2004   Development Toxicity Testing       International
                                        in a Sediment Quality Triad
                                        Framework
 Jon Arnot    MET         Supervised    A Bioaccumulation Model of         PDF, University
              Completed   2000 -2003    Organic Chemicals in Aquatic       of Toronto
                                        Ecosystems
 Jing         PDF         Supervised    Analysis of Phthalate Esters in    PDF at UC
 Hongwhu      Completed   2000 - 2003   Environmental Media                Davis
 Anne Morin   REM         Supervised    Distribution of Phthalate Esters   Health Canada
              Completed   2000 - 2003   in a Marine Mammal Food
                                        Chain from Canada's Eastern
                                        Arctic
 Ryan         REM         Supervised    Development and Application        Environment
 Stevenson    Completed   2000 - 2003   of a Model Describing the          Canada
                                        Bioaccumulation and
                                        Metabolism of Polycyclic
                                        Aromatic Hydrocarbons in a
                                        Marine Benthic Food Web
 Glenys       REM         Supervised    Dietary Uptake and                 PDF, Faculty of
 Webster      Completed   2000 - 2003   Biotransformation of Phthalate     Health, SFU
                                        Esters in Staghorn Sculpin
 Elsie        PhD REM     Supervised    Development of a Marine            Professor,
 Sunderland   Completed   1997 - 2003   Mercury Cycling Model for          Harvard
                                        Passamaquoddy Bay, New
                                        Brunswick




                                         23




                                                                                             000838
Case 2:15-cv-00201-SMJ     ECF No. 423   filed 01/29/20    PageID.24418 Page 122 of 314



 Katherine     MET         Committee     Development of an Uptake            Toxicologist,
 Neufield      Completed   member        Assay for Gamma-                    Pest
                           2000 - 2002   Aminobutyric Acid (GABA)            Management
                                         Using Mouse Brain                   Regulatory
                                         Synaptoneurosomes and its Use       Agency, Health
                                         in the Investigation of Potential   Evaluation
                                         Effects of Oleamide                 Division, Health
                                                                             Canada
 Cheryl        REM         Supervised    Distribution of Phthalate Esters    Environmental
 Mackintosh    Completed   1998 - 2002   in a Marine Food Web                Scientist,
                                                                             Azimuth
                                                                             Consulting
 Darren        REM         Supervised    A Retrospective PCDD/F              BC Hydro
 Sherbot       Completed   1995 - 2002   Loading Inventory and
                                         Environmental Risk
                                         Assessment for Kamloops Lake
                                         and the Thompson River Using
                                         a Multimedia Exposure Model
 Daniel        REM         Supervised    Application of a Genetic            PDF,
 Ricard        Completed   1996 - 2000   Algorithm to Calibrate a Food       Dalhousie
                                         Web Bioaccumulation Model of
                                         Contaminants
 Dale          REM         Supervised    An Ecological Risk Assessment       Center for
 Marshall      Completed   1996 - 1999   of Dioxins and Furans               Policy
                                         Discharged by Fraser and            Alternatives
                                         Thompson River Pulp and
                                         Paper Mills
 Barry Kelly   REM         Supervised    Trophic Transfer of Persistent      Professor
               Completed   1996 - 1999   Organic Pollutants in an Arctic     National
                                         Tundra Ecosystem                    University of
                                                                             Singapore
 Laura         REM         Supervised    The Role of Sediment                Environment
 Maclean       Completed   1995 - 1999   Diagenesis in Promoting             Canada
                                         Chemical Disequilibria for
                                         Organic Contaminants in
                                         Aquatic Systems
 Glenn         PhD REM     Supervised    Assessment of the Assimilative      Director
 Harris        Completed   1994 - 1999   Capacity of Kitimat Arm,            Research
                                         British Columbia : A Case           Capital Regional
                                         Study Approach to the               District, Victoria
                                         Sustainable Management of
                                         Environmental Contaminants




                                          24




                                                                                                  000839
Case 2:15-cv-00201-SMJ    ECF No. 423   filed 01/29/20   PageID.24419 Page 123 of 314



 Dominica     REM         Supervised    The Jurist and the Ecologist:     Claims
 Babicki      Completed   1993 - 1999   Shifting Paradigms in the         Researcher
                                        International Law of Fisheries
                                        Conservation and Exploitation
 Katherine    REM         Supervised    Developing Sustainability : An    Unknown
 Beavis       Completed   1993 - 1998   Evaluation of Reforestation
                                        Projects in Tribal India
 Lauren       MSc.        Committee     Comparison of Rainfall-Runoff     Unknown
 Donnelly     Geography   member        Modelling Techniques in Small
              Completed   1993 – 1998   Forested Catchments
 John         MSc.        Co-           Gastro-Intestinal Magnification   Consultant with
 Wilcockson   Biology     Supervised    and Dietary Bioavailability of    Hatfield
              Completed   with T.       Chlorinated Organic               Consultants
                          Farrell       Contaminants/Xenobiotics:
                          1995 - 1998   Implications For
                                        Biomagnification
 Clare        REM         Supervised    A Risk Balance Analysis of        Professor
 Wiseman      Completed   1994 - 1997   Dioxin and Furan Related          University of
                                        Shellfish Closures for            Toronto
                                        Aboriginal Coastal
                                        Communities in British
                                        Columbia
 David        REM         Supervised    Combining Simulation              Washburn &
 Maguire      Completed   1993 - 1997   Modelling and Statistical Power   Gillis
                                        Analysis to Evaluate and          Associates,
                                        Optimize Contaminant              Fredericton
                                        Monitoring Programs in Lake
                                        Ontario
 Melanie      REM         Supervised    Organochlorine Management         Ministry of
 Haggart      Completed   1992 - 1997   Policy in Canada : The            Natural
                                        Challenge of Applying Science     Resources, Nova
                                        to Contaminant Management         Scotia
 Peiwen Qiao PhD          Committee     Uptake, Bioavailability, and      Unknown
             Biology      member        Bioaccumulation of Lipophilic
             Completed    1991 – 1998   Xenobiotics in Juvenile
                                        Rainbow Trout: An Assessment
                                        of the Role of Gills and
                                        Suspended Particles as a Source
                                        of Contaminants
 Sherry       REM         Supervised    Water Quality Guidelines: Are     Environment
 Walker       Completed   1993 - 1996   They Safe?                        Canada, Ottawa
 Gary         REM         Supervised    A Reevaluation of Quantitative    EVS
 Lawrence     Completed   1992 - 1996   Risk Assessment Methodology       Consultants,
                                        for Dioxin in the Fraser River    North
                                        Basin                             Vancouver
                                         25




                                                                                            000840
Case 2:15-cv-00201-SMJ     ECF No. 423   filed 01/29/20   PageID.24420 Page 124 of 314



 Kent Lien     REM         Supervised    Development and Application      Golder
               Completed   1992 - 1996   of an Environmental Fate and     Associates,
                                         Food-Web Bioaccumulation         Calgary
                                         Model for Organochlorine
                                         Emissions from Pulp Mills in
                                         the Fraser-Thompson River
                                         Basin
 Cherie        REM         Supervised    An Ecological Risk Assessment    Ph.D. student,
 Gelowitz      Completed   1993 - 1995   of the Effects of                University of
                                         Polychlorinated Biphenyl,        Alberta
                                         Dibenzo-P-Dioxin and
                                         Dibenzofuran Congeners on the
                                         Survival of the Early Life
                                         Stages of Lake Trout
                                         (Salvelinus Namaycush) in
                                         Lake Ontario
 Ryan Hill     REM         Co-           Dealing with Scientific          Azimuth
               Completed   Supervised    Uncertainties in the
                           1993 - 1995   Management of Chemical
                                         Substances
 Heather       PhD         Committee     The Effects of Zebra Mussels     Environment
 Morrison      Biology     Member        (Dreissena Polymorpha) on the    Canada
               U of        1991 – 1995   Distribution and Dynamics of
               Windsor                   Polychlorinated Biphenyls in
               Completed                 the Western Lake Erie Food-
                                         Web
 Michael       REM         Supervised    Temporal Response of the Lake    Golder
 Z’Graggen     Completed   1991 - 1994   Ontario Ecosystem to Virtual     Associates,
                                         Elimination of PCBs              Calgary
 Trent Berry   REM         Committee     Ecosystem health : towards       Unknown
               Completed   Member        definition & assessment
                           1990 - 1993
 John          REM         Supervised    A Chemical Fate Model for        Health
 Pasternak     Completed   1990 - 1993   Organic Chemical Emissions       Protection
                                         from Pulp and Paper Mills in     Branch,
                                         the Fraser-Thompson River        Environment
                                         System                           Canada
 Catherine     REM         Committee     Describing Landscapes: Indices   Unknown
 Rogers        Completed   Member        of Structure
                           1990 - 1993




                                          26




                                                                                           000841
Case 2:15-cv-00201-SMJ       ECF No. 423   filed 01/29/20   PageID.24421 Page 125 of 314



 Ramona        REM           Supervised    A Dynamic Chemical Fate           Department of
 Helm          Completed     1980 - 1993   Model for 2,3,7,8-                Fisheries &
 (Duncan)                                  Tetrachlorodibenzo-p-dioxin       Oceans, Ottawa
                                           and 2,3,7,8-
                                           Tetrachlorodibenzofuran
                                           Emitted from Pulp and Paper
                                           Mills in the Fraser River
                                           System, British Columbia
 Bonnie        REM           Committee     Impact Assessment and             Unknown
 Antcliffe     Completed     Member        Environmental Monitoring: The
                             1990 - 1992   Role of Statistical Power and
                                           Decision Analysis
 Jerry Rolls   REM           Committee     Estimating Soil Erosion in the    Unknown
               Completed     Member        Middle Hills of Nepal
                             1990 - 1992
 Debra Corns REM             Committee     Toward a Contaminated Sites       Unknown
             Completed       Member        Review Process for British
                             1989 - 1992   Columbia
 Jan           REM           Committee     Modelling the Effluent and        Unknown
 Campfens      Completed     Member        Cost Impacts of Technological
                             1988 - 1992   Options in the BC Pulp and
                                           Paper Sector Using the ISTUM
                                           Technology Simulation Model
 Donna         MSc.          Committee     Factors Influencing the           Ontario Ministry
 Bedard        Biology       Member        Bioaccumulation of Chlorinated    of the
               U of           - 1990       Hydrocarbons by Hexagenia         Environment
               Windsor                     Nymphs (Ephemeroptera:
               Completed                   Ephemeridae)
 Craig         MSc.          Committee     Factors Regulating                Canada Wildlife
 Hebert        Biology       Member        Organochorine Contaminant         Services
               U of           - 1990       Levels in Forage Fish from the
               Windsor                     St. Clair and Detroit Rivers
               (Completed)
 Xin Zhang     PDF           Supervised    Environmental Modelling           Environmental
               (Completed)   1992 - 1994                                     Modeler, US-
                                                                             EPA
 Zhong Ping    PDF         Supervised      Analysis of Phthalate Esters in   Avantix
 Lin           (Completed) 1997 - 1999     Biota                             Laboratories,
                                                                             Inc.


 Other Student Supervision

 1994          Carolyn Taylor : NSERC Undergraduate Fellowship, SFU

                                            27




                                                                                                000842
Case 2:15-cv-00201-SMJ      ECF No. 423     filed 01/29/20   PageID.24422 Page 126 of 314



 1989          E.J. McNeil : Honours Project, Department of Chemistry and
               Biochemistry, University of Windsor

 1989          S.C. Yousuff : Honours Project, Department of Biology, University of
               Windsor.


 External Doctoral Examinations

 2000          Philip Mayer: University of Utrecht, Research Institute of Toxicology,
               Ph. D. Thesis
 2000          Agnes Oomen: University of Utrecht, Research Institute of Toxicology,
               Ph. D. Thesis
 2005          Yushan Su, Department of Chemical Engineering & Applied Chemistry,
               University of Toronto, Ph. D. Thesis
 2005          Joline Widmeyer, Department of Biological Sciences, Simon Fraser
               University, Ph. D. Thesis
 2005          Chris Golding, University of Sydney, Sydney, Australia, Ph. D. Thesis
 2010          Seiedeh Aghileh Mirsadeghi, University Putra Malaysia, Ph. D. Thesis
 2011          Mark Ross, University of Alberta, Ph. D. Thesis
 2012          Holly Lee, University of Toronto, Ph.D. thesis
 2013          Ong Pei Thing, University of Malaysia, Ph.D. thesis
 2018          Chun Chen, City University of Hong Kong, Ph.D. thesis


 Internal Examinations

 2012          Parisa Ebrahimi Jozdani. Chemistry, Master Thesis

 University Service

 Academic Integrity Advisor
 Member of the Curriculum Committee of the Faculty of the Environment
 Chair of Undergraduate Studies of Resource & Environmental Management
 Member of Simon Fraser University Faculty Restructuring Task Force
 Director, School of Resource & Environmental Management
 Member of the Senate Graduate Studies Committee
 SFU Northern Studies Committee
 NSERC adjudication Committee
 Member of Search Committee for CRC Tier II Chair
 Chair of Graduate Studies
 Director, School of Resource & Environmental Management
 Member of Search Committee for the Dean of the faculty of Applied Sciences (January 1996 -
        June 1996)
 Chair of Undergraduate Studies Committee

                                              28




                                                                                              000843
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20   PageID.24423 Page 127 of 314



 Chair of REM-GIS Laboratory Committee
 Chair of Search Committee for the position in “Spatial Analysis & GIS”
 Chair of Search Committee for the position in “Social Science”
 Chair of REM Faculty Executive Committee
 Chair of REM Departmental Tenure Committee
 Member of the Undergraduate Studies Committee
 REM representative of the Science Library Users Committee
 REM representative of Faculty of Applied Science Computer Users Committee
 Member of Graduate Studies Committee
 Member of the Steering Committee for the preparation of a Green Plan Tri-council research
        proposal
 Chair Computer Room Committee
 Acting Director
 Acting Graduate Studies Committee Chair
 Chair REM Space Allocation Committee
 REM Executive Committee
 REM Graduate Admissions Committee
 REM Departmental Tenure Committee
 REM Committee for the preparation of the Brochure
 REM Search Committee for Tourism Faculty Position
 REM Search Committee for GIS Faculty Position




                                               29




                                                                                             000844
Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24424 Page 128 of 314




                             LIST OF PUBLICATIONS


                                        BY


                              FRANK A.P.C. GOBAS




                                        30




                                                                                       000845
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24425 Page 129 of 314



             REFEREED PUBLICATIONS SUBMITTED & UNDER REVIEW


 Gobas, F.A.P.C., Y.S. Lee, J.C. Lo, T.F. Parkerton. 2019. A Toxicokinetic Framework and
 Analysis Tool For Interpreting OECD 305 Dietary Bioaccumulation Tests. Environ. Toxicol.
 Chem. Submitted.

 Cancelli, A.M., F.A.P.C. Gobas. 2019. Treatment Efficiencies Of Oil Sands Process Wastewater
 Pollutants In The Kearl Treatment Wetland. Water Research. Submitted

 Jennifer J. Trowell, Frank A. P. C. Gobas, Margo M. Moore and Christopher J Kennedy. 2019.
 The effect of environmental temperature on in-vitro estimates of elimination rate constants and
 bioconcentration factors of hydrophobic chemicals in fish. Chemosphere Submitted.

 Lo J.C., Y.S. Lee, D.A. Campbell, S.V. Otton, F.A.P.C. Gobas. 2019. In Vitro to In Vivo
 Extrapolation of Biotransformation Rates of Hydrophobic Chemicals in the Fish Body. Environ.
 Toxicol. Chem. Submitted.

                                  REFEREED PUBLICATIONS

 Gobas F.A.P.C., Y.S. Lee. 2018. Growth Correcting the BCF and BMF in Bioaccumulation
 Assessments & Possible Solutions. Environ. Toxicol. Chem. In press.

 Cancelli, A.M., F.A.P.C. Gobas, W. Qian, B.C. Kelly. 2018. Development And Evaluation Of A
 Mechanistic Model To Assess The Fate and Removal Efficiency Of Hydrophobic Organic
 Contaminants In Horizontal Subsurface Flow Treatment Wetlands. Water Research.
 https://doi.org/10.1016/j.watres.2018.12.020

 Saunders L.J., S. Fontanay, J.W. Nichols, F.A.P.C. Gobas. 2018. Concentration-Dependence Of In
 Vitro Biotransformation Rates Of Hydrophobic Organic Sunscreen Agents In Rainbow Trout S9
 Fractions: Implications For Bioaccumulation Assessment. Environ. Toxicol. Chem. DOI
 10.1002/etc.4342.

 Gobas F.A.P.C., Y.S. Lee, L.J. Saunders, M.M. Moore, J.J. Trowell, C.J. Kennedy.
 2018Response to Comment on: “Estimating the Bioconcentration Factors of Hydrophobic
 Organic Chemicals from Biotransformation Rates Using Rainbow Trout Hepatocytes”. Archives
 of Environmental Contamination and Toxicology. https://doi.org/10.1007/s00244-018-0579-x.

 Gobas F.A.P.C., H. Lai, D. Mackay, L.E. Padilla, A. Goetz, S.H. Jackson. 2018. AGRO-2014: A
 Time Dependent Model For Assessing The Fate And Food-Web Bioaccumulation Of Organic
 Pesticides In Farm Ponds: Model Testing And Performance Analysis. Science of the Total
 Environment 639: 1324–1333.




                                                31




                                                                                                   000846
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24426 Page 130 of 314



 Gobas F.A.P.C., P. Mayer, T.F. Parkerton, R.M. Burgess, D. van de Meent, T. Gouin. 2018. A
 Chemical Activity Approach to Exposure and Risk Assessment of Chemicals. Environ. Toxicol.
 Chem. 37(5):1235-1251.

 Trowell J.J, F.A.P.C. Gobas, M.M. Moore, C.J. Kennedy. 2018. Estimating the bioconcentration
 factors of hydrophobic organic compounds from biotransformation rates using rainbow trout
 hepatocytes. Arch. Environ. Contam. Toxicol. doi: 10.1007/s00244-018-0508-z.

 Lee Y.S., J.C. Lo, S.V. Otton, M.M. Moore, C.J. Kennedy and F.A.P.C. Gobas. 2017. In-vitro-
 to-in-vivo extrapolation of biotransformation rates for assessing bioaccumulation of hydrophobic
 organic chemicals in mammals. Environ. Toxicol. Chem. 36, 1934–1946.

 Gobas F.A.P.C., S.V. Otton, L.F. Tupper-Ring, M.A. Crawford, K.E. Clark, M.G. Ikonomou.
 2017. Chemical activity-based environmental risk analysis of the plasticizer di-ethylhexyl
 phthalate and its main metabolite mono-ethylhexyl phthalate. Environ. Toxicol. Chem. 36(6):
 1483–1492, 1-10.

 Lo J.C., D.J. Letinski, T.F. Parkerton, D.A. Campbell and F.A.P.C. Gobas. 2016. In Vivo
 Biotransformation Rates of Organic Chemicals in Fish: Relationship with Bioconcentration and
 Biomagnification Factors. Environ. Sci. Technol. 50 (24), pp 13299–13308.

 Gobas F.A.P.C. and J.C. Lo. 2016. Deriving Bioconcentration Factors And Somatic
 Biotransformation Rates From Dietary Bioaccumulation And Depuration Tests. Environ.
 Toxicol. Chem. 35: 2968–2976.

 Kim J., F.A.P.C. Gobas, J.A. Arnot, D.E. Powell, R.M. Seston, K.B. Woodburn. 2016.
 Evaluating the roles of biotransformation, spatial concentration differences, organism home
 range, and field sampling design on trophic magnification factors. Science of the Total
 Environment. 551–552, 438–451.

 Gobas F.A.P.C., L. Burkhard, W. Doucette, K. Sappington, E. Verbruggen, B. Hope, M.
 Bonnell, J. Arnot, J. Tarazona. 2015. Review of Existing Terrestrial Bioaccumulation Models
 and Terrestrial Bioaccumulation Modeling Needs for Organic Chemicals. Review of existing
 terrestrial bioaccumulation models and terrestrial bioaccumulation modeling needs for organic
 chemicals. Integrated Environmental Assessment and Management 12 (1), 123–134. Article first
 published online : 28 SEP 2015, DOI: 10.1002/ieam.1690

 Alava J.J., P.S. Ross and F.A.P.C. Gobas. 2016. Food Web Bioaccumulation Model for Resident
 Killer Whales from the Northeastern Pacific Ocean as a Tool for the Derivation of PBDE-
 Sediment Quality Guidelines. Archives of Environmental Contamination and Toxicology
 70:155–168. DOI 10.1007/s00244-015-0215-y

 Alava, J.J., F.A.P.C. Gobas. 2016. Modeling 137Cs bioaccumulation in the salmon–resident
 killer whale food web of the Northeastern Pacific following the Fukushima Nuclear Accident
 Science of the Total Environment 544: 56-67. http://dx.doi.org/10.1016/j.scitotenv.2015.11.097

                                                32




                                                                                                    000847
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20    PageID.24427 Page 131 of 314




 Gobas, F.A.P.C., D.E. Powell, K.B. Woodburn, T. Springer, D.B. Huggett. 2015.
 Bioaccumulation of Decamethylpentacyclosiloxane (D5) in Aquatic and Non-Aquatic Biota: A
 Review. Environ. Toxicol. Chem. 34 (12), 2703–2714.

 Lo, J.C., G.N. Allard, S.V. Otton, D.A. Campbell, F.A.P.C. Gobas. 2015. Concentration
 Dependence Of Biotransformation In Fish Liver S9: Optimizing Substrate Concentrations To
 Estimate Hepatic Clearance For Bioaccumulation Assessment. Environ. Toxicol. Chem. 34 (12),
 2782–2790.

 Fairbrother A.E., Burton A., Klaine S.J., Powell D.E., Staples C.A., Mihiach E., Woodburn K.B.,
 F.A.P.C. Gobas. 2015. Characterization of ecological risks from environmental releases of
 decamethylcyclopentasiloxane (D5). Environ Toxicol Chem. 34 (12), 2715–2722.

 Lo J.C., D.A. Campbell, C.J. Kennedy, F.A.P.C. Gobas. 2015. Somatic And Gastro-Intestinal In-
 Vivo Biotransformation Rates Of Hydrophobic Chemicals In Fish. Environ. Toxicol. Chem. 34
 (10), 2282–2294.

 Gobas F.A.P.C., S. Xu, G. Kozerski, D.E. Powell, K.B. Woodburn, D. Mackay, A.E.
 Fairbrother. 2015. Fugacity and Activity Analysis of the Bioaccumulation and Environmental
 Risks of Decamethylcyclopentasiloxane (D5). Environ. Toxicol. Chem. 34 (12), 2723–2731.

 Arblaster, J., M.G. Ikonomou, F.A.P.C. Gobas. 2015. Towards Ecosystem Based Sediment
 Quality Guidelines for PCB. Integrated Environmental Assessment and Management 11: 689-
 700.

 Donald Mackay, Frank Gobas, Keith Solomon, Matthew Macleod, Michael McLachlan, David
 E. Powell, and Shihe Xu. 2015. Comment on “Unexpected Occurrence of Volatile
 Dimethylsiloxanes in Antarctic Soils, Vegetation, Phytoplankton, and Krill”. Environ. Sci.
 Technol., 2015, 49 (12), pp 7507–7509. DOI: 10.1021/acs.est.5b01936

 Alava J.J., M.R.R. McDougall, M.J. Borbor-Córdova, K.P. Calle, M. Riofrio, N. Calle, M.S.
 Ikonomou and F.A.P.C. Gobas. 2015. Perfluorinated Chemicals Assessment in Sediments,
 Lichens and Seabirds from the Antarctic Peninsula: Environmental Assessment and Management
 Perspectives. In "Emerging Pollutants in the Environment - Current and Further Implications",
 ISBN 978-XXX-XX-XXXX-4. http://dx.doi.org/10.5772/60205. Pp. 51-73.

 Lee Y.S., D.H.Y. Lee, M. Delafoulhouze, M.M. Moore, C.J. Kennedy and F.A.P.C. Gobas.
 2014. In Vitro Biotransformation Rates In Fish Liver S9: Effect Of Dosing Techniques. Environ
 Toxicol Chem 2014, 33, 1885–1893.

 Ghosh U., S.K. Driscoll, R. Burgess, F.A.P.C. Gobas, K. Maruya, C. Jonker, W. Gala, Y. Choi,
 C. Beegan, S. Apitz, M. Mortimer, D. Reible. 2014. Passive Sampling Methods for
 Contaminated Sediments: Practical Guidance for Selection, Calibration and Implementation.
 Integrated Environmental Assessment and Management. 10 (2), 210–223.

                                               33




                                                                                                   000848
Case 2:15-cv-00201-SMJ       ECF No. 423       filed 01/29/20   PageID.24428 Page 132 of 314




 Tierney, K.B., F.A.P.C. Gobas, C.J. Kennedy, M. Gledhill, M. Sekela. 2014. Chapter 1: Organic
 contaminants in fish. In Fish Physiology (K.B. Tierney, A.P. Farrell, C. J. Brauner eds.) pp. 1 –
 41.

 Mackay, D. J.A Arnot, F.A.P.C. Gobas and D.E. Powell. 2013. Mathematical Relationships
 between Metrics of Chemical Bioaccumulation in Fish. Environ. Toxicol. Chem. 32 (7), 1459–
 1466.

 Benskin, J.P., M.G. Ikonomou, F.A.P.C. Gobas, T.H. Begley, M.B. Woudneh, J.R. Cosgrove.
 2013. Biodegradation of N-ethyl perfluorooctane sulfonamido ethanol (EtFOSE) and EtFOSE-
 phosphate (SAmPAP) diester in marine sediments. Environ. Sci. Technol. 2013, 43, 1381-1389.

 Mirsadeghi S.E., M.P. Zakaria, C.K. Yap, F.A.P.C. Gobas. Evaluation of the potential of the
 blood cockle (Anadara granosa L.) for assessment of environmental matrices of mudflats:
 bioaccumulation and biomarkers. 2013. Science of the Total Environment 454-455, pp. 584-597.

 Alava J.J., P.S. Ross, C. Lachmuth, J.K.B. Ford, B.E. Hickie and Frank A.P.C. Gobas. 2012.
 Habitat-based PCB Environmental Quality Criteria for the Protection of Endangered Killer
 Whales (Orcinus orca). Environ. Sci. Technol. 2012, 46 (22), pp 12655–12663.

 Alava J.J. and F.A.P.C. Gobas. 2012. Assessing Biomagnification and Trophic Transport of
 Persistent Organic Pollutants in the Food Chain of the Galapagos Sea Lion (Zalophus
 wollebaeki): Conservation and Management Implications. In “New Approaches to the Study of
 Marine Mammals” (A. Romero and E.O. Keith eds.), ISBN: 978-XXX-XX-XXXX-3, InTech, DOI:
 10.5772/51725.

 Kickham P., V.S. Otton, M. M. Moore, M.G. Ikonomou and F.A.P.C. Gobas. 2012.
 Relationship between biodegradation and sorption of phthalate esters and their metabolites in
 natural sediments. Environ. Toxicol. Chem. 31 (8), 1730–1737.

 Benskin J.P., M.G. Ikonomou, F.A.P.C. Gobas, M.B. Woudneh, and J.R. Cosgrove. 2012.
 Observation of a Novel PFOS-Precursor, the Perfluorooctane Sulfonamido Ethanol-Based
 Phosphate (SAmPAP) Diester, in Marine Sediments. Environ. Sci. Technol., 46 (12), 6505–
 6514.

 Lee Y.S, S.V. Otton, D.A. Campbell, M.M. Moore, C.J. Kennedy, and F.A.P.C. Gobas. 2012.
 Measuring In Vitro Biotransformation Rates of Super Hydrophobic Chemicals in Rat Liver S9
 Fractions Using Thin-Film Sorbent-Phase Dosing. Environ. Sci. Technol., 2012, 46 (1), pp 410–
 418.

 Alava, J.J.; D. Lambourn, P.Olesiuk, M. Lance, S.J. Jeffries, F.A.P.C. Gobas and P.S. Ross.
 2012. PBDEs and PCBs in migrating Steller sea lions (Eumatopias jubatus) in the Strait of
 Georgia, British Columbia, Canada. Chemosphere, 88 (2012) 855–864.


                                                34




                                                                                                     000849
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20    PageID.24429 Page 133 of 314



 Ikonomou M.G., J.D. Blair, B.C. Kelly and F.A.P.C. Gobas. 2012. An Interlaboratory
 Comparison Study for the Determination of Di-Alkyl Phthalate Esters in Environmental and
 Biological Samples. Environ. Toxicol. Chem. 31 (9) 1948–1956.

 Alava, J.J., S. Salazar, M. Cruz, G. Jimenez-Uzcátegui, , S. Villegas-Amtmann, D. Pae´z-Rosas
 P. Howorth, D. P. Costa, P.S. Ross, M.G. Ikonomou , F. A. P. C. Gobas. 2011. DDT Strikes
 Back: Galapagos Sea Lions Face Increasing Health Risks. AMBIO (2011) 40:425–430.

 Conder, J.M., F.A.P.C. Gobas, K. Borgå, D.C.G. Muir, and D. Powell. 2012. Use of trophic
 magnification factors and related measures to characterize bioaccumulation potential of
 chemicals. Integrated Environmental Assessment and Management. 8: 85-97.

 Borgå, K., Kidd, K.A., Berglund, O., Conder, J.M., Gobas, F.A.P.C., Kucklick, J.R., Kay, D.,
 Malm, O. Powell, D.E., Muir, D.C.G. 2012. Trophic Magnification Factors: Considerations of
 Ecology, Ecosystems, and Study design. Integrated Environmental Assessment and
 Management. 8(1): 64-84.

 Alava, J.J., P.S. Ross, M.G. Ikonomou , M. Cruz, G. Jimenez-Uzcátegui, , D. P. Costa, S.
 Villegas-Amtmann, P. Howorth, F. A. P. C. Gobas. 2011. DDT in endangered Galapagos sea
 lions (Zalophus wollebaeki). Marine Pollution Bulletin 62: 660-671.

 Gobas, F.A.P.C. and J.A. Arnot. 2010. San Francisco Bay PCB Food Web Bioaccumulation
 Model. Environ. Toxicol. Chem. 29: 1385-1395.

 Sunderland, E.M. J. Dalziel, A. Heyes , B.A. Branfireun , D.P. Krabbenhoft, F.A.P.C. Gobas.
 2010. Response of a Macrotidal Estuary to Changes in Anthropogenic Mercury Loading between
 1850 and 2000. ” Environ. Sci. Technol. 44: 1698-1704.

 Barry C. Kelly, Michael G. Ikonomou, Joel D. Blair, Blair Surridge, Dale Hoover, Richard
 Grace, and Frank A.P.C. Gobas. 2009. Response to Comments on “Perfluoroalkyl contaminants
 in an Arctic marine food web: Trophic magnification and wildlife exposure” Environ. Sci.
 Technol. 43 (15), pp 6110–6111.

 Gobas, F.A.P.C., W. de Wolf, E. Verbruggen, K. Plotzke, L. Burkhard. 2009. Revisiting
 Bioaccumulation Criteria for POPs and PBT Assessments. Integrated Environmental Assessment
 and Management. 5(4), 624-637.

 Kelly, B.C., M.G. Ikonomou , J. D. Blair, B. Surridge, D. Hoover, L. Haviland, R. Grace,
 F.A.P.C. Gobas. 2009 Perfluoroalkyl Contaminants in an Arctic Marine Food Web: Trophic
 Magnification and Wildlife Exposure. Environ. Sci. Technol. 43 (11), 4037–4043.

 Blair J.D., M.G. Ikonomou, M.L. McConnell, B.C. Kelly and F.A.P.C. Gobas. 2009. Ultra-Trace
 Determination of Phthalate Ester Metabolites in Seawater, Sediments, and Biota from an
 Urbanized Marine Inlet by LC/ESI-MS/MS. Environ. Sci. Technol., 2009, 43 (16), 6262–6268.


                                               35




                                                                                                 000850
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24430 Page 134 of 314



 Boethling, R.S., R. Chenier, C.E. Cowan-Ellsberry, W. de Wolf, P. Dohmen, S.J. Eisenreich, B.
 Escher, F.A.P.C. Gobas, K.C. Jones, G.M. Klecka, D. Mackay, M. McLachlan, D.C.G. Muir, J.
 Nichols, M. Scheringer, J.R. Snape, K.R. Solomon, D.L. Swackhamer, J.V. Tarazona, D. van
 Wijk, A.V. Weisbrod, K.B. Woodburn (in alphabetical order). 2009. Science Based Guidance
 and Framework for the Evaluation and Identification of PBTs and POPs (G.M. Klecka and
 D.C.G. Muir eds.) SETAC Press. 32 pp.

 Alava, J.J., P.S. Ross, M.G. Ikonomou, D. Costa, S. Salazar, and F.A.P.C. Gobas. 2009.
 Polychlorinated Biphenyls and Polybrominated diphenyl ethers in Galapagos sea lions (Zalophus
 wollebaeki). Environ. Toxicol. Chem. 28 (11), 2271–2282.

 Klecka, G.M., D.C.G Muir, P. Dohmen, S.J. Eisenreich, F.A.P.C. Gobas, K.C Jones, D. Mackay,
 J. V. Tarazona and D. van Wijk. 2009. Introduction to Special Series: Science-Based Guidance
 and Framework for the Evaluation and Identification of PBTs and POPs. Integrated
 Environmental Assessment and Management. 5(4), 535-538.

 Meloche, L.M., S.V. Otton, M.G. Ikonomou, A.M.H. DeBruyn and F.A.P.C. Gobas. 2009.
 Assessing sediment quality using thin-film solid phase extraction. Environ. Chem. Toxicol. 28:
 247-253.

 Kelly, B.C., M.G. Ikonomou, J.D. Blair and Gobas, F.A.P.C. 2008. Behaviour of Hydroxylated
 and Methoxylated PBDEs in a Canadian Arctic Food-Web. Environ. Sci. Technol. 42: 7069-
 7077.

 Gobas, F.A.P.C. 2008. Food-Web Bioaccumulation Models. In Encyclopedia of Ecology,
 Volume 2: Environmental Toxicology (Jorgensen, S.E. and Fath B.D. (editor-in-Chief.)
 Elsevier, Oxford. Pp. 1643-1652.

 Kelly, B.C., Michael G. Ikonomou, Joel D. Blair, Frank A.P.C. Gobas. 2008. Bioaccumulation
 behaviour of polybrominated diphenyl ethers (PBDEs) in a Canadian Arctic marine food web.
 Science of the Total Environment 401, 60-72.

 Otton, S.V., S. Sura, J. Blair, M.G. Ikonomou, F.A.P.C. Gobas. 2008. Biodegradation of Mono-
 Alkyl Phthalate Esters in Natural Sediments. Chemosphere 71: 2011-2016.

 Golding, C.J., Gobas, F.A.P.C.; Birch, G.F. 2008. A Fugacity Approach for Assessing the
 Bioaccumulation of Hydrophobic Organic Compounds from Estuarine Sediment. Environ.
 Toxicol. Chem. 27(5): 1047-1054.

 Vasiluk L., L.J. Pinto, W.S. Tsang, F.A.P.C. Gobas, C. E. Eickhoff and M.M. Moore. 2008. “The
 uptake and metabolism of benzo[a]pyrene from a sample food substrate in an in vitro model of
 digestion.” Food and Chemical Toxicology. 46(2): 610-618.

 Kelly, B.C., M.G. Ikonomou, J.D. Blair, A.E. Morin and F.A.P.C. Gobas. 2007. Food Web
 Specific Biomagnification of Persistent Organic Pollutants. Science 307: 236-239.

                                               36




                                                                                                  000851
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24431 Page 135 of 314




 Armitage, J.M. and F.A.P.C Gobas, 2007. A Terrestrial Bioaccumulation Model for POPs.
 Environ. Sci. Technol. 41 (11), 4019-4025.

 DeBruyn, A.M.H. and F.A.P.C. Gobas. 2007. The Sorptive Capacity of Animal Protein.
 Environ. Toxicol. Chem. 26 (9): 1803-1808.

 Vasiluk, L, L.J. Pinto, Z.A. Walji, W.S. Tsang, F.A. P. C. Gobas , C. Eickhoff and M.M. Moore.
 2007. Benzo[a]pyrene bioavailability from pristine soil and contaminated sediment assessed
 using two in vitro models. Environ. Toxicol. Chem. 26: 387-393.
 Golding, C.J.; Gobas, F.A.P.C.; Birch, G.F. (2007) Characterisation of PAH bioavailability in
 estuarine sediments using Thin Film Extraction. Environmental Toxicology and Chemistry
 26(5):829-836.
 Cheng, W.W.L. and F.A.P.C. Gobas. 2007. Assessment of Human Health Risks of Consumption
 of Cadmium Contaminated Cultured Oysters. Human. Ecol. Risk Assess. 13: 370-382.

 Arnot, J.A. and F.A. P. C. Gobas. 2006. A review of bioconcentration factor (BCF) and
 bioaccumulation factor (BAF) assessments for organic chemicals in aquatic organisms.
 Environmental Reviews 14: 257-297.

 Macintosh, C. E., J. A. Maldonado, M. G. Ikonomou and F. A. P. C. Gobas. 2006. Sorption of
 Phthalate Esters and PCBs in a Marine Ecosystem. Environ. Sci. Technol. 2006; 40(11); 3481-
 3488.

 Gobas, F.A.P.C., M.M. Moore, J.L.M. Hermens and Jon A. Arnot. 2006. Bioaccumulation
 Reality Check. SETAC Globe 7(4), 40-41.

 Sunderland, E. M.H.A., F.A.P.C. Gobas, B.A. Branfireun, A. Heyes. 2006. Environmental
 Controls on the Speciation and Distribution of Mercury in Coastal Sediments. Marine Chemistry
 102: 111-123.

 Minhas, J.K.,L. Vasiluk, L.J. Pinto, F.A.P.C. Gobas and M.M. Moore. 2006, Mobilization of
 chrysene from soil in a model digestive system. Environ. Toxicol. Chem. 25(7): 1729-1737.

 deBruyn, A.M.H. and Frank A.P.C. Gobas. 2006. A Bioenergetic Biomagnification Model for
 the Animal Kingdom. Environ. Sci. Technol. 40: 1581-1587.

 Kelly, B.C., M.G. Ikonomou and F.A.P.C. Gobas. 2005. Biomagnification Potential of
 Polybrominated Diphenylethers in a Canadian Arctic Marine Food Web. Organohalogen
 Compounds. Pp. 1240-1242.

 Kelly, B.C., M.G. Ikonomou and F.A.P.C. Gobas. 2005. Biomagnification Potential of
 Polybrominated Diphenylethers in a Canadian Arctic Marine Food Web. Proceedings of the
 Dioxin 2005 Conference, Toronto, Ontario. Pp. 1243-1246.

                                                37




                                                                                                  000852
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24432 Page 136 of 314



 Kelly, B.C., M.S. McLachlan and F.A.P.C. Gobas. 2004. Intestinal Absorption and
 Biomagnification of Organic Contaminants in Fish, Wildlife and Humans. Environ. Toxicol.
 Chem. 23, 2324-2336.

 Harner, T., Mahiba Shoeib, Melissa Kozma, Frank A. P. C. Gobas, Shao Meng Li. 2005.
 Hexachlorocyclohexanes and endosulfans in urban, rural and high altitude samples in the Fraser
 Valley, B. C.: Evidence for trans-Pacific transport. Environ. Sci. Technol. 39(3): 724-731.

 DeBruyn, A.M.H. and F.A.P.C. Gobas, M.G. Ikonomou. 2004. Magnification and Toxicity of
 PCBs, PCDDs and PCDFs in Upriver Migrating Pacific Salmon. Environ. Sci. Technol. 38:
 6217-6224.

 DeBruyn, A.M.H. and F.A.P.C. Gobas. 2004. Modelling the Diagenetic Fate of POPs in
 Organically Enriched Sediments. Ecol. Modelling, 179, 405-416.

 Macintosh, C. E., J. Maldonado, J. Hongwu, N. Hoover, A. Chong, M. G. Ikonomou and F. A.
 P. C. Gobas . 2004. Distribution of Phthalate Esters in a Marine Aquatic Food-Web. Environ.
 Sci. Technol. 38(7) : 2011 - 2020.

 Arnot, J.A. and F.A. P. C. Gobas. 2004. A Food Web Bioaccumulation Model for Organic
 Chemicals in Aquatic Ecosystems. Environ. Toxicol. Chem. 23, 2343-2355.

 Gobas, F.A.P.C. and D.C.G. Muir. 2004. A World Model, a Model World. Environ. Toxicol.
 Chem. 23, 2279-2280.

 Sunderland, E.M. B.A. Branfireun, A.K. Bayer, A. Heyes, R. E. Cranston, M. B. Parsons and
 F.A.P.C. Gobas. 2004. Speciation and Bioavailability of Mercury in Well-Mixed Estuarine
 Sediments. Marine Chemistry 90, 91-105.

 Kelly, B.C. and F.A.P.C. Gobas. 2003. An Arctic Terrestrial Food-Chain Bioaccumulation
 Model for Persistent Organic Pollutants. Environ. Sci. Technol. 37: 2966-2974.

 Arnot, J.A., Gobas, F.A.P.C. 2003. A generic QSAR for Assessing the Bioaccumulation
 Potential of Organic Chemicals in Aquatic Food-webs. QSAR Comb. Sci. 22: 337-345.

 Gobas, F.A.P.C., B.C. Kelly, J.A. Arnot. 2003. Quantitative Structure Activity Relationships for
 Predicting the Bioaccumulation of POPs in Terrestrial Food-Webs. QSAR Comb. Sci. 22: 346-
 351.

 Lin, Z, M. G. Ikonomou, C.E. Mackintosh, J. Hongwu and F.A.P.C. Gobas. 2003. Determination
 of Phthalate Ester Congeners and Mixtures in Sediments and Biota of an Urbanized Coastal
 Marine Inlet. Environ. Sci. Technol. 2003; 37(10) : 2100–2108.




                                                38




                                                                                                    000853
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24433 Page 137 of 314



 Eickhoff, C.V., S.X. He, F.A.P.C. Gobas and F.C.P. Law. (2003). Determination Of Polycyclic
 Aromatic Hydrocarbons In Dungeness Crabs (Cancer magister) Near An Aluminium Smelter In
 Kitimat Arm, BC. Environmental Toxicology and Chemistry 22: 50-58.

 Eickhoff, C.V., F.A.P.C. Gobas and F.C.P. Law. (2003). Screening Pyrene Metabolites in the
 Haemolymph of Dungeness Crabs (Cancer magister) Using Synchronous Fluorescence
 Spectrometry: Method Development And Application. Environmental Toxicology and
 Chemistry 22: 59-66.

 Wiseman, C.L.S. and F.A.P.C. Gobas. 2002. Balancing Risks in the Management of
 Contaminated Aboriginal Fisheries. Int. J. Environ. Health. Res. 12 (4), 331-342.

 Harner, T., N. Farrar, M. Shoeib, K. Jones and F.A.P.C. Gobas. 2003. Characterisation of
 Polymer-Coated Glass (POGs) as Passive Air Samplers for Persistent Organic Pollutants.
 Environ. Sci. Technol. 37: 2486-2493.

 Gobas, F.A.P.C. and L.G. MacLean. 2003. Sediment-water distribution of organic contaminants
 in aquatic ecosystems: the role of organic carbon mineralization. Environ. Sci. Technol. 37(4):
 735-741.

 Gobas, Frank A.P.C., Cheryl E. Mackintosh, Glenys Webster, Michael Ikonomou, Thomas F.
 Parkerton, Kenneth Robillard. 2003. Bioaccumulation of Phthalate Esters in Aquatic Food-
 Webs. Handbook of Environmental Chemistry, Vol. 3. Phthalates (O. Hutzinger ed.) pp. 201-
 225.

 Li, P.C.H., E. J. Swanson, F.A.P.C.Gobas. 2002. Diazinon and its Degradation Products in
 Agricultural Water Courses in British Columbia, Canada. Bulletin of Environ. Contam. Toxicol.
 69:59-65.

 Gobas, F.A.P.C. 2001. Response to “A proposal for hazard identification of organic chemicals
 based on inherent toxicity”. SETAC Globe 2 (6), 29-30.

 Gobas, F.A.P.C., R. Purdy, G.Granville, C. Cowan-Ellsbery, J. Gannon, M. Lewis, A. Socha, P.
 M. Chapman. 2001. A proposal for hazard identification of organic chemicals based on inherent
 toxicity. SETAC Globe (4), 33-34.

 Wilcockson, John, B. and Frank A.P.C. Gobas. 2001. Thin Film Solid-Phase Extraction to
 Measure Fugacities of Poorly-Volatile Organic Chemicals in Biological Samples. Environ. Sci.
 Technol. 35: 1425-1431.

 Kelly, B.C. and F.A.P.C. Gobas. 2001. Bioaccumulation of Persistent Organic Pollutants in Lichen-
 Caribou-Wolf Food-Chains of Canada’s Central and Western Arctic. Environ. Sci. Technol. 35(2):
 325-334.



                                               39




                                                                                                     000854
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24434 Page 138 of 314



 Qiao, P., F.A.P.C. Gobas and A.P. Farrell. 2000. Relative Contributions of Aqueous and Dietary
 Uptake of Hydrophobic Organic Chemicals to the Body Burden in Juvenile Trout. Arch.
 Environ. Toxicol. Chem. 39: 369-377.

 Gobas, F.A.P.C. 2001. Assessing Bioaccumulation Factors of Persistent Organic Pollutants in
 Aquatic Food-Chains, In: Persistent Organic Pollutants: Environmental Behaviour and Pathways
 of Human Exposure, ed S. Harrad, Pubd. Kluwer Academic, pp 145-165.

 Walker, S.L. and F.A.P.C. Gobas. 1999. An Investigation of the Application of Canadian Water
 Quality Guidelines. Environ. Toxicol. Chem. 18: 1323-1328.

 Russell, R.W., F.A.P.C. Gobas, and G.D. Haffner. 1999. Maternal Transfer and In-Ovo Exposure
 of Organochlorines in Oviparous Organisms: A Model and Field Verification. Environ. Sci.
 Technol. 33: 416-420.

 Gobas, F.A.P.C.,J.W.B. Wilcockson, R.W. Russell and G.D. Haffner. 1999. Mechanism of
 Biomagnification in Fish under Laboratory and Field Conditions. Environ. Sci. Technol. 33: 133-
 141.

 Carey, J., P. Cook, J. Giesy, P. Hodson, D. Muir, J. Owens, K. Solomon, U. Ahlborg, D. Allen,
 K. Ballschmiter, T. Bidleman, R. Boethling, J. Clarck, J. DePinto, G. Dickson, R. Erickson, H.
 Fielder, M. Fournier, M. Gilbertson, F. Gobas, T. Green, A. Grimvall, P. Howard, B. Jansson, P.
 Jones, R. Kimerle, D. Mackay, F. Mayer, L. McCarty, K. Munkittrick, R. Norstrom, M. Olsson,
 R. Parrish, R. Peterson, C. Rappe, R. Reitz, M. Salkinoja-Salonen, W. Schmidt, D. Sijm, J. Stein,
 K. Stromborg, T. Shinsuke, T. ten Hulscher, P. Thomas, D. Tillit, M. Van den Berg, G. Vn der
 Kraak, G. Veith, E. Voldner, P. Watanabe, R. Wentsel, M. Zeeman. 1998. In “Ecotoxicological
 Risk Assessment of the chlorinated Organic Chemicals” (Carey, J., P. Cook, J. Giesy, P. Hodson,
 D. Muir, J. Owens, K. Solomon eds.). SETAC Special Publication. 397 p.

 Kleinow, K., J. Baker, J. Nichols, F.A.P.C. Gobas, T. Parkerton, D. Muir, G. Monteverdi and P.
 Mastrodone. 1999. Chemical Exposure, Uptake and Disposition: Implications for Reproduction
 and Development in Select Oviparous Vertebrates. In “Reproductive and Developmental Effects
 of Contaminants in Oviparous Vertebrates” Eds. Richard T. Di Giulio and Donald E. Tillitt, 462
 pp.SETAC Special Publication. 135-256.

 Russell R.W., F.A.P.C. Gobas and G.D. Haffner. 1999. The Role of Chemical and Ecological
 Factors in Trophic Transfer of Organic Chemicals in Aquatic Food Webs. Environ. Toxicol.
 Chem. 18 : 1250-1258.

 Gobas, F.A.P.C. and H.A. Morrison. 1999. Bioconcentration & Bioaccumulation in the Aquatic
 Environment. In “Handbook of Property Estimation methods for chemicals: Environmental and
 Health Sciences” (Boethling R. and Mackay, D. eds.), CRC Press. ISBN 1-56670-456-1, p. 139-
 232.



                                                40




                                                                                                     000855
Case 2:15-cv-00201-SMJ       ECF No. 423     filed 01/29/20    PageID.24435 Page 139 of 314



 Gobas, F.A.P.C., J.P. Pasternak. K. Lien and R.K. Duncan. 1998. Development & Field-
 Validation of a multi-media exposure assessment model for waste load allocation in aquatic
 ecosystems: application to TCDD and TCDF in the Fraser River Watershed. Environ. Sci.
 Technol. 32: 2442-2449.

 Morrison, H.A., F.A.P.C. Gobas, R. Lazar, D.M. Whittle and G.D. Haffner. 1998. Projected
 Changes to the trophodynamics of PCBs in the Western Lake Erie Ecosystem Attributed to the
 presence of Zebra Mussels (Dreissena polymorpha) Environ. Sci. Technol. 32: 3862-3867.

 Morrison, H.A., F.A.P.C. Gobas, R. Lazar, D.M. Whittle and G.D. Haffner. 1997. Development
 and Verification of a Benthic/Pelgaic Food-Web Bioaccumulation Model for Western Lake Erie
 . Environ. Sci. Technol. 31: 3267-3273.

 Lawrence, G.L. and F.A.P.C. Gobas. 1997. Pharmacokinetic Analysis of Interspecies
 Extrapolation in Dioxin Risk Assessment. Chemosphere 35: 427-452.

 Morrison, H.A., F.A.P.C. Gobas, R. Lazar, D.M. Whittle and G.D. Haffner. 1996. Development
 and Verification of a Bioaccumulation Model of Organic Contaminants in Benthic Invertebrates.
 Environ. Sci. Technol. 30, 3377-3384.

 Gobas, F.A.P.C. and M.N. Z'Graggen. 1995. Time Response of the Lake Ontario Ecosystem to
 Virtual Elimination of PCBs. Environ. Sci. Technol. 29(8): 2038-2046.

 X. Zhang and F.A.P.C. Gobas. 1995. A Thermodynamic Analysis of the Relationships between
 Molecular Size, Hydrophobicity, Aqueous Solubility and Octanol-Water Partitioning of Organic
 Chemicals. Chemosphere. 31: 3501-3521.

 Mackay, D., M. Diamond, S. Sang, P. Vlahos, F.A.P.C. Gobas and D. Dolan. 1994. A Simple
 Rate Constant Model of Chemical Dynamics in a Lake Ecosystem. J. Great Lakes Research 20:
 625-642.

 Gobas, F.A.P.C. and X. Zhang. 1994. Interactions of Organic Chemicals with Organic Matter in
 the Aquatic Environment. Environ. Toxicol. Chem. Special Publication on "Bioavailability:
 Physical, Chemical and Biological Interactions (J.L. Hamelink, Peter F. Landrum, Harold L.
 Bergman and W.H. Benson eds.) Lewis Publishers, Chelsea, MI, pp. 83-91.

 Gobas, F.A.P.C., X. Zhang and R.J. Wells. 1993. Gastro-intestinal Magnification: The
 Mechanism of Biomagnification and Food-chain Accumulation of Organic Chemicals. Environ.
 Sci. Technol. 27: 2855-2863.

 Gobas, F.A.P.C. 1993. A Model for Predicting the Bioaccumulation of Hydrophobic Organic
 Chemicals in Aquatic Food-Webs: Application to Lake Ontario. Ecol. Modelling 69: 1-17.

 Gobas, F.A.P.C., J.R. McCorquodale and G.D. Haffner. 1993. Intestinal Absorption and
 Biomagnification of Organochlorines. Environ. Toxicol. Chem. 12 : 567-576.

                                               41




                                                                                                 000856
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20   PageID.24436 Page 140 of 314




 Gobas, F.A.P.C. and X. Zhang. 1992. Measuring Bioconcentration Factors and Rate Constants of
 Chemicals in Aquatic Organisms under Conditions of Variable Water Concentrations and Short
 Exposure Time. Chemosphere 25, 1961-1972.

 Lazar, R., R.C. Edwards, C.D. Metcalfe, T. Metcalfe, F.A.P.C. Gobas and G.D. Haffner. 1992. A
 Simple Novel Method for the Quantitative Analysis of Coplanar (Non-Ortho substituted)
 Polychlorinated Biphenyls in Environmental Samples. Chemosphere 25, 493-504.

 Gobas, F.A.P.C. 1992. Modelling the Accumulation and Toxic Impacts of Organic Chemicals in
 Aquatic food-Chains. In "Chemical Dynamics in Fresh Water Ecosystems" (Gobas, F.A.P.C. and
 J.A. McCorquodale eds.), Lewis Publishers, Chelsea MI, pp. 129-153.

 Gobas, F.A.P.C. 1991. A Thermodynamic Analysis of Quantitative Structure Activity
 Relationships for Hydrophobic Organic Chemicals. Science of the Total Environment 109-110,
 89-104.

 Gobas, F.A.P.C., E.J. McNeil, L. Lovett-Doust and G.D. Haffner. 1991. Bioconcentration of
 Chlorinated Aromatic Hydrocarbons in Aquatic Macrophytes (Myriophyllum spicatum).
 Environ. Sci. Technol. 25, 924-929.

 Gobas, F.A.P.C. and R.W. Russell. 1991. Bioavailability of Organochlorines in Fish. Comp.
 Biochem. Physiol. 100C, 17-20.

 Sproule, J.W., Shiu, W.Y., Mackay, D., Schroeder, W.H., Russell, R.W. and Gobas, F.A.P.C.
 1991. In-Situ Measurement of the Truly Dissolved Concentration of Hydrophobic Chemicals in
 Natural Waters. Environ. Toxicol. Chem. 10 (1), 9-20.

 Gobas, F.A.P.C., L. Lovett-Doust and G.D. Haffner. 1991. A Comparative Study of the
 Bioconcentration and Toxicity of Chlorinated Hydrocarbons in Aquatic Macrophytes and Fish.
 (in Gorsuch, J.W., W.R. Lower, M.A. Lewis and Wang-Wuchena (eds.) Plants for toxicity
 assessment: Vol II, ASTM, Philadelphia, Pensylvania (USA) 1991 pp. 178-193. Also published
 as: Am. Soc. Test. Mat. ASTM STP 1115 : 174-183.

 Clark, K.E., F.A.P.C. Gobas and D. Mackay. 1990. Model of Organic Chemical Uptake and
 Clearance by Fish from Food and Water. Environ. Sci. Technol. 24 (8), 1203-1213.

 Gobas, F.A.P.C. and M.S. Schrap. 1990. Bioaccumulation of Polychlorinated Dibenzo-p-dioxins
 and Octachlorodibenzofuran in the Guppy (Poecilia reticulata). Chemosphere 20, 495-512.

 Gobas, F.A.P.C., D.C. Bedard, J.J.H. Ciborowski and G.D. Haffner. 1989. Bioaccumulation of
 Chlorinated Hydrocarbons by the Mayfly Hexagenia limbata in Lake St. Clair. J. Great Lakes
 Res. 15, 581-588.



                                              42




                                                                                                 000857
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24437 Page 141 of 314



 Russell, R.W. and F.A.P.C. Gobas. 1989. Calibration of the Fresh Water Mussel Elliptio
 Complanata for Quantitative Biomonitoring of Hexachlorobenzene and Octachlorostyrene. Bull.
 Environ. Contam. Toxicol. 43, 576-582.

 Gobas, F.A.P.C., Clark, K.E., Shiu, W.Y. and Mackay, D. 1989. Bioconcentration of
 Polybrominated Benzenes and Biphenyls and Related Superhydrophobic Chemicals in Fish :
 Role of Bioavailability and Faecal Elimination. Environ. Toxicol. Chem. 8, 231-247.

 Gobas, F.A.P.C., Muir, D.C.G. and Mackay, D. 1989. Dynamics of Dietary Bioaccumulation and
 Faecal Elimination of Hydrophobic Organic Chemicals in Fish. Chemosphere 17, 943-962.

 Gobas, F.A.P.C., Lahitette, J.M., Garafalo, G., Shiu, W.Y.and Mackay, D. 1988. A Novel
 Method for Measuring Membrane-Water Partition Coefficients of Hydrophobic Organic
 Chemicals: Comparison with 1-Octanol-Water Partitioning. J. Pharm. Sci. 77, 265-272.

 Opperhuizen, A., Gobas, F.A.P.C., Van der Steen, J.M.D. and Hutzinger, O. 1988. Aqueous
 Solubility of Polychlorinated Biphenyls Related to Molecular Structure. Environ. Sci. Technol.
 22, 638-646.

 Shiu, W.Y., Doucette, W., Gobas, F.A.P.C., Andren, A. and Mackay, D. 1988. Physical
 Chemical Properties of Chlorinated Dibenzo-p-dioxins. Environ. Sci. Technol. 22, 651-658.

 Gobas, F.A.P.C. and Mackay, D. 1987. Dynamics of Hydrophobic Organic Chemical
 Bioconcentration in Fish. Environ. Toxicol. Chem. 6, 495-504.

 Opperhuizen, A., Van der Naald, W.G.H., Gobas, F.A.P.C. and Hutzinger, O. 1987.
 Environmental Fate of Mixtures as a Background for Human Exposure. Scope 30, 611-623.

 Gobas, F.A.P.C., Shiu, W.Y. and Mackay, D. 1987. Factors determining Partitioning of
 Hydrophobic Organic Chemicals in Aquatic Organisms. In "QSAR in Environmental Toxicology
 II", Kaiser, K.L.E.(ed.), D. Reidel Publishing Company, Dordrecht: pp. 107-123.

 Astle, J.W., Gobas, F.A.P.C., Shiu, W.Y. and Mackay, D. 1987. Lake Sediments as Historical
 Records of Atmospheric Contamination by Organics: A Mathematical Model. A.C.S. Series 216
 on "The Chemistry of Aquatic Pollutants": pp. 57-77.

 Shiu, W.Y., Gobas, F.A.P.C. and Mackay, D. 1987. Physical Chemical Properties of Chlorinated
 Aromatic Hydrocarbons. In "QSAR in Environmental Toxicology II" , Kaiser, K.L.E. (ed.), D.
 Reidel Publishing Company, Dordrecht : pp. 347-362.

 Gobas, F.A.P.C., Opperhuizen, A. and Hutzinger, O. 1986. Bioconcentration of Hydrophobic
 Chemicals in Fish : Relationship with Membrane Permeation Environ. Toxicol. Chem. 5,
 637-646.



                                               43




                                                                                                  000858
Case 2:15-cv-00201-SMJ        ECF No. 423       filed 01/29/20    PageID.24438 Page 142 of 314



 Gobas, F.A.P.C., Shiu, W.Y., Mackay, D. and Opperhuizen, A. 1986.Bioaccumulation of
 PCDDs and OCDF in Fish after Aqueous and Dietary Exposure. Chemosphere 15, 1985-1986.

 Opperhuizen, A., Wagenaar, W.J., Van der Wielen, F.W.M., Van den Berg, M., Olie, K. and
 Gobas, F.A.P.C. 1986. Uptake and Elimination of PCDD/PCDF Congeners by Fish after
 Aqueous and Dietary Exposure.Chemosphere 15, 2049-2054.

 Opperhuizen, A., Van der Velde, E.W., Gobas, F.A.P.C., Liem, D.A.K., Van der Steen, J.M.D.,
 and Hutzinger, O. 1985. Relationship between Bioconcentration in Fish and Steric Factors of
 Hydrophobic Chemicals. Chemosphere 14, 1871-1896.

 Van Maanen, J.M.S., De Ruiter, C., De Vries, J., Kootstra, P.R., Gobas, F.A.P.C. and Pinedo,
 H.M.S. 1985. The Role of Metabolic Activation by Cytochrome P-450 in Covalent Binding of
 VP16-213 to Rat Liver and Hela Cell Microsomal Proteins. Eur. J. Cancer Clin. Oncol. 21,
 1099-1106.

 Opperhuizen, A., Gobas, F.A.P.C. and Hutzinger, O. 1984. Unmetabolized Compounds: Their
 Properties and Implications. In "Foreign Compound Metabolism" , Caldwell, J. and Paulson,
 G.D. (eds.), Taylor and Francis, London (1984), 109-117.

 Van Maanen, J.M.S., De Ruiter, C., Gobas, F.A.P.C., De Vries, J. and Pinedo, H.M.S. 1983.
 Mechanism of Anti-tumor Action: Role of Bioactivation in Covalent Binding of VP16.213 to
 Red Liver and Hela cell Microsomal Proteins. Proc. Amer. Cancer Res. 24, 319.

                                              BOOKS

 Gobas, F.A.P.C. and J.A. McCorquodale (eds). 1992. Chemical Dynamics in Aquatic
 Ecosystems. ISBN 0-87371-511-X, Lewis Publishers, Chelsea MI.

                                               PATENTS

 Gobas, F.A.P.C. and J.B. Wilcockson. 2000. Thin Film Solid-Phase Extraction to Measure
 Fugacities of Poorly Volatile Organic Chemicals. US Provisional Patent #60/240089, Filed: Oct
 16, 2000.


                           GOVERNMENT & TECHNICAL REPORTS

 Pearce R., F.A.P.C. Gobas. 2018. Evaluation Of Trends In PCB Concentration And Food-Web
 Transfer Of PCBs To Resident Killer Whales. Report to the Department of Fisheries and Oceans.
 60 pp.

 Gobas, F.A.P.C., J. Guy and P.S. Ross. 2017. Health risk-based evaluation of emerging
 pollutants in Killer whales (Orcinus orca): priority setting in support of recovery. Report to the
 Department of Fisheries and Oceans. 27 pp.

                                                  44




                                                                                                      000859
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24439 Page 143 of 314




 Frank Gobas, Philipp Mayer, Annika Jahnke, Tim Bowmer, Jennifer Appel, Tala Henry, Dries
 Knapen, Lynn McCarty, Tom Parkerton, Stine Nørgaard Schmidt, Foppe Smedes, Jay Tunkel,
 Dik van den Meent. 2016. Full utilization of the chemical activity concept for non-polar organic
 chemicals (Log Kow ≥ 2). ECETOC Workshop Report No. 29, © Copyright – ECETOC AISBL,
 European Centre for Ecotoxicology and Toxicology of Chemicals. Pp. 23-32.
 http://www.ecetoc.org/publication/wr29/

 Gobas, F.A.P.C., L.F. Tupper-Ring and S.V. Otton. 2016. Application of the activity approach.
 2016. ECETOC Workshop Report No. 29, © Copyright – ECETOC AISBL, European Centre
 for Ecotoxicology and Toxicology of Chemicals. Pp. 14-16.
 http://www.ecetoc.org/publication/wr29/

 John Nichols, Frank Gobas, Matthew MacLeod, Katrine Borgå, Pim Leonards, Ester Papa, Heike
 Laue and Jon Arnot. 2015. Recent Scientific Developments in Bioaccumulation Research
 Workshop Report. CEFIC-LRI. Pp. 13. http://cefic-lri.org/wp-
 content/uploads/2014/03/HelsinkiBWorkshop_Cefic-LRI_FinalReport.pdf

 Kim J., D.E. Powell, R.M. Seston, K.B. Woodburn, F.A.P.C. Gobas, D. Mackay. 2014. A Spatial
 Aquatic Food-Web Bioaccumulation Model Estimates Trophic Magnification Factors of D5 and
 Other Chemicals subject to Biotransformation, Concentration Gradients and Species Migration.
 Report to the European Chemicals Agency (ECHA). November 28, 2014.

 Gobas, F.A.P.C. 2011. External Evaluation of the Fisheries program of the University of
 Malaysia at Terengganu: Report and Recommendations. University of Malaysia, Terrengannu,
 pp.20.

 S.M. Haefner, S.Z. Cohen and F.A.P.C. Gobas. 2013. Bioaccumulation Risk Potential of PCNB
 impurities. Report to the USEPA. Pp. 171.

 Gobas, F.A.P.C., D.B. Huggett and T. Springer. 2011. Review of Environment Canada’s
 Bioaccumulation Assessment of decamethyl-cyclopentasiloxane (D5). Report to the Board of
 Review of Environment Canada, Ottawa, Pp. 68.

 Alava J.J., M.G. Ikonomou, M. Riofrío Briceño, F.A.P.C. Gobas. 2011. Estudio de
 contaminantes orgánicos persistentes (COPs) en la Antártica: contaminantes perfluoroalquilos
 perfluoroalkyl contaminants, PFCs. report for Ministerio de Defensa Nacional & Instituto
 Antartico Ecuatoriano, Guayaquil, Pp. 20.

 Tim K. Takaro, Miriam Diamond, Frank Gobas,Victoria Otton and Huan Shu. 2010.
 Critical Review of Phthalates in Canadian Indoor Environments. Report for Health Canada,
 Ottawa, Pp. 128.




                                                45




                                                                                                    000860
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24440 Page 144 of 314



 Jennifer Arblaster and Frank A.P.C. Gobas. 2010. Application of Biota Sediment Accumulation
 Factors to Develop Remediation Targets for PCB, PCDD and PCDF contamination in Victoria
 harbour. Report for the Department of Fisheries and Oceans, Ottawa, Pp. 97.

 Frank A.P.C. Gobas and Jennifer Arblaster. 2010. Development of criteria for several pollutants
 in sediments that are protective of fish health. Report for the Department of Fisheries and
 Oceans, Ottawa, Pp. 94.

 Lachmuth, C.L., Alava, J.J., Hickie, B.E., Johannessen, S.C., Macdonald, R.W., Ford,
 J.K.B., Ellis, G.M., Gobas, F.A.P.C., Ross, P.S. 2010. Ocean Disposal in Resident Killer Whale
 (Orcinus orca) Critical Habitat: Science in Support of Risk Management. DFO Can. Sci. Advis.
 Sec. Res. Doc. 2010/nnn. iv + 165 p.

 Gobas, F.A.P.C. 2010. Sediment Exposure Approach. Report for Environment Canada, Ottawa,
 Pp. 38.

 Gobas, F.A.P.C. 2007. Development and Review of a Generic Water- Sediment Modelling
 Framework for Organic Chemicals. Report for Environment Canada, Ottawa, Pp. 69.

 Arnot, J.A. and , F.A.P.C.Gobas. 2006. Bioaccumulation Assessment for Organic Chemicals,
 Report for Environment Canada, Ottawa, Pp. 31.

 Gobas, F.A.P.C., J.A. Arnot. 2005. San Francisco Bay PCB Food-Web Bioaccumulation Model.
 Regional Monitoring Program. San Francisco Bay, Pp. 163.

 Gobas, F.A.P.C., J.A. Arnot. 2003. Categorization of organic substances on the Domestic
 Substances List for Bioaccumulation Potential, Report to Environment Canada, Ottawa, Pp. 110.

 Weston, W., Blust, R., D. Calamari, P.Dalgaard, A. DePaola, J.M. Fremy, B. Jansson, C.
 Karman, T. Vermeire, D. Wosniok, R. Cormier, P. Hernandez and F.A.P.C. Gobas. 2002.
 Environmental Exposure Models for Application in Seafood Risk Analysis. Report to
 IMO/FAO/UNESCO-IOC/WMO/WHO/IAEA/UN/UNEP GESAMP XXXII/8. Pp. 45.

 Gobas, F.A.P.C. and J.B. Wilcockson. 2002. San Francisco Bay PCB Food-Web Model.
 Remedial Management Plan Technical Report. San Francisco Estuary Management Institute, pp.
 46.

 Gobas, F.A.P.C. and M.G Ikonomou. 2001. Bioaccumulation of Phthalate Esters in an Aquatic
 Food-web. Toxic Substances Research Initiative. Environment Canada, Ottawa, pp. 24.

 Gobas, F.A.P.C. 2001 The Application of Bioaccumulation Models for the Categorization and
 Screening of Chemical Substances on the DSL. Report to Environment Canada, Ottawa, Pp. 83.

 Gobas, F.A.P.C. 2000. Identification of Bioconcentration and Bioaccumulation Factors for DSL
 Substances. Report to Environment Canada, Ottawa, Pp. 87.

                                               46




                                                                                                   000861
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24441 Page 145 of 314




 Li, P.C.H. and F.A.P.C. Gobas. 2000. Study of the presence of the pesticide, diazinon, in
 selected water courses in the Big Bend region of Burnaby, British Columbia, Canada. Report for
 the City of Burnaby. 18 pp.

 Gobas, F.A.P.C., Z. Lin, J. Hongwu, Chong, A. and M.G. Ikonomou. 2000. Analysis of selected
 phthalate esters in laboratory exposed fish samples. Report to the Chemical Manufacturers
 Association. Pp.13

 Gobas, F.A.P.C., J.P. Pasternak. K. Lien and R.K. Duncan. 1998. Development & Field-
 Validation of a multi-media exposure assessment model for waste load allocation in the Fraser
 River: Application to pulp and paper mill discharges of TCDD and TCDF in the Fraser river.
 Fraser River Action Plan Summary Report, Environment Canada 1998.

 Gobas, F.A.P.C., Davidson, S., Powers, B., Hall, K. 1996. Modelling the Fate of Contaminant
 Discharges in Burrard Inlet. Environment Canada 1996.

 Davidson, S., Gobas, F.A.P.C., Powers. 1996. Saanich Inlet Synthesis Report: Assessing the
 Assimilative Capacity of Saanich Inlet. British Columbia Ministry of the Environment. 1996.

 Gobas, F.A.P.C. 1995. Modelling the Environmental Fate and Food-chain Bioaccumulation of
 Pulp Mill Effluent Contaminants in the Fraser-Thompson River System. British Columbia
 Ministry of the Environment. 1995.

 Gobas, F.A.P.C. 1994. Chemical Property Characterization and Chemical Exposure & Hazard
 Ranking of Chemicals in Pulp & Paper Mill Effluents. British Columbia Ministry of the
 Environment. 1994. 50 pp

 Gobas, F.A.P.C. 1994. Modeling the Fate of Organochlorine Compounds in the Fraser-
 Thompson River System II: Uncertainty Analysis British Columbia Ministry of the Environment
 1994.

 Gobas, F.A.P.C. 1992. Modeling the Fate of Organochlorine Compounds in the Fraser-
 Thompson River System British Columbia Ministry of the Environment 1992.

 Mackay, D., M. Diamond, F.A.P.C. Gobas and D. Dolan. 1992. Virtual Elimination of Toxic and
 Persistent Chemicals from the Great Lakes: The Role of Mass Balance Models. International
 Joint Commission 1992.

 Gobas, F.A.P.C. 1990. Selected Persistent Toxic Substances in Human Breast Milk in the Great
 Lakes Basin. International Joint Commission 1990. pp. 1-120.

 Gobas, F.A.P.C. and J.A. McCorquodale. 1989. Biota Based Effluent Limitations for Chemical
 Discharges to the St. Clair River. Ontario Ministry of the Environment, November 1989.


                                               47




                                                                                                  000862
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20   PageID.24442 Page 146 of 314



 Haffner, G.D., F.A.P.C. Gobas and P.D.N. Hebert. 1989. The Use of Aquatic Vegetation and
 Invertebrates to Monitor Chlorinated Hydrocarbons in the Lake Huron-Lake Erie Corridor.
 Ontario Ministry of the Environment, June 1989.

 Gobas, F.A.P.C. and D. Mackay. 1989. Biosorption, Bioaccumulation and Food-Chain Transfer
 of Organic Chemicals. Ontario Ministry of the Environment, January 1989.

 Gobas, F.A.P.C. and D. Mackay. 1988. Factors determining the Uptake and Food-Chain Transfer
 of Hydrophobic Organic Chemicals in Fish. Proceedings of the Workshop on Aquatic Food
 Chain Modelling (1988), Published by the Ontario Ministry of the Environment, ISBN 0-7729-
 3951-9 Toronto, pp. 53-81.


                               CONTRIBUTIONS TO REPORTS

 Gobas Frank A.P.C., S. Victoria Otton, Laura F. Tupper-Ring and Meara A. Crawford. 2016.
 Application of the Activity Approach. In “Defining the role of chemical activity in
 environmental risk assessment within the context of mode of action: Practical guidance and
 advice. Workshop Report No. 29, Brussels, 2016. 201X, ECETOC.

 Report of the thirty-third session of GESAMP. GESAMP Reports and Studies No. 74. 2004.
 IMO, FAO, UNESCO, IOC, WMO, WHO , IAEA, UN and UNEP, ISSN 1020-4873, ISBN 92-
 5-105026-0. pp. 30.


                                   NON-REFEREED PAPERS

 Gobas, F.A.P.C. 2002. “Reaction to Environmental Risk Limits for Polychlorinated Biphenyls in
 the Netherlands: Derivation with Probabilistic Food Chain Modeling” In “Health Council of the
 Netherlands. Recommended exposure limits for polychlorinated biphenyls in soils and
 sediments, for the protection of ecosystems. The assessment of a derivation method devised by
 the National Institute of Public Health. ISBN 90-5549-460-7. Pp. 70-72.

 Gobas, F.A.P.C., J.P. Pasternak. 1993. The Application of a Computer Simulation Model for the
 Management and Regulation of Dioxin and Dibenzofuran Emissions by Pulp Mills in the Fraser
 Thompson River Basin: Regulation Based on Best Available Science. In "The Aquatic Resource
 Research Project: Towards Environmental Risk Assessment and Management" of the Fraser
 River Basin. 99-120.

 Haffner, G.D. and F.A.P.C. Gobas. 1991. Food Web Dynamics and Contaminant Exposure in
 Aquatic Ecosystems. Proceedings of the Technology Transfer Conference 1991. (1991), Toronto,
 Published by the Ontario Ministry of the Environment, Toronto, ISSN 0825-4591, pp. 139-149.

 Gobas, F.A.P.C., E.J. McNeil, J. Bellaire, R.W. Russell, J.A. McCorquodale and G.D. Haffner.
 1989. Organic Contaminants in Food Webs: Mechanisms, Models and Management.

                                              48




                                                                                                 000863
Case 2:15-cv-00201-SMJ      ECF No. 423     filed 01/29/20   PageID.24443 Page 147 of 314



 Proceedings of the Technology Transfer Conference 1989. Toronto, Published by the Ontario
 Ministry of the Environment, ISSN 0825-4591, Toronto, 257-267.

 Gobas, F.A.P.C. 1989. A Model for Exposure and Toxicological Impact Assessment of Aromatic
 Hydrocarbon Spills in the Aquatic Environment. Proceedings of the 12th Annual Arctic Marine
 Oil Spill Program Technical Seminar, Minister of Supplies and Services Canada, ISBN 0-662-
 56722-6, pp. 279-296.

 Gobas, F.A.P.C. 1988. Toxicokinetics of Organic Chemicals in Aquatic Organisms. Proceedings
 of the 15th Annual Aquatic Toxicity Workshop (1988), Montreal, Environment Canada, pp. 149-
 160.

 Gobas, F.A.P.C., R.W. Russell and G.D. Haffner. 1988. Biomonitoring : Chemical Dependent
 Quantitative Relationships for the Body Burdens of Organic Chemicals in Aquatic Biomonitors.
 Proceedings of the Technology Transfer Conference 1988. Toronto, Published by the Ontario
 Ministry of the Environment, ISSN 0840-8440, Toronto, pp. 87-109.

 Gobas, F.A.P.C. and Mackay, D. 1985. Progress toward understanding the Phenomena of
 Hydrocarbon Bioaccumulation. Proceedings of the Eighth Annual Arctic Marine Oil Spill
 Program Technical Seminar (1985), Edmonton, Published by Environment Canada, Ottawa, pp
 91-103.

                                 OTHER PUBLICATIONS


 Gobas, F.A.P.C. 1995. Environmental Chemistry at the Second SETAC World Congress.
 SETAC News 15 (3): 1-3.


                               S AT SCIENTIFIC MEETINGS

 Cancelli A.M., F.A.P.C. Gobas. 2019. The removal of organic contaminants from OSPW in the
 Kearl Treatment Wetland. 11th Western Canadian Symposium on Water Quality Research.
 Edmonton, May 10.

 Fremlin K., J.E. Elliott, K.G. Drouillard, P.A. Martin, F.A.P.C. Gobas, D. Green. 2018.
 Assessing Trophic Magnification of Cyclic Methyl Siloxanes in a Terrestrial Food-Web of an
 Avian Top Predator, the Cooper’s Hawk. 39th Annual Meeting of the Society of Environmental
 Toxicology and Chemistry in North America, Sacramento, California, November 4–8.

 Saunders L.J., A.D. Hoffman, P.N. Fitzsimmons, J.W. Nichols, F.A.P.C. Gobas. 2018.
 Quantitative In Vitro To In Vivo Extrapolation Of Biotransformation Rates For Bioaccumulation
 Assessment: Focus On Organic Sunscreen Agents In Trout. 39th Annual Meeting of the Society
 of Environmental Toxicology and Chemistry in North America, Sacramento, California,
 November 4–8.

                                              49




                                                                                                 000864
Case 2:15-cv-00201-SMJ        ECF No. 423      filed 01/29/20    PageID.24444 Page 148 of 314




  Cancelli A., F.A.P.C. Gobas. 2018. A Model Of Contaminant Removal From Oil Sands Process
  Affected Water In The Kearl Treatment Wetland. 39th Annual Meeting of the Society of
  Environmental Toxicology and Chemistry in North America, Sacramento, California, November
  4–8.

  Cantu, M., F.A.P.C. Gobas. 2018. Assessment Of Bioaccumulation Potential Of Very
  Hydrophobic Compounds In Rainbow Trout And The Role Of Metabolism. 39th Annual Meeting
  of the Society of Environmental Toxicology and Chemistry in North America, Sacramento,
  California, November 4–8.

  DiMauro M., F.A.P.C. Gobas, C.D. Kennedy. 2018. Development And Application Of An In
  Vivo Test For Estimating Biotransformation Rate Constants And Bioconcentration Factors Of
  Hydrophobic Organic Chemicals In Fish. 45th Canadian Ecotoxicity Workshop. Vancouver,
  British Columbia. September 30 – October 2.

 Cancelli, A. M., Gobas, F. A.P.C. (2018). Quantifying the removal of polycyclic aromatic
 hydrocarbons in the Kearl Treatment Wetland. Canadian Oil Sands Innovation Alliance, Oil Sands
 Innovation Summit, Calgary, AB.


 Cancelli, A. M., Gobas, F. A.P.C. (2018). Model performance evaluation using passive samplers at
 the Kearl Treatment Wetland. Canadian Oil Sands Innovation Alliance, Science Workshop: Oil
 Sands Process Wastewater Characterization, Identification, and Treatment, Calgary, AB.


 Cancelli, A. M., Gobas, F. A.P.C., Qian, W., Kelly, B. C. (2017). An evaluative model to assess the
 fate and effects of neutral organics contaminants in treatment wetlands. Wetland Pollutant
 Dynamics and Control, 7th International Symposium, Big Sky, MT.



  Fremlin K., J. Elliott, K.G. Droulliard, F.A.P.C. Gobas, D. Green. 2018. Trophic Magnification
  of Perfluorinated Compounds Within a Terrestrial Food-Web of An Avian Top Predator, the
  Cooper's Hawk (Accipiter Cooperii). 45th Canadian Ecotoxicity Workshop. Vancouver, British
  Columbia. September 30 – October 2.

  Pearce R., F.A.P.C. Gobas, J.J Alava. 2018. Bioaccumulation of PCBs in the Southern Resident
  Killer Whale food – web. 45th Canadian Ecotoxicity Workshop. Vancouver, British Columbia.
  September 30 – October 2.

  Saunders L.J., J.W. Nichols, F.A.P.C. Gobas. 2018. Quantitative in vitro to in vivo extrapolation
  of biotransformation rates for bioaccumulation assessment: Focus on organic sunscreen agents in
  trout. 45th Canadian Ecotoxicity Workshop. Vancouver, British Columbia. September 30 –
  October 2.

                                                 50




                                                                                                       000865
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24445 Page 149 of 314




 Fremlin, K. Elliott, J.E., Green, D., Drouillard, K.G., Gobas, F.A.P.C. 2017. An assessment of
 POPs bioaccumulation in the Terrestrial Food‐Web of An Avian Top Predator, the Cooper’s
 Hawk (Accipiter Cooperii). 28th Annual Meeting of the Society of Environmental Toxicology
 and Chemistry in Europe, Rome, Italy, May 13-17.

 Gobas F.A.P.C., M. Dimauro, K. Compton, Y.S. Lee, S.V. Otton, J.C. Lo, G. Allard. 2018.
 Application of Aqueous and Dietary In-Vivo Bioaccumulation Tests to Determine
 Biotransformation Rates, Elimination Rates and other Bioaccumulation Metrics. 28th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry in Europe, Rome, Italy,
 May 13-17.

 Gobas F.A.P.C. 2018. Trophic Magnification Factors of Cyclic Siloxanes in Aquatic
 Environments: Data & Models. cVMS Workshop in Norway. CES Silicones Europe (CES) and
 Norsk Industri. Oslo, March 9.

 Pearce R., F.A.P.C. Gobas. 2018. Sources, spatial variability and uptake of Polychlorinated
 biphenyls (PCBs) in Southern Resident killer whales. 2018 Salish Sea Ecosystem Conference
 (SSEC), Seattle, WA, April 4-6, 2018.

 Fremlin, K. Elliott, J.E., Green, D., Drouillard, K.G., Gobas, F.A.P.C. 2017. An assessment of
 POPs bioaccumulation in the Terrestrial Food‐Web of An Avian Top Predator, the Cooper’s
 Hawk (Accipiter Cooperii). SETAC Latin America 12th, Biennial Meeting. September
 7-10. Santos, São Paulo, Brazil.

 Saunders L.J., A.D. Hoffman, P.N. Fitzsimmons, J.W. Nichols, F.A.P.C. Gobas. 2017. Testing in
 vitro to in vivo extrapolation approaches for assessing biotransformation rates and
 bioaccumulation factors in fish. 38th Annual Meeting of the Society of Environmental
 Toxicology and Chemistry in North America, Minneapolis, Minnesota November 12–16.

 Saunders L.J., A.D. Hoffman, P.N. Fitzsimmons, J.W. Nichols, F.A.P.C. Gobas. 2017. Inclusion
 of gastrointestinal biotransformation in in vitro to in vivo extrapolation models for
 bioaccumulation assessment. 38th Annual Meeting of the Society of Environmental Toxicology
 and Chemistry in North America, Minneapolis, Minnesota November 12–16.

 Fremlin K., J. Elliott, K.G. Droulliard, F.A.P.C. Gobas, D. Green. 2017.Trophic magnification of
 POPs within a terrestrial food-web of an avian top predator, the Cooper’s hawk (Accipiter
 Cooperii). 38th Annual Meeting of the Society of Environmental Toxicology and Chemistry in
 North America, Minneapolis, Minnesota November 12–16.

 Tillmanns A., J. Lo, F.A.P.C. Gobas, A. Azizishirazi. 2017. Marine Sediment Quality Guideline
 for PCBs – Updating Guidelines Using Multiple Lines of Evidence. 44th Canadian Ecotoxicity
 Workshop, October 1-4, Guelph, Ontario.



                                                51




                                                                                                    000866
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24446 Page 150 of 314



 Saunders L.J., P. Fitzsimmons, J.W. Nichols, F.A. Gobas. 2017. In Vitro Hepatic And Gastro
 Intestinal Biotransformation Data For Hydrophobic Chemicals In Fish: Consideration Of
 Gastrointestinal Biotransformation In In Vitro To In Vivo Extrapolation Models. 27th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry in Europe, Brussels,
 Belgium, May 7-11.

 Gobas F.A.P.C., Y.S Lee, D.H.Y. Lee, J.C. Lo, L.J. Saunders, S.V. Otton. 2017. Development,
 Testing And Application Of An In Vitro To In Vivo Extrapolation Approach For Assessing
 Biotransformation Rates And Bioaccumulation Factors In Fish And Mammals: Lessons Learned.
 27th Annual Meeting of the Society of Environmental Toxicology and Chemistry in Europe,
 Brussels, Belgium, May 7-11.

 Gobas F.A.P.C. 2017. Scientific Advancements in Evaluating Chemicals for POPs (and PBTs).
 United Nations: Meetings of the conferences of the parties to the Basel, Rotterdam and
 Stockholm conventions. Geneva, Switzerland, April 24-May 5.

 McDougall, M.R.R. and Gobas, F.A.P.C. 2017. Developing A Trophic Magnification Model For
 Perfluorinated Alkyl Substances In A Marine Food Web. 26th Pacific Northwest-SETAC Annual
 Conference. Anchorage, Alaska, April 20-22.

 Gobas F.A.P.C. 2017. The Application of a Toxicokinetic Approach to B Assessment: Lessons
 Learned & Path Forward. European Centre for Ecotoxicology and Toxicology of Chemicals.
 Brussels, Belgium, May 4-5.

 Cancelli, A. M., Gobas, F.A.P.C (2016). An evaluative model to assess the fate and effects of
 contaminants in treatment wetlands. Canadian Oil Sands Innovation Alliance, Pilot Treatment
 Wetland Scoping Workshop, Teck Resources, Calgary, AB.

 Justin Lo, Yung-Shan Lee, Gayatri Allard, Dave Campbell, Frank Gobas. 2016. In Vitro-In Vivo
 Extrapolation Of Biotransforming Hydrophobic Chemicals In The Fish Body. 43th Canadian
 Ecotoxicity Workshop. Edmonton, Alberta. September 25-28.

 Gobas F.A.P.C., J. Kim, J.A. Arnot, D.E. Powell, R.M. Seston, K.B. Woodburn. 2016. A Novel
 Spatial Aquatic Food-Web Bioaccumulation for Bridging Field Study Data and Regulatory
 Decision Making. 37th Annual Meeting of the Society of Environmental Toxicology and
 Chemistry in North America, Orlando, Florida, November 6–10.

 Nichols J.W., L.J. Saunders, F.A.P.C. Gobas. 2016. Physiologically based modeling of hepatic
 and gastrointestinal biotransformation in fish. 37th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry in North America, Orlando, Florida, November 6–10.

 Kim J., F.A.P.C. Gobas, J.A. Arnot, D.E. Powell, R.M. Seston, K.B. Woodburn. 2016.
 Integration of Important Processes into a Novel Spatial Aquatic Food-Web Model for Accurate
 Assessment and Measurement of Chemical Bioaccumulation. 37th Annual Meeting of the Society


                                                52




                                                                                                 000867
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24447 Page 151 of 314



 of Environmental Toxicology and Chemistry in North America, Orlando, Florida, November 6–
 10.

 Saunders L.J., S. Fontanay, F.A.P.C. Gobas. 2016. Concentration dependence of in vitro
 biotransformation rates: Hepatic biotransformation of organic sunscreen agents in rainbow trout.
 37th Annual Meeting of the Society of Environmental Toxicology and Chemistry in North
 America, Orlando, Florida, November 6–10.

 Saunders L.J., A.D. Hoffman, J.W. Nichols, F.A.P.C. Gobas. 2016. Concentration dependence of
 in vivo biotransformation rates of organic sunscreen agents in rainbow trout following a dietary
 Exposure. 37th Annual Meeting of the Society of Environmental Toxicology and Chemistry in
 North America, Orlando, Florida, November 6–10.

 Justin Lo, Yung-Shan Lee, Gayatri Allard, Dave Campbell, Frank Gobas. 2016. In vitro-in vivo
 extrapolation of biotransforming hydrophobic chemicals in the fish body. 43rd Canadian
 Ecotoxicity Workshop, Edmonton, September 25-28. Won First Price for student poster
 presentation.

 Tupper-Ring, L.F., S.V. Otton, F.A.P.C. Gobas. 2016. Application of Thermodynamic Activity
 to assess the Environmental Risks of Phthalate Ester Mixtures. 43rd Canadian Ecotoxicity
 Workshop, Edmonton, September 25-28.

 F.A.P.C. Gobas, J. Kim, J.A. Arnot, D.E. Powell, R.M. Seston, K.B. Woodburn. 2016. New
 Evaluation Methods for PBT Chemicals and POPs: Development of a Multi-Box AquaWeb
 Model for Bioaccumulation Assessment. ICCA-LRI Workshop 2016, Awaji Island, Japan, June
 13-16

 Kim J., F.A.P.C. Gobas, J.A. Arnot, D.E. Powell, R.M. Seston, K.B. Woodburn. 2016.
 Development of Multibox-AQUAWEB Model for Prediction of Trophic Magnification Factors
 Influenced by Spatial Concentration Gradients, Species Migration, and Field Sampling Design.
 ICCA-LRI Workshop 2016, Awaji Island, Japan, June 13-16

 Kim J., F.A.P.C. Gobas, J.A. Arnot, D.E. Powell, R.M. Seston, K.B. Woodburn. 2016.
 Development of Multibox-AQUAWEB Model for Prediction of Trophic Magnification Factors
 Influenced by Spatial Concentration Gradients, Species Migration, and Field Sampling Design.
 26th Annual Meeting of the Society of Environmental Toxicology and Chemistry in Europe,
 Nantes, France, May 22-26.

 Gobas F.A.P.C., J. Kim, J.A. Arnot, D.E. Powell, R.M. Seston, K.B. Woodburn. 2016.
 Measuring Trophic Magnification Factors: Role of Spatial Concentration Gradients,
 Disequilibria and Field Sampling Design. 26th Annual Meeting of the Society of Environmental
 Toxicology and Chemistry in Europe, Nantes, France, May 22-26.




                                                53




                                                                                                    000868
Case 2:15-cv-00201-SMJ       ECF No. 423     filed 01/29/20    PageID.24448 Page 152 of 314



 Al-Marri S., F.A.P.C. Gobas, A. Cancelli. 2016.A Model for Assessing the Fate of Contaminants
 in Constructed Wetlands. 26th Annual Meeting of the Society of Environmental Toxicology and
 Chemistry in Europe, Nantes, France, May 22-26.

 Arblaster J., J.M. Conder, E. Bizzotto, F. Santoro and F.A.P.C. Gobas. 2015. Development of a
 Bioaccumulation Model for DDTs in a Pelagic Food Web. 36th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry in North America, Salt Lake City, Utah, November 1–
 5.

 Gobas, F.A.P.C., J.C. Lo, D. Campbell, C.J. Kennedy. 2015. Gastro-intestinal and Somatic
 Biotransformation in Fish: Implications on BCF and BMF Measurements and Regulatory
 Interpretation. 36th Annual Meeting of the Society of Environmental Toxicology and Chemistry
 in North America, Salt Lake City, Utah, November 1–5.

 Fan Y., A. de Bruyn, F.A.P.C. Gobas. 2015. A Bioenergetic Bioaccumulation Model for
 Persistent Organic Pollutants in Aquatic and Terrestrial Food Webs. 36th Annual Meeting of the
 Society of Environmental Toxicology and Chemistry in North America, Salt Lake City, Utah,
 November 1–5.

 Gobas, F.A.P.C., J.C. Lo. 2015. A Proposed Model for the Interpretation of Exposure Data from
 the New OECD305 Bioaccumulation Test Guideline. 36th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry in North America, Salt Lake City, Utah, November 1–
 5.

 Gobas, F.A.P.C. 2015.The Problem with Super-Hydrophobic Chemicals. 36th Annual Meeting of
 the Society of Environmental Toxicology and Chemistry in North America, Salt Lake City, Utah,
 November 1–5.

 Fan Y., F.A.P.C. Gobas. 2015. A bioenergetic/bioaccumulation model for persistent organic
 pollutants in aquatic and terrestrial food webs. 36th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry in North America, Salt Lake City, Utah, November 1–
 5.

 Gobas, F.A.P.C., L.F. Tupper-Ring and S.V. Otton. 2015. Application of the thermodynamic
 activity approach. 2015. ECETOC Workshop On Defining The Role Of Chemical Activity In
 Environmental Risk Assessment Within The Context Of Mode Of Action: Practical Guidance
 And Advice, Snowbird, Utah, October 29-30.

 Jaeshin Kim, Frank A. P. C. Gobas, Jon A. Arnot, David E. Powell1, Rita M. Seston1, Kent B.
 Woodburn1. 2015. Development of Multibox-AQUAWEB Model for Prediction of Trophic
 Magnification Factors Influenced by Spatial Concentration Gradients, Species Migration, and
 Field Sampling Design. 25th Annual Meeting of the Society of Environmental Toxicology and
 Chemistry in Europe, Barcelona, Spain, May 3-7.



                                               54




                                                                                                  000869
Case 2:15-cv-00201-SMJ       ECF No. 423       filed 01/29/20    PageID.24449 Page 153 of 314



 Gobas, F.A.P.C., Jaeshin Kim, Jon A. Arnot, David E. Powell, Rita M. Seston, Kent B.
 Woodburn. 2015. Measuring Trophic Magnification Factors: Role of Spatial Concentration
 Gradients, Disequilibria and Field Sampling Design. 25th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry in Europe, Barcelona, Spain, May 3-7.

 Gobas, F.A.P.C., L.F. Tupper-Ring and S.V. Otton. 2015. Application of thermodynamic activity
 to assess human exposure and health risks of phthalate esters in consumer products. PacificChem
 2015. The International Chemical Congress Of Pacific Basin Societies 2015, Honolulu, Hawaii,
 USA December 15 - 20, 2015

 Gobas, F.A.P.C. 2015. Assessment of the exposure and environmental health risks of siloxanes:
 The case of D5. PacificChem 2015. The International Chemical Congress Of Pacific Basin
 Societies 2015, Honolulu, Hawaii, USA December 15 - 20, 2015

 Mackay D., F.A.P.C. Gobas, J.A. Arnot. 2015. Human and environmental risk assessment: A
 chemical fugacity and activity approach. PacificChem 2015. The International Chemical
 Congress Of Pacific Basin Societies 2015, Honolulu, Hawaii, USA December 15 - 20, 2015

 Saunders, LJ, Fontanay S, Gobas FAPC. 2015. ‘Predicting the bioaccumulation of organic
 sunscreen agents in rainbow trout using measured in vitro biotransformation rates’. Poster
 Presentation. Canadian Ecotoxicity Workshop. Saskatoon, SK, October 4-7.

 Gobas, F.A.P.C. 2015. Application of Chemical Activity for Chemical Safety Assessment &
 Management. Does it work? International Council of Chemical Association (ICCA)-LRI and
 U.S. Environmental Protection Agency (EPA) Workshop, New Orleans, Louisiana, June 16-17,
 2015.

 Gobas, F.A.P.C. 2015. The World of Chemicals. Workshop on “Recovering BC’s marine
 mammals by tackling pollution.” Vancouver, May 20-22, 2015.

 Gobas F.A.P.C, J. Arnot, J. Kim, D.E. Powell, K. Woodburn, D. Mackay and R. Seston. 2015.
 Using the AquaWeb Bioaccumulation Model for Evaluating / Including Field Bioaccumulation
 Data. ECHA Expert PBT Group. Helsinki, May 12, 2015.

 J.C. Lo, G. Allard, C.J. Kennedy, S.V. Otton, D. Campbell, F.A.P.C. Gobas. 2014. Testing in
 vitro to in vivo extrapolation methods for the biotransformation of very hydrophobic chemicals
 in trout. 35th Annual Meeting of the Society of Environmental Toxicology and Chemistry in
 North America, Vancouver, Canada, November 9 – 13.

 L. Tupper-Ring, S. Otton, F.A.P.C. Gobas. 2014. Application of thermodynamic activity and
 fugacity to assess the environmental risks of phthalate ester mixtures. 35th Annual Meeting of the
 Society of Environmental Toxicology and Chemistry in North America, Vancouver, Canada,
 November 9 – 13.



                                                55




                                                                                                      000870
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24450 Page 154 of 314



 F.A.P.C. Gobas. 2014. Activity-Based Analysis of the Environmental Toxicity of Diaryl
 Phenylenediamines. 35th Annual Meeting of the Society of Environmental Toxicology and
 Chemistry in North America, Vancouver, Canada, November 9 – 13.

 M.A. Crawford F.A.P.C. Gobas. 2014. Application of Activity in Risk Assessment and Criteria
 Development for Petroleum Hydrocarbon Mixtures. 35th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry in North America, Vancouver, Canada, November 9 –
 13.

 A.M. Cancelli, F.A.P.C. Gobas. 2014. An evaluative model for assessing fate and effects of
 contaminants in engineered wetlands. 35th Annual Meeting of the Society of Environmental
 Toxicology and Chemistry in North America, Vancouver, Canada, November 9 – 13.

 J. Alava, F.A.P.C. Gobas. 2014. A Marine Food Web Bioaccumulation model for Cesium 137 in
 the Pacific Northwest. 35th Annual Meeting of the Society of Environmental Toxicology and
 Chemistry in North America, Vancouver, Canada, November 9 – 13.

 J.C. Lo, G. Allard, C.J. Kennedy, S.V. Otton, D.A. Campbell, F.A.P.C. Gobas. 2014. In vitro
 biotransformation of hydrophobic chemicals in trout liver s9 homogenates: concentration
 dependence of biotransformation rates. 35th Annual Meeting of the Society of Environmental
 Toxicology and Chemistry in North America, Vancouver, Canada, November 9 – 13.

 L. Tupper-Ring, S. Otton, F.A.P.C. Gobas. 2014. Application of thermodynamic activity and
 fugacity to assess the environmental risks of phthalate ester mixtures. 41st Aquatic Toxicity
 Workshop, Ottawa, Ontario, Canada, September 28 – October 1.

 J.A. Arnot, F.A.P.C. Gobas, J. Nichols, M. MacLeod, E. Papa, K. Borgå, H. Laue, P. Leonards.
 2014. Bioaccumulation Assessment: Developing Frameworks and Finding Common Ground.
 Cefic-LRI Workshop on Recent Scientific Developments in Bioaccumulation Research.
 Helsinki, September 24.

 Gobas, F.A.P.C. and J.A. Arnot. 2014. Bioaccumulation Metrics. Cefic-LRI Workshop on
 Recent Scientific Developments in Bioaccumulation Research. Helsinki, September 24.

 Sara Al-Marri, Mohamad Al-Sulaiti, F.A.P.C. Gobas and A. Cancelli. 2014.
 Environmental fate modelling of contaminants in constructed wetlands. Qatar Foundation R&D
 Annual Research Conference (ARC'14), November, 2014

 Gobas, F.A.P.C., S.Z. Cohen, S.M. Haefner. 2014. Bioaccumulation Risk Assessment of
 Pentachloronitrobenzene II: Lessons Learned. 13th IUPAC International Congress of Pesticide
 Chemistry. San Francisco, California, USA, August 1-14.

 Gobas, F.A.P.C., S.Z. Cohen, S.M. Haefner. 2014. Bioaccumulation Risk Assessment of
 Pentachloronitrobenzene I: Lessons Learned. 13th IUPAC International Congress of Pesticide
 Chemistry. San Francisco, California, USA, August 1-14.

                                                56




                                                                                                 000871
Case 2:15-cv-00201-SMJ       ECF No. 423     filed 01/29/20    PageID.24451 Page 155 of 314



 Gobas, F.A.P.C. 2014. Use of Activity and Fugacity to increase Weight of Evidence in
 Bioaccumulation and Risk Assessment of D5. Japan Expert Workshop. Advanced Studies of
 Environmental Assessment. Tokyo, July 1.

 J. Kim, D.E. Powell, K.B. Woodburn, R.M. Seston and F.A.P.C. Gobas. 2014. Estimating and
 Evaluating Bioaccumulation of Hydrophobic Compounds in the Aquatic Environment Using
 Linked SimpleTreat+QWASI+AQUAWEB models. 23rd Annual Meeting of the Society of
 Environmental Toxicology and Chemistry in Europe, Glasgow, Scotland, May 16 – 20.

 F.A.P.C. Gobas. 2013. The application of Activity and Fugacity to increase Weight of Evidence
 in Environmental Risk Assessments. 34th Annual Meeting of the Society of Environmental
 Toxicology and Chemistry in North America, Nashville, USA, November 17 – 21.

 M. Crawford, F.A.P.C. Gobas. 2013. An Empirical Activity and Fugacity-Based Approach to
 Risk Assessment of Petroleum Hydrocarbons. 34th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry in North America, Nashville, USA, November 17 –
 21.

 F.A.P.C. Gobas, L.P. Burkhard, W.J. Doucette, K.G. Sappington, E. Verbruggen, B.K. Hope,
 M.A. Bonnell, J.A. Arnot, J.V. Tarazona. 2013.Terrestrial Bioaccumulation Models for
 Bioaccumulation Screening and Exposure Assessment: Workshop Summary. 34th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry in North America,
 Nashville, USA, November 17 – 21.

 M.R. McDougall, F.A.P.C.Gobas. 2013. A modified bioaccumulation model to evaluate trophic
 magnification of select perfluoroalkyl acids (PFAAs) in a terrestrial food web. 34th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry in North America,
 Nashville, USA, November 17 – 21.

 J.C. Lo, G. Allard, G. Saroya, L. Charuaud, C.J. Kennedy, D. Campbell, F.A.P.C.Gobas. 2013.
 Testing in-vitro to in-vivo fish biotransformation extrapolation methods for very hydrophobic
 chemicals. 34th Annual Meeting of the Society of Environmental Toxicology and Chemistry in
 North America, Nashville, USA, November 17 – 21.

 L. Saunders, F.A.P.C. Gobas. 2013. The effect of pre-exposure on in vitro biotransformation
 rates of hydrophobic chemicals in rainbow trout (Oncorhynchus Myskiss). 40th Aquatic Toxicity
 Workshop, Moncton, New Brunswick, Canada, October 6-10.

 J. Alava, M.G. Ikonomou, M. Riofrio, F.A.P.C Gobas. 2012. Perfluoroalkyl contaminants
 (PFCs) in environmental matrices collected in the Antarctic Peninsula. 33rd Annual Meeting of
 the Society of Environmental Toxicology and Chemistry in North America, California, USA,
 November 11 – 15.

 P. Luk, G. Pelletier, F.A.P.C. Gobas. 2012. Modeling the bioaccumulation of polybrominated
 diphenyl ethers (PBDEs) in the marine food web of Puget Sound, Washington. 33rd Annual

                                               57




                                                                                                 000872
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20    PageID.24452 Page 156 of 314



 Meeting of the Society of Environmental Toxicology and Chemistry in North America,
 California, USA, November 11 – 15.

 J. Kim, D.E. Powell, K.B. Woodburn, F.A.P.C. Gobas. 2012. Application of a linked AQWASI
 + AQUAWEB model for estimating and evaluating bioaccumulation of hydrophobic compounds
 in aquatic food webs. 33rd Annual Meeting of the Society of Environmental Toxicology and
 Chemistry in North America, California, USA, November 11 – 15.

 F.A.P.C. Gobas, A.R. Brisebois, H.A. Leslie, P. Leonards. 2012. Relationship between the BCF,
 BAF, and the TMF. 33rd Annual Meeting of the Society of Environmental Toxicology and
 Chemistry in North America, California, USA, November 11 – 15.

 F.A.P.C. Gobas, M. McConnell, V. Otton, M.G. Ikonomou. 2012. Bioaccumulation of ionizing
 mono-phthalate esters in a marine aquatic food-web. 33rd Annual Meeting of the Society of
 Environmental Toxicology and Chemistry in North America, California, USA, November 11 –
 15.

 F.A.P.C. Gobas, J. Arblaster, P. Wing Ho Luk, A. Arnot. 2012. Towards ecologically relevant
 sediment quality criteria. 33rd Annual Meeting of the Society of Environmental Toxicology and
 Chemistry in North America, California, USA, November 11 – 15.

 J.P. Benskin, M.G. Ikonomou, F.A.P.C. Gobas, M.B. Woudneh, T. Begley, J.R. Cosgrove. 2012.
 Are all N-alkyl substituted perfluorooctane sulfonamides PFOS-precursors? The case of
 SAmPAP diester biodegradation in marine sediments. 33rd Annual Meeting of the Society of
 Environmental Toxicology and Chemistry in North America, California, USA, November 11 –
 15.

 F.A.P.C. Gobas, V. Otton, K. Clark, M.G. Ikonomou. 2012. The case for activity based
 environmental risk assessment: The example of the plasticizer DEHP. 33rd Annual Meeting of
 the Society of Environmental Toxicology and Chemistry in North America, California, USA,
 November 11 – 15.

 L. Saunders, F.A.P.C. Gobas. 2012. The effect of pre-exposure on in vitro biotransformation
 rates of hydrophobic chemicals in rainbow trout (Oncorhynchus Myskiss). 33rd Annual Meeting
 of the Society of Environmental Toxicology and Chemistry in North America, California, USA,
 November 11 – 15.

 F.A.P.C. Gobas. 2012. Are PBT evaluation and environmental criteria protecting marine
 mammals? 33rd Annual Meeting of the Society of Environmental Toxicology and Chemistry in
 North America, California, USA, November 11 – 15.

 E . Powell, F .A .P .C . Gobas, K .A . Kidd, D .C .G . Muir, R .M. Seston, K .B . Woodburn.
 2012. Uncertainty of bioaccumulation and biomagnification measurements in natural aquatic
 food webs: a sensitivity analysis approach. 22nd Annual Meeting of the Society of Environmental
 Toxicology and Chemistry in Europe, Berlin, Germany, May 20 – 24.

                                               58




                                                                                                   000873
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24453 Page 157 of 314



 Gobas, F.A.P.C., V. Otton, K. Clark, M.G. Ikonomou. 2012. The case for activity and fugacity
 based environmental risk assessment: The example of the plasticizer DEHP. GeoEnviroLogic 7th
 Annual Risk Symposium. Vancouver, May 31 & June 1, 2011)

 Gobas, F.A.P.C. 2012. Progress Towards the Development and Testing of in-vivo
 bioaccumulation assessment methods for Metabolizing Substances. Health and Environmental
 Sciences Institute (HESI) In Vivo Experts Workshop. Berlin. Germany. May 17-18, 2012.

 Gobas, F.A.P.C., Arblaster, J., Alava, J.J. 2012. Towards ecosystem based sediment quality
 criteria. 2012 Pacific North West Regional Conference of the Society of Environmental
 Toxicology and Chemistry, Vancouver, April 26-28.

 F.A.P.C. Gobas, J. Arblaster, M.G. Ikonomou. 2012. Webinar: Towards developing ecosystem
 based sediment quality guidelines for PCBs & related contaminants. February 15. 33
 participants.

 J. Arblaster, F.A.Gobas, M.G. Ikonomou. 2011. Sediment Quality Guidelines in British
 Columbia, Canada. 32nd Annual Meeting of the Society of Environmental Toxicology and
 Chemistry, Boston, November 12 – 17.

 F.A. Gobas, A.R. Brisebois, H.A. Leslie, P. Leonards. 2011. Relationship Between the BCF,
 BAF and the TMF. 32nd Annual Meeting of the Society of Environmental Toxicology and
 Chemistry, Boston, November 12 – 17.

 D. Mackay, F. Gobas, J. Arnot. 2011. Exploiting Relationships Between Metrics of Biouptake in
 Fish to Improve Laboratory to Field Extrapolation. 32nd Annual Meeting of the Society of
 Environmental Toxicology and Chemistry, Boston, November 12 – 17.

 G.Zandpoor, H. Lai, M.G. Ikonomou, F.A. Gobas. 2011. Development and Evaluation of a
 Multimedia Environmental Fate Model for Phthalate Esters in the False Creek, British Columbia.
 32nd Annual Meeting of the Society of Environmental Toxicology and Chemistry, Boston,
 November 12 – 17.

 J.J. Alava, F.A. Gobas. 2011. Modeling the Bioaccumulation Potential of Cesium 137 in a
 Marine Food Web of the Northwest Pacific, Canada. 32nd Annual Meeting of the Society of
 Environmental Toxicology and Chemistry, Boston, November 12 – 17.

 G.Zandpour, H. Lai, M.G. Ikonomou, F.A. Gobas. 2011. Development and Evaluation of a
 Multimedia Environmental Fate Model for Phthalate Esters in a Marine Aquatic Food Web. 32nd
 Annual Meeting of the Society of Environmental Toxicology and Chemistry, Boston, November
 12 – 17.

 J.P. Benskin, M. Ikonomou, F.A. Gobas. 2011. Bioaccumulation Modeling of Perfluorinated
 Compounds in an Aquatic Food Web. 32nd Annual Meeting of the Society of Environmental
 Toxicology and Chemistry, Boston, November 12 – 17.

                                               59




                                                                                                  000874
Case 2:15-cv-00201-SMJ       ECF No. 423     filed 01/29/20    PageID.24454 Page 158 of 314



 J. Lo, C.J. Kennedy, S.V. Otton, M.M. Moore, F.A. Gobas. 2011. A Protocol for Measuring In
 Vivo Biotransformation Rates of Hydrophobic Substances in Fish. 32nd Annual Meeting of the
 Society of Environmental Toxicology and Chemistry, Boston, November 12 – 17.

 D.E. Powell, Dow Corning, F.A. Gobas, K. Kidd, D. Muir. 2011. A Sensitivity Analysis
 Approach to Bioaccumulation and Biomagni_cation in Aquatic Food Webs. 32nd Annual
 Meeting of the Society of Environmental Toxicology and Chemistry, Boston, November 12 – 17.

 P. Leonards, S.V. Leeuwen, B.v. Hattum, F. Gobas, H. Leslie. 2011. Laboratory
 Biotransformation – A Link in Understanding Field Bioaccumulation? 32nd Annual Meeting of
 the Society of Environmental Toxicology and Chemistry, Boston, November 12 – 17.

 J.P. Benskin, M. Ikonomou, M.B. Woudneh, F.A. Gobas, J.R. Cosgrove. 2011. Ultra-fast
 Separation of PFOS and PFOA Isomers. 32nd Annual Meeting of the Society of Environmental
 Toxicology and Chemistry, Boston, November 12 – 17.

 P. Leonards, S. van Leeuwen, B. van Hattum, F. Gobas, H Leslie. 2011. Relating field
 bioaccumulation metrics for chemicals in a benthic and pelagic food web with existing
 bioconcentration data. 21st Annual Meeting of the Society of Environmental Toxicology and
 Chemistry in Europe, Milan, Italy, May 15 – 19.

 D.E. Powell, Dow Corning, F.A. Gobas, K. Kidd, D. Muir. 2011. Uncertainty of
 bioaccumulation and biomagnification measurements in natural aquatic food webs: a sensitivity
 analysis approach. 21st Annual Meeting of the Society of Environmental Toxicology and
 Chemistry in Europe, Milan, Italy, May 15 – 19

 Frank Gobas, Peter Kickham, Victoria Otton. 2010. Can very hydrophobic organic chemicals
 degrade in natural sediments? 2010 International Chemical Congress of Pacific Basin Societies,
 Honolulu, Hawaii, December 15-20.

 Frank Gobas, Yung Shan Lee, Victoria Otton, Justin Lo. 2010. Determining biotransformation
 rates of very hydrophobic organic chemicals in wildlife. 2010 International Chemical Congress
 of Pacific Basin Societies, Honolulu, Hawaii, December 15-20.

 Heather Leslie, Pim Leonards, Bert van Hattum, Stefan van Leeuwen, Frank Gobas. 2009.
 Bioaccumulation of chemical contaminants in the food chain of the Western Scheldt Estuary.
 30th Annual Meeting of the Society of Environmental Toxicology and Chemistry, New Orleans,
 Louisiana, November 19-23.

 Yung-Shan Lee, Victoria Otton, Frank Gobas. 2009. Determination of biotransformation rates of
 hydrophobic organic chemicals in rats using in vitro solid phase dosing and in vivo modeling.
 30th Annual Meeting of the Society of Environmental Toxicology and Chemistry, New Orleans,
 Louisiana, November 19-23.



                                               60




                                                                                                  000875
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24455 Page 159 of 314



 M Adebayo Adekola, Susan Erhardt, Michelle Embry, Karla Johanning, Marlies Halder, Margo
 Moore, Frank Gobas, Curtis V. Eickhoff. 2009. Metabolism Assay: Variability in Strain Specific
 Rainbow Trout Liver S9 Metabolism of Pyrene. 30th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry, New Orleans, Louisiana, November 19-23.

 Frank Gobas, Glenys Webster, Michael Ikonomou. 2009. Biotransformation of Di-Alkyl
 Phthalate Esters in Fish. 30th Annual Meeting of the Society of Environmental Toxicology and
 Chemistry, New Orleans, Louisiana, November 19-23.

 Justin Lo, Christopher Kennedy, Frank Gobas. 2009. Biotransformation rates of fifteen
 hydrophobic chemicals by rainbow trout in a feeding study. 30th Annual Meeting of the Society
 of Environmental Toxicology and Chemistry, New Orleans, Louisiana, November 19-23.

 Alava, J.J.; Ross, P. S.; Salazar, S.; Gobas, F.A.P.C 2009. Organochlorine pesticides in
 Galapagos sea lions (Zalophus wollebaeki): Health risks and Management Implications 18th
 Biennial Conference of the Biology of Marine Mammals. October 12-16, 2009. Quebec City,
 Canada.

 Alava, J.J., F.A.P.C. Gobas, M. Riofrio, J. Olmedo. 2009 Proyecto para el estudio de
 contaminantes orgánicos persistentes (COPs) y mercurio en la red trófica de la Antártida. Libro
 de Resúmenes del V Simposio Latinoamericano sobre Investigaciones Antárticas y II Simposio
 Ecuatoriano de Ciencia Polar. La Libertad, Ecuador, 2- 4 Septiembre 2009.

 Alava, J.J., M. Saavedra, X. Arosemena, M. Calle, C. Vinueza, R. Carvajal y H. Vargas.
 2009. Observaciones, distribución y potenciales amenazas del Gavilán Negro de Manglar en el
 suroeste de Ecuador. Pp. 18. En: Freile J.F., Cisneros-Heredia D.F., Agreda A.E., Lara A. &
 Santander T. Memorias – II Reunión Ecuatoriana de Ornitología, 26-28 Agosto 2009, Guayaquil.
 Quito, Ecuador: Aves&Conservación, Fundación Numashir, Universidad San Francisco de
 Quito.

 Alava, J.J. Lambourn, D., Olesiuk, P., Lance, M., Jeffries, S., Gobas, F., Ross, P. S.,
 2009. Polychlorinated biphenyls (PCBs) and Polybrominated Diphenyl Ethers in Steller sea lions
 (Eumatopias jubatus) wintering off Vancouver Islands, BC, Canada. Abstracts, 18th Annual
 Meeting Pacific Northwest Chapter (PNW)-Society of Environmental Toxicology and Chemistry
 (SETAC), Port Townsend, WA, April16-18, 2009. pp. 23.

 Alava, J.J. Lambourn, D., Olesiuk, P., Lance, M., Jeffries, S., Gobas, F., Ross, P. S., 2009.
 Polychlorinated biphenyls (PCBs) and Polybrominated Diphenyl Ethers in Steller sea lions
 (Eumatopias jubatus) wintering off Vancouver Islands, BC, Canada. 11th Annual Workshop on
 Brominated Flame Retardants (BFR2009), Ottawa, Canada, May 19-20, 2009.

 Frank Gobas, J. Lo, C. Kennedy, V. Otton. 2010. Development and Application of a Method for
 Measuring In-vivo Biotransformation Rates of Hydrophobic Chemicals in Fish. Bridging
 Science with Communities: SETAC North America 31st Annual Meeting, Portland, Oregon,
 November 7-11.

                                                61




                                                                                                   000876
Case 2:15-cv-00201-SMJ       ECF No. 423     filed 01/29/20    PageID.24456 Page 160 of 314




 Frank Gobas, J. Trowell, M. Moore. 2010. Effect of temperature on bioconcentration factors
 incorporating biotransformation rate obtained from an isolated rainbow trout hepatocyte model
 system. Bridging Science with Communities: SETAC North America 31st Annual Meeting,
 Portland, Oregon, November 7-11.

 Frank Gobas, J. Lam, M. Moore. 2010. Extrahepatic Metabolism of Selected Hydrophobic
 Chemicals in Oncorhynchus mykiss (Rainbow Trout) Determined by in vitro Assays. Bridging
 Science with Communities: SETAC North America 31st Annual Meeting, Portland, Oregon,
 November 7-11.

 Frank Gobas, Y. Lee, H. Lee. 2010. In-Vitro and In-vivo biotransformation of hydrophobic
 organic chemicals in fish & rats: Towards biotransformation screening of Commercial
 Chemicals. Bridging Science with Communities: SETAC North America 31st Annual Meeting,
 Portland, Oregon, November 7-11.

 Frank Gobas, P. Leonards, H. Leslie, S. Leeuwen. 2010. Relating field bioaccumulation metrics
 for chemicals in a benthic and pelagic food web with existing bioconcentration data. Bridging
 Science with Communities: SETAC North America 31st Annual Meeting, Portland, Oregon,
 November 7-11.

 Gobas, F.A.P.C. 2010. Relationship between the Bioconcentration Factor (BCF) and the Trophic
 Magnification Factor (TMF). Bridging Science with Communities: SETAC North America 31st
 Annual Meeting, Portland, Oregon, November 7-11.

 Frank Gobas, K. Borga, K. Kidd, O. Berglund. 2010. Trophic Magnification Factors: Impact of
 Ecology, Ecosystem and Study Design. Bridging Science with Communities: SETAC North
 America 31st Annual Meeting, Portland, Oregon, November 7-11.

 Frank Gobas, J. Conder, K. Borga. 2010. Use of Trophic Magnification Factors to Characterize
 Bioaccumulative Potential. Bridging Science with Communities: SETAC North America 31st
 Annual Meeting, Portland, Oregon, November 7-11.

 Frank Gobas. 2010. Sorption of Ionizing Substances. The Example of Di- and Mono-Phthalate
 Esters in Natural Sediments: Role of pH, Kow and Transformation. Bridging Science with
 Communities: SETAC North America 31st Annual Meeting, Portland, Oregon, November 7-11.

 Frank Gobas, J. Alava. 2010. A foodweb bioaccumulation model for PCBs in resident killer
 whales. Bridging Science with Communities: SETAC North America 31st Annual Meeting,
 Portland, Oregon, November 7-11.

 Frank Gobas, J. Alava, P. Ross, M. Ikonomou. 2010. Trophic biomagnifications of DDT and
 PCBs in the Galapagos sea lion food chain. Bridging Science with Communities: SETAC North
 America 31st Annual Meeting, Portland, Oregon, November 7-11.


                                               62




                                                                                                 000877
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24457 Page 161 of 314



 Heather Leslie, Pim Leonards, Bert van Hattum, Stefan van Leeuwen, Frank Gobas. 2009.
 Bioaccumulation of chemical contaminants in the food chain of the Western Scheldt Estuary.
 30th Annual Meeting of the Society of Environmental Toxicology and Chemistry, New Orleans,
 Louisiana, November 19-23.

 Yung-Shan Lee, Victoria Otton, Frank Gobas. 2009. Determination of biotransformation rates of
 hydrophobic organic chemicals in rats using in vitro solid phase dosing and in vivo modeling.
 30th Annual Meeting of the Society of Environmental Toxicology and Chemistry, New Orleans,
 Louisiana, November 19-23.

 M Adebayo Adekola, Susan Erhardt, Michelle Embry, Karla Johanning, Marlies Halder, Margo
 Moore, Frank Gobas, Curtis V. Eickhoff. 2009. Metabolism Assay: Variability in Strain Specific
 Rainbow Trout Liver S9 Metabolism of Pyrene. 30th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry, New Orleans, Louisiana, November 19-23.

 Frank Gobas, Glenys Webster, Michael Ikonomou. 2009. Biotransformation of Di-Alkyl
 Phthalate Esters in Fish. 30th Annual Meeting of the Society of Environmental Toxicology and
 Chemistry, New Orleans, Louisiana, November 19-23.

 Justin Lo, Christopher Kennedy, Frank Gobas. 2009. Biotransformation rates of fifteen
 hydrophobic chemicals by rainbow trout in a feeding study. 30th Annual Meeting of the Society
 of Environmental Toxicology and Chemistry, New Orleans, Louisiana, November 19-23.

 Alava, J.J.; Ross, P. S.; Salazar, S.; Gobas, F.A.P.C 2009. Organochlorine pesticides in
 Galapagos sea lions (Zalophus wollebaeki): Health risks and Management Implications 18th
 Biennial Conference of the Biology of Marine Mammals. October 12-16, 2009. Quebec City,
 Canada.

 Alava, J.J., F.A.P.C. Gobas, M. Riofrio, J. Olmedo. 2009 Proyecto para el estudio de
 contaminantes orgánicos persistentes (COPs) y mercurio en la red trófica de la Antártida. Libro
 de Resúmenes del V Simposio Latinoamericano sobre Investigaciones Antárticas y II Simposio
 Ecuatoriano de Ciencia Polar. La Libertad, Ecuador, 2- 4 Septiembre 2009.

 Alava, J.J., M. Saavedra, X. Arosemena, M. Calle, C. Vinueza, R. Carvajal y H. Vargas.
 2009. Observaciones, distribución y potenciales amenazas del Gavilán Negro de Manglar en el
 suroeste de Ecuador. Pp. 18. En: Freile J.F., Cisneros-Heredia D.F., Agreda A.E., Lara A. &
 Santander T. Memorias – II Reunión Ecuatoriana de Ornitología, 26-28 Agosto 2009, Guayaquil.
 Quito, Ecuador: Aves&Conservación, Fundación Numashir, Universidad San Francisco de
 Quito.

 Alava, J.J. Lambourn, D., Olesiuk, P., Lance, M., Jeffries, S., Gobas, F., Ross, P. S.,
 2009. Polychlorinated biphenyls (PCBs) and Polybrominated Diphenyl Ethers in Steller sea lions
 (Eumatopias jubatus) wintering off Vanocuver Islands, BC, Canada. Abstracts, 18th Annual
 Meeting Pacific Northwest Chapter (PNW)-Society of Environmental Toxicology and Chemistry
 (SETAC), Port Townsend, WA, April16-18, 2009. pp. 23.

                                                63




                                                                                                   000878
Case 2:15-cv-00201-SMJ        ECF No. 423      filed 01/29/20    PageID.24458 Page 162 of 314




 Alava, J.J. Lambourn, D., Olesiuk, P., Lance, M., Jeffries, S., Gobas, F., Ross, P. S., et al. 11th
 Annual Workshop Brominated Flame Retardants (BFR2009), Ottawa, Canada, May 19-20, 2009.

 Alava, J. J., Ross PS, Ikonomou M., Costa D., Salazar S., Aurioles D., Gobas F APC
 Polybrominated Diphenyl Ether (PBDEs) flame retardants in Galapagos sea lions (Zalophus
 wollebaeki). 2008. Abstracts, 10th Annual Workshop on Brominated Flame Retardants
 (BFR2008), Victoria, British Columbia, Canada, June 3−4, pp 53

 Alava J.J., Ross PS, Ikonomou M, Costa D, Salazar S, Aurioles D, Gobas F APC. 2007.
 Polychlorinated Biphenyls (PCBs) and Polybrominated Diphenyl Ethers (PBDEs) in Galapagos
 sea lion pups (Zalophus wollebaeki): Concentrations, patterns and body condition effect. In
 Abstracts of the 17th Biennial Conference on the Biology of Marine Mammals, 29 Nov - 3 Dec
 2007, Cape Town, South Africa.

 Alava, J.J. Lambourn, D., Olesiuk, P., Lance, M., Jeffries, S., Gobas, F., Ross, P. S., 2009.
 Polychlorinated biphenyls (PCBs) and Polybrominated Diphenyl Ethers in Steller sea lions
 (Eumatopias jubatus) wintering off Vancouver Islands, BC, Canada. 11th Annual Workshop on
 Brominated Flame Retardants (BFR2009), Ottawa, Canada, May 19-20, 2009.

 Gobas, F.A.P.C. and D. Mackay. 2008. Application of Environmental Fate & Food Web
 Bioaccumulation Models for Assessing Ecological Risks of PBT type Pesticides. FIFRA
 Scientific Advisory Panel. USEPA, Washington DC. October 28-31. .

 Mackay, D. and F.A.P.C. Gobas. 2008. Overview of the AGRO model for Pesticides. FIFRA
 Scientific Advisory Panel. USEPA, Washington DC. October 28-31.

 Adekola, A. F.Gobas, M. Moore, D. Gray, N. Wijewickreme, S. Erhardt, J. Sahi, K. Johanning,
 M. Halder, M. Embry, C. Eickhoff. 2008. Determination of Vmax and Km for Validation of an
 in vitro Trout S9 Fraction Assay to Predict in vivo Fish Metabolism of Chemicals. 35th Annual
 Aquatic Toxicity Workshop (ATW). Saskatoon, Saskatchewan, October 5-9.

 Gobas, F.A.P.C., W. de Wolf, E. Verbruggen, K.Plotzke, and L. Burkhard. 2008. Revisiting
 Bioaccumulation Criteria., 29th Annual Meeting of the Society of Environmental Toxicology
 and Chemistry, Tampa Bay, Florida, November 16-20.

 Weisbrod, A., W. deWolf, B. Escher, F.A.P.C. Gobas, J. Nichols, K.B. Woodburn. 2008.
 Bioaccumulation Assessment for PBT assessment: Findings of the Pellston PBT Workshop. 29th
 Annual Meeting of the Society of Environmental Toxicology and Chemistry, Tampa Bay,
 Florida, November 16-20.

 Gobas, F.A.P.C. and Y.S. Lee. 2008. In-silico models for bioaccumulation assessment. 29th
 Annual Meeting of the Society of Environmental Toxicology and Chemistry, Tampa Bay,
 Florida, November 16-20.


                                                 64




                                                                                                       000879
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24459 Page 163 of 314



 Gobas, F.A.P.C. 2008. EcoRisk Assessment of Pesticides. 4th Pan Pacific Conference on
 Pesticide Science. 4th Pan Pacific Conference on Pesticide Science, American Chemical Society,
 June 1-5, 2008, Waikiki Beach, Honolulu, Hawaii.

 Alava J.J., Ross PS, Ikonomou M, Costa D, Salazar S, Aurioles D, Gobas F APC. 2007.
 Polychlorinated Biphenyls (PCBs) and Polybrominated Diphenyl Ethers (PBDEs) in Galapagos
 sea lion pups (Zalophus wollebaeki): Concentrations, patterns and body condition effect. In
 Abstracts of the 17th Biennial Conference on the Biology of Marine Mammals, 29 Nov - 3 Dec
 2007, Cape Town, South Africa.

 McConnell, M.L., S. V. Otton, S. Sura, J. Blair3, C.E. Mackintosh, G.E. Webster1, M.G.
 Ikonomou and F.A.P.C. Gobas. 2007. Environmental Fate of Phthalate Di-esters and Mono-
 esters in Sediment and Organisms of an Aquatic Food Web. 34th Annual Aquatic Toxicity
 Workshop (ATW). Halifax, Nova Scotia, September 30 to October 3.

 Alava, J.J., Lambourn, D., Olesiuk, P., Lance, M., Jeffries, S., Gobas, F., Ross, P. S. 2007.
 Polychlorinated biphenyls (PCBs) and PBDE flame retardants in B.C. Steller Sea Lions. 15th
 Annual B.C. Marine Mammal Symposium. University of British Columbia, Aquatic Ecosystems
 Research Laboratory, Vancouver, BC, Canada.

 Alava, J., P.S. Ross, D.P Costa, S. Salazar, and F.A Gobas. 2006. Dioxin and Furan levels in
 Galápagos Sea Lions Pups. 14th Annual B.C. Marine Mammal Symposium, November 25, 2006.
 UBC Aquatic Ecosystems Research Laboratory, Vancouver, BC, Canada.

 Alava J, Ross PS, Costa D, Salazar S and Gobas F A. 2006. Galapagos sea lions (Zalophus
 wollebaeki) as sentinels of environmental organic pollution in the Galapagos Islands, Ecuador. In
 Society of Environmental Toxicology and Chemistry. Abstract book of the SETAC North
 America, 27th Annual Meeting in North America Global Environment and Sustainability: Sound
 Science in a World of Diversity; 5−9 November 2006, Palais des Congres, Montréal, Québec,
 Canada. Pp. 151-152.

 Otton, S. V., Srinivas Sura, J. Blair, M.G. Ikonomou and F.A.P.C. Gobas. 2006. Biodegradation
 of Phthalate Mono-esters in Sediment. 27th Annual Meeting of the Society of Environmental
 Toxicology and Chemistry, Montreal, November 5-9.

 McConnell, M, F.A.P.C. Gobas, J. Blair and M.G. Ikonomou. 2006. Distribution of Phthalate
 Mono-Ester in an Aquatic Food-Web. 27th Annual Meeting of the Society of Environmental
 Toxicology and Chemistry, Montreal, November 5-9.

 Arnot, J.A., F.A.P.C. Gobas, D. Mackay, M. Bonnell. 2006. A tiered method to assess the
 bioaccumulation of organic chemicals in aquatic systems. 27th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry, Montreal, November 5-9.




                                                65




                                                                                                     000880
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24460 Page 164 of 314



 Vasiluk. L.Pinto, F.A.P.C. Gobas, C. Eickhoff and M. Moore. 2006. In vitro methods to assess
 the oral bioavailability of soil bound hydrophobic organic contaminants (HOCs). 27th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry, Montreal, November 5-9.

 Saltos, J.A., P.S. Ross, D.P.Costa, S. Salazar and F.A.P.C. Gobas. 2006. Galapagos sealions
 (Zalophus wollebaeki) as sentinels of environmental organic pollution in the Galapagos Islands.
 2006. 27th Annual Meeting of the Society of Environmental Toxicology and Chemistry,
 Montreal, November 5-9.

 Gobas, F.A.P.C., C.E. MacIntosh, G. Webster, J. Blair, M.G. Ikonomou. 2006. Including
 Metabolic Transformation in Bioaccumulation Assessments: The Phthalate Ester Case Study.
 27th Annual Meeting of the Society of Environmental Toxicology and Chemistry, Montreal,
 November 5-9.

 Gobas, F.A.P.C., L.M. Meloche, V.S. Otton, C.J. Golding, G. Birch, J. Blair, M.G. Ikonomou.
 2006. Application of thin film solid phase extraction to measure the bioavailability of
 hydrophobic organic contaminants in natural sediments. 27th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry, Montreal, November 5-9.

 Sura, S., S.V. Otton, F.A.P.C. Gobas, J. Blair and M.G. Ikonomou. 2006. Sorption of Phthalate
 Mono Esters. 27th Annual Meeting of the Society of Environmental Toxicology and Chemistry,
 Montreal, November 5-9.

 Cheng, W.W.L. and F.A.P.C. Gobas. 2006.Assessment of Human Health Risks of Consumption
 of Cadmium Contaminated Cultured Oysters. 2006 Federal Food Safety and Nutrition Research
 Meeting, Hampton Inn Conference Center, 100 Coventry Place, Ottawa, October 11-12, 2006.

 Gobas, F.A.P.C. 2006. Relationship between Sources, Concentrations, Effects and Risks of
 Bioaccumulative Substances in Vancouver Harbour and the Straight of Georgia". Environmental
 Monitoring Committee, GVRD Offices, Burnaby, October 19, 2006.

 Arnot, J.A., Mark Bonnell and Frank A.P.C. Gobas. 2006. BCF and BAF data and models for
 organic chemicals in aquatic species. European Commission Bureau Training Course on QSARs.
 July 24, 2006.

 Vasiluk L., Pinto L., Gobas F., Eickhoff C and M. Moore .2006. In vitro methods to assess the
 oral bioavailability of soil-bound hydrophobic organic contaminants (HOCs). 27th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry, Montreal, November 5-9.

 Gobas, F.A.P.C. and J. A. Arnot. 2006. Assessing B(ioaccumulation) of commercial chemicals".
 232nd ACS National Meeting. San Francisco, Sept. 10–14. KEYNOTE PRESENTATION.

 Gobas, F.A.P.C., S.V. Otton, S. Sura, L.M. Meloche, J. Blair, Michael G. Ikonomou. 2006.
 Biodegradation and Sorption of Mono-Alkyl Phthalate Esters. 16th Annual Meeting of the


                                                66




                                                                                                   000881
Case 2:15-cv-00201-SMJ       ECF No. 423     filed 01/29/20    PageID.24461 Page 165 of 314



 European Society of Environmental Toxicology and Chemistry, The Hague, Netherlands, May 7-
 11.

 F.A.P.C. Gobas and J.A. Arnot. 2006. Lessons learned from the Evaluation of Bioconcentration
 and Bioaccumulation Factors of Commercial Chemicals. LSI-HESI-SETAC Bioaccumulation
 Workshop. The Hague, Netherlands, May 5-6.

 Stevenson R. and F.A.P.C. Gobas. 2005. A model describing the bioaccumulation and
 metabolism of polycyclic aromatic hydrocarbons in a marine benthic food web. 26th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry, Baltimore, November 13-
 17.

 Gobas, F.A.P.C. , J.A. Arnot, A.G.M. DeBruyn and B.C. Kelly. 2005. Novel Approaches for
 Assessing the Bioaccumulation and Biomagnification of Organic Pollutants in Wildlife. 26th
 Annual Meeting of the Society of Environmental Toxicology and Chemistry, Baltimore,
 November 13-17.

 Armitage, J.M. and F.A.P.C. Gobas. 2005. Development and application of a general terrestrial
 bioaccumulation model. 15th Annual Meeting of the Society of Environmental Toxicology and
 Chemistry of Europe, Lille, France, May 22-26.

 Gobas, F.A.P.C. and J. A. Arnot. 2005. A Model of the Bioaccumulation of PCBs in the San
 Francisco Bay Food-Web: Annual Meeting of the Regional Monitoring Program. May 10,
 Oakland, California. .

 Gobas, F.A.P.C. 2004. Managing Chemical Pollution in the Americas. Workshop on the
 Interaction of Persistent Toxic Substance Fate and Climate along Latitudinal and Vertical
 Gradients in the Americas. Inter-american Institute (IAI) for Climate Change Research. Costa
 Rica, November 30- December 3.

 M.G. Ikonomou, J.D. Blair, F. David, and F.A.P.C. Gobas. 2004. Phthalate Ester
 Interlaboratory Comparison Study. 4th World Congress of the Society of Environmental
 Toxicology & Chemistry, Portland, Oregon, USA, November 14-18.

 Frank, A.P.C. Gobas, Jon A. Arnot, James M. Armitage and Barry C. Kelly. 2004.Evaluation of
 the Effectiveness of Methods for Assessing the Bioaccumulation Properties of Commercial
 Industrial Chemicals. 4th World Congress of the Society of Environmental Toxicology &
 Chemistry, Portland, Oregon, USA, November 14-18. .

 J. A. Arnot and F.A.P.C. Gobas. 2004. A Bioaccumulation Model for Aquatic Food Webs. 4th
 World Congress of the Society of Environmental Toxicology & Chemistry, Portland, Oregon,
 USA, November 14-18.




                                               67




                                                                                                 000882
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24462 Page 166 of 314



 B.C. Kelly, F.A.P.C. Gobas, and M.G. Ikonomou. 2004. Bioaccumulation of Chemicals of
 Emerging Concern in Canada’s Eastern Arctic Marine Food-chain. 4th World Congress of the
 Society of Environmental Toxicology & Chemistry, Portland, Oregon, USA, November 14-18.

 C.E. Mackintosh, F.A.P.C. Gobas, and M.G. Ikonomou. 2004. Sediment-Water Distribution of
 Phthalate Esters and PCBs in a Marine Ecosystem. 4th World Congress of the Society of
 Environmental Toxicology & Chemistry, Portland, Oregon, USA, November 14-18.

 L. Meloche, F.A.P.C. Gobas, M.G. Ikonomou, and V. Otton. 2004. A Method to Measure the
 Fugacities of Hydrophobic Organic Contaminants in Spiked and Field-Collected Sediments.
 4th World Congress of the Society of Environmental Toxicology & Chemistry, Portland,
 Oregon, USA, November 14-18.

 A Debruyn and F.A.P.C. Gobas. 2004. The Bioenergetics of Biomagnification. 4th World
 Congress of the Society of Environmental Toxicology & Chemistry, Portland, Oregon, USA,
 November 14-18.

 D. C. Natale and F.A.P.C. Gobas. 2004. Development of a Mass Balance Model to Develop
 Sediment Target Levels and Loadings for Selected Persistent Organic Pollutants in Burrard Inlet.
 4th World Congress of the Society of Environmental Toxicology & Chemistry, Portland,
 Oregon, USA, November 14-18.

 Harner, T. , M. Kozma, S. Meng Li, and M. Shoeib and F. A. P. C. Gobas,. 2004.
 Organochlorine Pesticides in Urban, Rural and Trans-Pacific High Altitude Samples in the
 Fraser Valley, B.C. 4th World Congress of the Society of Environmental Toxicology &
 Chemistry, Portland, Oregon, USA, November 14-18.

 F.A.P.C. Gobas, B.C. Kelly, M.G. Ikonomou, D. Ratzlaff, and G. M.Webster. 2004.
 Bioaccumulation of Phthalate Esters in Food-chains: Relation to UNEP LRTAP Protocol. 4th
 World Congress of the Society of Environmental Toxicology & Chemistry, Portland, Oregon,
 USA, November 14-18.

 F.A.P.C. Gobas, B.C. Kelly, and M.S. McLachlan. 2004. Intestinal Absorption and
 Biomagnification of Organic Contaminants in Fish, Wildlife and Humans. 4th World Congress of
 the Society of Environmental Toxicology & Chemistry, Portland, Oregon, USA, November 14-
 18.

 F.A.P.C. Gobas, M.G. Ikonomou, C.E. MacKintosh, and G.M.Webster. 2004. Distribution of
 Phthalate Di-Esters and Mono-Esters in a Marine Food Web. 4th World Congress of the Society
 of Environmental Toxicology & Chemistry, Portland, Oregon, USA, November 14-18.

 G.F. Birch, F.A.P.C. Gobas, and C.J. Golding. 2004. Introduction to a Fugacity Approach for
 Assessing the Bioavailability of Hydrophobic Organic Compounds in Spiked Estuarine
 Sediment. Sediment Quality Assessment conference, Antwerp, August.


                                               68




                                                                                                    000883
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24463 Page 167 of 314



 Gobas, F.A.P.C. , J. Armitage, B.C. Kelly and J. A. Arnot and. 2004. Managing Commercial
 Chemicals in the Biological World. Canadian Environmental Modelling Network Meeting,
 Stoney Lake, Peterborough, June 9-11.

 Gobas, F.A.P.C. and J. B. Wilcockson. 2003. PCB Movement through the Food-Web of San
 Francisco Bay: Development of a Model. San Francisco Bay Regional Monitoring Program
 General Meeting, May 12- 13, Berkely, California. .

 Gobas, F.A.P.C., C.E. Mackintosh, G. Webster and M.G. Ikonomou. 2003. Bioaccumulation of
 Phthalate Esters in an Aquatic Food-Web13th Annual Meeting of the Society of Environmental
 Toxicology and Chemistry of Europe, Hamburg, Germany, April 27-May 1.

 Gobas, F.A.P.C. 2003. Modeling PCBs: Lessons Learned from Large Systems. 2003 Georgia
 Basin/Puget Sound Research Conference., Vancouver, March 31-April 3.

 Gobas, F.A.P.C. 2003. Exploring the Research Dimensions of Off-shore Oil and Gas
 Development in BC., Vancouver, January 29 to 31.

 A.M.H DeBruyn and F.A.P.C. Gobas. 2003 Aquaculture-Associated Chemicals and Organic
 Matter Cycling in Coastal BC. Oral Presentation, 2003 Annual Meeting of the Society of
 Canadian Limnologists & Canadian Conference for Fisheries Research, Ottawa, ON.

 Gobas, F.A.P.C. 2002. Fugacity for Thought, SETAC 23rd Annual Meeting, Salt Lake City,
 Utah, USA, November 16-20. .

 Kelly, B.C. and F.A.P.C. Gobas. 2002. A model for predicting POPs distribution and
 biomagnification in an Arctic terrestrial food-chain, SETAC 23rd Annual Meeting, Salt Lake
 City, Utah, USA, November 16-20.

 Kelly, B.C. and F.A.P.C. Gobas. 2002. Intestinal absorption, toxicokinetics and biomagnification
 of POPs: new developments and hypotheses, SETAC 23rd Annual Meeting, Salt Lake City,
 Utah, USA, November 16-20.

 Webster, G.M., F.A.P.C. Gobas, C.E. Mackintosh and M.G. Ikonomou. 2002. Dietary uptake,
 internal distribution and metabolism of phthalate esters in Staghorn sculpin (Leptocottus
 armatus), SETAC 23rd Annual Meeting, Salt Lake City, Utah, USA, November 16-20.

 Sunderland, E.M. and F.A.P.C. Gobas. 2002. Speciation and Bioavailability of Mercury in Well-
 Mixed Estuarine Sediments, SETAC 23rd Annual Meeting, Salt Lake City, Utah, USA,
 November 16-20.

 Sunderland, E.M. and F.A.P.C. Gobas. 2002. A Marine Mercury Cycling Model for
 Passamaquoddy Bay, NB, SETAC 23rd Annual Meeting, Salt Lake City, Utah, USA, November
 16-20.


                                               69




                                                                                                    000884
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24464 Page 168 of 314



 Otton, V., L. Meloche, M. Kozma, G.B. Birch and F.A.P.C. Gobas. 2002. Application of thin-
 film solid phase extraction to measure fugacity and fugacity capacity of organic contaminants in
 sediments, SETAC 23rd Annual Meeting, Salt Lake City, Utah, USA, November 16-20.

 Harner, T., M. Shoeib, N. Farrar, G. Stern, M.G. Ikonomou, F.A.C.P. Gobas, K.C. Jones and M.
 Diamond. 2002. Passive Air Sampling for POPs on an Urban-Rural Transect north of L. Ontario,
 SETAC 23rd Annual Meeting, Salt Lake City, Utah, USA, November 16-20.

 DeBruyn, A.M.H. and F.A.P.C. Gobas. 2002. Linking the Fate of Aquaculture-Associated
 Chemicals to Organic Matter Cycling in Aquatic Systems, Aquatic Toxicity Workshop, Whistler,
 BC, October 20-24.

 Arnot, J.A. and F.A.P.C. Gobas. 2002. The Development of "Generic" and "Site-Specific"
 Quantitative-Structure Activity Relationship Models for Assessing Bioaccumulation Factors,
 Aquatic Toxicity Workshop, Whistler, BC, October 20-24.

 Ratzlaff, D.E. and F.A.P.C. Gobas. 2002. Aqueous Bioavailability of Phthalate Esters to
 Freshwater Organisms, Aquatic Toxicity Workshop, Whistler, BC, October 20-24.

 Meloche, L. and F.A.P.C. Gobas. 2002. Use of Thin Film Solid Phase Extraction to Measure
 Fugacities of Organic Contaminants in Field Collected Sediments, Aquatic Toxicity Workshop,
 Whistler, BC, October 20-24.

 Otton, S.V. and F.A.P.C. Gobas. 2002. Application of Thin-Film Solid Phase Extraction to
 Measure Fugacity and Fugacity Capacity of Organic Contaminants in Sediments, Aquatic
 Toxicity Workshop, Whistler, BC, October 20-24.

 J. Maldonado, F.A.P.C. Gobas, and C. Macintosh. 2002. The Bioaccumulation of Poly-
 Chlorinated Biphenyls in a False Creek Food Web Comprised of 18 Organisms, Aquatic
 Toxicity Workshop, Whistler, BC, October 20-24.

 Gobas, F.A.P.C. and J. Armitage. 2002. Modeling the Environmental Fate of PCBs in Marine
 Ecosystems. Workshop on PCBs in the Puget Sound and Georgia Basin Ecosystems, September
 16th - 20th at the University of Washington's, Friday Harbor, WA.

 Mackintosh, C.E., Hongwu J, A.Chong , M.G. Ikonomou and F.A.P.C. Gobas. 2001.
 Distribution of Phthalate Esters in a Marine Ecosystem. 11th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry of Europe, Madrid, May 6-10.

 Webster, G.M., C.E. Mackintosh, J. Hongwu, A.Chong , M.G. Ikonomou and F.A.P.C. Gobas.
 2001. Bioaccumulation of Phthalate Esters in Aquatic Food-Chains: Models vs. Data. 11th
 Annual Meeting of the Society of Environmental Toxicology and Chemistry of Europe, Madrid,
 May 6-10.



                                                70




                                                                                                    000885
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24465 Page 169 of 314



 Arnot, J. A., Gobas, F. A. P. C., Kelly, B. C. 2001. Evaluation of QSAR and Models for
 Screening of Potentially Bioaccumulative Substances. 11th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry of Europe, Madrid, May 6-10.

 Gobas, Frank A. P. C. , J. A. Arnot and B.C. Kelly. 2001. Bioaccumulation of Organic
 Chemicals in Aquatic & Terrestrial Food-chains: The Case for a New Bioaccumulation Paradigm
 & QSAR. 11th Annual Meeting of the Society of Environmental Toxicology and Chemistry of
 Europe, Madrid, May 6-10.

 Hongwu, J., Zhongping Lin Michael G. Ikonomou Frank A. P. C. Gobas. 2001. Analysis of
 Phthalate Esters and Monoesters in Marine Samples with LC/ESI-MS and LC/ESI-MS/MS
 Methods. Annual Meeting of the Society for Mass Spectroscopy, May 27-31.

 Shoeib, Mahiba, Tom Harner, Miriam Diamond and Frank A.P.C. Gobas. 2000. Comparison of
 Several Passive Sampling Media for Detecting POPs in Indoor Air. 21th Annual Meeting of the
 Society of Environmental Toxicology and Chemistry, Nashville, USA, November 15-19.

 Gobas, Frank A. P. C. and Laura G. Maclean. 2000. Relationship Between Sediment Diagenesis
 and the Fate, Accumulation and Trophic Transfer of Contaminants. 3rd World Congress of the
 Society of Environmental Toxicology and Chemistry, Brighton England, May 21-25.

 Ricard, Daniel and Frank A. P. C. Gobas. 2000. Application of Genetic Algorithms to Resolve
 Trophic Structure in Aquatic Food-Webs and to Calibrate Food-Chain Bioaccumulation Models
 of Contaminants. 3rd World Congress of the Society of Environmental Toxicology and
 Chemistry, Brighton England, May 21-25.

 Maclean, Laura G. and Frank A. P. C. Gobas. 2000. The Role of Organic Carbon Mineralization
 on the Bioaccumulation and Food-Chain Transfer of Organic Contaminants in Aquatic Food-
 Webs. 3rd World Congress of the Society of Environmental Toxicology and Chemistry, Brighton
 England, May 21-25.

 Kelly, B.C. and F.A.P.C. Gobas.1999. Transfer of Persistent Organic Pollutants in an Arctic
 Tundra Ecosystem: A Model and Field validation. 20th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry, Philadelphia, USA, November 14-18.

 Wilcockson, J.B., F.A.P.C. Gobas, and T.F. Parkerton 1999. A Novel Solid-Phase Extraction
 Method to Measure Fugacities of Semi-Volatile Chemicals in Biological Samples. 20th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry, Philadelphia, USA,
 November 14-18.

 Lin, Z.P, M.G. Ikonomou, F.A.P.C. Gobas and C. Mackintosh.1999. Quantitative Determination
 of Phthalate Esters in Environmental Samples Using Isotope Dilution Gas Chromatography/Mass
 Spectrometry and Liquid Chromatography/Electron-Spray Mass Spectrometry, 20th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry, Philadelphia, USA,
 November 14-18.

                                               71




                                                                                               000886
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20   PageID.24466 Page 170 of 314




 Gobas, Frank A. P. C., G.E. Harris , W.J. Cretney, S.Davidson, D. Sherbot and R.W.
 MacDonald. 1999. Development and Validation of an Environmental Fate Model for PAHs in an
 Estuary near an Aluminum Smelter, 20th Annual Meeting of the Society of Environmental
 Toxicology and Chemistry, Philadelphia, USA, November 14-18.

 Mackintosh, C., Z.P Lin, M.G. Ikonomou and F.A.P.C. Gobas. 1999. Distribution of Phthalate
 Esters between Water, Sediment and Invertebrates in a Marine Ecosystem, 20th Annual Meeting
 of the Society of Environmental Toxicology and Chemistry, Philadelphia, USA, November 14-
 18.

 Lin, Z.P., M.G. Ikonomou, F.A.P.C. Gobas and C. Mackintosh. 1999. Quantitative
 Determination of Phthalate Esters in Environmental Samples Using Isotope Dilution Gas
 Chromatography/Mass Spectrometry and Liquid Chromatography/Electron-Spray Mass
 Spectrometry, 20th Annual Meeting of the Society of Environmental Toxicology and Chemistry,
 Philadelphia, USA, November 14-18.

 Zhong-Ping Lin, Michael G. Ikonomou, Frank A. P. C. Gobas. 1999. A New LC-ESI/MS
 Method for The Quantitative Determination of Phthalate Esters in Environmental Samples, 47th
 Annual Meeting of the American Society for Mass Spectrometry, Dallas, Texas, USA, June 13-
 17.

 Harris, Glenn E., Frank A.P.C. Gobas and Walter J. Cretney.1998. An Integrated Environmental
 Fate and Bioaccumulation Model for Polycyclic Aromatic Hydrocarbons in a Marine Ecosystem.
 19th Annual Meeting of the Society of Environmental Toxicology and Chemistry, Charlotte, NC,
 USA, November 6-10.

 Harris, Glenn E., and Frank A.P.C. Gobas. 1998. Achieving Environmental and industrial Policy
 Objectives Through the Application of an Environmental Fate Model in a Marine Ecosystem. 1st
 International Symposium: Issues in Environmental Pollution ‘98, Denver, Colorado.

 Zhong-Ping Lin, Michael G. Ikonomou, and Frank A.P.C. Gobas. 1998. Phthalate Esters in
 Environmental Samples: A Review on the Analytical Methodology and Toxicity, 19th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry, Charlotte, NC, USA,
 November 6-10.

 Zhong-Ping Lin, Micheal G. Ikonomou, Frank A. P. C. Gobas, and Dayue Shang. 1998.
 Determination of Phthalate Esters in Environmental Samples by Mass Spectrometry Based
 Analytical Methods, 19th Annual Meeting of the Society of Environmental Toxicology and
 Chemistry, Charlotte, NC, USA, November 6-10.

 Gobas, F.A.P.C., X. Zhang and E. Sunderland. 1998. Application of Site-specific Environmental
 Fate and Food-Chain Models for Mercury and Hydrophobic Organics in Western Canada.
 Eastern Canadian Regional Workshop on Mercury. Frederickton, NB, September 27 -30.


                                              72




                                                                                                 000887
Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20    PageID.24467 Page 171 of 314



 Gobas, F.A.P.C. 1998. History, Current Developments and Future Directions in Studies of the
 Mechanism and Assessment of the Dietary Uptake and Bioaccumulation of Contaminants in
 Food-Chains, Symposium on Hot Topics in Environmental Chemistry, Universiy of Bayreuth,
 June 3-5. .

 Gobas, F.A.P.C. 1998. The Application of Food-Chain Bioaccumulation Models for Exposure
 Assessment in Contaminated Sediment Remediation Projects. Workshop: Environmental Risk
 Assessment and Dredged Material Management: Issues and Applications, Department of the US
 Army, San Diego, February 18-20. .

 Gobas, F.A.P.C. and J.W.B. Wilcockson. 1997. Biology and Chemistry of Dietary
 Bioavailability and Chemistry of Toxic Organics. 17th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry, San Francisco, November 16-20. .

 X. Zhang and F.A.P.C. Gobas. 1997. A Novel Model for Predicting Aqueous Solubility as a
 function of Temperature for Hydrophobic Organic Pollutants. 17th Annual Meeting of the
 Society of Environmental Toxicology and Chemistry, San Francisco, November 16-20.

 Gerath, M., P.Anderson and F.A.P.C. Gobas. 1997. Guidance on Development of Site Specific
 BAFs Under the Great Lakes Water Quality Initiative. 17th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry, San Francisco, November 16-20.

 Harris, G.E. and F.A.P.C. Gobas. 1997. Characterization of the Assimilative Capacity of Marine
 Ecosystems. 17th Annual Meeting of the Society of Environmental Toxicology and Chemistry,
 San Francisco, November 16-20.

 Harris, G.E. and F.A.P.C. Gobas. 1997. Temporal, Spatial and Concentration Relationships for
 Biota-Sediment Bioaccumulation Factors in Dungeness Crabs near British Columbia Pulp
 Mills.17th Annual Meeting of the Society of Environmental Toxicology and Chemistry, San
 Francisco, November 16-20.

 Kelly, B.C. and F.A.P.C. Gobas. 1997. Development and Verification of a Fugacity Based
 Bioaccumulation Model for Organic Contaminants in the Lichen-Cariboo-Wolf food-chain. 17th
 Annual Meeting of the Society of Environmental Toxicology and Chemistry, San Francisco,
 November 16-20.

 X. Zhang and F.A.P.C. Gobas. 1997. A Model for the Bioaccumulation of mercury species in the
 Lake Ontario food-web. 40th Conference of the International Association for Great Lakes
 Research, Buffalo, June 1-5.

 X. Zhang and F.A.P.C. Gobas. 1997. A Mass Balance Model and Historical Contamination
 Profile in the Lake Ontario food-web. 40th Conference of the International Association for Great
 Lakes Research, Buffalo, June 1-5.



                                                73




                                                                                                    000888
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20   PageID.24468 Page 172 of 314



 Gobas, F.A.P.C. and G.E. Harris. 1996. Considerations on the Policy and Regulation of
 Bioaccumulative Substances. 17th Annual Meeting of the Society of Environmental Toxicology
 and Chemistry, Washington DC, November 17-21. .

 Gobas, F.A.P.C. and G.E. Harris. 1996. Factors Controlling the Bioavailability and
 Bioaccumulation of Persistent Pollutants in Benthic Organisms. 17th Annual Meeting of the
 Society of Environmental Toxicology and Chemistry, Washington DC, November 17-21. .

 Gobas, F.A.P.C. 1996. Food-Web Bioaccumulation Models for deriving Bioaccumulation
 Factors and Concentrations of Chemical Substances in Organisms of Aquatic Food-Webs.
 U.S.E.P.A National Sediment Bioaccumulation Workshop, Washington DC. September 11-13. .

 Harris, G.E. and F.A.P.C. Gobas. 1996. Towards Sustainability? A Critical Analysis of
 Environmental Management Strategies for Industrial Contaminants in Canada. 17th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry, Washington DC,
 November 17-21.

 Harris, G.E. and F.A.P.C. Gobas. 1996. Development & Verification of a Bioaccumulation
 Model of Organochlorines in the Dungeness Crab. 17th Annual Meeting of the Society of
 Environmental Toxicology and Chemistry, Washington DC, November 17-21.

 Gobas, F.A.P.C. 1996. Mechanisms of Organic Chemical Bioavailability in Aquatic Ecosystems.
 EcoTox Workshop. Winnipeg, June 17-19. .

 Gobas, F.A.P.C. 1995. The Environmental Chemistry of Contaminants in Biological Food-
 Chains. 1995 PacificChem Meeting. Honolulu, Hawaii, December 18-22. .

 Hill, R., R. Peterman and F.A.P.C. Gobas. 1995. Using Risk Assessment to make Decisions:
 Application to Pulp Mill Effluents. 2nd World Congress of the Society of Environmental
 Toxicology and Chemistry, Denver, Colorado, November 5-9.

 Morison, H., R. Lazar,, G.D. Haffner, D.M. Whittle and F.A.P.C. Gobas. 1995. A Non-
 Equilibrium Model for Predicting Bioaccumulation of Organic Contaminants in Aquatic Food-
 Webs. 2nd World Congress of the Society of Environmental Toxicology and Chemistry, Denver,
 Colorado, November 5-9.

 Gobas, F.A.P.C. and X. Zhang. 1995. ECOFATE: A User-friendly Environmental Fate,
 Bioaccumulation and Ecological Risk Assessment Model. 2nd World Congress of the Society of
 Environmental Toxicology and Chemistry, Denver, Colorado, November 5-9.

 Gobas, F.A.P.C. C. Taylor and D. Maguire. 1995. Assessing Apriori the Probability that
 Monitoring Programs Achieve their Objectives. 2nd World Congress of the Society of
 Environmental Toxicology and Chemistry, Denver, Colorado, November 5-9. .



                                               74




                                                                                               000889
Case 2:15-cv-00201-SMJ       ECF No. 423     filed 01/29/20    PageID.24469 Page 173 of 314



 Wilcockson, J., F.A.P.C. Gobas and X. Zhang. 1995. Dietary Biomagnification and
 Bioavailability of Hexachlorobiphenyl in Rainbow Trout. 2nd World Congress of the Society of
 Environmental Toxicology and Chemistry, Denver, Colorado, November 5-9.

 Morison, H., R. Lazar, G.D. Haffner, D.M. Whittle and F.A.P.C. Gobas. 1995. Steady-state
 Model Describing Bioaccumulation of Organic Contaminants in Benthic Invertebrates. 2nd
 World Congress of the Society of Environmental Toxicology and Chemistry, Denver, Colorado,
 November 5-9.

 Gobas, F.A.P.C. and X. Zhang. 1994. Mechanisms and Simulation Models of Contaminant
 Bioconcentration and Biomagnification in Aquatic Food-Webs. 15th Annual Meeting of the
 Society of Environmental Toxicology and Chemistry, Denver, Colorado, October 30 to
 November 3. .

 Gobas, F.A.P.C. and M.N. Z'Graggen. 1994. Modelling and Monitoring of the Temporal
 Response of the Lake Ontario Ecosystem. 15th Annual Meeting of the Society of Environmental
 Toxicology and Chemistry, Denver, Colorado, October 30 to November 3. .

 Gobas, F.A.P.C. and M.N. Z'Graggen. 1994. Time Response of the Lake Ontario Ecosystem to
 Virtual Elimination of PCBs. 37th Conference of the International Association for Great Lakes
 Research, Windsor, Ontario, June 6-8.
 Gobas, F.A.P.C. 1994. Modelling Food-Chain Bioaccumulation. EPA Science Advisory Board
 Meeting. Washington D.C., April 28-29. .

 Gobas, F.A.P.C. and J.P. Pasternak. 1993. A Chemical Fate and Food-Chain Model for Organic
 chemical Emissions by Pulp Mills in the Fraser-Thompson River Basin: Implications for Effluent
 Regulations & Management. 14th Annual Meeting of the Society of Environmental Toxicology
 and Chemistry, Houston, Texas, November 14-18.

 Gobas, F.A.P.C., X. Zhang and R.J. Wells. 1992. Gastro-Intestinal Magnification: The
 Mechanism of Biomagnification and Food-chain Accumulation of Hydrophobic Organic
 Chemicals 14th Annual Meeting of the Society of Environmental Toxicology and Chemistry,
 Houston, Texas, November 14-18.

 Gobas, F.A.P.C. and J.P. Pasternak. 1993. Exposure Assessment of Organic Chemical Emissions
 by Pulp and Paper Mills in the Fraser-Thompson River Basin. Risk Characterization Workshop,
 Hull, Quebec, June 21-23. .

 Gobas, F.A.P.C. 1993. Modelling the Environmental Fate of Organic Chemical Emissions in the
 Fraser-Thompson River Basin. Northern River Basin Study Modelling Workshop, Edmonton,
 Alberta, April 19-21. .

 Gobas, F.A.P.C. 1993. A Food-Chain Accumulation Model for Organic Chemical Emissions.
 Northern River Basin Study Modelling Workshop, Edmonton, Alberta, April 19-21. .


                                               75




                                                                                                  000890
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20   PageID.24470 Page 174 of 314



 Gobas, F.A.P.C. 1992. Application of an Aquatic Food-Chain Model for Hydrophobic Organic
 Chemicals. 19th Annual Aquatic Toxicity Workshop, Environment Canada, Edmonton, Alberta,
 October 5-7.

 Gobas, F.A.P.C. and X. Zhang. 1992. Interactions of Organic Chemicals with Organic Matter in
 the Aquatic Environment. Society of Environmental Toxicology and Chemistry. Pelston MI,
 August 17-22.

 Gobas, F.A.P.C. 1991. Uptake of Organic Chemicals in Aquatic Organisms. 6th Colloquium on
 Pulp & Paper Mill Effluents. Pulp & Paper Centre, University of Toronto, November 10-11.

 Gobas, F.A.P.C., R.W. Russell and G.D. Haffner. 1991. Bioavailability and Bioconcentration of
 Superhydrophobic Organochlorines under Laboratory and Field Conditions. 12th Annual
 Meeting of the Society of Environmental Toxicology and Chemistry, Seattle, Washington,
 November 3-7.

 Gobas, F.A.P.C. 1990. The Role of Molecular Properties and Descriptors in Quantitative
 Structure-Activity Relationships. 4th International Workshop on QSAR in Environmental
 Toxicology, Veldhoven, the Netherlands, September 16-20, 1990.

 Gobas, F.A.P.C. and R.W. Russell. 1990. Biovailability of Hydrophobic Organic Chemicals in
 Fish. 12th Conference of the European Society of Comparative Physiology and Biochemistry,
 Utrecht, the Netherlands, August 27-31, 1990.

 Gobas, F.A.P.C., E.J. McNeil, L. Lovett-Doust and G.D. Haffner. 1990. Bioconcentration of
 Chlorinated Aromatic Hydrocarbons in Aquatic Macrophytes. 33rd Conference of the
 International Association for Great Lakes Research, Windsor, Ontario, May 13-17.

 Bedard, D.C. and F.A.P.C. Gobas. 1990. Ecotoxicological Studies of the Burrowing Mayfly,
 Hexagenia, Exposed to Contaminated Sediments. 33rd Conference of the International
 Association for Great Lakes Research, Windsor, Ontario, May 13-17.

 Gobas, F.A.P.C. 1990. A Thermodynamic Analysis of the Relationship between Molecular
 Properties & Descriptors and Environmental Behaviour of Organic Substances in Aquatic
 Systems. 33rd Conference of the International Association for Great Lakes Research, Windsor,
 Ontario, May 13-17.

 Gobas, F.A.P.C., E.J. McNeil, L. Lovett-Doust and G.D. Haffner. 1990. Bioconcentration and
 Toxicity of Chlorinated Aromatic Hydrocarbons in Aquatic Macrophytes. American Society for
 Testing Materials, San Francisco, April 23-24.

 Gobas, F.A.P.C., J.A. McCorquodale and G.D. Haffner. 1989. Organic Contaminants in Food
 Webs: Mechanisms, Models and Management. Tenth Technology Transfer Conference, Ontario
 Ministry of the Environment, Toronto, Ontario. November 20-21.


                                              76




                                                                                                 000891
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20   PageID.24471 Page 175 of 314



 Gobas, F.A.P.C. 1989. Bioaccumulation and Toxic Effects of Organochlorines in Fish under
 Laboratory and Field Conditions. Tenth Annual Meeting of the Society of Environmental
 Toxicology and Chemistry, Toronto, Ontario. October 28-November 2.

 Gobas, F.A.P.C., R.W. Russell and G.D. Haffner. 1989. Modelling Organic Chemical
 Bioaccumulation in the field. Tenth Annual Meeting of the Society of Environmental Toxicology
 and Chemistry, Toronto, Ontario. October 28-November 2, 1989.

 Gobas, F.A.P.C. and W.Y. Shiu. 1989. A Thermodynamic Analysis of the Aqueous Solubility
 and Phase Partitioning of Hydrophobic Chemicals. Tenth Annual Meeting of the Society of
 Environmental Toxicology and Chemistry, Toronto, Ontario, October 28-November 2.

 Gobas, F.A.P.C. 1989. A Model for Exposure and Toxicological Impact Assessment of Aromatic
 Hydrocarbon Spills in the Aquatic Environment. Twelfth Annual Arctic Marine Oil Spill
 Program Technical Seminar (1989). Minister of supplies and Services Canada, Environment
 Canada, June 7-9, Calgary, Alberta.

 Gobas, F.A.P.C., R.W. Russell and G.D. Haffner. 1989. Bioaccumulation : A Property of
 Chemical Structure. 32nd Annual Meeting of the International Association of Great Lakes
 Research, University of Wisconsin, May 30-June 2, 1989, Madison, Wisconsin.

 Gobas, F.A.P.C. 1988. Toxicokinetics of Organic Chemicals in Aquatic Organisms. 15th Annual
 Aquatic Toxicity Workshop, Environment Canada, November 29-30, 1988, Montreal, Quebec.

 Gobas, F.A.P.C., R.W. Russell and G.D. Haffner. 1988. Biomonitoring : Chemical Dependent
 Quantitative Relationships for the Body Burdens of Organic Chemicals in Aquatic Biomonitors.
 Ninth Technology Transfer Conference, Ontario Ministry of the Environment, November 28-29,
 1988, Toronto, Ontario

 Gobas, F.A.P.C. 1988. Relationship Between Physical-Chemical Predictors and Bioaccumulation
 in Fish. Ninth Annual Meeting of the Society of Environmental Toxicology and Chemistry,
 November 13-17, 1988, Washington DC, U.S.A.

 Gobas, F.A.P.C. 1988. Chemical Dependent Quantitative Relationships for the Body Burden of
 Organic Chemicals in Aquatic Biomonitors. Ninth Annual Meeting of the Society of
 Environmental Toxicology and Chemistry, November 13-17, 1988, Washington DC, U.S.A.

 Gobas, F.A.P.C., K.E. Clark, W.Y. Shiu and D. Mackay. 1987. Bioaccumulation of Super-
 Hydrophobic Chemicals in Fish. Eighth Annual Meeting of the Society of Environmental
 Toxicology and Chemistry, November 9-12, 1987, Pensacola, U.S.A. WON AN AWARD FOR
 BEST STUDENT PRESENTATION

 Gobas, F.A.P.C. and Mackay, D. 1987. Factors determining the Uptake and Food-Chain Transfer
 of Hydrophobic Organic Chemicals in Fish. Food-Chain Accumulation Workshop, Ontario
 Ministry of the Environment, July 1987, King City, Ontario.

                                              77




                                                                                                 000892
Case 2:15-cv-00201-SMJ      ECF No. 423      filed 01/29/20   PageID.24472 Page 176 of 314




 Gobas, F.A.P.C., W.Y. Shiu and D. Mackay. 1986. Physical-Chemical Predictors for Organic
 Chemical Bioaccumulation in Fish. Seventh Annual Meeting of the Society of Environmental
 Toxicology and Chemistry, November 8-11, 1986, Washington D.C., U.S.A.

 Gobas, F.A.P.C., Shiu, W.Y. and Mackay, D. 1986. Factors determining Partitioning of
 Hydrophobic Organic Chemicals in Aquatic Organisms. The 2nd International Conference on
 QSAR in Environmental Toxicology, June 9-13, 1986, Hamilton, Ontario.

 Gobas, F.A.P.C. and D. Mackay. 1985. Dynamics of Hydrophobic Organic Chemical
 Bioconcentration in Fish. The 6th Annual Meeting of the Society of Environmental Toxicology
 and Chemistry, November 3-6, 1985, St. Louis, U.S.A.

 Gobas, F.A.P.C., Shiu, W.Y., Mackay, D. and Opperhuizen, A. 1985. Bioaccumulation of
 PCDDs and OCDF in Fish after Aqueous and Dietary Exposure. The 5th International
 Symposium on Chlorinated Dioxins and Related Compounds, September, 16-19, 1985,
 Bayreuth, West-Germany.

 Gobas, F.A.P.C. and D. Mackay. 1984. Bioaccumulation of Organic Chemicals in Fish. The 5th
 Annual Meeting of the Society of Environmental Toxicology and Chemistry, November 2-5,
 1984, Washington D.C., U.S.A.

 Gobas, F.A.P.C. and D. Mackay. 1985. Progress towards Understanding the Phenomena of
 Hydrocarbon Bioaccumulation. The 8th Arctic Marine Oilspill Program. June 18-20, 1985,
 Edmonton, Alberta, Canada.

                                         WEBINARS

 Gobas F.A.P.C. 2018. Use & Interpretation Of Dietary Bioaccumulation Tests For Hydrophobic
 Chemicals. US Food & Drug Agency. November 26, 2018.

 Gobas, F.A.P.C., J. Arnot. 2015. Development of a Trophic Magnification Model: Evaluations
 with Field Data for Persistent and Non-Persistent Organic Chemicals in Aquatic Food Webs.
 March 11, 2017. Organized by HESI (Human and Environmental Sciences Institute). 66
 attendants.

 Gobas, F.A.P.C. 2012. Towards Developing Ecologically Relevant Sediment Quality Criteria.
 Webinar, BC Ministry of the Environment, Lands and Parks. February 15, 2012.




                                              78




                                                                                               000893
Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24473 Page 177 of 314




 ATTACHMENT B: LIST OF REFERENCES




                                                                                       000894
Case 2:15-cv-00201-SMJ          ECF No. 423         filed 01/29/20     PageID.24474 Page 178 of 314




 Anchor Environmental LLC (2005). Draft Final Focused Remedial Investigation Report Upriver Dam PCB
    Sediments Site. Seattle, WA.
 Arnot, J. and F. Gobas (2004). "A food web bioaccumulation model for organic chemicals in aquatic
    ecosystems." Environmental Toxicology and Chemistry 23(10): 2343-2355.
 Arnot, J. and F. Gobas (2006). "A review of bioconcentration factor (BCF) and bioaccumulation factor
    (BAF) assessments for organic chemicals in aquatic organisms." Environmental Reviews 14: 257-297.
 Arnot, J. A. and C. L. Quinn (2015). "Development and evaluation of a database of dietary
    bioaccumulation test data for organic chemicals in fish." Environmental Science & Technology 49(8):
    4783-4796.
 ATSDR (2000). Toxicological Profile For Polychlorinated Biphenyls (PCBs). P. H. S. U.S. Department of
    Health And Human Services. Atlanta, Georgia.
 Avista Corporation (2006). Draft Environmental Impact Statement for Hydropower Relicensing. A.
     Corporation. Spokane, WA, USA, Federal Energy Regulatory Commission.
 Batts, D. and A. Johnson (1995). Bioassays of Spokane River Sediments (Final). Washington State
     Department of Ecology: 6.
 Beckwith, M. A. (2003). Summary of Surface-Water-Quality Data Collected for the Northern Rockies
    Intermontane Basins National Water-Quality Assessment Program in the Clark Fork-Pend Oreille and
    Spokane River Basins, Montana, Idaho, and Washington, Water Years 1999-2001. U.S. Department
    of the Interior and U.S. Geological Survey. Boise, ID, U.S. Geological Survey.
 Borgias, A. and T. Hamlin (2017). Quality Assurance Project Plan: Spokane River Urban Waters
    Investigation of PCBs in Soils and Stormwater Associated with Demolition Activities. Washington
    State Department of Ecology. Spokane, WA: 73.
 Bradford, M. J. H., J. (2004). Review of northern pikeminnow (Ptychocheilus oregonensis) control
     programs in western North America with special reference to sockeye salmon (Oncorhynchus nerka)
     production in Cultus Lake, British Columbia. F. a. O. Canada. Cultus Lake Salmon Research
     Laboratory 4222 Columbia Valley Highway Cultus Lake, B.C. V2R 5B6, Fisheries and Oceans Canada.
 British Columbia Ministry of Fisheries (2018). B.C. Fish Facts Rainbow Trout, B.C. Ministry of Fisheries.
 Brown, J. F. (1994). "Determination of PCB Metabolic, Excretion, and Accumulation Rates for Use as
    Indicators of Biological Response and Relative Risk." Environ Sci Technol 28(13): 2295-2305.
 Brown, R., Bradford, and Pollard (2009c). A Biological Synopsis of Yellow Perch (Perca flavescens). F. a.
    O. Canada. Pacific Biological Station, 3190 Hammond Bay Road, Nanaimo, British Columbia, V9T
    6N7, Fisheries and Oceans Canada.
 Brown, R., Pollard, Grant (2009b). Biological Synopsis of Largemouth Bass (Micropterus salmoides). F. a.
    O. Canada. Pacific Biological Station, 3190 Hammond Bay Road, Nanaimo, B.C. V9T 6N7 CANADA,
    Fisheries and Oceans Canada.
 Brown, R., Pollard, Grant, Bradford (2009a). Biological Synopsis of Smallmouth Bass
 (Micropterus dolomieu). F. a. O. Canada. Pacific Biological Station
 3190 Hammond Bay Road
 Nanaimo, B.C. V9T 6N7 CANADA, Fisheries and Oceans Canada




                                                                                                             000895
Case 2:15-cv-00201-SMJ              ECF No. 423   filed 01/29/20    PageID.24475 Page 179 of 314




 COS and RPWRF, (City of Spokane and Riverside Park Water Reclamation Facility) (2017). Toxics
    Management Plan.
 Davis, D. (1994). 1994 Spokane River Survey - Fish Tissue and Sediment Sampling Plan. Surface Water
    Unit - Washington State Department of Ecology. WA.
 Davis, D., A. Johnson and D. Serdar (1995). Washington State Pesticide Monitoring Program: 1993 Fish
    Tissue Sampling Report. Olympia, WA, Washington State Department of Ecology.
 Davis, D. and D. Serdar (1994). Results of 1993 screening survey on PCBs and Metals in the Spokane
    River (with corrections). Washington State Department of Ecology. Olympia, WA.
 DFO. (2018). "Common Carp." from https://www.dfo-mpo.gc.ca/species-especes/profiles-
    profils/commoncarp-carpecommune-eng.html.
 Dilks, D. (2016a). Memorandum: Sources and Pathways of PCBs in the Spokane River Watershed. To:
     Spokane River Regional Toxics Task Force. Ann Arbor, MI, LimnoTech.
 Dilks, D. (2016c). Memorandum: DRAFT: Magnitude of Source Areas and Pathways of PCBs in the
     Spokane River Watershed. To: Spokane River Regional Toxics Task Force. Ann Arbor, MI, LimnoTech.
 Dilks, D. (2019). Expert Report.
 Dilks, D. and J. Helfand (2017). Memorandum: REVIEW DRAFT: Homolog-Specific PCB Mass Balance for
     the Spokane River. To: Spokane River Regional Toxics Task Force. Ann Arbor, MI, LimnoTech.
 Ecology, (Washington State Department of Ecology) (1995). Department of Ecology 1993-94
     Investigation of PCBs in the Spokane River. Washington State Department of Ecology. Olympia, WA.
 Ecology, (Washington State Department of Ecology) (2005). Draft Cleanup Action Plan Spokane River
     Upriver Dam PCB Site Spokane, WA. Washington State Department of Ecology.
 Ecology, (Washington State Department of Ecology) (2010). Kaiser Trentwood Site Update. Toxics
     Cleanup Program. Spokane, WA.
 Ecology, (Washington State Department of Ecology) (2012). Spokane River PCB Source Assessment
     [SLIDES]. Spokane River PCB Workshop.
 Ecology, (Washington State Department of Ecology) (2012). Spokane River Toxics Reduction Strategy.
     Washington State Department of Ecology. Olympia, WA.
 Ecology, (Washington State Department of Ecology) (2015). Periodic Review: Spokane River Upriver Dam
     and Donkey Island PCB Sediment Site. Washington State Department of Ecology. Spokane, WA.
 Ecology, (Washington State Department of Ecology) (2017). Water Quality Standards for Surface Waters
     of the State of Washington: Chapter 173-201A WAC, Adopted August 1, 2016. Revised October
     2017. Watershed Management Section, Washington State Department of Ecology. Olympia, WA.
 Eigenmann, E. (1893). "Catostomus columbianus, Bridgelip sucker." Retrieved 12 July, 2019, from
     https://www.fishbase.de/summary/Catostomus-columbianus.html.
 Era-Miller, B. (2014a). Technical Memo: Spokane River Toxics Sampling 2012-2013- Surface Water,
     CLAM, and Sediment Trap Results. Washington State Department of Ecology.
 Era-Miller, B. (2015a). Lake Spokane: PCBs in Carp. Washington State Department of Ecology. Olympia,
     WA.




                                                                                                        000896
Case 2:15-cv-00201-SMJ          ECF No. 423       filed 01/29/20      PageID.24476 Page 180 of 314




 Era-Miller, B. and M. McCall (2017). Spokane River PCBs and Other Toxics at the Spokane Tribal
     Boundary: Recommendations for Developing a Long-Term Monitoring Plan. Washington State
     Department of Ecology. Olympia, WA: 59.
 Erickson, M. D. (1997). Analytical Chemistry of PCBs. Boca Raton, CRC Press/Lewis Publishers.
 Fernandez, A. (2012). Spokane River Urban Waters Source Investigation and Data Analysis Progress
     Report (2009-2011): Source Tracing for PCB, PBDE, Dioxin/Furan, Lead, Cadmium, and Zinc.
     Washington State Department of Ecology. Olympia, WA.
 Golding, S. (2001). Spokane River PCB and Source Survey August 2000. Washington State Department of
    Ecology. Olympia, WA.
 Hart, J. L. (1973). Pacific Fishes of Canada. Ottawa, Ontario, Canada, Fisheries Research Board of Canada.
 Hobbs, W., M. McCall and B. Era-Miller (2019). Evaluation of Low-Level Field Sampling Methods for PCBs
    and PBDEs in Surface Waters. Washington State Department of Ecology. Olympia, WA: 70.
 Hopkins, B. (1991). Basic Water Monitoring Program Fish Tissue and Sediment Sampling for 1989.
    Washington State Department of Ecology. Olympia, WA.
 Hopkins, B., D. K. Clark, M. Schlender and M. Stinson (1985). Basic Water Monitoring Program Fish
    Tissue and Sediment Sampling for 1984. Washington State Department of Ecology. Olympia, WA.
 ISAB (2011). Columbia River Food Webs: Developing a Broader Scientific Foundation for Fish and Wildlife
     Restoration. I. S. A. Board. Portland, OR, USA, Independent Scientific Advisory Board.
 Jack, R., A. Johnson, S. Golding and D. Serdar (2003). Quality Assurance Project Plan: Total Maximum
     Daily Load Study for PCBs in the Spokane River. Washington State Department of Ecology. Olympia,
     WA.
 Jack, R. and M. Roose (2002). Analysis of Fish Tissue from Long Lake (Spokane River) for PCBs and
     Selected Metals. Washington State Department of Ecology. Olympia, WA.
 Johnson, A. (1994a). PCB and Lead Results for 1994 Spokane River Fish Samples. Toxics Investigation
     Section - Washington State Department of Ecology. WA.
 Johnson, A. (1994b). Planar PCBs in Spokane River Fish. Toxics, Compliance, and Ground Water
     Investigations Section - Washington State Department of Ecology. WA.
 Johnson, A. (1997). 1996 Results on PCBs in Upper Spokane River Fish. Washington State Department of
     Ecology. WA.
 Johnson, A. (2000). Results from Analyzing PCBs in 1999 Spokane River Fish and Crayfish Samples.
     Washington State Department of Ecology. WA.
 Johnson, A. (2001). An Ecological Hazard Assessment for PCBs in the Spokane River. Washington State
     Department of Ecology. Olympia, WA.
 Johnson, A. and D. Norton (2001). Chemical Analysis and Toxicity Testing of Spokane River Sediments
     Collected in October 2000. Washington State Department of Ecology. Olympia, WA.
 Joy, J. (1984). Letter on data concerning PCBs in fish taken from the Spokane River by the U.S.
     Environmental Protection Agency and the Washington State Department of Ecology. Jeff Sher,
     Spokane Spokesman Review. Olympia, WA, Washington State Department of Ecology: 7.




                                                                                                              000897
Case 2:15-cv-00201-SMJ           ECF No. 423         filed 01/29/20       PageID.24477 Page 181 of 314




 Leber, B. (2019). Groundwater PCB Treatment Strategies. Spokane River Forum Conference 2019.
    Spokane, WA, Kaiser Aluminum,,.
 Lee, C. D. and L. C. King (2013). Middle Spokane River Baseline Fish Population Assessment, Final Report
     2012. Washington Department of Fish and Wildlife. Spokane Valley, WA, Prepared for: Avista
     Corporation.
 LimnoTech (2014). Quality Assurance Project Plan: Spokane River Toxics Reduction Strategy Study,
    Prepared for: Spokane River Regional Toxics Task Force.
 LimnoTech (2015). Spokane River Regional Toxics Task Force Phase 2 Technical Activities Report:
    Identification of Potential Unmonitored Dry Weather Sources of PCBs to the Spokane River. Ann
    Arbor, MI, Prepared for: Spokane River Regional Toxics Task Force.
 LimnoTech (2016). Draft: Spokane River Regional Toxics Task Force 2015 Technical Activities Report:
    Continued Identification of Potential Unmonitored Dry Weather Sources of PCBs to the Spokane
    River. Ann Arbor, MI, Prepared for: Spokane River Regional Toxics Task Force.
 LimnoTech (2016a). Comprehensive Plan to Reduce Polychlorinated Biphenyls (PCBs) in the Spokane
    River. Ann Arbor, MI, Prepared for: Spokane River Regional Toxics Task Force: 125.
 LimnoTech (2016b). Spokane River Regional Toxics Task Force 2015 Technical Activities Report:
    Continued Identification of Potential Unmonitored Dry Weather Sources of PCBs to the Spokane
    River. Ann Arbor, MI, Prepared for: Spokane River Regional Toxics Task Force.
 LimnoTech (2017). Spokane River Regional Toxics Task Force 2016 Monthly Monitoring Report. Ann
    Arbor, MI, Prepared for: Spokane River Regional Toxics Task Force.
 LimnoTech (2019). Spokane River Regional Toxics Task Force 2018 Technical Activities Report: Continued
    Identification of Potential Unmonitored Dry Weather Sources of PCBs to the Spokane River. Ann
    Arbor, MI, Prepared for: Spokane River Regional Toxics Task Force: 46.
 Louis Berger US, Inc. (2019). Appendix 5 PCB Aroclors Data Treatment: Final Second Five-Year Review
     Report for the Hudson River PCBs Superfund Site: 111.
 MacInnis, J. D., Jr., Lackaff, B.B., Boese, R.M., Stevens, G., King, S., Lindsay, R.C., (2009). The Spokane
    Valley-Rathdrum Prairie Aquifer Atlas. C. o. Spokane. Spokane, WA, USA, City of Spokane.
 Mackintosh, C. E., J. Maldonado, H. Jing, N. Hoover, A. Chong, M. Ikonomou and F. Gobas (2004).
    "Distribution of Phthalate Esters in a Marine Aquatic Food Web: Comparison to Polychlorinated
    Biphenyls." Environmental Science & Technology 38(7): 2011-2020.
 Mathieu, C. (2018). PBT Trends in Lake Sediment Cores: 2016 Results. Washington State Department of
    Ecology.
 Michael Baker International (2019). Expert Report.
 Moyle, P. B. (2002). Inland Fishes of California, University of California Press.
 Northwest Power and Conservation Council (2000). The Columbia River Basin Fish and Wildlife Program.
    N. P. a. C. Council, Northwest Power and Conservation Council.
 Northwest Power and Conservation Council. (2019). "Spokane River." Retrieved 15 June, 2019, from
    https://www.nwcouncil.org/reports/columbia-river-history/spokaneriver.
 NUS Corporation (1984). Feasibility Study Hudson River Pcbs Site New York, U. S. EPA. I.




                                                                                                               000898
Case 2:15-cv-00201-SMJ         ECF No. 423        filed 01/29/20     PageID.24478 Page 182 of 314




 Osborne, R. S., M. J. Divens and C. Baldwin (2003). 2001 Warmwater Fisheries Survey of Lake Spokane,
    Spokane and Stevens Counties, Washington. Washington Department of Fish and Wildlife, Fish
    Program. Olympia, WA, Washington Department of Fish and Wildlife.
 Parametrix (2004). Rainbow Trout Radio - Tracking Survey 2004 - Final Report.
 Parsons and Terragraphics Inc. (2007). Spokane River PCB TMDL Stormwater Loading Analysis Final
     Technical Report, Prepared for: U.S. Environmental Protection Agency – Region 10 and Washington
     State Department of Ecology.
 PGG (2019a). Spokane River PCB Project Database. Pacific Groundwater Group. Version 13 (April 4,
    2019).
 PGG (2019b). Spokane River PCB Project Database. Pacific Groundwater Group. Version 18 (June 11,
    2019).
 Plotnikoff, E. (1997). Using Invertebrates to Assess the Quality of Washington Streams and to Describe
     Biological Expectations. W. S. D. o. Ecology. Olympia, WA, USA.
 Russell, R. W., F. A. P. C. Gobas and G. D. Haffner (1999). "Maternal Transfer and in Ovo Exposure of
    Organochlorines in Oviparous Organisms: A Model and Field Verification." Environmental Science &
    Technology 33(3): 416-420.
 Sandvik, P. (2009). Washington State Toxics Monitoring Program: Trends Monitoring for Chlorinated
    Pesticides, PCBs, and PBDEs in Washington Rivers and Lakes, 2007. Washington State Department of
    Ecology. Olympia, WA: 105.
 Sandvik, P. (2010). Washington State Toxics Monitoring Program: Trend Monitoring for Chlorinated
    Pesticides, PCBs, PAHs, and PBDEs in Washington Rivers and Lakes, 2008. Washington State
    Department of Ecology. Olympia, WA.
 Sandvik, P. and K. Seiders (2011). Washington State Toxics Monitoring Program: Monitoring with SPMDs
    for PBTs in Washington Waters in 2009. Washington State Department of Ecology. Olympia, WA.
 Sandvik, P. and K. Seiders (2012). Washington State Toxics Monitoring Program: Evaluation of SPMDs for
    Trend Monitoring of PBTs in Washington Waters, 2010-2011. Washington State Department of
    Ecology. Olympia, WA: 95 + technical appendices (Excel files).
 Seiders, K., C. Deligeannis and K. Kinney (2006). Washington State Toxics Monitoring Program Toxic
     Contaminants in Fish Tissue and Surface Water in Freshwater Environments, 2003. Washington
     State Department of Ecology. Olympia, WA.
 Seiders, K., C. Deligeannis and P. Sandvik (2007). Washington State Toxics Monitoring Program:
     Contaminants in Fish Tissue from Freshwater Environments in 2004 and 2005. Washington State
     Department of Ecology. Olympia, WA.
 Seiders, K., C. Deligeannis, P. Sandvik and M. McCall (2014). Freshwater Fish Contaminant Monitoring
     Program: 2012 Results. Washington State Department of Ecology. Olympia, WA: 29.
 Seiders, K. and K. Kinney (2004). Washington State Toxics Monitoring Program Toxic Contaminants in
     Fish Tissue and Surface Water in Freshwater Environments, 2002. Washington State Department of
     Ecology. Olympia, WA.
 Serdar, D. and A. Johnson (2006). PCBs, PBDEs, and Selected Metals in Spokane River Fish, 2005.
     Washington State Department of Ecology. Olympia, WA.




                                                                                                          000899
Case 2:15-cv-00201-SMJ           ECF No. 423        filed 01/29/20      PageID.24479 Page 183 of 314




 Serdar, D., A. Johnson and D. Davis (1994). Survey of Chemical Contaminants in Ten Washington Lakes.
     Environmental Investigations and Laboratory Services Program. Olympia, WA, Washington State
     Department of Ecology.
 Serdar, D., B. Lubliner, A. Johnson and D. Norton (2011). Spokane River PCB Source Assessment 2003-
     2007. Washington State Department of Ecology. Olympia, WA.
 Small, M. P., J. G. McLellan, J. Loxterman, J. Von Bargen, A. Frye and C. Bowman (2007). "Fine-Scale
    Population Structure of Rainbow Trout in the Spokane River Drainage in Relation to Hatchery
    Stocking and Barriers." Transactions of the American Fisheries Society 136(2): 301-317.
 Sofaer, A. D. (1976). Interim Opinion and Order: File No. 2833, in the Matter of Alleged Violations of
     Sections 17-0501, 17-0511 and 11-0503 of the Environmental Conservation Law of the State of New
     York by General Electric Company, Respondent.
 Starnes. (2019). "Prosopium williamsoni." Retrieved June 7, 2019, from
     https://www.itis.gov/servlet/SingleRpt/SingleRpt?search_topic=TSN&search_value=162009#null.
 Thomann, R. V., J. P. Connolly and T. F. Parkerton (1992a). Modeling accumulation of organic chemicals
    in aquatic food webs. Chemical Dynamics in Fresh Water Ecosystems. F. A. P. C. Gobas and J. A.
    McCorquodale. Chelsea, Ml, USA, Lewis Publishers: 153-186.
 Thomann, R. V., J. P. Connolly and T. F. Parkerton (1992b). "An equilibrium model of organic chemical
    accumulation in aquatic food webs with sediment interaction." Environmental Toxicology and
    Chemistry 11(5): 615-629.
 U.S. Fish and Wildlife Service (2011). Signal Crayfish (Pacifastacus leniusculus) - Ecological Risk Screening
     Summary. U. S. F. a. W. Service. USA.
 UNEP, U. N. E. P. (2001). Stockholm Convention on Persistent Organic Pollutants. U. N. E. P. UNEP.
    Stockholm, Sweden.
 United States Geological Survey. (2019). "NAS - Nonindigenous Aquatic Species." Retrieved 6 August
     2019, 2019.
 United States Geological Survey. (2019). "USGS National Water Information System." Retrieved 4 July
     2019, 2019, from https://waterdata.usgs.gov/nwis/uv?site_no=12422500.
 Walters, D. M., T. D. Jardine, B. S. Cade, K. A. Kidd, D. C. Muir and P. Leipzig-Scott (2016). "Trophic
    Magnification of Organic Chemicals: A Global Synthesis." Environ Sci Technol 50(9): 4650-4658.
 Walters, D. M., M. A. Mills, B. S. Cade and L. P. Burkard (2011). "Trophic Magnification of PCBs and Its
    Relationship to the Octanol−Water Partition Coefficient." Environmental Science & Technology
    45(9): 3917-3924.
 Washington State Department of Ecology (1994). The Hangman (Latah) Creek Water Resources
    Management Plan. Washington State Department of Ecology, Washington State Department of
    Ecology,.
 WDOH, (Washington State Department of Health) (2011). Health Consultation: Potential Cumulative
   Health Effects Associated with Eating Spokane River Fish. Washington State Department of Health.
   Spokane, WA: 46.
 WDOH, (Washington State Department of Health). (2019). "Fish Consumption Advisories in Washington
   State Spokane River." Retrieved June 23, 2019, from
   https://www.doh.wa.gov/DataandStatisticalReports/HealthDataVisualization/fishadvisory.




                                                                                                                 000900
Case 2:15-cv-00201-SMJ          ECF No. 423       filed 01/29/20      PageID.24480 Page 184 of 314




 WDOH and SRHD, (Washington State Department of Health and Spokane Regional Health District)
   (2009). Spokane River Fish Advisory. Washington State Department of Health and Spokane Regional
   Health District.
 Williams, J. E., R. G. Guillermo and B. Withrow-Robinson (2014). Field Guide to Common Fish of the
     Willamette Valley Floodplain, Oregon State University.
 Wong, S. (2018). Evaluation of Fish Hatcheries as Sources of PCBs to the Spokane River. Washington
   State Department of Ecology. Olympia, WA.
 Wong, S. and B. Era-Miller (2019a). Final Validated Data - Spokane Biofilm Project.
 Wong, S. and B. Era-Miller (2019b). Using Biofilms to Identify Sources of PCBs to the Spokane River.
   Spokane River Forum Conference 2019. Washington State Department of Ecology. Spokane, WA.
 Wong, S. and B. Era-Miller (2019c). Quality Assurance Project Plan: Measuring PCBs in Biofilm, Sediment
   and Invertebrates in the Spokane River: Screening Study. Washington State Department of Ecology.
   Olympia, WA.




                                                                                                           000901
Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24481 Page 185 of 314




 ATTACHMENT C: SPOKANE RIVER PCB CONCENTRATION DATA
       ANALYSIS: TECHNICAL MEMORANDUM BY AZIMUTH




                                                                                       000902
Case 2:15-cv-00201-SMJ     ECF No. 423    filed 01/29/20   PageID.24482 Page 186 of 314




       Technical Memorandum

       Spokane River PCB Concentration Data Analysis



       Date: October 9, 2019




       Prepared for:
       Baron & Budd, P.C.
       Suite 1100, 3102 Oak Lawn Avenue
       Dallas, TX 75219-4281




       Prepared by:




       Azimuth Consulting Group Partnership
       218-2902 West Broadway
       Vancouver, BC V6K 2G8


       Project No. B&B-18-01


       PRIVILEGED & CONFIDENTIAL




                                                                                          000903
Case 2:15-cv-00201-SMJ                    ECF No. 423               filed 01/29/20             PageID.24483 Page 187 of 314

 Spokane River PCB Concentration Data Analysis                                                                                  October 2019




                                                 TABLE OF CONTENTS
 TABLE OF CONTENTS................................................................................................................ II
 LIST OF FIGURES .................................................................................................................... III
 LIST OF TABLES ........................................................................................................................ IV
 LIST OF APPENDICES ............................................................................................................... IV
 USE & LIMITATIONS OF THIS MEMORANDUM ......................................................................... V
 ACRONYM LIST......................................................................................................................... VI
 APPENDIX A MAP INDEX ..........................................................................................................51
 APPENDIX A FIGURES INDEX ..................................................................................................51
 APPENDIX A ELECTRONIC DATA TABLES INDEX .....................................................................56


 1. OVERVIEW .............................................................................................................................1
 2. SOURCE DATABASE ...............................................................................................................2
   2.1. Description......................................................................................................................2
   2.2. PCB Parameters ..............................................................................................................4
     2.2.1. Summation of Total PCBs (tPCBs) ..................................................................................... 4
     2.2.2. 3x Blank Censored tPCBs for Surface Water ....................................................................... 6
   2.3. Review of Database ........................................................................................................7
     2.3.1.    General .......................................................................................................................... 7
     2.3.2.    Fish Tissue and Biofilm..................................................................................................... 8
     2.3.3.    Sediment ........................................................................................................................ 8
     2.3.4.    Suspended Sediment ..................................................................................................... 10
     2.3.5.    Surface Water ............................................................................................................... 10
 3. DATASET PREPARATION .....................................................................................................12
   3.1. Initial Preparation ........................................................................................................12
   3.2. Selecting Datasets ........................................................................................................13
   3.3. Dataset Clean-up ..........................................................................................................18
   3.4. Identifier Fields for Grouping Data ..............................................................................22
   3.5. QAQC .............................................................................................................................24
 4. CALCULATIONS & ANALYSIS ...............................................................................................25
   4.1. Detection Limit Treatments ..........................................................................................25
   4.2. tPCB Data Analysis .......................................................................................................27
     4.2.1. General ........................................................................................................................ 27
     4.2.2. Tissue-specific ............................................................................................................... 29


                                                                                                                                                 ii

                                                 PRIVILEGED AND CONFIDENTIAL



                                                                                                                                                      000904
Case 2:15-cv-00201-SMJ                    ECF No. 423              filed 01/29/20             PageID.24484 Page 188 of 314

 Spokane River PCB Concentration Data Analysis                                                                                October 2019




     4.2.3. Sediment and Suspended Sediment-specific ..................................................................... 44
     4.2.4. Water-specific ............................................................................................................... 44
   4.3. Compilation of Measured Concentrations of PCBs in Media of the Spokane River ......44
   4.4. Predictions of PCB Concentrations in Water, Sediments and Fish ...............................44
   4.5. QAQC Review ................................................................................................................46
 5. REFERENCES ........................................................................................................................47



                                                     LIST OF FIGURES
 Figure 4-1: tPCB ratios for different detection limit treatments as a function of tPCB
                   concentration (limit zero, ng/kg wet weight). Top plot shows “half” ratio,
                   bottom plot shows “full” ratio. Aroclor data are shown in orange and congener
                   data are shown in teal. ........................................................................................26
 Figure 4-2: tPCB concentration by congener versus tPCB by Aroclor (logarithm base 10
                   transformed values, ng/kg wet weight, for all detection limit treatments). ......30
 Figure 4-3: Regression models of tPCB concentrations over time by river stretch and species
                   in fish from the Spokane River: Data set LimZero (log-10 tPCB, ng/kg ww). ....38
 Figure 4-4: Regression models of tPCB concentrations over time by river stretch and species
                   in fish from the Spokane River: Data set LimZero-Lipid (log-10 tPCB, ng/kg
                   lipid). ....................................................................................................................39
 Figure 4-5: Regression models of tPCB concentrations over time by river stretch and species
                   in fish from the Spokane River: Data set LimHalf (log-10 tPCB, ng/kg ww). .....40
 Figure 4-6: Regression models of tPCB concentrations over time by river stretch and species
                   in fish from the Spokane River: Data set LimHalf-Lipid (log-10 tPCB, ng/kg
                   lipid). ....................................................................................................................41
 Figure 4-7: Regression models of tPCB concentrations over time by river stretch and species
                   in fish from the Spokane River: Data set LimFull (log-10 tPCB, ng/kg ww). ......42
 Figure 4-8: Regression models of tPCB concentrations over time by river stretch and species
                   in fish from the Spokane River: Data set LimFull-Lipid (log-10 tPCB, ng/kg
                   lipid). ....................................................................................................................43




                                                                                                                                              iii

                                                PRIVILEGED AND CONFIDENTIAL



                                                                                                                                                    000905
Case 2:15-cv-00201-SMJ                ECF No. 423               filed 01/29/20            PageID.24485 Page 189 of 314

 Spokane River PCB Concentration Data Analysis                                                                            October 2019




                                                   LIST OF TABLES
 Table 2-1: Fields and descriptions contained in the Spokane River PCB project database
                Export Query file. ...................................................................................................3
 Table 2-2: Data qualifier flags§ contained in the database. .......................................................5
 Table 3-1: Tissue study IDs, years sampled, references included in the Spokane River fish,
                biofilm and invertebrate tissue dataset. Fish studies included in the baseline
                (2001-2005), intermediary (2012) or current (2014-2018) time period
                scenarios and those included in the temporal trend analysis “Y” are indicated. 15
 Table 3-2: Sediment study IDs, years sampled and references included in the Spokane River
                bedded sediment dataset. Sediment studies included in the baseline (2003-
                2004) or current (2013-2018) time period scenarios are indicated in the table.16
 Table 3-3: Suspended sediment study IDs, years sampled and references included in the
                Spokane River suspended sediment dataset. ......................................................17
 Table 3-4: Surface water study IDs, years sampled and references included in the Spokane
                River surface water dataset. Surface water studies included in the baseline
                (2000-2003) or current (2016-2018) time period scenarios are indicated in the
                table. ....................................................................................................................17
 Table 3-5: Tissue type categories for the biota tissue dataset. ...............................................20
 Table 3-6: River stretch categories used for data analysis......................................................22
 Table 3-7: Species names and classifiers used for the biota tissue dataset. ...........................23
 Table 4-1: tPCB congener versus tPCB Aroclor (LOG(10) tPCB; ng/kg wet weight) regression
                coefficients and statistics ....................................................................................31
 Table 4-2: Example calculation for lipid normalization. ..........................................................31
 Table 4-3: 2012 versus 2005 ANOVA of tPCB concentrations in fish from the Spokane River.34
 Table 4-4: Linear regression analysis for temporal trends over time in tPCB concentrations in
                fish from the Spokane River. ...............................................................................37
 Table 4-5: Example calculation for organic carbon normalization. .........................................44



                                             LIST OF APPENDICES
 Appendix A: Maps, Figures, and Tables showing PCB Concentration Data (Includes Electronic
 Files)




                                                                                                                                          iv

                                             PRIVILEGED AND CONFIDENTIAL



                                                                                                                                                000906
Case 2:15-cv-00201-SMJ           ECF No. 423         filed 01/29/20       PageID.24486 Page 190 of 314

 Spokane River PCB Concentration Data Analysis                                                  October 2019




                  USE & LIMITATIONS OF THIS MEMORANDUM
 This technical memorandum has been prepared by Azimuth Consulting Group Partnership (“Azimuth”) for
 the use of Baron & Budd, P.C. (Baron & Budd P.C.; the “Client”) and Expert(s) retained by the Client, in
 particular Dr. Frank Gobas. The Client and Expert(s) have been party to the development of the scope of
 work for the subject project and understand its limitations.

 The Client agrees, by accepting this memorandum, that in providing this memorandum and performing
 the services in preparation of this memorandum Azimuth accepts no responsibility in respect of the
 Spokane River study area described in this memorandum or for any business or legal decisions made by
 the Client in reliance on this memorandum.

 This memorandum is intended to document the methods used by Azimuth to summarize and analyze
 data on polychlorinated biphenyl (PCB) concentrations in environmental media from the Spokane River.
 Summary tables, figures and maps are provided as an electronic appendix to this memorandum for the
 use of the Client and Experts. Basic data interpretation is provided; conclusions and recommendations
 with respect to PCBs in the Spokane River are not contained herein.

 Any use of, reliance on, or decision made by a third party based on this memorandum (other than Baron
 & Budd and its experts engaged for the purposes of the Action related to Baron & Budd’s representation
 of entities with regards to PCB contamination in the Spokane River), or the services performed by
 Azimuth in preparation of this memorandum is expressly prohibited, without prior written authorization
 from Azimuth. Without such prior written authorization, Azimuth accepts no liability or responsibility for
 any loss, damage, or liability of any kind that may be suffered or incurred by any third party as a result of
 that third party’s use of, reliance on, or any decision made based on this memorandum or the services
 performed by Azimuth in preparation of this memorandum.

 The information contained in this memorandum is based, in part, upon information provided by others
 (i.e., a project database provided by other parties retained by Baron & Budd). While Azimuth has
 reviewed some of the data contained in the database for accuracy, in preparing this memorandum,
 Azimuth has assumed that the data or other information provided by others is factual and accurate. If
 any of the information is inaccurate, conditions of the study area change, new information is discovered,
 and/or unexpected conditions are encountered in future work, then modifications by Azimuth to the
 information reported in this memorandum may be necessary.

 This memorandum is time-sensitive and pertains to a specific study area, project and scope of work. It is
 not applicable to any other study areas, other than that to which it specifically refers.

 This memorandum is subject to copyright. Reproduction or publication of this memorandum, in whole or
 in part, without Client prior written authorization, is not permitted.




                                                                                                              v

                                       PRIVILEGED AND CONFIDENTIAL



                                                                                                                  000907
Case 2:15-cv-00201-SMJ            ECF No. 423    filed 01/29/20   PageID.24487 Page 191 of 314

 Spokane River PCB Concentration Data Analysis                                    October 2019




                                           ACRONYM LIST


 DOC – Dissolved organic carbon

 Ecology – Washington State’s Department of Ecology

 EIM – Ecology’s Environmental Information Management System database

 FOIA – Freedom of Information Act

 LSS – Largescale Sucker

 MWF – Mountain Whitefish

 PARIS – Washington State’s Permitting and Reporting Information System

 PCB – Polychlorinated biphenyl

 PGG – Pacific Groundwater Group

 RBT – Rainbow Trout

 RM – River Mile

 SRRTTF – Spokane River Regional Toxics Task Force

 tPCB – Total polychlorinated biphenyl

 TDS – Total dissolved solids

 TOC – Total organic carbon

 tPCBs – Total polychlorinated biphenyls

 TS – Total solids

 TSS – Total suspended solids

 QAQC – Quality assurance/quality control




                                                                                            vi

                                     PRIVILEGED AND CONFIDENTIAL



                                                                                                 000908
Case 2:15-cv-00201-SMJ            ECF No. 423       filed 01/29/20      PageID.24488 Page 192 of 314

 Spokane River PCB Concentration Data Analysis                                                  October 2019



 1. OVERVIEW
 This memorandum documents the methods used to summarize and analyze Spokane River data on
 polychlorinated biphenyl (PCB) concentrations in aquatic receptors, including fish and crayfish (“fish”),
 biofilm/periphyton and invertebrates, as well as in sediments, suspended sediments and surface water.

 A project database was received from Baron & Budd P.C. (“Baron & Budd”; the “Client”) and served as
 the basis for this data summary and analysis. The data analysis was supported by a literature review,
 which focused on publications by the Washington State Department of Ecology (“Ecology”), LimnoTech
 for the Spokane River Regional Toxics Task Force (SRRTTF), the City of Spokane, as well as other
 relevant documents and information. The literature review was used to identify original reports relevant
 to the Spokane River PCB data analysis.

 Steps involved in the analysis included data clean-up and filtering, data treatment and transformations,
 calculations and analysis, including preparation of summary tables, figures and maps, and quality
 assurance/quality control (QAQC) review. These steps are described in more detail in the following
 sections of this memorandum:

     1. Overview

     2. Source Database

     3. Dataset Preparation

     4. Calculations & Analysis

     5. References

 This memorandum specifically supports the bioaccumulation model Expert Report by Dr. Frank Gobas.
 Various analyses were completed at the request of the Expert and were provided as options for use in the
 Expert Report. Summaries of the data (tables, select figures and maps) using various approaches are
 provided in Appendix A (electronic file) of this memorandum.




                                                                                                             1

                                      PRIVILEGED AND CONFIDENTIAL



                                                                                                                 000909
Case 2:15-cv-00201-SMJ            ECF No. 423         filed 01/29/20      PageID.24489 Page 193 of 314

 Spokane River PCB Concentration Data Analysis                                                    October 2019



 2. SOURCE DATABASE

    2.1.      Description
 A database containing PCB concentration data in various media collected from the Spokane River (e.g.,
 surface water, effluent, sediment, suspended sediment and biota tissues) was received from Baron &
 Budd for the project. The database was prepared by Baron & Budd’s consultants, Pacific Groundwater
 Group (PGG). Original data were imported into the project database from various sources, including:

          Washington State’s Department of Ecology (Ecology) Environmental Information Management
           System (EIM) database;

          City of Spokane database;

          Washington State’s Permitting and Reporting Information System (PARIS) database;

          Freedom of Information Act (FOIA) requests;

          Direct imports of data files from various sources, including: City of Spokane data, SRRTTF data,
           and data entered from original reports.

 Two versions of the database were used for the analysis:

          Version 13 (April 04, 2019) was complete for fish tissue data and suspended sediments and used
           for final analysis of these datasets (PGG 2019a).

          Version 18 (June 11, 2019) contained updates to the surface water dataset and newly-released
           2018 Ecology data (Wong and Era-Miller 2019a, Wong and Era-Miller 2019b, Wong and Era-Miller
           2019c). This version was used for final analysis of biofilm, invertebrate, sediment, and surface
           water data (PGG 2019b).

 The database was delivered in two file formats:

          Microsoft Access® – The Access database contained PCB concentration data imported into several
           tables with various fields of information (e.g., study and location information). Data tables in
           Access were reviewed as needed, but were not directly used in the analysis.

          Export Query – Selected fields were exported from Access into a comma-separated value (csv)
           file that was used directly in the data analysis. For version 18, Azimuth exported the Export
           Query directly from Access.

 A description of the fields contained in the Export Query is shown in Table 2-1 (modified from PGG).




                                                                                                              2

                                         PRIVILEGED AND CONFIDENTIAL



                                                                                                                  000910
Case 2:15-cv-00201-SMJ         ECF No. 423        filed 01/29/20      PageID.24490 Page 194 of 314

 Spokane River PCB Concentration Data Analysis                                                  October 2019



 Table 2-1: Fields and descriptions contained in the Spokane River PCB project database
                  Export Query file.

  Field                    Definition
  StudyID                  Department of Ecology (or other entity) study ID code
  txtStationID             Name of sample collection location
  Location                 Secondary location name/description
  River                    River sample was collected from;
                           used if sample was collected in or adjacent to a river
  RiverMile                River mile of location sample was collected from
  Latitude                 Location coordinates - latitude
  Longitude                Location coordinates - longitude
  txtSampleID              Name of sample, may be assigned by sampler or lab
  dtmSampleDate            Date sample collected on
  CollectionMethod         Method used for collecting sample
  UpperDepth               Upper depth of soil/sediment sample
  LowerDepth               Lower depth of soil/sediment sample
  DepthUnit                Depth unit of soil/sediment sample
  TaxonName                Scientific name of species or taxon (e.g., family) for tissue
                           samples
  CompositeFlag            Flagged "y" if sample is a composite of multiple samples (e.g.,
                           individual fish, multiple sediment grabs); "n" if not
  Data Source              Entity providing data (e.g., City of Spokane)
  ResultTaxonName          Taxon if broken out by result (not filled in)
  TissueType               Tissue type of fish analyzed for PCB or other parameter (e.g.,
                           whole organism; fillet, skin on)
  AnalysisMethod           Method of chemical analysis used by laboratory
  Matrix                   General media type (e.g., water, sediment, tissue)
  Sample Source            Sub-category of media type (e.g., cap sand, freshwater
                           sediment, effluent, groundwater)
  LabReplicateFlag         A replicate sample split in the laboratory
  SampleReplicateFlag      Separate samples collected as close as possible to the same
                           point in space and time as the originals. In the case of tissues,
                           is from the same fish/composite group as the original.
  FractionAnalyzed         Total or dissolved fraction for water samples
  QAFlag                   Flag for blank, duplicate, spike samples (generally not filled in)
  Result_Basis             Whether concentration is on a wet weight or dry weight basis
  Constituent              Analyte (e.g., PCB constituent or supporting measurement)
  dblLimit                 Detection limit
  Result                   Value (i.e., concentration)
  txtUnits                 Units of measure for result


                                                                                                          3

                                    PRIVILEGED AND CONFIDENTIAL



                                                                                                               000911
Case 2:15-cv-00201-SMJ                    ECF No. 423            filed 01/29/20           PageID.24491 Page 195 of 314

 Spokane River PCB Concentration Data Analysis                                                                         October 2019



     Field                           Definition
     txtQual                         Qualifier (e.g., identifies results that are "U" = less than
                                     detection limit or "J" = estimated)
     CountOfAnalyses                 Number of analytes in Project Summed Constituents (e.g.,
                                     number of congeners or Aroclors summed for total PCBs)
     CountOfNDs                      Number of non-detect values in Project Summed Constituents
     dblBlankResult                  Concentration of constituent in blank sample (water data and
                                     v13 only)
     txtResult>3xBlankFlag           "Yes" if PCB sample measurement is above the blank; "no" if
                                     not (water data and v13 only)
     txtBlankCensorNote              Note added by PGG regarding blank censoring (water data and
                                     v13 only)



       2.2.      PCB Parameters

 2.2.1. Summation of Total PCBs (tPCBs)
 PCBs consist of 209 closely related compounds, referred to as congeners, and were produced as
 commercial mixtures called Aroclors. PCB measured parameters provided in the database include
 individual PCB Aroclors and individual PCB congeners. As well, total PCB (tPCB) concentrations (CtPCB)
 were calculated in the database as the sum of all individual PCB Aroclors or PCB congeners/co-eluters
 (CPCB(n)) measured in a sample (Equation 1):

 Equation 1: Summation of individual PCB parameters for tPCB result, shown for PCB
                       congeners.
                                                                           209

                                                   𝐶𝑡𝑃𝐶𝐵 (𝑐𝑜𝑛𝑔𝑒𝑛𝑒𝑟𝑠) = ∑ 𝐶𝑃𝐶𝐵(𝑛)
                                                                           𝑛=1




 The number of PCB congeners or Aroclors measured in a sample can vary between studies. However,
 most analytical laboratories attempt to include all the PCB congeners in the analysis that contribute
 significantly to the total concentration of PCBs.

 Three approaches were used in the database to determine tPCBs. Each approach uses a different
 assumption for the concentration individual congeners or individual Aroclors that were measured below
 the analytical detection limit1 (also referred to as “non-detects”). PCB results that are less than the


 1
     The Access database has a “LimitType” field which identifies the type of detection limit reported. Some of the main categories of
 detection limits include (see EIM database reference material [Ecology, 2018]):




                                                                                                                                         4

                                                PRIVILEGED AND CONFIDENTIAL



                                                                                                                                             000912
Case 2:15-cv-00201-SMJ                  ECF No. 423    filed 01/29/20     PageID.24492 Page 196 of 314

 Spokane River PCB Concentration Data Analysis                                                       October 2019



 detection limit are denoted in the database with a “U” flag (including U variants such as U, UG, UJ, NUJ)
 in the field “txtQual”. Some of the key data qualifier flags are shown in Table 2-2, with a more complete
 list for the EIM database provided in EIM reference materials (Ecology 2018), as well as in original
 reports.



 Table 2-2: Data qualifier flags§ contained in the database.

  Flag          Definition

                “Blank detection” - Analyte detected in sample and method blank. Reported result is
  B
                sample concentration without blank correction or associated quantitation limit.

  E             “Exceeds” - The concentration exceeds the known calibration range.

                “Estimated” - The analyte was positively identified; the associated numerical value is the
  J
                approximate concentration of the analyte in the sample.

                “Tentative” - There is evidence the analyte is present in this sample; tentatively
  N
                identified analyte.

                “Tentative Estimate” - The analyte has been tentatively identified and the associated
  NJ
                numerical value represents its approximate concentration.

                “Undetected at Estimated Limit for Tentative Analyte” - There is evidence the analyte is
  NUJ           present in the sample. Tentatively identified analyte was not detected at or above the
                reported estimate.

                “Unusable” - The data are unusable for all purposes. Sample results for the analyte are
  REJ*          rejected due to serious deficiencies in the ability to analyze the sample and meet quality
                control criteria. The presence or absence of the analyte cannot be verified.




 • MRL - Method Reporting Limit

 • PQL - Practical Quantitation Limit

 • EQL - Estimated Quantitation Limit

 • LOQ - Limit of Quantitation

 • SQL - Sample Quantitation Limit




                                                                                                               5

                                           PRIVILEGED AND CONFIDENTIAL



                                                                                                                    000913
Case 2:15-cv-00201-SMJ                 ECF No. 423       filed 01/29/20       PageID.24493 Page 197 of 314

 Spokane River PCB Concentration Data Analysis                                                        October 2019



     Flag        Definition

                 “Undetected” - The analyte was not detected at or above the reported sample
     U
                 quantitation limit.

                 “Undetected at Estimated Limit” – The analyte was not detected at or above the
     UJ          reported sample quantitation limit. However, the reported quantitation limit is
                 approximate.

 Table 2-2 Notes:
 §
     References used include (Serdar and Johnson 2006, Era-Miller 2015b, Ecology 2018).

 *There were no REJ flags in tissue or sediment datasets, but there were a small number of these flags in the 2000
 (Golding 2001) and 2003 (Serdar, Lubliner et al. 2011) surface water data; these were treated the same as “U”
 qualifiers in the summation of total PCBs.



 The three approaches for calculating tPCBs were:

          1. “Zero” (tPCB Congeners/Aroclors – LimitZero): Individual congeners or Aroclors that were less
              than the detection limit were assigned zero in the summation of tPCBs.

          2. “Half” (tPCB Congeners/Aroclors - Limit/2): Individual congeners or Aroclors that were less than
              the detection limit were assigned one-half the detection limit in the summation of tPCBs.

          3. “Full” (tPCB Congeners/Aroclors – Limit): Individual congeners or Aroclors that were less than the
              detection limit were assigned the full detection limit in the summation of tPCBs.

 All three of these methods are considered common approaches to calculate tPCBs from individual
 congener or Aroclor measurements and provide a range of uncertainty in the estimate of tPCB
 concentrations. We note that there were some cases where all PCB constituents measured in a sample
 were less than the analytical detection limit, yielding tPCB less than the detection limit. This occurred
 primarily with data analyzed by Aroclor methods and corresponded to a relatively small proportion of the
 tissue and sediment data, but much of the 2000 surface water Aroclor data. For congener analysis, there
 were three surface water samples (2003 and 2012) in which all PCB congeners were less than detection
 limit; all other congener data for water, sediment and tissue had tPCB results above detection limit.

 2.2.2. 3x Blank Censored tPCBs for Surface Water
 The same three substitution approaches for non-detect parameters, as explained in Section 2.2.1
 above, were used in the summation of tPCBs for surface water data. However, for surface water,
 concentrations of individual PCB congeners in each field sample were screened against three times the
 concentration of the congener in the method blank “3xblank”, in addition to the standard analytical
 detection limit screening. This was done for water samples because the concentration of PCBs in water is
 generally low relative to background contamination levels that may be introduced during sampling and


                                                                                                                     6

                                          PRIVILEGED AND CONFIDENTIAL



                                                                                                                         000914
Case 2:15-cv-00201-SMJ           ECF No. 423        filed 01/29/20      PageID.24494 Page 198 of 314

 Spokane River PCB Concentration Data Analysis                                                  October 2019



 analysis. Method blanks are described in LimnoTech’s Quality Assurance Project Plan for a SRRTTF study:
 A method blank is an analyte‐free matrix, analyzed as a normal sample by the laboratory using normal
 sample preparation and analytical procedures. A method blank is used for monitoring and documenting
 bias due to background contamination in the analytical environment. (LimnoTech 2014). The 3xblank
 censoring approach is also consistent with the most recent and comprehensive measurements of PCBs in
 water of the Spokane River, collected by LimnoTech on behalf of SRRTTF.

 The three approaches for determining tPCBs in water samples applied the same three assumptions for
 the concentrations of PCB congeners in water samples that were less than 3x the concentration in the
 method blank:

     1. “Zero” (tPCB Congeners/Aroclors 3xBlank Censored – LimitZero): Individual congeners or
           Aroclors in water samples that were measured below 3xblank were assigned zero in the
           summation of tPCBs.

     2. “Half” (tPCB Congeners/Aroclors 3xBlank Censored – Limit/2): Individual congeners or Aroclors in
           water samples that were measured below 3xblank were assigned one-half the analytical
           detection limit in the summation of tPCBs.

     3. “Full” (tPCB Congeners/Aroclors 3xBlank Censored – Limit): Individual congeners or Aroclors in
           water samples that were measured below 3xblank were assigned the full analytical detection limit
           in the summation of tPCBs.

 This approach is referred to as blank censoring, and does not include blank correction/subtraction. Blank
 correction/subtraction is where the PCB concentration in a blank sample (or multiple blanks) is subtracted
 from the PCB concentration in a field sample. (LimnoTech 2015) assessed uncertainty in the 3xblank
 censoring method by comparing the censored results to those obtained by subtracting the maximum
 congener concentration in the blank from the field result (i.e., blank correction/subtraction). For tPCB less
 than 200 pg/L, the 3xblank censored results were, on average, 20% higher than those using the blank
 correction/subtraction method. For tPCB greater than 200 pg/L, 3xblank censoring and blank
 correction/subtraction methods were virtually equivalent.

    2.3.      Review of Database

 2.3.1. General
 Quality assurance/quality control (QA/QC) review of the data contained in the project database was
 conducted on all database versions. After reviews of earlier versions, information was added to the
 database to support data analysis (e.g., supporting parameters added; the spatial coverage was
 expanded to include data throughout the entire Spokane River; and the fields “River” and “RiverMile”
 were added to spatially locate samples in the Spokane River based on latitude and longitude entries for
 sample stations). The database was cross-checked with data reported in original studies for accuracy and
 completeness by Azimuth (e.g., tPCB Congeners/Aroclors – LimitZero were spot-checked with tPCBs


                                                                                                             7

                                        PRIVILEGED AND CONFIDENTIAL



                                                                                                                 000915
Case 2:15-cv-00201-SMJ           ECF No. 423       filed 01/29/20      PageID.24495 Page 199 of 314

 Spokane River PCB Concentration Data Analysis                                                October 2019



 reported in Ecology studies; ancillary data was checked for entry and completeness in the database;
 tPCBs were recalculated for a few samples; other information such as species, tissue types, sample
 depths and location details were checked). All issues identified with the data were corrected.

 2.3.2. Fish Tissue and Biofilm
 All PCB tissue concentration data were in units of ng/kg wet weight. Lipid contents (%) were measured
 for the majority of fish, invertebrate and biofilm samples and were used in lipid-normalizations described
 in this document. Total organic carbon contents (TOC, %) were measured in biofilm samples and used
 for TOC-normalizations. Other fish tissue supporting data (e.g., fish weight and length) were retained in
 the database but were not used in the analysis.

 For the tissue dataset, two changes were made to the project database, related to errors or omissions in
 the original EIM database (identified by cross-checks against Ecology reports):

        For study AJOH0005, two Largescale Sucker (Catostomus macrocheilus) fish samples that were
         collected from the Spokane River in Idaho were added to the database for completeness (Sample
         IDs: 94328435 and 93318244; data transcribed into Excel by Azimuth).

        For study AJOH0022 and sample ID 99485018, an incorrect taxon name was entered into EIM for
         the Aroclor results only (not congener results); Oncorhynchus mykiss was corrected to
         Catostomus macrocheilus.

 Azimuth made two other corrections to the tissue dataset during analysis:

        The tissue type of crayfish sample 94318265 in study AJOH0005 was designated "Whole
         organism (animal)" in the EIM database. This appeared erroneous as all other samples collected
         during the program were designated as "Muscle" in EIM and crayfish samples were designated by
         Ecology as "Muscle" or "Fillet" in their reports (Davis and Serdar 1994, Johnson 1994a, Ecology
         1995). The tissue type for this sample was therefore changed to "Muscle" in the analysis code
         (see also Section 3).

         Other tissue types were re-labelled in the analysis code to keep naming conventions consistent
         between studies (see Section 3).

        The biofilm sample L30061-12 from location SR3A had four congeners (PCB-174, -180/193, and -
         187) reported as a separate sample - L30061-12 W. These four congeners from 12 W were
         added to the tPCB results for sample 12 for all three limit types. “Count of Analyses” was also
         corrected for this sample.

 2.3.3. Sediment
 All PCB sediment concentration data were in units of ng/kg dry weight. TOC contents (%) were measured
 in most samples and used for TOC-normalizations, which were also provided. Total solids (TS, %) were
 measured in some samples and were summarized.


                                                                                                              8

                                      PRIVILEGED AND CONFIDENTIAL



                                                                                                                  000916
Case 2:15-cv-00201-SMJ          ECF No. 423        filed 01/29/20     PageID.24496 Page 200 of 314

 Spokane River PCB Concentration Data Analysis                                             October 2019



 For sediment data, some changes were made to the project database, related to issues with the data
 imported from the EIM database. These issues were identified during a review of Ecology reports:

       A few studies were removed from the database to avoid duplication of data in the project
        database. These studies (Study ID) include:

            o   SPOK2000 was removed because it duplicated AJOH0019 sediment PCB data (Johnson
                and Norton 2001).

            o   FWSPOR00 is also the same study as AJOH0019 and was removed to avoid confusion
                although it only had toxicity test results.

            o   SPOK9394 was a duplicate of AJOH0005 (Ecology 1995) for sediment chemistry data,
                except for sample IDs 318236, 318273, 328406, and 328408, which were included in
                SPOK9394 but not AJOH0005. All other SPOK9394 data were removed.

            o   SPOKNR94 was a duplicate of DBAT0001 (Batts and Johnson 1995) for sediment
                chemistry data so it was removed.

            o   TENLAK92 is the same study as DSER0002 (Serdar, Johnson et al. 1994). Although
                TENLAK92 only had metals and TOC data for sediments (no PCBs), it was removed from
                the database.

       Sediment data collected by Ecology in 2008 and 2010 for the Upriver Dam 5-year review (Ecology
        2015) were not included in EIM and were added to the project database.

 Azimuth made a few corrections and revisions during data analysis:

       tPCB values for all three detection limit treatments were corrected for DBAT001. Based on how
        data were entered in EIM, individual Aroclor analytes were recognized as single samples. Azimuth
        summed the individual Aroclor results by Station ID to correct the sediment concentrations (Batts
        and Johnson 1995).

       For study UPRVRDAM, minor edits were made to match data reported in (Anchor Environmental
        LLC 2005). Sample IDs AN-61SD-A, AN-81SD-A, and UPR103041007 had Sample Replicate Flags
        changed from “N” to “Y”. As well for this study, Upper Depth was changed to 0, Lower Depth to
        10 and Depth Unit to cm.

       For SRUW-Spokane (Fernandez 2012, Borgias and Hamlin 2017, PGG 2019b), Sample IDs
        1308073-01REX, 1308073-03REX, and 1308073-06REX had Sample Replicate Flags changed from
        “N” to “Y”, and Sample IDs 1308073-06 and 438026 had Sample Replicate Flags changed from
        “Y” to “N”.

       For consistency, all sediment upper and lower depth units were converted from original units (of
        inches, feet, meters and centimeters) to centimeters.




                                                                                                           9

                                     PRIVILEGED AND CONFIDENTIAL



                                                                                                               000917
Case 2:15-cv-00201-SMJ           ECF No. 423         filed 01/29/20      PageID.24497 Page 201 of 314

 Spokane River PCB Concentration Data Analysis                                                 October 2019



        Removed TOC sediment duplicates from the dataset, including any Sample IDs in study
         AJOH0019 with analysis method “PSEP-TOC” and Sample IDs 3454111, 3454112 and 3454113 in
         the study DSER0010 with analysis method “PSEP-TOC”.

 2.3.4. Suspended Sediment
 PCB concentrations in suspended sediments were reported in units of ng/kg dry weight. TOC contents
 (%) were used to normalize tPCB concentrations. Total solids (TS, %) and moisture (%) were measured
 in some samples and were summarized.

 Azimuth entered TOC and total solids data from study BERA0012 (Era-Miller and McCall 2017) and
 BERA0009 (Era-Miller 2014a) from study reports that had not been entered into EIM. There were no
 other corrections made to the suspended sediment dataset.

 2.3.5. Surface Water
 PCB surface water concentration data were in units of ng/L. Ancillary parameters (dissolved organic
 carbon [DOC], TOC, total suspended solids [TSS], and total dissolved solids [TDS]), all in units of mg/L,
 were retained and summarized. Water data were not normalized to ancillary parameters.

 Water data in the database were reviewed with corrections and updates being made to the 3xblank
 censored tPCB parameters and filling in fields (e.g., sample source and station/location information). This
 was mostly needed for some of the SRRTTF studies that were imported directly from data files (not from
 EIM).

 Azimuth made various edits to the water dataset during data analysis:

        Some samples from study SRRTTF-2014 (LimnoTech 2015), corresponding to blanks, were
         removed from the surface water dataset (e.g., WG47451-102 (A) and similar Sample IDs).

        Certain samples from study Combined Idaho Data (PGG 2019b) were removed. Some were high
         volume samples that had equipment contamination issues (e.g., L21904-x and L21905-x); others
         were only partially reported samples (i.e., L21917-9 W and L21910-18 W) that were fully
         reported in SRRTTF (2014).

        Study VCEA0318 (PGG 2019b) (one sample originally from EIM database) was removed as the
         actual location was unknown (unclear if in-river and no report was found to investigate) and the
         detection limits were very high, with all parameters less than the detection limit.

        Missing field (e.g., location) information was filled in for a few cases.

        Several studies used different sample IDs for tPCB versus ancillary data. Based on a review of
         reports or datasets, the ancillary data were assigned to sample IDs used for tPCB, to avoid
         removing the ancillary data (see Section 3). This was applied to:

             o   Two samples from study BERA0012 (Era-Miller and McCall 2017) (1602016-10 was
                 relabeled as 1602016-13, and 1602016-11 was relabeled as 1602016-14).

                                                                                                          10

                                      PRIVILEGED AND CONFIDENTIAL



                                                                                                               000918
Case 2:15-cv-00201-SMJ        ECF No. 423           filed 01/29/20   PageID.24498 Page 202 of 314

 Spokane River PCB Concentration Data Analysis                                          October 2019



            o   All ancillary data from SRRTTF datasets for 2014, 2015 and 2016 (LimnoTech 2015,
                LimnoTech 2016b, LimnoTech 2017) were assigned to tPCB Sample IDs by matching
                sample stations, dates and times.

            o   Four samples from WHOB003 (Hobbs, McCall et al. 2019) (sample ID 1606035-11 was
                changed to 1606035-18, 1606035-12 to 1606035-19, 1702027-02 to 1702027-24, and
                1702027-03 to 1702027-25).

       Composite flags “Y” were assigned to several samples:

            o   Combined Idaho Data (PGG 2019b): Sample IDs L21877-83 and L21877-85.

            o   SRRTTF-2018 (LimnoTech 2019): Sample IDs L29884-2, L29884-3, L29884-4, L29884-5,
                L29884-6, L29884-7, L29884-8, L29884-9, L29884-10, and L29884-11.




                                                                                                   11

                                   PRIVILEGED AND CONFIDENTIAL



                                                                                                        000919
Case 2:15-cv-00201-SMJ               ECF No. 423        filed 01/29/20      PageID.24499 Page 203 of 314

 Spokane River PCB Concentration Data Analysis                                                      October 2019



 3. DATASET PREPARATION
 R statistical computing software version 3.5.1 (2018-07-02) - "Feather Spray" was used for the data
 analysis. An R script (programing code) was developed in R Markdown (rmd) format and run in R Studio.
 Several steps were conducted in R, described in the subsections below.

    3.1.      Initial Preparation
 The work space was cleared and set-up for data analysis. These steps included:

     1. Clearing workspace of any previously loaded objects,

     2. Setting the working directory – directing the software to the folder containing source files
           necessary for the code to run properly, including the R scripts and data,

     3. Installing and loading software packages (designed to accomplish various analytical tasks in R)
           required for the data analysis. Packages used for this project include:

                              tidyverse (data wrangling and organization, includes ggplot for creating graphs),

                              lubridate (working with dates),

                              knitr (converting rmd script to PDF),

                              evaluate (parsing and evaluating tools),

                              ggmap (creating maps),

                              ggrepel (keeping text labels away from each other),

                              broom (creating tidy tables),

                              lme4 (linear mixed-effects regression models), and

                              lmerTest (linear mixed-effects models to evaluate significance of results).

     4. Imported data files – loaded the Export Query file.

     5. Formatted variable columns – reviewed import files to ensure that the data were in the proper
           format. Examples of this include:

               a) Reformatted dates to be consistent between studies,

               b) Used lower case formatting for data entries (e.g., “TISSUE”, “Tissue”, and “tissue” were
                   all changed to “tissue”),

               c) Inspected variable classes and set these to the correct format (e.g., character, numeric,
                   logical).




                                                                                                              12

                                          PRIVILEGED AND CONFIDENTIAL



                                                                                                                   000920
Case 2:15-cv-00201-SMJ              ECF No. 423         filed 01/29/20       PageID.24500 Page 204 of 314

 Spokane River PCB Concentration Data Analysis                                                        October 2019



    3.2.      Selecting Datasets
 Datasets were subset to a particular media by selecting relevant fields and samples. Data were filtered
 for several conditions:

     1. Type of media:

               a. Fish tissue data were subset to Matrix = Tissue, Sample Source = Animal Tissue.

               b. Biofilm/periphyton tissue data were subset to Matrix = Tissue, Sample Source = Biofilm.

               c.    Invertebrate tissue data were subset to Matrix = Tissue, Sample Source = Invertebrate.

               d. Sediment data were selected from the database using the following criteria:

                          i. Matrix = Solid/Sediment, Sample Source = Sediment, Freshwater Sediment,
                             “null/blank”; these groups were all relabeled as Sample Source = Freshwater
                             Sediment.

                         ii. Matrix = Sediment, Sample Source = Freshwater Sediment; these data from
                             SWON0001 were included with the above sediment samples.

                         iii. Matrix = Solid/Sediment, Sample Source = Cap Sand. This group was retained
                             but kept separate (represents sampling of cap sand upper layer after Upriver
                             Dam remediation).

               e. Suspended sediment samples were selected using Matrix = Solid/Sediment, Sample
                     Source = Fresh/Surface Water, and were renamed Suspended Sediment.

               f.    Surface water samples were identified as Matrix = Water, Sample Source =
                     Fresh/Surface Water.

     2. Data collected from within the Spokane River itself, excluding tributaries (e.g., River = Spokane
           River).

     3. Removed studies containing ancillary parameters only (e.g., lipids, TOC, TSS, etc.) without paired
           PCB data. These data were generally from studies on other contaminants, such as mercury, in
           the Spokane River.

     4. Carried forward constituents that were used or summarized in the analysis:

               a. tPCB results (based on Aroclors, congeners, and including the 3x blank-censored tPCBs
                     for the surface water using the full limit, half limit, zero detection limit treatments);

               b. Ancillary data for samples with paired PCB data were retained:




                                                                                                                 13

                                          PRIVILEGED AND CONFIDENTIAL



                                                                                                                      000921
Case 2:15-cv-00201-SMJ                   ECF No. 423            filed 01/29/20         PageID.24501 Page 205 of 314

 Spokane River PCB Concentration Data Analysis                                                                      October 2019



                             i. Fish, invertebrates and biofilm – lipid contents2; fish length and weight were
                                 retained but not used in the analysis;

                            ii. Biofilm – TOC contents (in addition to lipid content);

                            iii. Sediment – TOC contents, and total solids;

                           iv. Suspended sediments – TOC;

                            v. Surface water – TSS, TDS, TOC, and DOC.

        5. Removed unnecessary columns to limit dataset to media-specific information (e.g., for tissue
             analysis removed CollectionMethod, UpperDepth, LowerDepth, and FractionAnalyzed; for
             sediment analysis removed TaxonName, ResultTaxonName, TissueType, LabReplicateFlag,
             FractionAnalyzed, and QAFlag).

 Based on these selection criteria, the full list of studies containing PCB concentration data in the Spokane
 River are shown in a series of tables below:

            Table 3-1 – fish, biofilm and invertebrates,

            Table 3-2 – sediment,

            Table 3-3– suspended sediment, and

            Table 3-4 – surface water.

 These lists correspond to studies identified as having relevant data in the literature review.




 2
     “Non-polar lipids” were removed as a constituent because there were only two samples and both had standard lipid data.




                                                                                                                              14

                                               PRIVILEGED AND CONFIDENTIAL



                                                                                                                                   000922
Case 2:15-cv-00201-SMJ                ECF No. 423           filed 01/29/20       PageID.24502 Page 206 of 314

 Spokane River PCB Concentration Data Analysis                                                             October 2019



 Table 3-1: Tissue study IDs, years sampled, references included in the Spokane River fish,
                      biofilm and invertebrate tissue dataset. Fish studies included in the baseline (2001-
                      2005), intermediary (2012) or current (2014-2018) time period scenarios and those
                      included in the temporal trend analysis “Y” are indicated.

                                                                                                  Time       Temporal
     Tissue Study           Year
                                        Reference(s)                                             Period       Trends
           ID             Sampled
                                                                                                Scenario      Analysis

      DSER0002              1992        (Serdar, Johnson et al. 1994)                               -            Y

      AJOH0005              1993        (Davis and Serdar 1994, Ecology 1995)                       -            Y

      AJOH0005              1994        (Johnson 1994a, Ecology 1995)                               -            Y

      WSPMP93T              1993        (Davis, Johnson et al. 1995)                                -            Y

      AJOH0008              1996        (Johnson 1997)                                              -            Y

      AJOH0022              1999        (Johnson 2000)                                              -            Y

       RJAC002              2001        (Jack and Roose 2002)                                   Baseline         Y

      DSER0010              2003        (Serdar, Lubliner et al. 2011)                          Baseline         Y

      DSER0010              2004        (Serdar, Lubliner et al. 2011)                          Baseline         Y

      WSTMP03T              2003        (Serdar, Lubliner et al. 2011)                          Baseline         Y

      DSER0016              2005        (Serdar and Johnson 2006)                               Baseline         Y

      WSTMP12               2012        (Seiders, Deligeannis et al. 2014)                        2012           Y

      BERA0011              2014        (Era-Miller 2015a)                                      Current          -

      MIFR0003§             2016        (Wong 2018)                                                 -            -

     SWON0001*              2018        (Wong and Era-Miller 2019a, Wong and Era-                 N/A           N/A
                                        Miller 2019b, Wong and Era-Miller 2019c)
 
   Washington Department of Ecology/U.S. EPA studies (Joy 1984) and (Johnson 1994b) were not entered by Ecology
 into the EIM database and were, therefore, not included in this analysis. These studies are older and not
 representative of baseline or current conditions.
 
     See Expert Report for further information on concentrations of PCBs in fish for the current period.
 §
   MIFR0003 collected 1 year old Rainbow Trout from Lake Spokane 4 months after hatchery release. These trout
 were not included in the current dataset because they were younger and smaller than those collected in earlier
 studies.


                                                                                                                      15

                                            PRIVILEGED AND CONFIDENTIAL



                                                                                                                           000923
Case 2:15-cv-00201-SMJ             ECF No. 423         filed 01/29/20       PageID.24503 Page 207 of 314

 Spokane River PCB Concentration Data Analysis                                                        October 2019


 * SWON0001 collected samples of biofilm and invertebrates, which are presented separately from fish tissue data.

 Table 3-2: Sediment study IDs, years sampled and references included in the Spokane River
                  bedded sediment dataset. Sediment studies included in the baseline (2003-2004) or
                  current (2013-2018) time period scenarios are indicated in the table.

      Sediment Study ID          Year      Reference                                                Time Period
                               Sampled                                                                Scenario

          BHOP0001               1990      (Hopkins 1991)                                                 -
          DSER0002               1992      (Serdar, Johnson et al. 1994)                                  -
          AJOH0005               1993      (Ecology 1995)                                                 -
          AJOH0005               1994      (Ecology 1995)                                                 -
          SPOK9394               1993      (Ecology 1995)                                                 -
          SPOK9394               1994      (Ecology 1995)                                                 -
          DBAT0001               1994      (Batts and Johnson 1995)                                       -
          AJOH0019               2000      (Johnson and Norton 2001)                                      -
          DSER0010               2003      (Serdar, Lubliner et al. 2011)                             Baseline
          DSER0010               2004      (Serdar, Lubliner et al. 2011)                             Baseline
         UPRVRDAM                2003      (Anchor Environmental LLC 2005)                            Baseline
         UPRVRDAM                2004      (Anchor Environmental LLC 2005)                            Baseline
        UPRDAM2008               2008      (Ecology 2015)                                                 -
     2010 UPRIVER DAM            2010      (Ecology 2015)                                                 -
        MONITORING
      SRUW-SPOKANE*              2013      (Fernandez 2012, Borgias and Hamlin 2017,                  Current
                                           PGG 2019b)
    CITYOFSPOKANEWW              2015      (PGG 2019b)                                                Current
         SEDCORE16               2016      (Mathieu 2018)                                             Current
          SWON0001               2018      (Wong and Era-Miller 2019a, Wong and Era-                  Current
                                           Miller 2019b, Wong and Era-Miller 2019c)


 *From project database; earlier (non-sediment) data reported and Quality Assurance Project Plan available.




                                                                                                                    16

                                        PRIVILEGED AND CONFIDENTIAL



                                                                                                                         000924
Case 2:15-cv-00201-SMJ         ECF No. 423        filed 01/29/20       PageID.24504 Page 208 of 314

 Spokane River PCB Concentration Data Analysis                                                   October 2019



 Table 3-3: Suspended sediment study IDs, years sampled and references included in the
                Spokane River suspended sediment dataset.

              Suspended Sediment Study           Year                   Reference
                          ID                 Sampled

                       DSER0010                2003            (Serdar, Lubliner et al. 2011)
                       DSER0010                2004            (Serdar, Lubliner et al. 2011)
                       BERA0009                2012                 (Era-Miller 2014a)
                       BERA0009                2013                 (Era-Miller 2014a)
                       BERA0012                2015            (Era-Miller and McCall 2017)
                       BERA0012                2016            (Era-Miller and McCall 2017)
                       WHOB003                 2016            (Hobbs, McCall et al. 2019)
                       WHOB003                 2017            (Hobbs, McCall et al. 2019)



 Table 3-4: Surface water study IDs, years sampled and references included in the Spokane
                River surface water dataset. Surface water studies included in the baseline (2000-
                2003) or current (2016-2018) time period scenarios are indicated in the table.

      Surface Water Study ID      Year                  Reference               Time Period Scenario
                                Sampled

             SGOL001              2000             (Golding 2001)                     Baseline
            DSER0010              2003     (Serdar, Lubliner et al. 2011)             Baseline
            BERA0009              2012            (Era-Miller 2014a)                      -
            BERA0009              2013            (Era-Miller 2014a)                      -
            BERA0012              2016     (Era-Miller and McCall 2017)                   -
     COMBINED IDAHO DATA          2014              (PGG 2019b)                           -
     COMBINED IDAHO DATA          2016              (PGG 2019b)               Current (some stations)
           SRRTTF-2014            2014            (LimnoTech 2015)                        -
           SRRTTF-2015            2015           (LimnoTech 2016b)                        -
           SRRTTF-2016            2016            (LimnoTech 2017)                        -
            WHOB003               2016      (Hobbs, McCall et al. 2019)                   -
            WHOB003               2017      (Hobbs, McCall et al. 2019)                Current
           SRRTTF-2018            2018            (LimnoTech 2019)                     Current




                                                                                                          17

                                   PRIVILEGED AND CONFIDENTIAL



                                                                                                                000925
Case 2:15-cv-00201-SMJ                   ECF No. 423           filed 01/29/20         PageID.24505 Page 209 of 314

 Spokane River PCB Concentration Data Analysis                                                                    October 2019



       3.3.      Dataset Clean-up
 Additional steps were taken to clean-up the dataset and ensure data quality and consistency. These
 included:

        1. Removing sample duplicates – additional data filtering was required to ensure samples were not
              double counted in the dataset:

                  a. Sample replicates were removed from the analysis (corresponding to Sample Replicate
                       Flag = Y), to avoid double counting these samples.

                  b. Similarly, composite surface water samples from SRRTTF water studies (i.e., Combined
                       Idaho Data, SRRTTF-2014, SRRTTF-2015, and SRRTTF-2018) were removed from the
                       dataset. These samples were a mixture of multiple grab samples that had been included
                       in the dataset.

        2. Selecting data for samples analyzed by both Aroclor and congener methods – For samples where
              both congeners and Aroclors were measured, code was added to preferentially select congener
              data over Aroclor (i.e., tPCB Aroclor was removed in these cases), so that single samples would
              not be double counted in the statistical summaries. Exceptions to this approach were made for
              studies3 in which only a limited number of congeners were analyzed; in these cases tPCB Aroclor
              was selected over tPCB congener. As a result, tPCB congeners were selected over tPCB Aroclors
              for 60 fish samples from three studies analyzed in duplicate.

        3. Cleaning-up tissue type designations and samples with multiple tissues analyzed – Within the
              tissue dataset, multiple fish tissue types were used for PCB analysis, varying by species of
              fish/crayfish and by study (e.g., fillet, skin on; fillet, skin off; whole organism (animal)). All
              categories were reviewed to determine how to best group the data, with emphasis on
              characterizing the less common tissue types (e.g., whole organism, not fillets). As a result,
              certain tissue types were removed; others were corrected or relabeled. As well, it was noted that,
              in some cases, multiple tissue types were analyzed for the same fish or composite sample; these
              were cleaned-up in the data analysis to ensure that the same fish/composite was not double
              counted in the summary statistics. The following summarizes the main “tissue type” changes that
              were made in the dataset (see also Table 3-5):

                  a. Tissue type “gut contents” was removed.


 3
     In study AJOH0022 (1999 fish data), only 23 congeners were analyzed, and therefore the tPCB concentration by congener analysis
 was much lower than tPCB by Aroclor analysis and is considered an underestimate of tPCBs. Thus, tPCB Aroclor results were
 retained and tPCB congener results were removed for this study.

 Similarly, study SGOL001 (2000 water data) analyzed Aroclors and only 19 congeners; therefore tPCB Aroclor results were retained
 and tPCB congener results were removed.




                                                                                                                                18

                                               PRIVILEGED AND CONFIDENTIAL



                                                                                                                                      000926
Case 2:15-cv-00201-SMJ             ECF No. 423     filed 01/29/20    PageID.24506 Page 210 of 314

 Spokane River PCB Concentration Data Analysis                                              October 2019



            b. There were multiple tissue types analyzed for the same fish/composite sample in a few
                 cases in studies DSER0016 and WSTMP12. The “Whole organism, not fillets” (equivalent
                 to carcass) samples were removed, with “Fillet, skin on” or “Whole organism (animal)”
                 being retained, depending on fish species and study (see notes at bottom of Table 3-5).

            c.   Ttissue types were re-labeled to use consistent naming conventions and enable proper
                 grouping of data. All changes were based on a review of the original studies and are
                 described in Table 3-5.

            d. Based on corrections and relabeling, the following tissue types were included in the final
                 tissue dataset:

                        Fillet, skin on;

                        Fillet, skin off;

                        Whole;

                        WholeCRF (only for crayfish);

                        Muscle (only for crayfish).




                                                                                                         19

                                       PRIVILEGED AND CONFIDENTIAL



                                                                                                              000927
                                                      Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24507 Page 211 of 314

Spokane River PCB Concentration Data Analysis                                                                                                                                            October 2019

Table 3-5: Tissue type categories for the biota tissue dataset.


      No. Original Tissue Type                                     Study ID      Species 1                             Notes on Changes to Tissue Type Designation in R Dataset

       1    Fillet, skin on 2                                      AJOH0005      SMB, LMB, RBT, KOK, YP, WCP, MWF,
                                                                                 NPM, BRT, WAL
                                                                   AJOH0008      RBT, MWF
                                                                   AJOH0022      LSS, RBT, MWF
                                                                   DSER0010      RBT
                                                                   DSER0016      BLS, SMB, RBT, MWF, BRT
                                                                   RJAC002       LSS, SMB, LMB, YP, MWF
                                                                   WSTMP03T      RBT
                                                                   WSTMP12       LSS, RBT, MWF, NPM, BRT
       2    Fillet portion (epaxial muscle), skin off 3            DSER0002      LMB, YP
             Tissue type 2 relabeled as "Fillet, skin off"         WSPMP93T      RBT
       3    Muscle 4                                               AJOH0005      CRF
                                                                   DSER0010      CRF                                   Tissue type for DSER0010 CRF was relabeled "Muscle" (originally Type 5)
                                         5a
       4    Whole organism (animal)                                AJOH0005      CRF, LSS                              CRF tissue type changed to "Muscle" 5b, Ref a, b, c
             Tissue type 4 relabeled as "Whole"                    AJOH0008      LSS
                                                                   AJOH0022      LSS, RBT, MWF, CRF                    CRF tissue type relabelled to "WholeCRF"
                                                                   BERA0011      CCP
                                                                   DSER0002      LSS
                                                                   DSER0010      BLS, LSS
                                                                   DSER0016      BLS, LSS, RBT, MWF
                                                                   mifr0003      RBT
                                                                   RJAC002       LSS
                                                                   WSPMP93T      LSS
                                                                   WSTMP12       LSS
       5    Whole organism, not exoskeleton or shell, not gut 6a   DSER0010      CRF                                   CRF tissue type relabelled "Muscle"6b , ref e
             Tissue type not carried forward
       6    Whole organism, not fillets 7                          DSER0016      BLS, RBT, MWF                         Multiple tissue types; this type not carried forward7
             Tissue type not carried forward                       WSTMP12       LSS                                   Multiple tissue types; this type not carried forward7
       7    Added tissue type 7 "WholeCRF"                         AJOH0022      CRF                                   Tissue type for AJOH0022 CRF was relabeled "WholeCRF" (originally Type 4)




                                                                                                                                                                                                   20

                                                                                    PRIVILEGED AND CONFIDENTIAL



                                                                                                                                                                                                        000928
                                                  Case 2:15-cv-00201-SMJ      ECF No. 423    filed 01/29/20   PageID.24508 Page 212 of 314

Spokane River PCB Concentration Data Analysis                                                                                                                                             October 2019


             Table Notes:
             Strikethrough - denotes tissue type changed or relabelled.
           1
             See species list in Note 5 for corresponding common and scientific names.
           2
             Slime and scales removed and then rinsed with tap and then deionized water. Fish then filleted with skin left on and homogenized. Ref g, h
           3
             Muscle tissue samples prepared by compositing ~40 g of skinless epaxial muscle from each individual fish. Ref f Tissue type renamed "Fillet, skin off"
           4
             Abdominal (tail) muscle. Ref a
          5a
             Ageing structures removed and remaining whole organism homogenized. Ref g, h Tissue type renamed "Whole".
          5b
             Tissue type designation of CRF Sample ID: 94318265 in AJOH0005 appears erroneous in the EIM database; all other samples collected during the program designated as "muscle"; data reported by
             Ecology as "muscle" or "fillet" Ref a, b and d ; "Whole organism (animal)" changed to "Muscle".
          6a
             Corresponds to "tail muscle" i.e., the entire tail muscle (4-5 g) was removed from the exoskeleton and homogenized. Ref e
          6b
             CRF Sample ID: 4208148 in DSER0010 reported as "tail muscle" Ref k (i.e., tissue type is the same as "Muscle", but was named differently in the EIM database).
           7
             Corresponds to carcass (skin, bone, remaining soft tissues); fillets were removed and analyzed separately. Carcass samples were dropped as other tissue types were available for these fish:
             DSER0016: BLS weighted whole body average data used "Whole" for Sample ID 05424257-05424258 (Dropped carcass and fillet samples: 5424257 and 5424258)
             DSER0016: RBT fillet data used "Fillet, skin on" for Sample ID 5494272 (Dropped carcass and whole samples: 5524719 and 05494272-05524719)
             DSER0016: MWF fillet data used "Fillet, skin on" for Sample ID 5494271 (Dropped carcass and whole samples: 5524718 and 05494272-05524719)
             WSTMP12: LSS fillet data used "Fillet, skin on" for Sample ID 1301011-96 (Dropped carcass sample: 1301011-48; whole not available)
             Table References
           a
             Ecology (Washington Department of Ecology). 1995. Department of Ecology 1993-94 Investigation of PCBs in the Spokane River. Washington State Department of Ecology. Olympia, WA.
           b
             Davis, D., Serdar, D. 1994. Results of 1993 screening survey on PCBs and Metals in the Spokane River (with corrections). Washington State Department of Ecology. Olympia, WA.
           c
             Johnson, A. 1994(a). Planar PCBs in Spokane River Fish. Toxics, Compliance, and Ground Water Investigations Section - Washington State Department of Ecology. WA.
           d
             Johnson, A. 1994(b). PCB and Lead Results for 1994 Spokane River Fish Samples. Toxics Investigation Section - Washington State Department of Ecology. WA.
           e
             Serdar, D., Lubliner, B., Johnson, A., Norton, D. 2011. Spokane River PCB Source Assessment 2003-2007. Washington State Department of Ecology. Olympia, WA.
           f
             Serdar, D., Johnson, A., Davis, D. 1994. Survey of Chemical Contaminants in Ten Washington Lakes.
           g
             Serdar, D., Johnson, A. 2006. PCBs, PBDEs, and Selected Metals in Spokane River Fish, 2005. Washington State Department of Ecology. Olympia, WA.
           h
             Serdar, D. 2013. Quality Assurance Project Plan: Freshwater Fish Contaminant Monitoring Plan. Washington State Department of Ecology. Olympia, WA.




                                                                                                                                                                                                   21

                                                                                     PRIVILEGED AND CONFIDENTIAL



                                                                                                                                                                                                         000929
Case 2:15-cv-00201-SMJ             ECF No. 423        filed 01/29/20      PageID.24509 Page 213 of 314

 Spokane River PCB Concentration Data Analysis                                                   October 2019




    3.4.      Identifier Fields for Grouping Data
 Identifier columns were added in the R analysis to enable grouping data by various categories. These
 fields include:

     1. “AnalysisType” was added to classify constituents as:

               a. Aroclor – PCB Aroclors,

               b. Congener – individual PCB congeners,

               c.   Supporting – ancillary data (e.g., lipid content, TOC content, TSS, etc.),

               d. Sum Aroclors – sum of individual Aroclors for tPCB calculation (see Section 2.2.1 for
                    detection limit treatments in the database),

               e. Sum Congeners – sum of individual congeners for tPCB calculation (see Section 2.2.1
                    for detection limit treatments in the database).

     2.    “LimitType” assigned PCB constituents as “Zero”, “Half” or “Full” (corresponding to the tPCB
           treatments shown in Section 2.2.1).

     3. Date specifier columns were also added to group data by “Year” or “Decade”.

     4. Scenario columns were added to categorize data as “Baseline” or “Current”, for example, and
           select relevant studies representing years of interest (see Table 3-1 and Table 3-2).

     5. A “RiverStretch” column was added to assign samples based on River Mile according to
           compartments that have been designated for the project. The “RiverStretch” categories are
           generally split by dam locations in the Spokane River, the exception being that the Stateline is
           used rather than Post Falls Dam (Table 3-6).



 Table 3-6: River stretch categories used for data analysis.

                                          River Stretch            River Miles
                                         AboveStateline            RM 112-96.1
                                          AboveUpriver             RM 96.1-80.2
                                         AboveMonroe               RM 80.2-74.0
                                         AboveNinemile             RM 74.0-58.1
                                          LakeSpokane              RM 58.1-33.9
                                        AboveLittleFalls           RM 33.9-29.3
                                          SpokaneArm                RM 29.3-0




                                                                                                              22

                                        PRIVILEGED AND CONFIDENTIAL



                                                                                                                   000930
Case 2:15-cv-00201-SMJ               ECF No. 423          filed 01/29/20        PageID.24510 Page 214 of 314

 Spokane River PCB Concentration Data Analysis                                                           October 2019




       6. “TaxonName” – this column was originally in the database and contained the Latin names of
            species collected in the Spokane River studies (although crayfish was sometimes identified by
            family name only). Additional identifier columns were added to group or display species by
            “CommonName”, “SpeciesCode”, and “TaxonGroup”, which were used for tables and figures.



 Table 3-7: Species names and classifiers used for the biota tissue dataset.


                                         Species
           Common Name                                           Taxon Name                       Taxon Group
                                          Code1

           Bridgelip Sucker                 BLS            Catostomus columbianus                      Sucker
             Brown Trout                    BRT                   Salmo trutta                         Other
            Common Carp                     CCP                 Cyprinus carpio                   Common Carp
                        2
               Crayfish                     CRF                     Astacidae                         Crayfish
      Crayfish (Signal Crayfish)            CRF             Pacifastacus leniusculus                  Crayfish
                Kokanee                     KOK               Oncorhynchus nerka                       Other
           Largemouth Bass                  LMB              Micropterus salmoides                     Other
          Largescale Sucker                 LSS            Catostomus macrocheilus                     Sucker
          Mountain Whitefish               MWF               Prosopium williamsoni              Mountain Whitefish
                                3
        Northern Pikeminnow                NPM            Ptychocheilus oregonensis                    Other
            Rainbow Trout                   RBT              Oncorhynchus mykiss                  Rainbow Trout
           Smallmouth Bass                  SMB              Micropterus dolomieui                     Other
                                                                                 4
                Walleye                    WAL                  Sander vitreus                         Other
             White Crappie                 WCP                 Pomoxis annularis                       Other
             Yellow Perch                   YP                  Perca flavescens                       Other


 Table Notes:
 1
     Species codes were selected from Spokane River studies and are used for this project.
 2
     In some reports, Crayfish was only identified to the family level (Davis and Serdar 1994, Johnson 1994a).
 3
     Previously referred to as Northern Squawfish.
 4
     Previous scientific name was Stizostedion vitreum.




                                                                                                                     23

                                           PRIVILEGED AND CONFIDENTIAL



                                                                                                                          000931
Case 2:15-cv-00201-SMJ           ECF No. 423       filed 01/29/20     PageID.24511 Page 215 of 314

 Spokane River PCB Concentration Data Analysis                                               October 2019




     7. Depth categories of “surface” and “subsurface” were added for sediments. Surface included most
           of the samples and was assigned as the top 10 cm when sampling was in 10 cm intervals, or the
           top 2 cm of core samples (which had 1 or 2 cm depth intervals). Surface was also assigned in
           cases where depth was undefined after these studies were confirmed not to be coring programs.

    3.5.      QAQC
 QAQC review of the dataset preparation/clean-up steps in R was conducted throughout the process by
 reviewing outputs with an emphasis on data to which changes were made (as described in this section)
 and spot-checking other results.




                                                                                                          24

                                      PRIVILEGED AND CONFIDENTIAL



                                                                                                               000932
Case 2:15-cv-00201-SMJ             ECF No. 423        filed 01/29/20   PageID.24512 Page 216 of 314

 Spokane River PCB Concentration Data Analysis                                                October 2019




 4. CALCULATIONS & ANALYSIS

    4.1.    Detection Limit Treatments
 Data were explored to examine the influence of the detection limit assumptions on the resulting tPCB
 concentrations. For this analysis, three ratios were calculated for tPCB parameters:
                      𝐶𝑜𝑢𝑛𝑡𝑂𝑓𝑁𝐷𝑠
     1. RatioNDs:
                    𝐶𝑜𝑢𝑛𝑡𝑂𝑓𝐴𝑛𝑎𝑙𝑦𝑠𝑒𝑠

 Where “CountOfNDs” is the number of non-detect congeners/Aroclors comprising tPCB results in a
 sample and “CountOfAnalyses” is the total number of congeners/Aroclors measured in a sample. This
 ratio was used to examine how PCB concentrations varied with the proportion of non-detect parameters
 comprising the tPCB measurement.

 As well, ratios were calculated for tPCB concentrations for the same sample obtained using different
 detection limit treatments:
                               𝑡𝑃𝐶𝐵−𝐿𝑖𝑚𝑖𝑡
     2. tPCB “full” ratio:
                             𝑡𝑃𝐶𝐵−𝐿𝑖𝑚𝑖𝑡𝑍𝑒𝑟𝑜
                               𝑡𝑃𝐶𝐵−𝐿𝑖𝑚𝑖𝑡/2
     3. tPCB “half” ratio:
                             𝑡𝑃𝐶𝐵−𝐿𝑖𝑚𝑖𝑡𝑍𝑒𝑟𝑜

 A ratio of one indicates that the tPCB half/full and tPCB zero concentrations are the same. A ratio above
 one indicates that tPCB half/full concentration is greater than tPCB zero concentration. These ratios are
 plotted as a function of the tPCB “zero” limit concentration (see Figure 4-1 example for fish tissue data).




                                                                                                             25

                                            PRIVILEGED AND CONFIDENTIAL



                                                                                                                  000933
Case 2:15-cv-00201-SMJ        ECF No. 423        filed 01/29/20     PageID.24513 Page 217 of 314

 Spokane River PCB Concentration Data Analysis                                             October 2019




 Figure 4-1: tPCB ratios for different detection limit treatments as a function of tPCB
                concentration (limit zero, ng/kg wet weight). Top plot shows “half” ratio, bottom
                plot shows “full” ratio. Aroclor data are shown in orange and congener data are shown in
                teal.




                                                                                                      26

                                   PRIVILEGED AND CONFIDENTIAL



                                                                                                           000934
Case 2:15-cv-00201-SMJ             ECF No. 423      filed 01/29/20      PageID.24514 Page 218 of 314

 Spokane River PCB Concentration Data Analysis                                                  October 2019




 The plots show that when tPCB concentrations are low, and there are more non-detect PCB congeners or
 Aroclors in the sample, the non-detect data have a greater influence on the tPCB concentration and result
 in larger differences between the full/half treatments and the zero treatment, than at higher tPCB
 concentrations. tPCB measured by Aroclor shows a larger difference between the full/half treatment
 versus the zero treatment than tPCB determined by congener analysis, at low tPCB concentrations.
 Samples analyzed by congener methods show minor spread between tPCB values using all three
 detection limit treatments.

    4.2.     tPCB Data Analysis
 At the request of the Expert, several analyses were conducted on the datasets.

 4.2.1. General
 Summary statistics were calculated to describe tPCB concentrations and ancillary data from multiple
 individual samples of different media. Different approaches were used and were provided for use in the
 Expert Report. PCB concentration data from individual samples were grouped by: year/scenario, river
 stretch, analysis type, detection limit treatment type, and species and tissue type for tissue data, for the
 calculation of descriptive statistics.

 4.2.1.1.   Summary Statistics for Calculating Arithmetic Averages
 Basic descriptive statistics were calculated for each media and spatial/temporal grouping (as described
 above). Statistics included:

                                                                                                            27

                                          PRIVILEGED AND CONFIDENTIAL



                                                                                                                 000935
Case 2:15-cv-00201-SMJ             ECF No. 423         filed 01/29/20      PageID.24515 Page 219 of 314

 Spokane River PCB Concentration Data Analysis                                                 October 2019




           Sample size;

           Arithmetic means (or averages);

           Minimum values;

           Maximum values.

 Parameters summarized include:

           tPCB concentrations in original units for each media: wet weight (ng/kg ww) in biota, dry weight
            (ng/kg dw) in sediment, and by volume (ng/L) in water.

           tPCB concentrations were also normalized to ancillary data by dividing the tPCB concentration by
            the lipid or TOC content (see equations below).

           Ancillary data were summarized such as lipid contents in tissue and TOC contents in sediments.

           Count of PCB analytes, count of non-detects, and ratio of non-detects (as described in Section
            4.1).

 4.2.1.2.     Log Transformation & Statistics for Calculating Geometric Means
 In addition to calculation arithmetic averages, tPCB concentration data were logarithm base 10 (log-10)
 transformed for statistical analysis. This approach can be used for summarizing concentration data in
 environmental media, as concentration data are often log-normally distributed. Summary statistics were
 then calculated on a log-10 basis, yielding geometric means and standard deviations that are factors of
 the mean, when converted back to original units. One aspect of the log-10 transformation is that tPCB
 results that are zero (i.e., tPCB less than detection limit for the zero treatment) are removed because the
 log-10 of zero is undefined. This was the case for a relatively small proportion of the tissue, sediment and
 water dataset, with most non-detect samples from earlier studies. Non-detect tPCB values using the two
 other data treatments were non-zero due to half or full detection limit substitutions and were retained in
 the analysis.

 Log-10 transformed statistics included:

           Log-10 unit mean;

           Geometric mean, when log-10 means are converted to original units (i.e., antilog of mean log-10
            tPCB);

           Log-10 unit standard deviation;

           Standard deviation equaling a factor of the geometric mean, when log-10 standard deviations are
            converted to original units (i.e., antilog of mean log-10 tPCB);

           Upper and lower 1 x standard deviation limits of the geometric mean. These were calculated as
            geometric mean multiplied (upper) or divided (lower) by the standard deviation factor;

                                                                                                             28

                                        PRIVILEGED AND CONFIDENTIAL



                                                                                                                  000936
Case 2:15-cv-00201-SMJ              ECF No. 423      filed 01/29/20     PageID.24516 Page 220 of 314

 Spokane River PCB Concentration Data Analysis                                                 October 2019




           For some analyses, upper and lower 95% confidence intervals of the geometric mean were
            calculated 1.96 x standard deviation. These were calculated in log space and then converted to
            original units by taking the antilog.

 Parameters summarized using this approach include:

           tPCB concentrations in original units for each media: wet weight (ng/kg ww) in biota, dry weight
            (ng/kg dw) in sediment, and by volume (ng/L) in water.

           tPCB concentrations normalized to ancillary data (see below).

 4.2.2. Tissue-specific

 4.2.2.1.     Regression between tPCB Analyzed by Aroclor and tPCB Analyzed by Congener Methods
 To examine potential differences between tPCB results obtained by Aroclor and congener methods, a
 regression analysis was completed on fish tissue samples analyzed by both methods. Specifically, three
 studies (i.e., BERA0011, RJAC002, and WSTMP12) analyzed a total of 60 fish samples using both
 congener and Aroclor methods. Quantitative regression relationships between tPCB Aroclor and tPCB
 congener are shown in Figure 4-2.




                                                                                                             29

                                         PRIVILEGED AND CONFIDENTIAL



                                                                                                                  000937
Case 2:15-cv-00201-SMJ           ECF No. 423         filed 01/29/20      PageID.24517 Page 221 of 314

 Spokane River PCB Concentration Data Analysis                                                   October 2019




 Figure 4-2: tPCB concentration by congener versus tPCB by Aroclor (logarithm base 10
                  transformed values, ng/kg wet weight, for all detection limit treatments).




 The black lines in Figure 4-2 represent a 1:1 relationship between tPCB Aroclor and tPCB congener. The
 colored lines are best-fit for each of the detection limit treatments for non-detect data. While tPCB
 concentrations in common carp (study BERA0011) were higher than those in other fish species, there was
 no apparent bias related to species (i.e., data points for different species fall above and below the
 regressions lines equally; Figure 4-2). All best-fit regression lines are similar to the 1:1 line, with tPCB
 Aroclor being slightly lower than tPCB congener for the zero detection limit treatment, and, conversely,
 tPCB Aroclor is somewhat higher than tPCB congener for the half and full detection limit treatments.




                                                                                                                30

                                      PRIVILEGED AND CONFIDENTIAL



                                                                                                                     000938
Case 2:15-cv-00201-SMJ               ECF No. 423       filed 01/29/20       PageID.24518 Page 222 of 314

 Spokane River PCB Concentration Data Analysis                                                     October 2019




 The statistics shown in Table 4-1 indicate very strong statistically significant relationships for all limit
 types (i.e., p values for the slope much less than 0.01). Much of the variability in the data is explained by
 the linear regression models for the log-10 versus log-10 transformed values (i.e., high R-squared values
 for each limit type). The residual standard error represents the differences between the predicted values
 and the values used to fit the model and reflects any sources of variability that are not captured by the
 regression, such as natural variation among individual fish and laboratory measurement error.



 Table 4-1: tPCB congener versus tPCB Aroclor (LOG(10) tPCB; ng/kg wet weight) regression
                    coefficients and statistics

                       m       Standard                                                        Residual Standard
   LimitType                                   p value (m ) b (y-intercept)        R-squared
                    (slope)    error (m )                                                            Error
      Zero           0.984       0.032            <0.01             0.130            0.94            0.101
      Half           1.088       0.048            <0.01            -0.569            0.90            0.134
       Full          1.100       0.063            <0.01            -0.756            0.84            0.166




 4.2.2.2.     Lipid Normalization
 For fish and other biota samples, lipid normalized tPCB concentrations (Cfish-L, ng/kg lipid) were calculated
 from the wet weight concentration in fish (Cfish, ng/kg wet weight) and percent lipid content (L, %),
 according to Equation 2:



 Equation 2: Lipid normalization.
                                                                𝐶𝑓𝑖𝑠ℎ
                                                  𝐶𝑓𝑖𝑠ℎ−𝐿 =
                                                              𝐿⁄
                                                                100%



 An example lipid normalized calculation is show in Table 4-2.

                          Table 4-2: Example calculation for lipid normalization.

                                       Study ID: DSER0010
                                     Sample ID: 4324444
                                    Parameter       Value       Units
                                         Cfish =     195,360    ng/kg wet weight
                                             L=           7.7   %
                                       Cfish-L = 2,537,143      ng/kg lipid



                                                                                                                31

                                          PRIVILEGED AND CONFIDENTIAL



                                                                                                                     000939
Case 2:15-cv-00201-SMJ           ECF No. 423        filed 01/29/20      PageID.24519 Page 223 of 314

 Spokane River PCB Concentration Data Analysis                                                  October 2019




 4.2.2.3. Temporal Trends Analysis
 Methods
 A temporal trends analysis was conducted on the fish tissue PCB concentration data in two ways:

         2012 versus 2005 – data from the most comprehensive studies representing the baseline period
          (DSER0016, 2005) and the recent intermediary period of 2012 (WSTMP12, 2012) were tested to
          see if there were statistically significant differences in tPCB concentrations in fish between these
          years.

         Temporal trends over time (1990s to 2012) – the overall fish tissue dataset was tested to
          determine whether there are statistically significant temporal trends in tPCB concentrations in
          Spokane River fish over time.

  Data treatment for this analysis included:

         Limiting the dataset to three species for which data support temporal analyses: Largescale
          Sucker-whole body (LSS), Rainbow Trout-fillet skin on (RBT), and Mountain Whitefish-fillet skin
          on (MWF). (Species acronyms are used in tables and figures).

         Using five Spokane River stretches with sufficient PCB data for the analysis. From upstream to
          downstream these reaches include: Above Stateline, Above Upriver, Above Monroe, Above Nine
          Mile, and Lake Spokane.

         Log-10 transforming the data due to the log-normal nature of the concentration data. Rare cases
          of zero tPCB values were removed from the log-10 dataset.

         tPCB results obtained using both Aroclor and congener analytical methods were used in this trend
          analysis.

         The data were tested using three different treatments of non-detect values (see Section 2.2.1)
          and using both wet weight and lipid normalized concentrations, for a total of six data sets:
          LimZero, LimZero-Lipid, LimHalf, LimHalf-Lipid, LimFull and LimFull-Lipid.

         For the 2012 versus 2005 analysis, the differences between mean tPCB values for the two years
          were tested using a simple linear model (analysis of variance, ANOVA). Statistical p-values and
          direction of change from 2005 to 2012 are reported. Given limited data, significance of p ≤ 0.1
          was highlighted for cases where concentrations declined over time. ANOVA tests were only
          conducted for reaches/species where there were at least two samples for each of 2005 and 2012.
          Overall, there were 10 cases tested: four reaches for Largescale Sucker and three reaches each
          for Mountain Whitefish and Rainbow Trout.

         For temporal trends over time (1990s to 2012), a linear mixed-effect model was applied to the
          log-10 data. Statistical p-values, and fixed-effect intercepts and slopes were reported. Results
          with a significance level of p ≤ 0.05 and negative slope were highlighted. Statistical tests were


                                                                                                              32

                                      PRIVILEGED AND CONFIDENTIAL



                                                                                                                   000940
Case 2:15-cv-00201-SMJ          ECF No. 423        filed 01/29/20     PageID.24520 Page 224 of 314

 Spokane River PCB Concentration Data Analysis                                                October 2019




        only conducted for reaches/species where there were at least three years of data available.
        Overall, there were 11 cases tested: five reaches for Largescale Sucker and three reaches each
        for Mountain Whitefish and Rainbow Trout.

        The linear regression model, where Year (t) is the key source of replication with subsampling (s)
        within year, followed Equation 3:



 Equation 3: Linear mixed-effect regression model of PCBs over time.

                      𝐿𝑂𝐺10 𝑡𝑃𝐶𝐵 = 𝐵0 + 𝐵1 × 𝑌𝑒𝑎𝑟_𝑡 + 𝑏0_𝑡 × 𝑌𝑒𝑎𝑟. 𝑓𝑎𝑐_𝑡 + 𝑒𝑟𝑟𝑜𝑟_𝑡𝑠



    Where
        B0 = intercept (fixed effect),
        B1 = slope (fixed),
        Year_t = year as continuous variable,
        b0_t = random effects (intercept) representing year-specific differences in mean about the trend,
        Year.fac_t = year treated as a factor (grouping variable for subsamples [s], and error_ts =
        residual error.


           The regression analysis was run in R statistical software using the lme4 package as follows:


                              lmer (log.PCB ~ Year + (1 | Year.fac), data=data)


           The R package lmerTest was used to evaluate the significance (p-value) of B1 (the overall
            slope), which is the key output of interest.
           This model assumes there is no autocorrelation (additional time structure) across years (i.e.,
            b0_t are assumed to be independent and identically distributed normal variables), which is
            reasonable in this case, and could not be discerned anyway given the small number of years.
           Note: the lmer form “(1|Year.fac)” is simply recognizing that there are multiple samples
            collected each year and that we can expect the samples for a given year to have a different
            ‘mean’ (i.e., intercept) than the samples collected in other years. This allows the model to
            expect that there will be multiple data points per year. Failure to account for this structure
            would result in a simple linear regression model that does not meet the assumption of
            independence of data points.




                                                                                                             33

                                     PRIVILEGED AND CONFIDENTIAL



                                                                                                                  000941
Case 2:15-cv-00201-SMJ         ECF No. 423       filed 01/29/20     PageID.24521 Page 225 of 314

 Spokane River PCB Concentration Data Analysis                                             October 2019




 Results
 Results for 2012 versus 2005 analysis are shown in Table 4-3.


 Table 4-3: 2012 versus 2005 ANOVA of tPCB concentrations in fish from the Spokane River.

 Top table is LimZero and LimZero-Lipid; middle is LimHalf and LimHalf-Zero and bottom is LimFull and
 LimFull-Zero

                          2012 versus 2005: Linear Models (ANOVA) Results
    River Stretch    Data Set: LimZero             Data Set: LimZero-Lipid
                     LSS       MWF       RBT       LSS        MWF       RBT
  AboveStateline     0.82 | -                      0.14 | +
  AboveUpriver       0.95 | -            0.04 | - 0.82 | -              0.29 | -
  AboveMonroe        0|-       0.03 | - 0.27 | - 0 | -        0.09 | - 0.28 | -
  AboveNinemile                0.61 | - 0.11 | -              0.05 | - 0.04 | -
  LakeSpokane        0.21 | - 0.15 | +             0.12 | + 0.12 | +


                         2012 versus 2005: Linear Models (ANOVA) Results
   River Stretch    Data Set: LimHalf             Data Set: LimHalf-Lipid
                    LSS       MWF       RBT       LSS        MWF       RBT
  AboveStateline    0.89 | -                      0.13 | +
  AboveUpriver      0.91 | -            0.01 | - 0.8 | -               0.08 | -
  AboveMonroe       0|-       0.02 | - 0.11 | - 0 | -        0.07 | - 0.16 | -
  AboveNinemile               0.52 | - 0.01 | -              0.03 | - 0 | -
  LakeSpokane       0.06 | - 0.26 | +             0.17 | + 0.21 | +


                         2012 versus 2005: Linear Models (ANOVA) Results
   River Stretch    Data Set: LimFull             Data Set: LimFull-Lipid
                    LSS       MWF       RBT       LSS        MWF        RBT
  AboveStateline    0.88 | -                      0.2 | +
  AboveUpriver      0.84 | -            0|-       0.76 | -              0.03 | -
  AboveMonroe       0|-       0.02 | - 0.06 | - 0 | -        0.06 | - 0.11 | -
  AboveNinemile               0.48 | - 0 | -                 0.04 | - 0 | -
  LakeSpokane       0.02 | - 0.71 | +             0.26 | + 0.63 | +


  p value ≤ 0.10 and declining concentration from 2005 to 2012
  p value > 0.10 with increasing or decreasing concentration from 2005 to
  2012



                                                                                                        34

                                    PRIVILEGED AND CONFIDENTIAL



                                                                                                             000942
Case 2:15-cv-00201-SMJ          ECF No. 423            filed 01/29/20   PageID.24522 Page 226 of 314

 Spokane River PCB Concentration Data Analysis                                                 October 2019




 Results show statistically significant declines in log-10 tPCB concentrations between 2005 and 2012, for
 five of ten species/river stretch cases tested, based on at least one of the LimZero/LimZero-lipid datasets.
 The other datasets (LimHalf, LimHalf-lipid and LimFull, LimFull-lipid) support these results and also
 suggest declines in tPCB concentrations in fish between 2005 and 2012 in an additional two species/river
 stretch combinations. By river stretch, results were:
        Above Stateline: No evidence of a decline over time for Largescale Sucker. (Largescale Sucker is
         the only species with data for this reach).
        Above Upriver: No evidence of a decline for Largescale Sucker, but evidence of a decline for
         Rainbow Trout. (No samples of Mountain Whitefish from this reach).
        Above Monroe: Strong evidence of a decline for Largescale Sucker and Mountain Whitefish. For
         Rainbow Trout, there is some uncertainty but no strong evidence of a decline. Specifically, results
         for the LimFull (wet weight) showed a decline, but none of the other data treatments were
         significant.
        Above Nine Mile: Strong evidence of a decline for Rainbow Trout. For Mountain Whitefish, there
         was strong evidence of a decline based on lipid normalized concentrations only. (There were
         insufficient data for Largescale Sucker from this reach).
        Lake Spokane: No evidence of changes for Mountain Whitefish. For Largescale Sucker, there is
         may be a weak indication of declining concentrations between 2005 and 2012, but there is
         uncertainty and differences between results obtained from different data treatment approaches.
         (i.e., the LimHalf and LimFull (wet weight) show declines, but these are not evident in the
         LimZero or any lipid normalized datasets). (No Rainbow Trout data from Lake Spokane).
 Overall, these data indicate decreasing tPCB concentrations in fish from 2005 to 2012 for the mid
 Spokane River reaches of Above Upriver (one of two species), Above Monroe (two of three species), and
 Above Nine Mile (both species). No declines were observed Above Stateline and there was no clear
 evidence of declining concentrations in Lake Spokane.


 Results for trend analysis over time (1990s to 2012) are shown in Table 4-4 and in Figure 4-3, Figure
 4-4, Figure 4-5, Figure 4-6, Figure 4-7 and Figure 4-8 for all data treatments.

 Key results by river stretch were:

        Above Stateline: Some uncertainty, but no strong evidence of declining PCB concentrations over
         time for Largescale Sucker. Declines were only observed in the LimHalf and LimFull data
         treatments and not the LimZero or any lipid normalized dataset. (Largescale Sucker is the only
         species with data for this reach).
        Above Upriver: Strong evidence of declines for both Largescale Sucker and Rainbow Trout. (No
         samples of Mountain Whitefish from this reach).


                                                                                                            35

                                      PRIVILEGED AND CONFIDENTIAL



                                                                                                                 000943
Case 2:15-cv-00201-SMJ          ECF No. 423        filed 01/29/20     PageID.24523 Page 227 of 314

 Spokane River PCB Concentration Data Analysis                                                October 2019




        Above Monroe: Strong evidence of a decline for Mountain Whitefish only, not for Largescale
         Sucker or Rainbow Trout. Apparently, the decline in this stretch for Largescale Sucker from 2005
         to 2012 is not consistent with the pattern observed over the entire time range; i.e., the 2005
         data appear anomalously high relative to other years.
        Above Nine Mile: Some evidence of a decline for Largescale Sucker and Rainbow Trout. These
         were significant on a lipid normalized basis for the zero treatment (LimZero-lipid) and were
         supported by results of other data treatments, which were significant in some cases for
         Largescale Sucker or were marginal for Rainbow Trout, suggesting weaker declines. No evidence
         of a decline for Mountain Whitefish.
        Lake Spokane: No strong evidence of changes for Largescale Sucker and Mountain Whitefish. (No
         Rainbow Trout data from Lake Spokane).
 Like the 2005 versus 2012 analysis, the regression analysis indicated decreasing tPCB concentrations of
 fish over time (1990s to 2012) for the mid Spokane River reaches of Above Upriver (both species), Above
 Monroe (one of three species), and Above Nine Mile (both species). Neither analysis detected statistically
 significant changes in tPCB concentrations in fish from the farthest upstream reach, Above Stateline, or in
 Lake Spokane.




                                                                                                           36

                                     PRIVILEGED AND CONFIDENTIAL



                                                                                                                000944
                                                           Case 2:15-cv-00201-SMJ           ECF No. 423          filed 01/29/20   PageID.24524 Page 228 of 314

Spokane River PCB Concentration Data Analysis                                                                                                                                                                        October 2019

Table 4-4: Linear regression analysis for temporal trends over time in tPCB concentrations in fish from the Spokane River.

Top table is LimZero and LimZero-Lipid; middle is LimHalf and LimHalf-Zero and bottom is LimFull and LimFull-Zero

                                                Linear Mixed-Effect Models Over Time                                                              Linear Mixed-Effect Models Over Time
                                                          Data Set: LimZero                                                                              Data Set: LimZero-Lipid
  River Stretch
                        p value | trend direction               y- intercept                     slope                     p value | trend direction             y- intercept                 slope
                      LSS          MWF          RBT       LSS       MWF       RBT     LSS        MWF            RBT       LSS        MWF          RBT       LSS      MWF       RBT     LSS    MWF            RBT
 AboveStateline   0.23 | -                                38.4                      -0.017                             0.26 | -                             63.3                     -0.029
 AboveUpriver     0.04 | -                  0|-          117.2               170.3  -0.056                  -0.083     0.01 | -                0|-         141.1              180.2  -0.067                 -0.087
 AboveMonroe      0.87 | +      0|-         0.71 | -      -8.7      77.7     16.8    0.007       -0.036     -0.006     0.4 | -     0.02 | -    0.25 | -     62.4     92.5     38.4   -0.028   -0.043        -0.016
 AboveNinemile    0.1 | -       0.37 | -    0.06 | -     142.0      37.9     110.2  -0.068       -0.016     -0.053     0|-         0.43 | -    0.03 | -    149.4     45.6     96.7   -0.071   -0.019        -0.045
 LakeSpokane      0.12 | -      0.33 | -                  49.1      63.1            -0.022       -0.029                0.18 | -    0.36 | -                 65.9     51.7            -0.029   -0.023


                                            Linear Mixed-Effect Models Over Time                                                             Linear Mixed-Effect Models Over Time
                                                      Data Set: LimHalf                                                                              Data Set: LimHalf-Lipid
  River Stretch
                      p value | trend direction             y- intercept                     slope                    p value | trend direction             y- intercept                  slope
                     LSS         MWF         RBT       LSS      MWF       RBT    LSS         MWF          RBT        LSS        MWF          RBT       LSS       MWF      RBT     LSS     MWF         RBT
 AboveStateline   0.05 | -                            40.4                     -0.018                             0.37 | -                             57.4                     -0.026
 AboveUpriver     0.05 | -                0.01 | -    117.4              173.2 -0.056                   -0.084    0.01 | -                0|-         142.0              183.0  -0.068            -0.088
 AboveMonroe      0.79 | +    0.04 | -    0.83 | -    -17.8     75.0     13.5   0.012        -0.035     -0.004    0.5 | -     0.01 | -    0.42 | -     53.1      87.8     34.3  -0.023   -0.041   -0.014
 AboveNinemile    0.21 | -    0.59 | -    0.07 | -    121.4     24.7     105.7 -0.058        -0.010     -0.050    0|-         0.6 | -     0.06 | -    133.5      32.4     92.0  -0.063   -0.013   -0.043
 LakeSpokane      0.17 | -    0.39 | -                44.0      53.7           -0.019        -0.024               0.22 | -    0.45 | -                 60.6      41.4           -0.027   -0.017


                                            Linear Mixed-Effect Models Over Time                                                             Linear Mixed-Effect Models Over Time
                                                      Data Set: LimFull                                                                              Data Set: LimFull-Lipid
  River Stretch
                      p value | trend direction             y- intercept                     slope                    p value | trend direction             y- intercept                  slope
                     LSS         MWF         RBT       LSS      MWF       RBT    LSS         MWF          RBT        LSS        MWF          RBT       LSS      MWF       RBT     LSS     MWF         RBT
 AboveStateline   0.05 | -                            40.2                     -0.018                             0.41 | -                             55.0                     -0.024
 AboveUpriver     0.06 | -                0.01 | -    115.6              173.8 -0.055                   -0.084    0.02 | -                0|-         140.6              183.5  -0.067            -0.088
 AboveMonroe      0.74 | +    0.04 | -    0.89 | -    -24.5     69.2     11.2   0.015        -0.032     -0.003    0.58 | -    0.02 | -    0.54 | -     46.4      85.5     31.8  -0.020   -0.039   -0.012
 AboveNinemile    0|-         0.8 | -     0.08 | -    110.3     14.8     102.3 -0.052        -0.005     -0.049    0|-         0.75 | -    0.09 | -    126.0      22.3     88.6  -0.059   -0.008   -0.041
 LakeSpokane      0.23 | -    0.48 | -                39.5      44.9           -0.017        -0.020               0.27 | -    0.56 | -                 55.6      32.6           -0.024   -0.013


 p value ≤ 0.05 and declining concentration over time (1990s to 2012)
 p value > 0.05 with increasing or decreasing concentration 1990s to 2012




                                                                                                                                                                                                                              37

                                                                                                      PRIVILEGED AND CONFIDENTIAL



                                                                                                                                                                                                                                    000945
                                                    Case 2:15-cv-00201-SMJ       ECF No. 423     filed 01/29/20   PageID.24525 Page 229 of 314

Spokane River PCB Concentration Data Analysis                                                                                                                           October 2019

Figure 4-3: Regression models of tPCB concentrations over time by river stretch and species in fish from the Spokane River: Data set LimZero (log-10 tPCB, ng/kg ww).




                                                                                                                                                                                 38

                                                                                        PRIVILEGED AND CONFIDENTIAL



                                                                                                                                                                                       000946
                                                    Case 2:15-cv-00201-SMJ        ECF No. 423      filed 01/29/20   PageID.24526 Page 230 of 314

Spokane River PCB Concentration Data Analysis                                                                                                                                    October 2019

Figure 4-4: Regression models of tPCB concentrations over time by river stretch and species in fish from the Spokane River: Data set LimZero-Lipid (log-10 tPCB, ng/kg lipid).




                                                                                                                                                                                          39

                                                                                         PRIVILEGED AND CONFIDENTIAL



                                                                                                                                                                                                000947
                                                    Case 2:15-cv-00201-SMJ       ECF No. 423     filed 01/29/20   PageID.24527 Page 231 of 314

Spokane River PCB Concentration Data Analysis                                                                                                                           October 2019

Figure 4-5: Regression models of tPCB concentrations over time by river stretch and species in fish from the Spokane River: Data set LimHalf (log-10 tPCB, ng/kg ww).




                                                                                                                                                                                 40

                                                                                        PRIVILEGED AND CONFIDENTIAL



                                                                                                                                                                                       000948
                                                     Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24528 Page 232 of 314

Spokane River PCB Concentration Data Analysis                                                                                                                                    October 2019

Figure 4-6: Regression models of tPCB concentrations over time by river stretch and species in fish from the Spokane River: Data set LimHalf-Lipid (log-10 tPCB, ng/kg lipid).




                                                                                                                                                                                          41

                                                                                          PRIVILEGED AND CONFIDENTIAL



                                                                                                                                                                                                000949
                                                    Case 2:15-cv-00201-SMJ       ECF No. 423      filed 01/29/20   PageID.24529 Page 233 of 314

Spokane River PCB Concentration Data Analysis                                                                                                                           October 2019

Figure 4-7: Regression models of tPCB concentrations over time by river stretch and species in fish from the Spokane River: Data set LimFull (log-10 tPCB, ng/kg ww).




                                                                                                                                                                                 42

                                                                                        PRIVILEGED AND CONFIDENTIAL



                                                                                                                                                                                       000950
                                                     Case 2:15-cv-00201-SMJ        ECF No. 423     filed 01/29/20   PageID.24530 Page 234 of 314

Spokane River PCB Concentration Data Analysis                                                                                                                                    October 2019

Figure 4-8: Regression models of tPCB concentrations over time by river stretch and species in fish from the Spokane River: Data set LimFull-Lipid (log-10 tPCB, ng/kg lipid).




                                                                                                                                                                                          43

                                                                                          PRIVILEGED AND CONFIDENTIAL



                                                                                                                                                                                                000951
Case 2:15-cv-00201-SMJ          ECF No. 423         filed 01/29/20    PageID.24531 Page 235 of 314

 Spokane River PCB Concentration Data Analysis                                              October 2019




 4.2.3. Sediment and Suspended Sediment-specific

 4.2.3.1.   Total Organic Carbon Normalization
 tPCB concentrations in sediment or suspended sediment (Csed, ng/kg dry weight) were organic carbon-
 normalized (Csed-toc, ng/kg TOC) using TOC (%) according to Equation 4:



 Equation 4: Total organic carbon normalization.
                                                            𝐶𝑠𝑒𝑑
                                             𝐶𝑠𝑒𝑑−𝑡𝑜𝑐 =
                                                          𝑇𝑂𝐶⁄
                                                              100%



 An example calculation is show in Table 4-5.

                 Table 4-5: Example calculation for organic carbon normalization.

                                 Study ID:   SRUW-Spokane
                               Station ID:   Avi-6
                               Sample ID:    1308073-12
                              Parameter:     tPCB Congeners - LimitZero
                              Parameter          Value     Units
                                   Csed =          10,429 ng/kg dry weight
                                    TOC =             1.13 %
                               Csed-toc =         922,920 ng/kg TOC

 4.2.4. Water-specific
 There were no calculations or data treatments, specific to the surface water data.

    4.3.    Compilation of Measured Concentrations of PCBs in Media of the Spokane
    River
 Tables and figures summarizing the measured concentrations of tPCBs in fish, sediment, water,
 suspended sediment, biofilm and invertebrate samples from the Spokane River are provided in Appendix
 A of this memorandum. (Tables are provided electronically). In addition, Appendix A shows maps
 showing the locations where samples of different media were collected from the Spokane River.

    4.4.    Predictions of PCB Concentrations in Water, Sediments and Fish
 Predicted concentrations of PCBs in water, sediment and fish of the Spokane River were calculated for
 the Expert Report by combining information on PCB discharge rates to the Spokane River (as described in
 the Expert Report), with the measured concentrations of PCBs in different media of the River (as
 compiled in this memorandum). The calculation of predicted concentrations of PCBs is possible due to the

                                                                                                         44

                                     PRIVILEGED AND CONFIDENTIAL



                                                                                                              000952
Case 2:15-cv-00201-SMJ           ECF No. 423           filed 01/29/20   PageID.24532 Page 236 of 314

 Spokane River PCB Concentration Data Analysis                                                  October 2019




 linearity between changes in loadings and changes PCB concentrations. In other words, if combined PCB
 discharge rates to the Spokane River are reduced by 50%, for example, then concentrations of PCBs in
 water, sediment and fish are expected to decline in a proportional manner (i.e. by 50%) over time.

 In order to predict PCB concentrations in media of the Spokane River, the first step was to calculate the
 relative change in combined PCB discharge rates between two time periods (e.g., current versus future
 2030 or baseline versus current, etc.). For changes between baseline and current, there were two
 scenarios calculated based on the lower bound and upper bound loading estimates. For PCB loadings
 changes between baseline and future, there were a total of six scenarios calculated using three treatment
 levels for the City of Spokane’s discharges, as well as lower and upper bound estimates for other sources.
 The scenarios are described in more detail in the Expert Report.

 As an example, the relative change in loadings between future and current time periods is shown in
 Equation 5 below:



 Equation 5: Relative change in loadings between time periods.



                                              Sum PCB loadings𝐹𝑢𝑡𝑢𝑟𝑒 −Sum PCB loadings𝐶𝑢𝑟𝑟𝑒𝑛𝑡
 𝑅𝑒𝑙𝑎𝑡𝑖𝑣𝑒 𝐶ℎ𝑎𝑛𝑔𝑒 𝑖𝑛 𝐿𝑜𝑎𝑑𝑖𝑛𝑔𝑠 (𝑓𝑟𝑎𝑐𝑡𝑖𝑜𝑛) =
                                                         Sum PCB loadings𝐶𝑢𝑟𝑟𝑒𝑛𝑡



 These changes in PCB loadings were calculated for various stretches of the Spokane River (Table 3-6).
 The PCB discharge rates for all known sources entering the Spokane River are provided in Expert Report.

 These changes in PCB loadings in the Spokane River directly equate to expected changes in
 concentrations of PCBs in water, sediment and fish. Thus, the changes calculated using Equation 5 were
 applied to the measured concentration of PCBs in media of the Spokane River, at a particular time point,
 to predict concentrations in the future or for other time periods. The predicted concentrations were
 calculated according to Equation 6 for the future time period, as an example:



 Equation 6: Calculation of predicted concentration of PCBs in media of the Spokane River.



      𝐹𝑢𝑡𝑢𝑟𝑒 𝑃𝐶𝐵 𝐶𝑜𝑛𝑐𝑒𝑛𝑡𝑟𝑎𝑡𝑖𝑜𝑛 = (1 + 𝑅𝑒𝑙𝑎𝑡𝑖𝑣𝑒 𝐶ℎ𝑎𝑛𝑔𝑒 𝑖𝑛 𝐿𝑜𝑎𝑑𝑖𝑛𝑔𝑠) × 𝐶𝑢𝑟𝑟𝑒𝑛𝑡 𝑃𝐶𝐵 𝐶𝑜𝑛𝑐𝑒𝑛𝑡𝑟𝑎𝑡𝑖𝑜𝑛



 𝑊ℎ𝑒𝑟𝑒 𝑡ℎ𝑒 𝑅𝑒𝑙𝑎𝑡𝑖𝑣𝑒 𝐶ℎ𝑎𝑛𝑔𝑒 𝑖𝑛 𝐿𝑜𝑎𝑑𝑖𝑛𝑔𝑠 𝑖𝑠 𝑎 𝑓𝑟𝑎𝑐𝑡𝑖𝑜𝑛

 This calculation can be made to represent changes from current to future, as shown, or for other time
 periods/scenarios, which are described in the Expert Report. Tables documenting the predicted

                                                                                                         45

                                       PRIVILEGED AND CONFIDENTIAL



                                                                                                               000953
Case 2:15-cv-00201-SMJ           ECF No. 423        filed 01/29/20      PageID.24533 Page 237 of 314

 Spokane River PCB Concentration Data Analysis                                                   October 2019




 concentrations of PCBs in water, sediment and fish of the Spokane River are provided as electronic files
 in Appendix A of this memorandum.

    4.5.    QAQC Review
 A QAQC review of all calculations and analyses was conducted by reviewing equations used in the R code
 and spot-checking the calculated values (i.e., for several samples, newly-calculated parameter values in
 the R output file were cross-checked with values calculated separately in Excel). The same approach was
 used for reviewing calculations of arithmetic, log-10 and geometric mean values and other statistics for
 all parameters (i.e., for various groups of samples, mean values were recalculated in Excel to cross-check
 data filtering and calculations made in R). All calculations made in Excel spreadsheets (i.e., calculation of
 predicted concentrations) underwent QAQC review.




                                                                                                            46

                                      PRIVILEGED AND CONFIDENTIAL



                                                                                                                 000954
Case 2:15-cv-00201-SMJ         ECF No. 423        filed 01/29/20     PageID.24534 Page 238 of 314

 Spokane River PCB Concentration Data Analysis                                              October 2019




 5. REFERENCES
 Anchor Environmental LLC (2005). Draft Final Focused Remedial Investigation Report Upriver Dam PCB
    Sediments Site. Seattle, WA.
 Batts, D. and A. Johnson (1995). Bioassays of Spokane River Sediments (Final). Washington State
     Department of Ecology: 6.
 Borgias, A. and T. Hamlin (2017). Quality Assurance Project Plan: Spokane River Urban Waters
     Investigation of PCBs in Soils and Stormwater Associated with Demolition Activities. Washington State
     Department of Ecology. Spokane, WA: 73.
 Davis, D., A. Johnson and D. Serdar (1995). Washington State Pesticide Monitoring Program: 1993 Fish
    Tissue Sampling Report. Olympia, WA, Washington State Department of Ecology.
 Davis, D. and D. Serdar (1994). Results of 1993 screening survey on PCBs and Metals in the Spokane
    River (with corrections). Washington State Department of Ecology. Olympia, WA.
 Ecology, (Washington State Department of Ecology) (1995). Department of Ecology 1993-94
     Investigation of PCBs in the Spokane River. Washington State Department of Ecology. Olympia, WA.
 Ecology, (Washington State Department of Ecology) (2015). Periodic Review: Spokane River Upriver Dam
     and Donkey Island PCB Sediment Site. Washington State Department of Ecology. Spokane, WA.
 Ecology, (Washington State Department of Ecology) (2018). EIM Help – Entering Non-Detects and
     Estimates. Version 2.7: 3.
 Era-Miller, B. (2014a). Technical Memo: Spokane River Toxics Sampling 2012-2013- Surface Water,
     CLAM, and Sediment Trap Results. Washington State Department of Ecology.
 Era-Miller, B. (2015a). Lake Spokane: PCBs in Carp. Washington State Department of Ecology. Olympia,
     WA.
 Era-Miller, B. (2015b). Quality Assurance Project Plan: Spokane River PCBs and Other Toxics Long Term
     Monitoring at the Spokane Tribal Boundary. Washington State Department of Ecology. Olympia, WA.
 Era-Miller, B. and M. McCall (2017). Spokane River PCBs and Other Toxics at the Spokane Tribal
     Boundary: Recommendations for Developing a Long-Term Monitoring Plan. Washington State
     Department of Ecology. Olympia, WA: 59.
 Fernandez, A. (2012). Spokane River Urban Waters Source Investigation and Data Analysis Progress
     Report (2009-2011): Source Tracing for PCB, PBDE, Dioxin/Furan, Lead, Cadmium, and Zinc.
     Washington State Department of Ecology. Olympia, WA.
 Golding, S. (2001). Spokane River PCB and Source Survey August 2000. Washington State Department of
     Ecology. Olympia, WA.
 Hobbs, W., M. McCall and B. Era-Miller (2019). Evaluation of Low-Level Field Sampling Methods for PCBs
    and PBDEs in Surface Waters. Washington State Department of Ecology. Olympia, WA: 70.
 Hopkins, B. (1991). Basic Water Monitoring Program Fish Tissue and Sediment Sampling for 1989.
    Washington State Department of Ecology. Olympia, WA.
 Jack, R. and M. Roose (2002). Analysis of Fish Tissue from Long Lake (Spokane River) for PCBs and
     Selected Metals. Washington State Department of Ecology. Olympia, WA.
 Johnson, A. (1994a). PCB and Lead Results for 1994 Spokane River Fish Samples. Toxics Investigation
     Section - Washington State Department of Ecology. WA.

                                                                                                        47

                                    PRIVILEGED AND CONFIDENTIAL



                                                                                                             000955
Case 2:15-cv-00201-SMJ         ECF No. 423       filed 01/29/20     PageID.24535 Page 239 of 314

 Spokane River PCB Concentration Data Analysis                                             October 2019




 Johnson, A. (1994b). Planar PCBs in Spokane River Fish. Toxics, Compliance, and Ground Water
     Investigations Section - Washington State Department of Ecology. WA.
 Johnson, A. (1997). 1996 Results on PCBs in Upper Spokane River Fish. Washington State Department of
     Ecology. WA.
 Johnson, A. (2000). Results from Analyzing PCBs in 1999 Spokane River Fish and Crayfish Samples.
     Washington State Department of Ecology. WA.
 Johnson, A. and D. Norton (2001). Chemical Analysis and Toxicity Testing of Spokane River Sediments
     Collected in October 2000. Washington State Department of Ecology. Olympia, WA.
 Joy, J. (1984). Letter on data concerning PCBs in fish taken from the Spokane River by the U.S.
     Environmental Protection Agency and the Washington State Department of Ecology. Jeff Sher,
     Spokane Spokesman Review. Olympia, WA, Washington State Department of Ecology: 7.
 LimnoTech (2014). Quality Assurance Project Plan: Spokane River Toxics Reduction Strategy Study,
    Prepared for: Spokane River Regional Toxics Task Force.
 LimnoTech (2015). Spokane River Regional Toxics Task Force Phase 2 Technical Activities Report:
    Identification of Potential Unmonitored Dry Weather Sources of PCBs to the Spokane River. Ann
    Arbor, MI, Prepared for: Spokane River Regional Toxics Task Force.
 LimnoTech (2016b). Spokane River Regional Toxics Task Force 2015 Technical Activities Report:
    Continued Identification of Potential Unmonitored Dry Weather Sources of PCBs to the Spokane
    River. Ann Arbor, MI, Prepared for: Spokane River Regional Toxics Task Force.
 LimnoTech (2017). Spokane River Regional Toxics Task Force 2016 Monthly Monitoring Report. Ann
    Arbor, MI, Prepared for: Spokane River Regional Toxics Task Force.
 LimnoTech (2019). Spokane River Regional Toxics Task Force 2018 Technical Activities Report: Continued
    Identification of Potential Unmonitored Dry Weather Sources of PCBs to the Spokane River. Ann
    Arbor, MI, Prepared for: Spokane River Regional Toxics Task Force: 46.
 Mathieu, C. (2018). PBT Trends in Lake Sediment Cores: 2016 Results. Washington State Department of
    Ecology.
 PGG (2019a). Spokane River PCB Project Database. Pacific Groundwater Group. Version 13 (April 4,
    2019).
 PGG (2019b). Spokane River PCB Project Database. Pacific Groundwater Group. Version 18 (June 11,
    2019).
 Seiders, K., C. Deligeannis, P. Sandvik and M. McCall (2014). Freshwater Fish Contaminant Monitoring
     Program: 2012 Results. Washington State Department of Ecology. Olympia, WA: 29.
 Serdar, D. and A. Johnson (2006). PCBs, PBDEs, and Selected Metals in Spokane River Fish, 2005.
     Washington State Department of Ecology. Olympia, WA.
 Serdar, D., A. Johnson and D. Davis (1994). Survey of Chemical Contaminants in Ten Washington Lakes.
     Environmental Investigations and Laboratory Services Program. Olympia, WA, Washington State
     Department of Ecology.
 Serdar, D., B. Lubliner, A. Johnson and D. Norton (2011). Spokane River PCB Source Assessment 2003-
     2007. Washington State Department of Ecology. Olympia, WA.
 Wong, S. (2018). Evaluation of Fish Hatcheries as Sources of PCBs to the Spokane River. Washington
    State Department of Ecology. Olympia, WA.

                                                                                                        48

                                    PRIVILEGED AND CONFIDENTIAL



                                                                                                             000956
Case 2:15-cv-00201-SMJ          ECF No. 423       filed 01/29/20      PageID.24536 Page 240 of 314

 Spokane River PCB Concentration Data Analysis                                              October 2019




 Wong, S. and B. Era-Miller (2019a). Final Validated Data - Spokane Biofilm Project.
 Wong, S. and B. Era-Miller (2019b). Using Biofilms to Identify Sources of PCBs to the Spokane River.
    Spokane River Forum Conference 2019. Washington State Department of Ecology. Spokane, WA.
 Wong, S. and B. Era-Miller (2019c). Quality Assurance Project Plan: Measuring PCBs in Biofilm, Sediment
    and Invertebrates in the Spokane River: Screening Study. Washington State Department of Ecology.
    Olympia, WA.




                                                                                                        49

                                     PRIVILEGED AND CONFIDENTIAL



                                                                                                             000957
Case 2:15-cv-00201-SMJ        ECF No. 423        filed 01/29/20   PageID.24537 Page 241 of 314

 Spokane River PCB Concentration Data Analysis                                    October 2019




 Appendix A: Maps, Figures, and Tables showing PCB Concentration Data
 (Includes Electronic Files)




                                                                                           50

                                   PRIVILEGED AND CONFIDENTIAL



                                                                                                 000958
Case 2:15-cv-00201-SMJ             ECF No. 423           filed 01/29/20       PageID.24538 Page 242 of 314

 Spokane River PCB Concentration Data Analysis                                                          October 2019




                                      APPENDIX A MAP INDEX
 Map 1:            Map of Spokane River mile markers

 Map 2:            Map of fish sample stations by study ID on the Spokane River - study date range 1992-2016

 Map 3:            Map of surface sediment sample stations by study ID on the Spokane River - study date range
                   1990-2018

 Map 4:            Map of surface sediment sample stations by study ID on the Spokane River - study date range
                   2003-2016

 Map 5:            Map of water sample stations by study ID on the Spokane River - study date range 2000-2018

 Map 6:            Map of suspended sediment sample stations by study ID on the Spokane River - study date range
                   2003-2017

 Map 7:            Map of biofilm and invertebrate sample stations by study ID on the Spokane River - 2018




                                  APPENDIX A FIGURES INDEX
 Figure 1 Set

 Figure 1A: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of River Mile.
                   Subset by species (all) and year. Non-detects assigned zero.

 Figure 1B: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of River Mile.
                   Subset by species (all) and year. Non-detects assigned half DL.

 Figure 1C: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of River Mile.
                   Subset by species (all) and year. Non-detects assigned full DL.

 Figure 1D: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of River Mile. Subset
                   by species (all) and year. Non-detects assigned zero.

 Figure 1E: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of River Mile. Subset by
                   species (all) and year. Non-detects assigned half DL.

 Figure 1F: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of River Mile. Subset by
                   species (all) and year. Non-detects assigned full DL.



 Figure 2 Set

 Figure 2A: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of River Mile.
                   Subset by the main species and year, other species are grouped together. Non-detects assigned
                   zero.



                                                                                                                        51

                                         PRIVILEGED AND CONFIDENTIAL



                                                                                                                             000959
Case 2:15-cv-00201-SMJ              ECF No. 423          filed 01/29/20          PageID.24539 Page 243 of 314

 Spokane River PCB Concentration Data Analysis                                                          October 2019




 Figure 2B: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of River Mile.
                   Subset by the main species and year, other species are grouped together. Non-detects assigned
                   half DL.

 Figure 2C: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of River Mile.
                   Subset by the main species and year, other species are grouped together. Non-detects assigned
                   full DL.

 Figure 2D: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of River Mile. Subset
                   by the main species and year, other species are grouped together. Non-detects assigned zero.

 Figure 2E: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of River Mile. Subset by
                   the main species and year, other species are grouped together. Non-detects assigned half DL.

 Figure 2F: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of River Mile. Subset by
                   the main species and year, other species are grouped together. Non-detects assigned full DL.



 Figure 3 Set

 Figure 3A: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of year. Subset
                   by species (all) and river stretch. Non-detects assigned zero.

 Figure 3B: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of year. Subset
                   by species (all) and river stretch. Non-detects assigned half DL.

 Figure 3C: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of year. Subset
                   by species (all) and river stretch. Non-detects assigned full DL.

 Figure 3D: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of year. Subset by
                   species (all) and river stretch. Non-detects assigned zero.

 Figure 3E: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of year. Subset by
                   species (all) and river stretch. Non-detects assigned half DL.

 Figure 3F: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of year. Subset by
                   species (all) and river stretch. Non-detects assigned full DL.



 Figure 4 Set

 Figure 4A: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of year. Subset
                   by the main species and river stretch, other species are grouped together. Non-detects assigned
                   zero.

 Figure 4B: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of year. Subset
                   by the main species and river stretch, other species are grouped together. Non-detects assigned
                   half DL.




                                                                                                                        52

                                         PRIVILEGED AND CONFIDENTIAL



                                                                                                                             000960
Case 2:15-cv-00201-SMJ             ECF No. 423          filed 01/29/20        PageID.24540 Page 244 of 314

 Spokane River PCB Concentration Data Analysis                                                          October 2019




 Figure 4C: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of year. Subset
                   by the main species and river stretch, other species are grouped together. Non-detects assigned
                   full DL.

 Figure 4D: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of year. Subset by the
                   main species and river stretch, other species are grouped together. Non-detects assigned zero.

 Figure 4E: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of year. Subset by the
                   main species and river stretch, other species are grouped together. Non-detects assigned half DL.

 Figure 4F: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of year. Subset by the
                   main species and river stretch, other species are grouped together. Non-detects assigned full DL.



 Figure 5 Set

 Figure 5A: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of River
                   Mile. Subset by year and depth category - surface and sub-surface. Individual congener/Aroclor
                   non-detects assigned zero.

 Figure 5B: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of River
                   Mile. Subset by year and depth category - surface and sub-surface. Individual congener/Aroclor
                   non-detects assigned half DL.

 Figure 5C: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of River
                   Mile. Subset by year and depth category - surface and sub-surface. Individual congener/Aroclor
                   non-detects assigned full DL.

 Figure 5D: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of River Mile.
                   Subset by year and depth category - surface and sub-surface. Individual congener/Aroclor non-
                   detects assigned zero.

 Figure 5E: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of River Mile.
                   Subset by year and depth category - surface and sub-surface. Individual congener/Aroclor non-
                   detects assigned half DL.

 Figure 5F: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of River Mile.
                   Subset by year and depth category - surface and sub-surface. Individual congener/Aroclor non-
                   detects assigned full DL.



 Figure 6 Set

 Figure 6A: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of River
                   Mile. Subset by decade and depth category - surface and sub-surface. Individual congener/Aroclor
                   non-detects assigned zero.




                                                                                                                     53

                                         PRIVILEGED AND CONFIDENTIAL



                                                                                                                          000961
Case 2:15-cv-00201-SMJ             ECF No. 423         filed 01/29/20       PageID.24541 Page 245 of 314

 Spokane River PCB Concentration Data Analysis                                                        October 2019




 Figure 6B: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of River
                  Mile. Subset by decade and depth category - surface and sub-surface. Individual congener/Aroclor
                  non-detects assigned half DL.

 Figure 6C: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of River
                  Mile. Subset by decade and depth category - surface and sub-surface. Individual congener/Aroclor
                  non-detects assigned full DL.

 Figure 6D: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of River Mile.
                  Subset by decade and depth category - surface and sub-surface. Individual congener/Aroclor non-
                  detects assigned zero.

 Figure 6E: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of River Mile.
                  Subset by decade and depth category - surface and sub-surface. Individual congener/Aroclor non-
                  detects assigned half DL.

 Figure 6F: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of River Mile.
                  Subset by decade and depth category - surface and sub-surface. Individual congener/Aroclor non-
                  detects assigned full DL.



 Figure 7 Set

 Figure 7A: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of year.
                  Subset by river stretch and depth category - surface and sub-surface. Individual congener/Aroclor
                  non-detects assigned zero.

 Figure 7B: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of year.
                  Subset by river stretch and depth category - surface and sub-surface. Individual congener/Aroclor
                  non-detects assigned half DL.

 Figure 7C: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of year.
                  Subset by river stretch and depth category - surface and sub-surface. Individual congener/Aroclor
                  non-detects assigned full DL.

 Figure 7D: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of year. Subset by
                  river stretch and depth category - surface and sub-surface. Individual congener/Aroclor non-
                  detects assigned zero.

 Figure 7E: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of year. Subset by
                  river stretch and depth category - surface and sub-surface. Individual congener/Aroclor non-
                  detects assigned half DL.

 Figure 7F: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of year. Subset by
                  river stretch and depth category - surface and sub-surface. Individual congener/Aroclor non-
                  detects assigned full DL.




                                                                                                                    54

                                        PRIVILEGED AND CONFIDENTIAL



                                                                                                                         000962
Case 2:15-cv-00201-SMJ             ECF No. 423          filed 01/29/20        PageID.24542 Page 246 of 314

 Spokane River PCB Concentration Data Analysis                                                         October 2019




 Figure 8 Set

 Figure 8A: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of river
                  stretch. Subset by key time periods (2000s and 2010s). Individual congener/Aroclor non-detects
                  assigned zero.

 Figure 8B: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of river
                  stretch. Subset by key time periods (2000s and 2010s). Individual congener/Aroclor non-detects
                  assigned half DL.

 Figure 8C: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of river
                  stretch. Subset by key time periods (2000s and 2010s). Individual congener/Aroclor non-detects
                  assigned full DL.

 Figure 8D: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of river stretch.
                  Subset by key time periods (2000s and 2010s). Individual congener/Aroclor non-detects assigned
                  zero.

 Figure 8E: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of river stretch.
                  Subset by key time periods (2000s and 2010s). Individual congener/Aroclor non-detects assigned
                  half DL.

 Figure 8F: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of river stretch.
                  Subset by key time periods (2000s and 2010s). Individual congener/Aroclor non-detects assigned
                  full DL.



 Figure 9: Total PCB 3xblank censored concentrations in surface water from the Spokane River (ng/L) as a function of
                  River Mile. Subset by year, showing all detection limit treatments.



 Figure 10: Total PCB 3xblank censored concentrations in surface water from the Spokane River (ng/L) as a function
                  of year. Subset by river stretch, showing all detection limit treatments.



 Figure 11 Set

 Figure 11A: Total PCB concentrations in suspended sediment from the Spokane River (ng/kg dry weight) as a
                  function of River Mile. Subset by year, showing all detection limit treatments.

 Figure 11B: Total PCB concentrations in suspended sediment from the Spokane River (ng/kg OC) as a function of
                  River Mile. Subset by year, showing all detection limit treatments.



 Figure 12 Set

 Figure 12A: Total PCB concentrations in suspended sediment from the Spokane River (ng/kg dry weight) as a
                  function of year. Subset by river stretch, showing all detection limit treatments.


                                                                                                                     55

                                        PRIVILEGED AND CONFIDENTIAL



                                                                                                                          000963
Case 2:15-cv-00201-SMJ              ECF No. 423           filed 01/29/20        PageID.24543 Page 247 of 314

 Spokane River PCB Concentration Data Analysis                                                            October 2019




 Figure 12B: Total PCB concentrations in suspended sediment from the Spokane River (ng/kg OC) as a function of
                   year. Subset by river stretch, showing all detection limit treatments.



 Figure 13 Set

 Figure 13A: Total PCB concentrations in biofilm and invertebrates from the Spokane River (ng/kg wet weight) as a
                   function of River Mile. Subset by year, showing all detection limit treatments.

 Figure 13B: Total PCB concentrations in biofilm and invertebrates from the Spokane River (ng/kg lipid) as a function
                   of River Mile. Subset by year, showing all detection limit treatments.

 Figure 13C: Total PCB concentrations in biofilm from the Spokane River (ng/kg OC) as a function of River Mile.
                   Subset by year, showing all detection limit treatments.




                  APPENDIX A ELECTRONIC DATA TABLES INDEX


 01_PCB Concentration Tables 09Oct19.xlsm

 Table 1: Station identification labels and location details for fish collected from the Spokane River and analyzed for
                   PCBs.

 Table 2: Summary of total PCB concentrations in fish from the Spokane River based on Aroclor and congener data -
                   wet weight (ng/kg ww), lipid normalized (ng/kg lipid), number of PCB analytes and non-detects
                   and lipid contents (%).

 Table 3: Summary of total PCB concentrations in fish from the Spokane River based on Aroclor and congener data
                   pooled across analysis type - wet weight (ng/kg ww), lipid normalized (ng/kg lipid), and lipid
                   contents (%).

 Table 4: Station identification labels and location details for surface sediment samples collected from the Spokane
                   River and analyzed for PCBs.

 Table 5: Summary of total PCB concentrations in surface sediment from the Spokane River - dry weight (ng/kg dw),
                   organic carbon normalized (ng/kg TOC), number of PCB analytes and non-detects, total organic
                   carbon contents (TOC, %), and total solids (TS, %).

 Table 6: Summary of total PCB concentrations in surface sediment from the Spokane River pooled across analysis
                   type - dry weight (ng/kg dw), organic carbon normalized (ng/kg TOC), total organic carbon
                   contents (TOC, %) and total solids (TS, %).

 Table 7: Station identification labels and location details for freshwater samples collected from the Spokane River and
                   analyzed for PCBs.



                                                                                                                          56

                                          PRIVILEGED AND CONFIDENTIAL



                                                                                                                               000964
Case 2:15-cv-00201-SMJ              ECF No. 423           filed 01/29/20        PageID.24544 Page 248 of 314

 Spokane River PCB Concentration Data Analysis                                                            October 2019




 Table 8: Summary of total PCB concentrations in freshwater from the Spokane River - 3xblank censored6 (ng/L),
                   number of PCB analytes and non-detects, total organic carbon (TOC, mg/L), total suspended solids
                   (TSS, mg/L), total dissolved solids (TDS, mg/L), and dissolved organic carbon (DOC, mg/L).

 Table 9: Station identification labels and location details for suspended sediment samples collected from the Spokane
                   River and analyzed for PCBs.

 Table 10: Summary of total PCB concentrations in suspended sediments from the Spokane River - dry weight (ng/kg
                   dw), organic carbon normalized (ng/kg TOC), number of PCB analytes and non-detects, total
                   organic carbon contents (TOC, %), moisture content (%) and total solids (TS, %).

 Table 11: Station identification labels and location details for biofilm and invertebrate samples collected from the
                   Spokane River and analyzed for PCBs.

 Table 12: Summary of total PCB concentrations in biofilm and invertebrate samples from the Spokane River - wet
                   weight (ng/kg ww), lipid normalized (ng/kg lipid), organic carbon normalized (ng/kg OC), number
                   of PCB analytes and non-detects, lipid contents (%) and total organic carbon contents (TOC, %).




 02_Future Fish PCB Predictions w RA 30Sep19.xlsx



 Table 1: Summary of total PCB concentrations - wet weight (ng/kg ww) and lipid normalized (ng/kg lipid), for fish
                   from the Spokane River, for the baseline time period (2001-2005). No pooling across analysis type.

 Table 2: Summary of total PCB concentrations - wet weight (ng/kg ww) and lipid normalized (ng/kg lipid), for fish
                   from the Spokane River, for the baseline time period (2001-2005). Pooled across analysis type.

 Table 3: Summary of total PCB concentrations - wet weight (ng/kg ww) and lipid normalized (ng/kg lipid), for fish
                   from the Spokane River, for the 2012* time period, and six scenarios predicted for the future time
                   period (2030). No pooling across analysis type. *Also includes 2014 PCB concentration data in
                   Common Carp; this is considered to represent the "current" time period.

 Table 4: Summary of total PCB concentrations - wet weight (ng/kg ww) and lipid normalized (ng/kg lipid), for fish
                   from the Spokane River, for the 2012* time period, and six scenarios predicted for the future time
                   period (2030). Pooled across analysis type. *Also includes 2014 PCB concentration data in Common
                   Carp; this is considered to represent the "current" time period.

 Table 5: Summary of total PCB concentrations - wet weight (ng/kg ww) and lipid normalized (ng/kg lipid), for fish
                   from the Spokane River, for the 2012 time period, and lower and upper predictions for the current
                   time period (2018)*. No pooling across analysis type. *Also includes 2014 PCB concentration data
                   in Common Carp; this is considered to represent the "current" time period.

 Table 6: Summary of total PCB concentrations - wet weight (ng/kg ww) and lipid normalized (ng/kg lipid), for fish
                   from the Spokane River, for the 2012 time period, and and lower and upper predictions for the
                   current time period (2018)*. Pooled across analysis type. *Also includes 2014 PCB concentration
                   data in Common Carp; this is considered to represent the "current" time period.

                                                                                                                        57

                                          PRIVILEGED AND CONFIDENTIAL



                                                                                                                             000965
Case 2:15-cv-00201-SMJ             ECF No. 423         filed 01/29/20        PageID.24545 Page 249 of 314

 Spokane River PCB Concentration Data Analysis                                                          October 2019




 Table 7: Summary of arithmetic and geometric mean total PCB concentrations - wet weight (ng/kg ww) for fish from
                  the Spokane River, based on six scenarios for the future time period (2030). No pooling across
                  analysis type.

 Table 8: Summary of arithmetic and geometric mean total PCB concentrations - wet weight (ng/kg ww) for fish from
                  the Spokane River, based on six scenarios for the future time period (2030). Pooled across analysis
                  type.

 Table 9: Summary of arithmetic and geometric mean total PCB concentrations - wet weight (ng/kg ww) for fish from
                  the Spokane River, for lower and upper bound predictions for the current time period (2018). No
                  pooling across analysis type.

 Table 10: Summary of arithmetic and geometric mean total PCB concentrations - wet weight (ng/kg ww) for fish
                  from the Spokane River, for lower and upper bound predictions for the current time period (2018).
                  Pooled across analysis type.

 Table 11: Summary of arithmetic mean total PCB concentrations - wet weight (ng/kg ww) and lipid weight (ng/kg
                  lipid) for fish from the Spokane River: 2012 data and six scenarios for the future time period
                  (2030). No pooling across analysis type.

 Table 12: Summary of arithmetic mean total PCB concentrations - wet weight (ng/kg ww) and lipid weight (ng/kg
                  lipid) for fish from the Spokane River: 2012 data and lower and upper predictions for the current
                  time period (2018). No pooling across analysis type.




 03_Fish Predictions for RA_30Sept19.xlsx



 Table 11: Summary of arithmetic mean total PCB concentrations - wet weight (ng/kg ww) and lipid weight (ng/kg
                  lipid) for fish from the Spokane River: 2012 data and six scenarios for the future time period
                  (2030). No pooling across analysis type.

 Table 12: Summary of arithmetic mean total PCB concentrations - wet weight (ng/kg ww) and lipid weight (ng/kg
                  lipid) for fish from the Spokane River: 2012 data and lower and upper predictions for the current
                  time period (2018). No pooling across analysis type.




 04_Future Sediment PCB Predictions 28Sept19.xlsx



 Table 1: Summary of total PCB concentrations - dry weight (ng/kg dw) and organic carbon normalized (ng/kg TOC),
                  for sediment from the Spokane River, for the baseline time period (2003-2004). No pooling across
                  analysis type.



                                                                                                                      58

                                        PRIVILEGED AND CONFIDENTIAL



                                                                                                                           000966
Case 2:15-cv-00201-SMJ                ECF No. 423         filed 01/29/20        PageID.24546 Page 250 of 314

 Spokane River PCB Concentration Data Analysis                                                             October 2019




 Table 2: Summary of total PCB concentrations - dry weight (ng/kg dw) and organic carbon normalized (ng/kg TOC),
                     for sediment from the Spokane River, for the baseline time period (2003-2004). Pooled across
                     analysis type.

 Table 3: Summary of total PCB concentrations - dry weight (ng/kg dw) and organic carbon normalized (ng/kg TOC),
                     for sediment from the Spokane River, for the current time period (2013-2018), and six scenarios
                     predicted for the future time period (2030).

 Table 4: Summary of arithmetic and geometric mean total PCB concentrations - dry weight (ng/kg dw) for sediment
                     from the Spokane River, based on six scenarios for the future time period (2030).




 05_Future Water PCB Predictions 28Sept19.xlsx



 Table 1: Summary of total PCB concentrations (ng/L) for surface water from the Spokane River, for the baseline time
                     period (2000-2003). No pooling across analysis type.

 Table 2: Summary of total PCB concentrations (ng/L) for surface water from the Spokane River, for the current time
                     period (2018 or most recent by river stretch), and six scenarios predicted for the future time period
                     (2030).

 Table 3: Summary of arithmetic and geometric mean total PCB concentrations (ng/L) for surface water from the
                     Spokane River, based on six scenarios for the future time period (2030).




 06_Risk Assessment Final Worksheet_Hypothetical Model 07Oct19.xlsx



 Table 1: Percent loadings reductions(1) (%) between time periods or for future projections.
 (1)
       Values shown represent % reductions in PCB loadings and expected concentrations of PCBs in fish of the Spokane
                     River between time periods; negative values are increases between time periods.

 Table 2: Predicted concentrations of PCBs in fish (ng/kg ww; arithmetic mean) from the Spokane River under
                     different PCB loadings scenarios.




                                                                                                                       59

                                           PRIVILEGED AND CONFIDENTIAL



                                                                                                                             000967
                                                     Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20   PageID.24547 Page 251 of 314




Map 1: Map of Spokane River mile markers




           Franklin D.
          Roosevelt Lake                    Little
                                                       Long
              RM 0                          Falls                                              Nine Mile
                                                       Lake                                                      Monroe                                 Lake Coeur
                                            Dam                                                  Dam
                                                       Dam                                                        Dam       Upriver Dam     Stateline     d'Alene
                                           RM 29.3                                             RM 58.1
                                                      RM 33.9                                                    RM 74.0     RM 80.2        RM 96.1      RM 112




                                                                                                                                                                     000968
                                                                                 Case 2:15-cv-00201-SMJ                                          ECF No. 423              filed 01/29/20                                                PageID.24548 Page 252 of 314




Map 2: Map of fish sample stations by study ID on the Spokane River - study date range 1992-2016




           Franklin D.
          Roosevelt Lake
                                                                        Little     Long
              RM 0
                                                                        Falls      Lake                                                                                              Nine Mile                                                       Monroe                                                                                                                                                            Lake Coeur
                                                                        Dam        Dam                                                                                                 Dam                                                            Dam                          Upriver Dam                                                                                   Stateline                               d'Alene
                                                                       RM 29.3    RM 33.9                                                                                            RM 58.1                                                         RM 74.0                        RM 80.2                                                                                      RM 96.1                                RM 112




                                                                                                                                                                                                                                                                                                                                                                                                                                        StudyID
                                                                                                                                                                                                                                                                                                                                                                                                                                            AJOH0005
                                                                                                                                                                                                                                                                                                                                                                                                                                            AJOH0008
                                                                                                                                                                                                                                                                                                                                                                                                                                            AJOH0022
                                                                                                                                                                                                                                                                                                                                                                                                                                            BERA0011
                                                                                                                                                                                                                                                                                                                                                                                                                                            DSER0002
                                                                                                                                                                                                                                                                                                                                                                                                                                            DSER0010
                                                                                                                                                                                                                                                                                                                                                                                                                                            DSER0016
                                                                                                                                                                                                                                                                                                                                                                                                                                            MIFR0003
                                                                                                                                                                                                                                                                                                                                                                                                                                            RJAC002
                                                                                                                                                                                                                                                                                                                                                                                                                                            WSPMP93T
                                                                                                                                                                                                                                                                                                                                                                                                                                            WSTMP03T
                                                                                                                                                                                                                                                                                                                                                                                                                                            WSTMP12
                                            SPOKEARM




                                                                      SPK 28.0




                                                                                     SPK33.7


                                                                                               LLL
                                                                                                     MILE 39
                                                                                                               LONGLOW−F
                                                                                                                               SPK 40.8
                                                                                                                                          LONGLAKE


                                                                                                                                                     LAKE SPOKANE
                                                                                                                                                           LONG−F
                                                                                                                                                                    ULL
                                                                                                                                                                          SPK 55.2
                                                                                                                                                                                     SPK 55.6
                                                                                                                                                                                                SPK 56.5
                                                                                                                                                                                                                 NINEMILE
                                                                                                                                                                                                                             SPK 64.0
                                                                                                                                                                                                                                         SPOKANE−F


                                                                                                                                                                                                                                                       SPK 75.2
                                                                                                                                                                                                                                                                  TRENTAVEBR


                                                                                                                                                                                                                                                                               ABMONROE
                                                                                                                                                                                                                                                                                          SPK78.0
                                                                                                                                                                                                                                                                                                    UPRIVER DAM

                                                                                                                                                                                                                                                                                                                  SPK84.4
                                                                                                                                                                                                                                                                                                                            SPK84.7
                                                                                                                                                                                                                                                                                                                                      UPRIVER


                                                                                                                                                                                                                                                                                                                                                           SPK 85.0
                                                                                                                                                                                                                                                                                                                                                                      PLANTE−F




                                                                                                                                                                                                                                                                                                                                                                                            SPK 96.0

                                                                                                                                                                                                                                                                                                                                                                                             57A150



                                                                                                                                                                                                                                                                                                                                                                                                       CORBINPARK_ID




                                                                                                                                                                                                                                                                                                                                                                                                                        ABPOSTFALL_ID
                                                                                                                                                                                                                                                                                                                                                SPOKRBMP
                                                                                                                                                                                                                                                                               SPK 77.0




                                                                                                                                                                                                                                                                                                                                                                                  STATELINE−F
                                                                                                                                                                                                                            SPK62.0
                                                                                                                                                                                                    NINEMILE−F
                                                                                                                           SPK 40.1




                                                                                                                                                                                                                                                                                                                                                                                                                                                       000969
                                                                                       Case 2:15-cv-00201-SMJ                                                ECF No. 423                     filed 01/29/20                           PageID.24549 Page 253 of 314




Map 3: Map of surface sediment sample stations by study ID on the Spokane River - study date range 1990 - 2018




           Franklin D.
          Roosevelt Lake                                                Little
                                                                                         Long
              RM 0                                                      Falls
                                                                                         Lake                                                                                                           Nine Mile                                  Monroe                                                                                                                                              Lake Coeur
                                                                        Dam
                                                                                         Dam                                                                                                              Dam                                       Dam                 Upriver Dam                                                        Stateline                                                     d'Alene
                                                                       RM 29.3
                                                                                        RM 33.9                                                                                                         RM 58.1                                    RM 74.0               RM 80.2                                                           RM 96.1                                                      RM 112




                                                                                                                                                                                                                                                                                                                                                                                                                    StudyID
                                                                                                                                                                                                                                                                                                                                                                                                                        2010 UPRIVER DAM MONITORING
                                                                                                                                                                                                                                                                                                                                                                                                                        AJOH0005
                                                                                                                                                                                                                                                                                                                                                                                                                        AJOH0019
                                                                                                                                                                                                                                                                                                                                                                                                                        BHOP0001
                                                                                                                                                                                                                                                                                                                                                                                                                        CITYOFSPOKANEWW
                                                                                                                                                                                                                                                                                                                                                                                                                        DBAT0001
                                                                                                                                                                                                                                                                                                                                                                                                                        DSER0002
                                                                                                                                                                                                                                                                                                                                                                                                                        DSER0010
                                                                                                                                                                                                                                                                                                                                                                                                                        SEDCORE16
                                                                                                                                                                                                                                                                                                                                                                                                                        SPOK9394
                                                                                                                                                                                                                                                                                                                                                                                                                        SRUW−SPOKANE
                                                                                                                                                                                                                                                                                                                                                                                                                        SWON0001
                                                                                                                                                                                                                                                                                                                                                                                                                        UPRDAM2008
                                                                                                                                                                                                                                                                                                                                                                                                                        UPRVRDAM
                                         SPOKE003
                                                       SPOK−1
                                                    SPOKEARM




                                                                           LITTLEFLS



                                                                                          LONGLOW2


                                                                                                     LOWLONGLK


                                                                                                                             SPOKE002
                                                                                                                                        MILE 39


                                                                                                                                                                       LONGLKMID
                                                                                                                                                                             LL3

                                                                                                                                                                         LONGUP2
                                                                                                                                                                                   MILE 50
                                                                                                                                                                                             UPLONGLK
                                                                                                                                                                                                        LONGLKUP

                                                                                                                                                                                                                   BHO0001SPOKSD89
                                                                                                                                                                                                                           NINEMILE


                                                                                                                                                                                                                                       MONROESED
                                                                                                                                                                                                                                                   GZ−SED
                                                                                                                                                                                                                                                                                   POSTTERM2
                                                                                                                                                                                                                                                                                          AVI−6

                                                                                                                                                                                                                                                                                   ABMONROE

                                                                                                                                                                                                                                                                                         SC?01

                                                                                                                                                                                                                                                                                         SC?02


                                                                                                                                                                                                                                                                              UPRVRDAMAN−10*



                                                                                                                                                                                                                                                                                                        UPRVRDAMUPR−55* PF−SED




                                                                                                                                                                                                                                                                                                                                                  PLEASANTVIEW_ID
                                                                                                                                                                                                                                                                                                                                                    SPOK9394328408

                                                                                                                                                                                                                                                                                                                                                                     SPOK9394328406
                                                                                                                                                                                                                                                                                                                                                                                      SPOK9394318236
                                                                                                                 LONGLKLOW




                                                                                                                                                                                                                                                                                                                                 UPRIVER
                                                                                                                                                  LONGLAKE
                                                                                                     SPOKANE−C




                                                                                                                                                             SITE #5 − SEDIMENT*




                                                                                                                                                                                                                                                                                                               UPRVRDAMAN−14*
                                                                                                                                                                                                                                                                            UPRVRDAMAN−13*
                                                                                                                                                                                                                                                                                      SC?03
                                                                                                                                                                                                                                                                                SPOKE001
                                                                                                                                                                                                                                                                              STONEST−8

                                                                                                                                                                                                                                                                           SC?05 SC?04
                                                                                                                                                                                                                                                                             IRONBR−4

                                                                                                                                                                                                                                                              SRUW_UPRIVERDAM−10W*




                                                                                                                                                                                                                                                                                 G−1
                                                                                                                                                                                                                                                      SUP−5




                                                                                                                                                                                                                                                              AJOH0019_UPRIVER #1*




                                                                                                                                                                                                                                                                  SPOK9394318273
                                                                                                                                                                                                                                                                UPRVRDAMAN−20*




                                                                                                                                                                                                                                                                                                  UPRVRDAMUPR−51*
                                                                                                                                                                                                                                                                           G−2
                                                                                                                                                                                                                                                                 CAP_SC−1*



                                                                                                                                                                                                                                                                                                                                                                                                                                            000970
                                                                                 Case 2:15-cv-00201-SMJ       ECF No. 423   filed 01/29/20   PageID.24550 Page 254 of 314




Map 4: Map of sub-surface sediment sample stations by study ID on the Spokane River - study date range 2003 - 2016




           Franklin D.
          Roosevelt Lake                                                Little     Long
              RM 0                                                      Falls      Lake                                        Nine Mile
                                                                                                                                                 Monroe                                                        Lake Coeur
                                                                        Dam        Dam                                           Dam
                                                                                                                                                  Dam       Upriver Dam                            Stateline     d'Alene
                                                                       RM 29.3    RM 33.9                                      RM 58.1
                                                                                                                                                 RM 74.0     RM 80.2                               RM 96.1      RM 112




                                                                                                                                                                                                                            StudyID
                                                                                                                                                                                                                                DSER0010
                                                                                                                                                                                                                                SEDCORE16
                                                                                                                                                                                                                                UPRVRDAM
                                                                                       LONGLOW2




                                                                                                                  LONGUP2




                                                                                                                                                                   UPRVRDAMAN−11


                                                                                                                                                                                   UPRVRDAMAN−40
                                                                                                  SPOKANE−C




                                                                                                                                                                                                                                            000971
                                                                                 Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20                       PageID.24551 Page 255 of 314




Map 5: Map of water sample stations by study ID on the Spokane River - study date range 2000 - 2018




           Franklin D.
          Roosevelt Lake
                                                                        Little     Long
              RM 0
                                                                        Falls      Lake                                    Nine Mile                               Monroe                                                                                                             Lake Coeur
                                                                        Dam        Dam                                       Dam                                    Dam       Upriver Dam                                                                       Stateline               d'Alene
                                                                       RM 29.3    RM 33.9                                  RM 58.1                                 RM 74.0     RM 80.2                                                                          RM 96.1                RM 112




                                                                                                                                                                                                                                                                                                   StudyID_Years
                                                                                                                                                                                                                                                                                                       BERA0009(2012, 2013)
                                                                                                                                                                                                                                                                                                       BERA0012(2016)
                                                                                                                                                                                                                                                                                                       COMBINED IDAHO DATA(2014, 2016)
                                                                                                                                                                                                                                                                                                       DSER0010(2003)
                                                                                                                                                                                                                                                                                                       SGOL001(2000)
                                                                                                                                                                                                                                                                                                       SRRTTF−2014(2014)
                                                                                                                                                                                                                                                                                                       SRRTTF−2015(2015)
                                                                                                                                                                                                                                                                                                       SRRTTF−2016(2016)
                                                                                                                                                                                                                                                                                                       SRRTTF−2018(2018)
                                                                                                                                                                                                                                                                                                       WHOB003(2016, 2017)
                                                                                 UGM

                                                                                       CHAMOKANE




                                                                                                                             SR1


                                                                                                                                                 NINEM SPM


                                                                                                                                                               57A123
                                                                                                                                                                  SR3




                                                                                                                                                                             SR4
                                                                                                                                                                                             SR5A
                                                                                                                                                                                   UPRIVER DAM SW

                                                                                                                                                                                                    ARGONNE
                                                                                                                                                                                                               PLANTEFRY
                                                                                                                                                                                                              SR7 PLANTE
                                                                                                                                                                                                                              K001DOWN

                                                                                                                                                                                                                                   SR8A
                                                                                                                                                                                                                                                SIP

                                                                                                                                                                                                                                               SR9

                                                                                                                                                                                                                                                      HARVARD




                                                                                                                                                                                                                                                                   STATELINE



                                                                                                                                                                                                                                                                               SR12




                                                                                                                                                                                                                                                                                        SR15
                                                                                                                                                                                                                                                                                        SR15
                                                                                                                                                                                                                                          BARKER
                                                                                                                                   SPMDTR−SPOK




                                                                                                                                                                                                                           K001UP
                                                                                                                                                                                                                                                                                                                              000972
                                                                                Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20              PageID.24552 Page 256 of 314




Map 6: Map of suspended sediment sample stations by study ID on the Spokane River - study date range 2003 - 2017




           Franklin D.
          Roosevelt Lake                                               Little             Long
              RM 0                                                     Falls              Lake
                                                                                                                          Nine Mile                    Monroe                                                         Lake Coeur
                                                                       Dam                Dam
                                                                                                                            Dam                         Dam       Upriver Dam                             Stateline     d'Alene
                                                                      RM 29.3            RM 33.9
                                                                                                                          RM 58.1                      RM 74.0     RM 80.2                                RM 96.1      RM 112




                                                                                                                                                                                                                                   StudyID
                                                                                                                                                                                                                                       BERA0009
                                                                                                                                                                                                                                       BERA0012
                                                                                                                                                                                                                                       DSER0010
                                                                                                                                                                                                                                       WHOB003
                                                                                               UGM




                                                                                                                            9MD−SEDT

                                                                                                                                       NINEM SPM




                                                                                                                                                                        UPRD−SEDT




                                                                                                                                                                                    PLANTEFRY




                                                                                                                                                                                                HARVARD
                                                                                LFP SEDTRAPS




                                                                                                                                                                                                                                                  000973
                                                                                 Case 2:15-cv-00201-SMJ   ECF No. 423   filed 01/29/20                                    PageID.24553 Page 257 of 314




Map 7: Map of biofilm and invertebrate sample stations by study ID on the Spokane River - 2018




           Franklin D.
          Roosevelt Lake                                                           Long
                                                                        Little
              RM 0                                                                 Lake
                                                                        Falls                                              Nine Mile                                                                        Monroe                                                                                                                                                                                                                                                                          Lake Coeur
                                                                                   Dam
                                                                        Dam                                                  Dam                                                                             Dam                                                                          Upriver Dam                                                                                                                                                                   Stateline             d'Alene
                                                                                  RM 33.9
                                                                       RM 29.3                                             RM 58.1                                                                          RM 74.0                                                                        RM 80.2                                                                                                                                                                      RM 96.1              RM 112




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Sample Source
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Biofilm
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Invertebrate




                                                                                                                              NMD (1809040−19)
                                                                                                                                                 SMB (1809040−18)


                                                                                                                                                                                                         SG (1809040−15)
                                                                                                                                                                                                        MOB (1809040−14)



                                                                                                                                                                                                                                                MIB (1809040−11) SR3A (1809040−12)
                                                                                                                                                                                                                                                                                                    GR−LB (1809040−09)



                                                                                                                                                                                                                                                                                                                                                   GEM−RB (1809040−08)

                                                                                                                                                                                                                                                                                                                                                                         URD (1809040−06)

                                                                                                                                                                                                                                                                                                                                                                                            PF−BF (1809040−05)

                                                                                                                                                                                                                                                                                                                                                                                                                 MBU (1809040−04)



                                                                                                                                                                                                                                                                                                                                                                                                                                    BB (1809040−03)


                                                                                                                                                                                                                                                                                                                                                                                                                                                      HB (1809040−02)



                                                                                                                                                                                                                                                                                                                                                                                                                                                                          SL (1809040−01)
                                                                                                                                                                    TJM (1809040−17)




                                                                                                                                                                                                                                                                                                  GEM−LB (1809040−07)
                                                                                                                                                                                                                                                                                                                         GEM−INVERT (1809040−29)
                                                                                                                                                                                                                           GZ−BF (1809040−13)
                                                                                                                                                                                       SG−INVERT (1809040−28)




                                                                                                                                                                                                                                                                                     GR−RB (1809040−10)




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     000974
                                                                                                      Case 2:15-cv-00201-SMJ         ECF No. 423      filed 01/29/20     PageID.24554 Page 258 of 314

                                                Figure 1A: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of river mile. Subset by species (all) and year. Non-detects assigned zero.
                                                    1992            1993           1994            1996            1999           2001            2003            2004           2005            2012            2014             2016
                                        1e+07




                                                                                                                                                                                                                                         BLS
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         BRT
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         CCP
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         CRF
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         KOK
                                        1e+05
tPCB concentration (ng/kg wet weight)




                                        1e+03
                                        1e+07                                                                                                                                                                                                  AnalysisType




                                                                                                                                                                                                                                         LMB
                                        1e+05
                                                                                                                                                                                                                                                  Sum Aroclors
                                        1e+03
                                        1e+07
                                                                                                                                                                                                                                                  Sum Congeners




                                                                                                                                                                                                                                         LSS
                                        1e+05
                                        1e+03                                                                                                                                                                                                  TissueType
                                        1e+07
                                                                                                                                                                                                                                                  Fillet, skin off




                                                                                                                                                                                                                                         MWF
                                        1e+05
                                        1e+03
                                                                                                                                                                                                                                                  Fillet, skin on
                                        1e+07                                                                                                                                                                                                     Muscle




                                                                                                                                                                                                                                         NPM
                                        1e+05                                                                                                                                                                                                     Whole
                                        1e+03                                                                                                                                                                                                     WholeCRF
                                        1e+07




                                                                                                                                                                                                                                         RBT
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         SMB
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         WAL
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         WCP
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         YP
                                        1e+05
                                        1e+03
                                                 90 60 30        90 60 30        90 60 30       90 60 30        90 60 30        90 60 30       90 60 30        90 60 30       90 60 30        90 60 30        90 60 30       90 60 30
                                                                                                                                       RiverMile



                                                                                                                                                                                                                                                                     000975
                                                                                                      Case 2:15-cv-00201-SMJ         ECF No. 423       filed 01/29/20    PageID.24555 Page 259 of 314

                                                Figure 1B: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of river mile. Subset by species (all) and year. Non-detects assigned half DL.
                                                    1992            1993           1994            1996            1999            2001           2003            2004            2005           2012            2014            2016
                                        1e+07




                                                                                                                                                                                                                                         BLS
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         BRT
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         CCP
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         CRF
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         KOK
                                        1e+05
tPCB concentration (ng/kg wet weight)




                                        1e+03
                                        1e+07                                                                                                                                                                                                  AnalysisType




                                                                                                                                                                                                                                         LMB
                                        1e+05
                                                                                                                                                                                                                                                  Sum Aroclors
                                        1e+03
                                        1e+07
                                                                                                                                                                                                                                                  Sum Congeners




                                                                                                                                                                                                                                         LSS
                                        1e+05
                                        1e+03                                                                                                                                                                                                  TissueType
                                        1e+07
                                                                                                                                                                                                                                                  Fillet, skin off




                                                                                                                                                                                                                                         MWF
                                        1e+05
                                        1e+03
                                                                                                                                                                                                                                                  Fillet, skin on
                                        1e+07                                                                                                                                                                                                     Muscle




                                                                                                                                                                                                                                         NPM
                                        1e+05                                                                                                                                                                                                     Whole
                                        1e+03                                                                                                                                                                                                     WholeCRF
                                        1e+07




                                                                                                                                                                                                                                         RBT
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         SMB
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         WAL
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         WCP
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                         YP
                                        1e+05
                                        1e+03
                                                 90 60 30        90 60 30        90 60 30       90 60 30        90 60 30        90 60 30       90 60 30        90 60 30        90 60 30        90 60 30       90 60 30        90 60 30
                                                                                                                                       RiverMile



                                                                                                                                                                                                                                                                     000976
                                                                                                      Case 2:15-cv-00201-SMJ          ECF No. 423      filed 01/29/20    PageID.24556 Page 260 of 314

                                                Figure 1C: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of river mile. Subset by species (all) and year. Non-detects assigned full DL.
                                                    1992            1993            1994           1996            1999            2001            2003           2004            2005            2012            2014           2016
                                        1e+07




                                                                                                                                                                                                                                          BLS
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                          BRT
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                          CCP
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                          CRF
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                          KOK
                                        1e+05
tPCB concentration (ng/kg wet weight)




                                        1e+03
                                        1e+07                                                                                                                                                                                                   AnalysisType




                                                                                                                                                                                                                                          LMB
                                        1e+05
                                                                                                                                                                                                                                                   Sum Aroclors
                                        1e+03
                                        1e+07
                                                                                                                                                                                                                                                   Sum Congeners




                                                                                                                                                                                                                                          LSS
                                        1e+05
                                        1e+03                                                                                                                                                                                                   TissueType
                                        1e+07
                                                                                                                                                                                                                                                   Fillet, skin off




                                                                                                                                                                                                                                          MWF
                                        1e+05
                                        1e+03
                                                                                                                                                                                                                                                   Fillet, skin on
                                        1e+07                                                                                                                                                                                                      Muscle




                                                                                                                                                                                                                                          NPM
                                        1e+05                                                                                                                                                                                                      Whole
                                        1e+03                                                                                                                                                                                                      WholeCRF
                                        1e+07




                                                                                                                                                                                                                                          RBT
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                          SMB
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                          WAL
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                          WCP
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                          YP
                                        1e+05
                                        1e+03
                                                 90 60 30        90 60 30        90 60 30        90 60 30       90 60 30        90 60 30        90 60 30        90 60 30       90 60 30        90 60 30        90 60 30        90 60 30
                                                                                                                                       RiverMile



                                                                                                                                                                                                                                                                      000977
                                                                                                  Case 2:15-cv-00201-SMJ         ECF No. 423       filed 01/29/20    PageID.24557 Page 261 of 314

                                           Figure 1D: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of river mile. Subset by species (all) and year. Non-detects assigned zero.
                                               1992            1993            1994            1996           1999            2001            2003            2004            2005            2012           2014         2016
                                   1e+09




                                                                                                                                                                                                                                   BLS
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                   BRT
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                   CCP
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                   CRF
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                   KOK
                                   1e+07
                                   1e+05
tPCB concentration (ng/kg lipid)




                                   1e+09                                                                                                                                                                                                 AnalysisType




                                                                                                                                                                                                                                   LMB
                                   1e+07
                                                                                                                                                                                                                                            Sum Aroclors
                                   1e+05
                                   1e+09
                                                                                                                                                                                                                                            Sum Congeners




                                                                                                                                                                                                                                   LSS
                                   1e+07
                                   1e+05                                                                                                                                                                                                 TissueType
                                   1e+09
                                                                                                                                                                                                                                            Fillet, skin off




                                                                                                                                                                                                                                   MWF
                                   1e+07
                                   1e+05
                                                                                                                                                                                                                                            Fillet, skin on
                                   1e+09                                                                                                                                                                                                    Muscle




                                                                                                                                                                                                                                   NPM
                                   1e+07                                                                                                                                                                                                    Whole
                                   1e+05                                                                                                                                                                                                    WholeCRF
                                   1e+09




                                                                                                                                                                                                                                   RBT
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                   SMB
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                   WAL
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                   WCP
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                   YP
                                   1e+07
                                   1e+05
                                            90 60 30        90 60 30        90 60 30        90 60 30        90 60 30       90 60 30        90 60 30        90 60 30        90 60 30        90 60 30        90 60 30     90 60 30
                                                                                                                                   RiverMile



                                                                                                                                                                                                                                                               000978
                                                                                                  Case 2:15-cv-00201-SMJ          ECF No. 423      filed 01/29/20    PageID.24558 Page 262 of 314

                                           Figure 1E: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of river mile. Subset by species (all) and year. Non-detects assigned half DL.
                                               1992            1993            1994            1996            1999            2001           2003            2004            2005            2012            2014           2016
                                   1e+09




                                                                                                                                                                                                                                      BLS
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      BRT
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      CCP
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      CRF
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      KOK
                                   1e+07
                                   1e+05
tPCB concentration (ng/kg lipid)




                                   1e+09                                                                                                                                                                                                    AnalysisType




                                                                                                                                                                                                                                      LMB
                                   1e+07
                                                                                                                                                                                                                                               Sum Aroclors
                                   1e+05
                                   1e+09
                                                                                                                                                                                                                                               Sum Congeners




                                                                                                                                                                                                                                      LSS
                                   1e+07
                                   1e+05                                                                                                                                                                                                    TissueType
                                   1e+09
                                                                                                                                                                                                                                               Fillet, skin off




                                                                                                                                                                                                                                      MWF
                                   1e+07
                                   1e+05
                                                                                                                                                                                                                                               Fillet, skin on
                                   1e+09                                                                                                                                                                                                       Muscle




                                                                                                                                                                                                                                      NPM
                                   1e+07                                                                                                                                                                                                       Whole
                                   1e+05                                                                                                                                                                                                       WholeCRF
                                   1e+09




                                                                                                                                                                                                                                      RBT
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      SMB
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      WAL
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      WCP
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      YP
                                   1e+07
                                   1e+05
                                            90 60 30        90 60 30        90 60 30        90 60 30        90 60 30        90 60 30        90 60 30        90 60 30       90 60 30        90 60 30        90 60 30        90 60 30
                                                                                                                                   RiverMile



                                                                                                                                                                                                                                                                  000979
                                                                                                  Case 2:15-cv-00201-SMJ          ECF No. 423       filed 01/29/20    PageID.24559 Page 263 of 314

                                           Figure 1F: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of river mile. Subset by species (all) and year. Non-detects assigned full DL.
                                               1992            1993            1994            1996            1999            2001            2003            2004            2005            2012            2014          2016
                                   1e+09




                                                                                                                                                                                                                                      BLS
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      BRT
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      CCP
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      CRF
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      KOK
                                   1e+07
                                   1e+05
tPCB concentration (ng/kg lipid)




                                   1e+09                                                                                                                                                                                                    AnalysisType




                                                                                                                                                                                                                                      LMB
                                   1e+07
                                                                                                                                                                                                                                               Sum Aroclors
                                   1e+05
                                   1e+09
                                                                                                                                                                                                                                               Sum Congeners




                                                                                                                                                                                                                                      LSS
                                   1e+07
                                   1e+05                                                                                                                                                                                                    TissueType
                                   1e+09
                                                                                                                                                                                                                                               Fillet, skin off




                                                                                                                                                                                                                                      MWF
                                   1e+07
                                   1e+05
                                                                                                                                                                                                                                               Fillet, skin on
                                   1e+09                                                                                                                                                                                                       Muscle




                                                                                                                                                                                                                                      NPM
                                   1e+07                                                                                                                                                                                                       Whole
                                   1e+05                                                                                                                                                                                                       WholeCRF
                                   1e+09




                                                                                                                                                                                                                                      RBT
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      SMB
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      WAL
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      WCP
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                      YP
                                   1e+07
                                   1e+05
                                             90 60 30       90 60 30        90 60 30        90 60 30        90 60 30        90 60 30        90 60 30        90 60 30        90 60 30        90 60 30        90 60 30       90 60 30
                                                                                                                                    RiverMile



                                                                                                                                                                                                                                                                  000980
                                                                                                 Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24560 Page 264 of 314
                                           Figure 2A: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of river mile. Subset by the main species and year, other species are grouped together.
                                           Non-detects assigned zero.
                                               1992           1993            1994           1996            1999           2001            2003           2004            2005           2012            2014           2016

                                   1e+09




                                                                                                                                                                                                                                   Rainbow Trout
                                   1e+07


                                   1e+05

                                   1e+09




                                                                                                                                                                                                                                   Mountain Whitefish
                                   1e+07


                                   1e+05

                                   1e+09
tPCB concentration (ng/kg lipid)




                                                                                                                                                                                                                                                        AnalysisType




                                                                                                                                                                                                                                   Crayfish
                                                                                                                                                                                                                                                           Sum Aroclors
                                   1e+07
                                                                                                                                                                                                                                                           Sum Congeners

                                   1e+05
                                                                                                                                                                                                                                                        TissueType
                                   1e+09                                                                                                                                                                                                                   Fillet, skin off
                                                                                                                                                                                                                                                           Fillet, skin on




                                                                                                                                                                                                                                   Sucker
                                   1e+07                                                                                                                                                                                                                   Muscle
                                                                                                                                                                                                                                                           Whole
                                                                                                                                                                                                                                                           WholeCRF
                                   1e+05

                                   1e+09




                                                                                                                                                                                                                                   Common Carp
                                   1e+07


                                   1e+05

                                   1e+09




                                                                                                                                                                                                                                   Other
                                   1e+07


                                   1e+05
                                            90 60 30        90 60 30       90 60 30        90 60 30       90 60 30        90 60 30       90 60 30       90 60 30        90 60 30       90 60 30        90 60 30       90 60 30
                                                                                                                                 RiverMile



                                                                                                                                                                                                                                                                              000981
                                                                                                 Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24561 Page 265 of 314
                                           Figure 2B: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of river mile. Subset by the main species and year, other species are grouped together.
                                           Non-detects assigned half DL.
                                               1992           1993            1994           1996            1999           2001            2003           2004            2005           2012            2014           2016

                                   1e+09




                                                                                                                                                                                                                                   Rainbow Trout
                                   1e+07


                                   1e+05

                                   1e+09




                                                                                                                                                                                                                                   Mountain Whitefish
                                   1e+07


                                   1e+05

                                   1e+09
tPCB concentration (ng/kg lipid)




                                                                                                                                                                                                                                                        AnalysisType




                                                                                                                                                                                                                                   Crayfish
                                                                                                                                                                                                                                                           Sum Aroclors
                                   1e+07
                                                                                                                                                                                                                                                           Sum Congeners

                                   1e+05
                                                                                                                                                                                                                                                        TissueType
                                   1e+09                                                                                                                                                                                                                   Fillet, skin off
                                                                                                                                                                                                                                                           Fillet, skin on




                                                                                                                                                                                                                                   Sucker
                                   1e+07                                                                                                                                                                                                                   Muscle
                                                                                                                                                                                                                                                           Whole
                                                                                                                                                                                                                                                           WholeCRF
                                   1e+05

                                   1e+09




                                                                                                                                                                                                                                   Common Carp
                                   1e+07


                                   1e+05

                                   1e+09




                                                                                                                                                                                                                                   Other
                                   1e+07


                                   1e+05
                                            90 60 30        90 60 30       90 60 30        90 60 30       90 60 30        90 60 30       90 60 30        90 60 30       90 60 30       90 60 30        90 60 30       90 60 30
                                                                                                                                 RiverMile



                                                                                                                                                                                                                                                                              000982
                                                                                                 Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24562 Page 266 of 314
                                           Figure 2C: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of river mile. Subset by the main species and year, other species are grouped together.
                                           Non-detects assigned full DL.
                                               1992           1993            1994           1996            1999           2001            2003           2004            2005           2012            2014           2016

                                   1e+09




                                                                                                                                                                                                                                   Rainbow Trout
                                   1e+07


                                   1e+05

                                   1e+09




                                                                                                                                                                                                                                   Mountain Whitefish
                                   1e+07


                                   1e+05

                                   1e+09
tPCB concentration (ng/kg lipid)




                                                                                                                                                                                                                                                        AnalysisType




                                                                                                                                                                                                                                   Crayfish
                                                                                                                                                                                                                                                           Sum Aroclors
                                   1e+07
                                                                                                                                                                                                                                                           Sum Congeners

                                   1e+05
                                                                                                                                                                                                                                                        TissueType
                                   1e+09                                                                                                                                                                                                                   Fillet, skin off
                                                                                                                                                                                                                                                           Fillet, skin on




                                                                                                                                                                                                                                   Sucker
                                   1e+07                                                                                                                                                                                                                   Muscle
                                                                                                                                                                                                                                                           Whole
                                                                                                                                                                                                                                                           WholeCRF
                                   1e+05

                                   1e+09




                                                                                                                                                                                                                                   Common Carp
                                   1e+07


                                   1e+05

                                   1e+09




                                                                                                                                                                                                                                   Other
                                   1e+07


                                   1e+05
                                            90 60 30        90 60 30       90 60 30        90 60 30       90 60 30        90 60 30       90 60 30        90 60 30       90 60 30        90 60 30       90 60 30       90 60 30
                                                                                                                                 RiverMile



                                                                                                                                                                                                                                                                              000983
                                                                                                      Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24563 Page 267 of 314
                                                Figure 2D: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of river mile. Subset by the main species and year, other species are grouped together.
                                                Non-detects assigned zero.
                                                    1992            1993           1994            1996            1999           2001            2003           2004            2005            2012           2014            2016

                                        1e+07




                                                                                                                                                                                                                                         Rainbow Trout
                                        1e+05


                                        1e+03

                                        1e+07




                                                                                                                                                                                                                                         Mountain Whitefish
                                        1e+05


                                        1e+03
tPCB concentration (ng/kg wet weight)




                                        1e+07
                                                                                                                                                                                                                                                              AnalysisType




                                                                                                                                                                                                                                         Crayfish
                                                                                                                                                                                                                                                                 Sum Aroclors
                                        1e+05
                                                                                                                                                                                                                                                                 Sum Congeners

                                        1e+03
                                                                                                                                                                                                                                                              TissueType
                                        1e+07                                                                                                                                                                                                                    Fillet, skin off
                                                                                                                                                                                                                                                                 Fillet, skin on




                                                                                                                                                                                                                                         Sucker
                                        1e+05                                                                                                                                                                                                                    Muscle
                                                                                                                                                                                                                                                                 Whole
                                                                                                                                                                                                                                                                 WholeCRF
                                        1e+03

                                        1e+07




                                                                                                                                                                                                                                         Common Carp
                                        1e+05


                                        1e+03

                                        1e+07




                                                                                                                                                                                                                                         Other
                                        1e+05


                                        1e+03
                                                 90 60 30        90 60 30        90 60 30       90 60 30        90 60 30       90 60 30        90 60 30        90 60 30       90 60 30        90 60 30       90 60 30        90 60 30
                                                                                                                                       RiverMile



                                                                                                                                                                                                                                                                                    000984
                                                                                                       Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24564 Page 268 of 314
                                                Figure 2E: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of river mile. Subset by the main species and year, other species are grouped together.
                                                Non-detects assigned half DL.
                                                    1992            1993           1994            1996            1999           2001            2003            2004           2005            2012            2014           2016

                                        1e+07




                                                                                                                                                                                                                                         Rainbow Trout
                                        1e+05


                                        1e+03

                                        1e+07




                                                                                                                                                                                                                                         Mountain Whitefish
                                        1e+05


                                        1e+03
tPCB concentration (ng/kg wet weight)




                                        1e+07
                                                                                                                                                                                                                                                              AnalysisType




                                                                                                                                                                                                                                         Crayfish
                                                                                                                                                                                                                                                                 Sum Aroclors
                                        1e+05
                                                                                                                                                                                                                                                                 Sum Congeners

                                        1e+03
                                                                                                                                                                                                                                                              TissueType
                                        1e+07                                                                                                                                                                                                                    Fillet, skin off
                                                                                                                                                                                                                                                                 Fillet, skin on




                                                                                                                                                                                                                                         Sucker
                                        1e+05                                                                                                                                                                                                                    Muscle
                                                                                                                                                                                                                                                                 Whole
                                                                                                                                                                                                                                                                 WholeCRF
                                        1e+03

                                        1e+07




                                                                                                                                                                                                                                         Common Carp
                                        1e+05


                                        1e+03

                                        1e+07




                                                                                                                                                                                                                                         Other
                                        1e+05


                                        1e+03
                                                 90 60 30        90 60 30        90 60 30       90 60 30        90 60 30        90 60 30       90 60 30        90 60 30       90 60 30        90 60 30        90 60 30       90 60 30
                                                                                                                                       RiverMile



                                                                                                                                                                                                                                                                                    000985
                                                                                                       Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24565 Page 269 of 314
                                                Figure 2F: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of river mile. Subset by the main species and year, other species are grouped together.
                                                Non-detects assigned full DL.
                                                    1992            1993           1994            1996            1999           2001            2003            2004           2005            2012            2014           2016

                                        1e+07




                                                                                                                                                                                                                                         Rainbow Trout
                                        1e+05


                                        1e+03

                                        1e+07




                                                                                                                                                                                                                                         Mountain Whitefish
                                        1e+05


                                        1e+03
tPCB concentration (ng/kg wet weight)




                                        1e+07
                                                                                                                                                                                                                                                              AnalysisType




                                                                                                                                                                                                                                         Crayfish
                                                                                                                                                                                                                                                                 Sum Aroclors
                                        1e+05
                                                                                                                                                                                                                                                                 Sum Congeners

                                        1e+03
                                                                                                                                                                                                                                                              TissueType
                                        1e+07                                                                                                                                                                                                                    Fillet, skin off
                                                                                                                                                                                                                                                                 Fillet, skin on




                                                                                                                                                                                                                                         Sucker
                                        1e+05                                                                                                                                                                                                                    Muscle
                                                                                                                                                                                                                                                                 Whole
                                                                                                                                                                                                                                                                 WholeCRF
                                        1e+03

                                        1e+07




                                                                                                                                                                                                                                         Common Carp
                                        1e+05


                                        1e+03

                                        1e+07




                                                                                                                                                                                                                                         Other
                                        1e+05


                                        1e+03
                                                 90 60 30        90 60 30        90 60 30       90 60 30        90 60 30        90 60 30       90 60 30        90 60 30       90 60 30        90 60 30        90 60 30       90 60 30
                                                                                                                                       RiverMile



                                                                                                                                                                                                                                                                                    000986
                                                                                                                        Case 2:15-cv-00201-SMJ                 ECF No. 423               filed 01/29/20       PageID.24566 Page 270 of 314

                                                Figure 3A: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of year. Subset by species (all) and river stretch. Non-detects assigned zero.
                                                    AboveStateline                      AboveUpriver                        AboveMonroe                       AboveNinemile                       LakeSpokane                      AboveLittleFalls                     SpokaneArm
                                        1e+07




                                                                                                                                                                                                                                                                                                        BLS
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        BRT
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        CCP
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        CRF
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        KOK
                                        1e+05
tPCB concentration (ng/kg wet weight)




                                        1e+03
                                        1e+07                                                                                                                                                                                                                                                                 AnalysisType




                                                                                                                                                                                                                                                                                                        LMB
                                        1e+05
                                                                                                                                                                                                                                                                                                                 Sum Aroclors
                                        1e+03
                                        1e+07
                                                                                                                                                                                                                                                                                                                 Sum Congeners




                                                                                                                                                                                                                                                                                                        LSS
                                        1e+05
                                        1e+03                                                                                                                                                                                                                                                                 TissueType
                                        1e+07
                                                                                                                                                                                                                                                                                                                 Fillet, skin off




                                                                                                                                                                                                                                                                                                        MWF
                                        1e+05
                                        1e+03                                                                                                                                                                                                                                                                    Fillet, skin on
                                        1e+07                                                                                                                                                                                                                                                                    Muscle




                                                                                                                                                                                                                                                                                                        NPM
                                        1e+05                                                                                                                                                                                                                                                                    Whole
                                        1e+03                                                                                                                                                                                                                                                                    WholeCRF
                                        1e+07




                                                                                                                                                                                                                                                                                                        RBT
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        SMB
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        WAL
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        WCP
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        YP
                                        1e+05
                                        1e+03
                                                  1995

                                                         2000

                                                                2005

                                                                       2010

                                                                              2015


                                                                                     1995

                                                                                            2000

                                                                                                   2005

                                                                                                          2010

                                                                                                                 2015


                                                                                                                         1995

                                                                                                                                2000

                                                                                                                                       2005

                                                                                                                                              2010

                                                                                                                                                     2015


                                                                                                                                                            1995

                                                                                                                                                                   2000

                                                                                                                                                                          2005

                                                                                                                                                                                 2010

                                                                                                                                                                                        2015


                                                                                                                                                                                               1995

                                                                                                                                                                                                      2000

                                                                                                                                                                                                             2005

                                                                                                                                                                                                                    2010

                                                                                                                                                                                                                           2015


                                                                                                                                                                                                                                  1995

                                                                                                                                                                                                                                         2000

                                                                                                                                                                                                                                                2005

                                                                                                                                                                                                                                                       2010

                                                                                                                                                                                                                                                              2015


                                                                                                                                                                                                                                                                     1995

                                                                                                                                                                                                                                                                            2000

                                                                                                                                                                                                                                                                                   2005

                                                                                                                                                                                                                                                                                          2010

                                                                                                                                                                                                                                                                                                 2015
                                                                                                                                                                      Year



                                                                                                                                                                                                                                                                                                                                    000987
                                                                                                                        Case 2:15-cv-00201-SMJ                 ECF No. 423              filed 01/29/20        PageID.24567 Page 271 of 314

                                                Figure 3B: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of year. Subset by species (all) and river stretch. Non-detects assigned half DL.
                                                    AboveStateline                      AboveUpriver                       AboveMonroe                        AboveNinemile                       LakeSpokane                      AboveLittleFalls                     SpokaneArm
                                        1e+07




                                                                                                                                                                                                                                                                                                        BLS
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        BRT
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        CCP
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        CRF
                                        1e+05
                                        1e+03
                                        1e+07
tPCB concentration (ng/kg wet weight)




                                                                                                                                                                                                                                                                                                        KOK
                                        1e+05
                                        1e+03
                                        1e+07                                                                                                                                                                                                                                                                 AnalysisType




                                                                                                                                                                                                                                                                                                        LMB
                                        1e+05
                                                                                                                                                                                                                                                                                                                 Sum Aroclors
                                        1e+03
                                        1e+07
                                                                                                                                                                                                                                                                                                                 Sum Congeners




                                                                                                                                                                                                                                                                                                        LSS
                                        1e+05
                                        1e+03                                                                                                                                                                                                                                                                 TissueType
                                        1e+07
                                                                                                                                                                                                                                                                                                                 Fillet, skin off




                                                                                                                                                                                                                                                                                                        MWF
                                        1e+05
                                        1e+03                                                                                                                                                                                                                                                                    Fillet, skin on
                                        1e+07                                                                                                                                                                                                                                                                    Muscle




                                                                                                                                                                                                                                                                                                        NPM
                                        1e+05                                                                                                                                                                                                                                                                    Whole
                                        1e+03                                                                                                                                                                                                                                                                    WholeCRF
                                        1e+07




                                                                                                                                                                                                                                                                                                        RBT
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        SMB
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        WAL
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        WCP
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        YP
                                        1e+05
                                        1e+03
                                                  1995

                                                         2000

                                                                2005

                                                                       2010




                                                                                     1995




                                                                                                                         1995




                                                                                                                                                                                                                                  1995




                                                                                                                                                                                                                                                                     1995
                                                                              2015




                                                                                            2000

                                                                                                   2005

                                                                                                          2010

                                                                                                                 2015




                                                                                                                                2000

                                                                                                                                       2005




                                                                                                                                                            1995
                                                                                                                                              2010




                                                                                                                                                                   2000
                                                                                                                                                     2015




                                                                                                                                                                          2005

                                                                                                                                                                                 2010




                                                                                                                                                                                               1995

                                                                                                                                                                                                      2000
                                                                                                                                                                                        2015




                                                                                                                                                                                                             2005

                                                                                                                                                                                                                    2010

                                                                                                                                                                                                                           2015




                                                                                                                                                                                                                                         2000

                                                                                                                                                                                                                                                2005

                                                                                                                                                                                                                                                       2010

                                                                                                                                                                                                                                                              2015




                                                                                                                                                                                                                                                                            2000

                                                                                                                                                                                                                                                                                   2005

                                                                                                                                                                                                                                                                                          2010

                                                                                                                                                                                                                                                                                                 2015
                                                                                                                                                                     Year


                                                                                                                                                                                                                                                                                                                                    000988
                                                                                                                        Case 2:15-cv-00201-SMJ                 ECF No. 423              filed 01/29/20        PageID.24568 Page 272 of 314

                                                Figure 3C: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of year. Subset by species (all) and river stretch. Non-detects assigned full DL.
                                                    AboveStateline                      AboveUpriver                       AboveMonroe                        AboveNinemile                       LakeSpokane                      AboveLittleFalls                     SpokaneArm
                                        1e+07




                                                                                                                                                                                                                                                                                                        BLS
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        BRT
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        CCP
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        CRF
                                        1e+05
                                        1e+03
                                        1e+07
tPCB concentration (ng/kg wet weight)




                                                                                                                                                                                                                                                                                                        KOK
                                        1e+05
                                        1e+03
                                        1e+07                                                                                                                                                                                                                                                                 AnalysisType




                                                                                                                                                                                                                                                                                                        LMB
                                        1e+05
                                                                                                                                                                                                                                                                                                                 Sum Aroclors
                                        1e+03
                                        1e+07
                                                                                                                                                                                                                                                                                                                 Sum Congeners




                                                                                                                                                                                                                                                                                                        LSS
                                        1e+05
                                        1e+03                                                                                                                                                                                                                                                                 TissueType
                                        1e+07
                                                                                                                                                                                                                                                                                                                 Fillet, skin off




                                                                                                                                                                                                                                                                                                        MWF
                                        1e+05
                                        1e+03                                                                                                                                                                                                                                                                    Fillet, skin on
                                        1e+07                                                                                                                                                                                                                                                                    Muscle




                                                                                                                                                                                                                                                                                                        NPM
                                        1e+05                                                                                                                                                                                                                                                                    Whole
                                        1e+03                                                                                                                                                                                                                                                                    WholeCRF
                                        1e+07




                                                                                                                                                                                                                                                                                                        RBT
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        SMB
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        WAL
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        WCP
                                        1e+05
                                        1e+03
                                        1e+07




                                                                                                                                                                                                                                                                                                        YP
                                        1e+05
                                        1e+03
                                                  1995

                                                         2000

                                                                2005

                                                                       2010




                                                                                     1995




                                                                                                                         1995




                                                                                                                                                                                                                                  1995




                                                                                                                                                                                                                                                                     1995
                                                                              2015




                                                                                            2000

                                                                                                   2005

                                                                                                          2010

                                                                                                                 2015




                                                                                                                                2000

                                                                                                                                       2005




                                                                                                                                                            1995
                                                                                                                                              2010




                                                                                                                                                                   2000
                                                                                                                                                     2015




                                                                                                                                                                          2005

                                                                                                                                                                                 2010




                                                                                                                                                                                               1995

                                                                                                                                                                                                      2000
                                                                                                                                                                                        2015




                                                                                                                                                                                                             2005

                                                                                                                                                                                                                    2010

                                                                                                                                                                                                                           2015




                                                                                                                                                                                                                                         2000

                                                                                                                                                                                                                                                2005

                                                                                                                                                                                                                                                       2010

                                                                                                                                                                                                                                                              2015




                                                                                                                                                                                                                                                                            2000

                                                                                                                                                                                                                                                                                   2005

                                                                                                                                                                                                                                                                                          2010

                                                                                                                                                                                                                                                                                                 2015
                                                                                                                                                                     Year


                                                                                                                                                                                                                                                                                                                                    000989
                                                                                                                   Case 2:15-cv-00201-SMJ                 ECF No. 423              filed 01/29/20        PageID.24569 Page 273 of 314

                                           Figure 3D: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of year. Subset by species (all) and river stretch. Non-detects assigned zero.
                                               AboveStateline                      AboveUpriver                        AboveMonroe                       AboveNinemile                       LakeSpokane                      AboveLittleFalls                     SpokaneArm
                                   1e+09




                                                                                                                                                                                                                                                                                                   BLS
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   BRT
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   CCP
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   CRF
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   KOK
                                   1e+07
tPCB concentration (ng/kg lipid)




                                   1e+05
                                   1e+09                                                                                                                                                                                                                                                                 AnalysisType




                                                                                                                                                                                                                                                                                                   LMB
                                   1e+07
                                                                                                                                                                                                                                                                                                            Sum Aroclors
                                   1e+05
                                   1e+09
                                                                                                                                                                                                                                                                                                            Sum Congeners




                                                                                                                                                                                                                                                                                                   LSS
                                   1e+07
                                   1e+05                                                                                                                                                                                                                                                                 TissueType
                                   1e+09
                                                                                                                                                                                                                                                                                                            Fillet, skin off




                                                                                                                                                                                                                                                                                                   MWF
                                   1e+07
                                   1e+05                                                                                                                                                                                                                                                                    Fillet, skin on
                                   1e+09                                                                                                                                                                                                                                                                    Muscle




                                                                                                                                                                                                                                                                                                   NPM
                                   1e+07                                                                                                                                                                                                                                                                    Whole
                                   1e+05                                                                                                                                                                                                                                                                    WholeCRF
                                   1e+09




                                                                                                                                                                                                                                                                                                   RBT
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   SMB
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   WAL
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   WCP
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   YP
                                   1e+07
                                   1e+05
                                             1995

                                                    2000

                                                           2005

                                                                  2010

                                                                         2015


                                                                                1995

                                                                                       2000

                                                                                              2005

                                                                                                     2010

                                                                                                            2015


                                                                                                                    1995

                                                                                                                           2000

                                                                                                                                  2005

                                                                                                                                         2010

                                                                                                                                                2015


                                                                                                                                                       1995

                                                                                                                                                              2000

                                                                                                                                                                     2005

                                                                                                                                                                            2010

                                                                                                                                                                                   2015


                                                                                                                                                                                          1995

                                                                                                                                                                                                 2000

                                                                                                                                                                                                        2005

                                                                                                                                                                                                               2010

                                                                                                                                                                                                                      2015


                                                                                                                                                                                                                             1995

                                                                                                                                                                                                                                    2000

                                                                                                                                                                                                                                           2005

                                                                                                                                                                                                                                                  2010

                                                                                                                                                                                                                                                         2015


                                                                                                                                                                                                                                                                1995

                                                                                                                                                                                                                                                                       2000

                                                                                                                                                                                                                                                                              2005

                                                                                                                                                                                                                                                                                     2010

                                                                                                                                                                                                                                                                                            2015
                                                                                                                                                                 Year


                                                                                                                                                                                                                                                                                                                               000990
                                                                                                                   Case 2:15-cv-00201-SMJ                 ECF No. 423              filed 01/29/20        PageID.24570 Page 274 of 314

                                           Figure 3E: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of year. Subset by species (all) and river stretch. Non-detects assigned half DL.
                                               AboveStateline                      AboveUpriver                        AboveMonroe                       AboveNinemile                       LakeSpokane                      AboveLittleFalls                     SpokaneArm
                                   1e+09




                                                                                                                                                                                                                                                                                                   BLS
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   BRT
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   CCP
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   CRF
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   KOK
                                   1e+07
tPCB concentration (ng/kg lipid)




                                   1e+05
                                   1e+09                                                                                                                                                                                                                                                                 AnalysisType




                                                                                                                                                                                                                                                                                                   LMB
                                   1e+07
                                                                                                                                                                                                                                                                                                            Sum Aroclors
                                   1e+05
                                   1e+09
                                                                                                                                                                                                                                                                                                            Sum Congeners




                                                                                                                                                                                                                                                                                                   LSS
                                   1e+07
                                   1e+05                                                                                                                                                                                                                                                                 TissueType
                                   1e+09
                                                                                                                                                                                                                                                                                                            Fillet, skin off




                                                                                                                                                                                                                                                                                                   MWF
                                   1e+07
                                   1e+05                                                                                                                                                                                                                                                                    Fillet, skin on
                                   1e+09                                                                                                                                                                                                                                                                    Muscle




                                                                                                                                                                                                                                                                                                   NPM
                                   1e+07                                                                                                                                                                                                                                                                    Whole
                                   1e+05                                                                                                                                                                                                                                                                    WholeCRF
                                   1e+09




                                                                                                                                                                                                                                                                                                   RBT
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   SMB
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   WAL
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   WCP
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   YP
                                   1e+07
                                   1e+05
                                             1995

                                                    2000




                                                                                1995




                                                                                                                    1995




                                                                                                                                                       1995




                                                                                                                                                                                                                             1995




                                                                                                                                                                                                                                                                1995
                                                           2005




                                                                                                                                                              2000
                                                                  2010




                                                                                       2000

                                                                                              2005
                                                                         2015




                                                                                                     2010




                                                                                                                           2000

                                                                                                                                  2005




                                                                                                                                                                     2005




                                                                                                                                                                                          1995
                                                                                                            2015




                                                                                                                                         2010

                                                                                                                                                2015




                                                                                                                                                                            2010




                                                                                                                                                                                                 2000
                                                                                                                                                                                   2015




                                                                                                                                                                                                        2005

                                                                                                                                                                                                               2010




                                                                                                                                                                                                                                    2000

                                                                                                                                                                                                                                           2005




                                                                                                                                                                                                                                                                       2000

                                                                                                                                                                                                                                                                              2005
                                                                                                                                                                                                                      2015




                                                                                                                                                                                                                                                  2010

                                                                                                                                                                                                                                                         2015




                                                                                                                                                                                                                                                                                     2010

                                                                                                                                                                                                                                                                                            2015
                                                                                                                                                                Year


                                                                                                                                                                                                                                                                                                                               000991
                                                                                                                   Case 2:15-cv-00201-SMJ                 ECF No. 423              filed 01/29/20        PageID.24571 Page 275 of 314

                                           Figure 3F: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of year. Subset by species (all) and river stretch. Non-detects assigned full DL.
                                               AboveStateline                      AboveUpriver                       AboveMonroe                       AboveNinemile                       LakeSpokane                       AboveLittleFalls                     SpokaneArm
                                   1e+09




                                                                                                                                                                                                                                                                                                   BLS
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   BRT
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   CCP
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   CRF
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   KOK
                                   1e+07
tPCB concentration (ng/kg lipid)




                                   1e+05
                                   1e+09                                                                                                                                                                                                                                                                 AnalysisType




                                                                                                                                                                                                                                                                                                   LMB
                                   1e+07
                                                                                                                                                                                                                                                                                                            Sum Aroclors
                                   1e+05
                                   1e+09
                                                                                                                                                                                                                                                                                                            Sum Congeners




                                                                                                                                                                                                                                                                                                   LSS
                                   1e+07
                                   1e+05                                                                                                                                                                                                                                                                 TissueType
                                   1e+09
                                                                                                                                                                                                                                                                                                            Fillet, skin off




                                                                                                                                                                                                                                                                                                   MWF
                                   1e+07
                                   1e+05                                                                                                                                                                                                                                                                    Fillet, skin on
                                   1e+09                                                                                                                                                                                                                                                                    Muscle




                                                                                                                                                                                                                                                                                                   NPM
                                   1e+07                                                                                                                                                                                                                                                                    Whole
                                   1e+05                                                                                                                                                                                                                                                                    WholeCRF
                                   1e+09




                                                                                                                                                                                                                                                                                                   RBT
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   SMB
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   WAL
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   WCP
                                   1e+07
                                   1e+05
                                   1e+09




                                                                                                                                                                                                                                                                                                   YP
                                   1e+07
                                   1e+05
                                                                                                     2010

                                                                                                            2015




                                                                                                                                                                                   2015
                                             1995

                                                    2000

                                                           2005

                                                                  2010

                                                                         2015


                                                                                1995

                                                                                       2000

                                                                                              2005




                                                                                                                    1995

                                                                                                                           2000

                                                                                                                                  2005

                                                                                                                                         2010

                                                                                                                                                2015


                                                                                                                                                       1995




                                                                                                                                                                                                        2005

                                                                                                                                                                                                               2010

                                                                                                                                                                                                                      2015




                                                                                                                                                                                                                                                                                            2015
                                                                                                                                                              2000

                                                                                                                                                                     2005

                                                                                                                                                                            2010




                                                                                                                                                                                          1995

                                                                                                                                                                                                 2000




                                                                                                                                                                                                                             1995

                                                                                                                                                                                                                                    2000

                                                                                                                                                                                                                                           2005

                                                                                                                                                                                                                                                  2010

                                                                                                                                                                                                                                                         2015


                                                                                                                                                                                                                                                                1995

                                                                                                                                                                                                                                                                       2000

                                                                                                                                                                                                                                                                              2005

                                                                                                                                                                                                                                                                                     2010
                                                                                                                                                                Year


                                                                                                                                                                                                                                                                                                                               000992
                                                                                                      Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24572 Page 276 of 314
                                                Figure 4A: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of year. Subset by the main species and river stretch, other species are grouped together.
                                                Non-detects assigned zero.
                                                    AboveStateline                      AboveUpriver                       AboveMonroe                       AboveNinemile                       LakeSpokane                       AboveLittleFalls                        SpokaneArm
                                        1e+07




                                                                                                                                                                                                                                                                                                        Rainbow Trout
                                        1e+05


                                        1e+03




                                                                                                                                                                                                                                                                                                        Mountain Whitefish
                                        1e+07


                                        1e+05
tPCB concentration (ng/kg wet weight)




                                        1e+03

                                        1e+07
                                                                                                                                                                                                                                                                                                                             AnalysisType




                                                                                                                                                                                                                                                                                                        Crayfish
                                                                                                                                                                                                                                                                                                                                Sum Aroclors
                                        1e+05
                                                                                                                                                                                                                                                                                                                                Sum Congeners

                                        1e+03
                                                                                                                                                                                                                                                                                                                             TissueType
                                        1e+07                                                                                                                                                                                                                                                                                   Fillet, skin off
                                                                                                                                                                                                                                                                                                                                Fillet, skin on




                                                                                                                                                                                                                                                                                                        Sucker
                                        1e+05                                                                                                                                                                                                                                                                                   Muscle
                                                                                                                                                                                                                                                                                                                                Whole
                                        1e+03
                                                                                                                                                                                                                                                                                                                                WholeCRF

                                        1e+07




                                                                                                                                                                                                                                                                                                        Common Carp
                                        1e+05


                                        1e+03

                                        1e+07




                                                                                                                                                                                                                                                                                                        Other
                                        1e+05


                                        1e+03
                                                  1995

                                                         2000

                                                                2005

                                                                       2010

                                                                              2015


                                                                                     1995

                                                                                            2000

                                                                                                   2005

                                                                                                          2010

                                                                                                                 2015


                                                                                                                        1995

                                                                                                                               2000

                                                                                                                                      2005

                                                                                                                                             2010

                                                                                                                                                    2015


                                                                                                                                                           1995

                                                                                                                                                                  2000

                                                                                                                                                                         2005

                                                                                                                                                                                2010

                                                                                                                                                                                       2015


                                                                                                                                                                                              1995

                                                                                                                                                                                                     2000

                                                                                                                                                                                                            2005

                                                                                                                                                                                                                   2010

                                                                                                                                                                                                                          2015


                                                                                                                                                                                                                                 1995

                                                                                                                                                                                                                                        2000

                                                                                                                                                                                                                                               2005

                                                                                                                                                                                                                                                      2010

                                                                                                                                                                                                                                                             2015


                                                                                                                                                                                                                                                                    1995

                                                                                                                                                                                                                                                                            2000

                                                                                                                                                                                                                                                                                   2005

                                                                                                                                                                                                                                                                                          2010

                                                                                                                                                                                                                                                                                                 2015
                                                                                                                                                                     Year


                                                                                                                                                                                                                                                                                                                                                   000993
                                                                                                      Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24573 Page 277 of 314
                                                Figure 4B: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of year. Subset by the main species and river stretch, other species are grouped together.
                                                Non-detects assigned half DL.
                                                    AboveStateline                      AboveUpriver                      AboveMonroe                       AboveNinemile                       LakeSpokane                       AboveLittleFalls                     SpokaneArm
                                        1e+07




                                                                                                                                                                                                                                                                                                       Rainbow Trout
                                        1e+05


                                        1e+03




                                                                                                                                                                                                                                                                                                       Mountain Whitefish
                                        1e+07


                                        1e+05
tPCB concentration (ng/kg wet weight)




                                        1e+03

                                        1e+07
                                                                                                                                                                                                                                                                                                                            AnalysisType




                                                                                                                                                                                                                                                                                                       Crayfish
                                                                                                                                                                                                                                                                                                                               Sum Aroclors
                                        1e+05
                                                                                                                                                                                                                                                                                                                               Sum Congeners

                                        1e+03
                                                                                                                                                                                                                                                                                                                            TissueType
                                        1e+07                                                                                                                                                                                                                                                                                  Fillet, skin off
                                                                                                                                                                                                                                                                                                                               Fillet, skin on




                                                                                                                                                                                                                                                                                                       Sucker
                                        1e+05                                                                                                                                                                                                                                                                                  Muscle
                                                                                                                                                                                                                                                                                                                               Whole
                                        1e+03
                                                                                                                                                                                                                                                                                                                               WholeCRF

                                        1e+07




                                                                                                                                                                                                                                                                                                       Common Carp
                                        1e+05


                                        1e+03

                                        1e+07




                                                                                                                                                                                                                                                                                                       Other
                                        1e+05


                                        1e+03
                                                  1995

                                                         2000

                                                                2005

                                                                       2010

                                                                              2015


                                                                                     1995

                                                                                            2000

                                                                                                   2005

                                                                                                          2010

                                                                                                                 2015


                                                                                                                        1995

                                                                                                                               2000

                                                                                                                                      2005

                                                                                                                                             2010

                                                                                                                                                    2015


                                                                                                                                                           1995

                                                                                                                                                                  2000

                                                                                                                                                                         2005

                                                                                                                                                                                2010

                                                                                                                                                                                       2015


                                                                                                                                                                                              1995

                                                                                                                                                                                                     2000

                                                                                                                                                                                                            2005

                                                                                                                                                                                                                   2010

                                                                                                                                                                                                                          2015


                                                                                                                                                                                                                                 1995

                                                                                                                                                                                                                                        2000

                                                                                                                                                                                                                                               2005

                                                                                                                                                                                                                                                      2010

                                                                                                                                                                                                                                                             2015


                                                                                                                                                                                                                                                                    1995

                                                                                                                                                                                                                                                                           2000

                                                                                                                                                                                                                                                                                  2005

                                                                                                                                                                                                                                                                                         2010

                                                                                                                                                                                                                                                                                                2015
                                                                                                                                                                    Year


                                                                                                                                                                                                                                                                                                                                                  000994
                                                                                                      Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24574 Page 278 of 314
                                                Figure 4C: Total PCB concentrations in fish from the Spokane River (ng/kg wet weight) as a function of year. Subset by the main species and river stretch, other species are grouped together.
                                                Non-detects assigned full DL.
                                                    AboveStateline                      AboveUpriver                       AboveMonroe                       AboveNinemile                       LakeSpokane                       AboveLittleFalls                        SpokaneArm
                                        1e+07




                                                                                                                                                                                                                                                                                                        Rainbow Trout
                                        1e+05


                                        1e+03




                                                                                                                                                                                                                                                                                                        Mountain Whitefish
                                        1e+07


                                        1e+05
tPCB concentration (ng/kg wet weight)




                                        1e+03

                                        1e+07
                                                                                                                                                                                                                                                                                                                             AnalysisType




                                                                                                                                                                                                                                                                                                        Crayfish
                                                                                                                                                                                                                                                                                                                                Sum Aroclors
                                        1e+05
                                                                                                                                                                                                                                                                                                                                Sum Congeners

                                        1e+03
                                                                                                                                                                                                                                                                                                                             TissueType
                                        1e+07                                                                                                                                                                                                                                                                                   Fillet, skin off
                                                                                                                                                                                                                                                                                                                                Fillet, skin on




                                                                                                                                                                                                                                                                                                        Sucker
                                        1e+05                                                                                                                                                                                                                                                                                   Muscle
                                                                                                                                                                                                                                                                                                                                Whole
                                        1e+03
                                                                                                                                                                                                                                                                                                                                WholeCRF

                                        1e+07




                                                                                                                                                                                                                                                                                                        Common Carp
                                        1e+05


                                        1e+03

                                        1e+07




                                                                                                                                                                                                                                                                                                        Other
                                        1e+05


                                        1e+03
                                                  1995

                                                         2000

                                                                2005

                                                                       2010

                                                                              2015


                                                                                     1995

                                                                                            2000

                                                                                                   2005

                                                                                                          2010

                                                                                                                 2015


                                                                                                                        1995

                                                                                                                               2000

                                                                                                                                      2005

                                                                                                                                             2010

                                                                                                                                                    2015


                                                                                                                                                           1995

                                                                                                                                                                  2000

                                                                                                                                                                         2005

                                                                                                                                                                                2010

                                                                                                                                                                                       2015


                                                                                                                                                                                              1995

                                                                                                                                                                                                     2000

                                                                                                                                                                                                            2005

                                                                                                                                                                                                                   2010

                                                                                                                                                                                                                          2015


                                                                                                                                                                                                                                 1995

                                                                                                                                                                                                                                        2000

                                                                                                                                                                                                                                               2005

                                                                                                                                                                                                                                                      2010

                                                                                                                                                                                                                                                             2015


                                                                                                                                                                                                                                                                    1995

                                                                                                                                                                                                                                                                            2000

                                                                                                                                                                                                                                                                                   2005

                                                                                                                                                                                                                                                                                          2010

                                                                                                                                                                                                                                                                                                 2015
                                                                                                                                                                     Year


                                                                                                                                                                                                                                                                                                                                                   000995
                                                                                                 Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24575 Page 279 of 314
                                           Figure 4D: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of year. Subset by the main species and river stretch, other species are grouped together.
                                           Non-detects assigned zero.
                                               AboveStateline                      AboveUpriver                      AboveMonroe                       AboveNinemile                        LakeSpokane                      AboveLittleFalls                     SpokaneArm
                                   1e+09




                                                                                                                                                                                                                                                                                                  Rainbow Trout
                                   1e+07


                                   1e+05




                                                                                                                                                                                                                                                                                                  Mountain Whitefish
                                   1e+09


                                   1e+07


                                   1e+05
tPCB concentration (ng/kg lipid)




                                   1e+09
                                                                                                                                                                                                                                                                                                                       AnalysisType




                                                                                                                                                                                                                                                                                                  Crayfish
                                                                                                                                                                                                                                                                                                                          Sum Aroclors
                                   1e+07
                                                                                                                                                                                                                                                                                                                          Sum Congeners

                                   1e+05
                                                                                                                                                                                                                                                                                                                       TissueType
                                   1e+09                                                                                                                                                                                                                                                                                  Fillet, skin off
                                                                                                                                                                                                                                                                                                                          Fillet, skin on




                                                                                                                                                                                                                                                                                                  Sucker
                                   1e+07                                                                                                                                                                                                                                                                                  Muscle
                                                                                                                                                                                                                                                                                                                          Whole
                                   1e+05
                                                                                                                                                                                                                                                                                                                          WholeCRF

                                   1e+09




                                                                                                                                                                                                                                                                                                  Common Carp
                                   1e+07


                                   1e+05

                                   1e+09




                                                                                                                                                                                                                                                                                                  Other
                                   1e+07


                                   1e+05
                                             1995

                                                    2000

                                                           2005

                                                                  2010

                                                                         2015


                                                                                1995

                                                                                       2000

                                                                                              2005

                                                                                                     2010

                                                                                                            2015


                                                                                                                   1995

                                                                                                                          2000

                                                                                                                                 2005

                                                                                                                                        2010

                                                                                                                                               2015


                                                                                                                                                      1995

                                                                                                                                                             2000

                                                                                                                                                                    2005

                                                                                                                                                                           2010

                                                                                                                                                                                  2015


                                                                                                                                                                                         1995

                                                                                                                                                                                                2000

                                                                                                                                                                                                       2005

                                                                                                                                                                                                              2010

                                                                                                                                                                                                                     2015


                                                                                                                                                                                                                            1995

                                                                                                                                                                                                                                   2000

                                                                                                                                                                                                                                          2005

                                                                                                                                                                                                                                                 2010

                                                                                                                                                                                                                                                        2015


                                                                                                                                                                                                                                                               1995

                                                                                                                                                                                                                                                                      2000

                                                                                                                                                                                                                                                                             2005

                                                                                                                                                                                                                                                                                    2010

                                                                                                                                                                                                                                                                                           2015
                                                                                                                                                               Year


                                                                                                                                                                                                                                                                                                                                             000996
                                                                                                 Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24576 Page 280 of 314
                                           Figure 4E: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of year. Subset by the main species and river stretch, other species are grouped together.
                                           Non-detects assigned half DL.
                                               AboveStateline                      AboveUpriver                       AboveMonroe                       AboveNinemile                       LakeSpokane                       AboveLittleFalls                        SpokaneArm
                                   1e+09




                                                                                                                                                                                                                                                                                                   Rainbow Trout
                                   1e+07


                                   1e+05




                                                                                                                                                                                                                                                                                                   Mountain Whitefish
                                   1e+09


                                   1e+07


                                   1e+05
tPCB concentration (ng/kg lipid)




                                   1e+09
                                                                                                                                                                                                                                                                                                                        AnalysisType




                                                                                                                                                                                                                                                                                                   Crayfish
                                                                                                                                                                                                                                                                                                                           Sum Aroclors
                                   1e+07
                                                                                                                                                                                                                                                                                                                           Sum Congeners

                                   1e+05
                                                                                                                                                                                                                                                                                                                        TissueType
                                   1e+09                                                                                                                                                                                                                                                                                   Fillet, skin off
                                                                                                                                                                                                                                                                                                                           Fillet, skin on




                                                                                                                                                                                                                                                                                                   Sucker
                                   1e+07                                                                                                                                                                                                                                                                                   Muscle
                                                                                                                                                                                                                                                                                                                           Whole
                                   1e+05
                                                                                                                                                                                                                                                                                                                           WholeCRF

                                   1e+09




                                                                                                                                                                                                                                                                                                   Common Carp
                                   1e+07


                                   1e+05

                                   1e+09




                                                                                                                                                                                                                                                                                                   Other
                                   1e+07


                                   1e+05
                                             1995

                                                    2000

                                                           2005




                                                                                1995
                                                                  2010




                                                                                       2000




                                                                                                                                                             2000
                                                                         2015




                                                                                              2005




                                                                                                                   1995
                                                                                                     2010




                                                                                                                          2000
                                                                                                            2015




                                                                                                                                 2005




                                                                                                                                                      1995
                                                                                                                                        2010

                                                                                                                                               2015




                                                                                                                                                                    2005




                                                                                                                                                                                         1995
                                                                                                                                                                           2010




                                                                                                                                                                                                2000




                                                                                                                                                                                                                                   2000
                                                                                                                                                                                  2015




                                                                                                                                                                                                       2005




                                                                                                                                                                                                                            1995
                                                                                                                                                                                                              2010

                                                                                                                                                                                                                     2015




                                                                                                                                                                                                                                          2005




                                                                                                                                                                                                                                                               1995
                                                                                                                                                                                                                                                 2010




                                                                                                                                                                                                                                                                       2000
                                                                                                                                                                                                                                                        2015




                                                                                                                                                                                                                                                                              2005

                                                                                                                                                                                                                                                                                     2010

                                                                                                                                                                                                                                                                                            2015
                                                                                                                                                                Year


                                                                                                                                                                                                                                                                                                                                              000997
                                                                                                 Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24577 Page 281 of 314
                                           Figure 4F: Total PCB concentrations in fish from the Spokane River (ng/kg lipid) as a function of year. Subset by the main species and river stretch, other species are grouped together.
                                           Non-detects assigned full DL.
                                               AboveStateline                      AboveUpriver                      AboveMonroe                       AboveNinemile                        LakeSpokane                      AboveLittleFalls                     SpokaneArm
                                   1e+09




                                                                                                                                                                                                                                                                                                  Rainbow Trout
                                   1e+07


                                   1e+05




                                                                                                                                                                                                                                                                                                  Mountain Whitefish
                                   1e+09


                                   1e+07


                                   1e+05
tPCB concentration (ng/kg lipid)




                                   1e+09
                                                                                                                                                                                                                                                                                                                       AnalysisType




                                                                                                                                                                                                                                                                                                  Crayfish
                                                                                                                                                                                                                                                                                                                          Sum Aroclors
                                   1e+07
                                                                                                                                                                                                                                                                                                                          Sum Congeners

                                   1e+05
                                                                                                                                                                                                                                                                                                                       TissueType
                                   1e+09                                                                                                                                                                                                                                                                                  Fillet, skin off
                                                                                                                                                                                                                                                                                                                          Fillet, skin on




                                                                                                                                                                                                                                                                                                  Sucker
                                   1e+07                                                                                                                                                                                                                                                                                  Muscle
                                                                                                                                                                                                                                                                                                                          Whole
                                   1e+05
                                                                                                                                                                                                                                                                                                                          WholeCRF

                                   1e+09




                                                                                                                                                                                                                                                                                                  Common Carp
                                   1e+07


                                   1e+05

                                   1e+09




                                                                                                                                                                                                                                                                                                  Other
                                   1e+07


                                   1e+05
                                             1995

                                                    2000

                                                           2005

                                                                  2010

                                                                         2015


                                                                                1995

                                                                                       2000

                                                                                              2005

                                                                                                     2010

                                                                                                            2015


                                                                                                                   1995

                                                                                                                          2000

                                                                                                                                 2005

                                                                                                                                        2010

                                                                                                                                               2015


                                                                                                                                                      1995

                                                                                                                                                             2000

                                                                                                                                                                    2005

                                                                                                                                                                           2010

                                                                                                                                                                                  2015


                                                                                                                                                                                         1995

                                                                                                                                                                                                2000

                                                                                                                                                                                                       2005

                                                                                                                                                                                                              2010

                                                                                                                                                                                                                     2015


                                                                                                                                                                                                                            1995

                                                                                                                                                                                                                                   2000

                                                                                                                                                                                                                                          2005

                                                                                                                                                                                                                                                 2010

                                                                                                                                                                                                                                                        2015


                                                                                                                                                                                                                                                               1995

                                                                                                                                                                                                                                                                      2000

                                                                                                                                                                                                                                                                             2005

                                                                                                                                                                                                                                                                                    2010

                                                                                                                                                                                                                                                                                           2015
                                                                                                                                                               Year


                                                                                                                                                                                                                                                                                                                                             000998
                                                                                                     Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24578 Page 282 of 314
                                                 Figure 5A: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of river mile. Subset by year and depth category - surface and sub-surface.
                                                 Individual congener/Aroclor non-detects assigned zero.
                                                    1990          1992           1993          1994          2000          2003          2004           2008          2010          2013          2015          2016           2018



                                        1e+07




                                                                                                                                                                                                                                       surface
                                        1e+05
tPCB concentration (ng/kg dry weight)




                                                                                                                                                                                                                                                     DepthCategory
                                        1e+03                                                                                                                                                                                                           surface
                                                                                                                                                                                                                                                        sub−surface

                                                                                                                                                                                                                                                     AnalysisType
                                        1e+07
                                                                                                                                                                                                                                                        Sum Aroclors
                                                                                                                                                                                                                                                        Sum Congeners




                                                                                                                                                                                                                                       sub−surface
                                        1e+05




                                        1e+03



                                                100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25
                                                                                                                                      RiverMile



                                                                                                                                                                                                                                                                        000999
                                                                                                     Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24579 Page 283 of 314
                                                 Figure 5B: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of river mile. Subset by year and depth category - surface and sub-surface.
                                                 Individual congener/Aroclor non-detects assigned half DL.
                                                    1990           1992          1993          1994          2000          2003           2004          2008          2010          2013          2015           2016          2018



                                        1e+07




                                                                                                                                                                                                                                       surface
                                        1e+05
tPCB concentration (ng/kg dry weight)




                                                                                                                                                                                                                                                     DepthCategory
                                        1e+03                                                                                                                                                                                                           surface
                                                                                                                                                                                                                                                        sub−surface

                                                                                                                                                                                                                                                     AnalysisType
                                        1e+07
                                                                                                                                                                                                                                                        Sum Aroclors
                                                                                                                                                                                                                                                        Sum Congeners




                                                                                                                                                                                                                                       sub−surface
                                        1e+05




                                        1e+03



                                                100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25
                                                                                                                                      RiverMile



                                                                                                                                                                                                                                                                        001000
                                                                                                      Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24580 Page 284 of 314
                                                Figure 5C: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of river mile. Subset by year and depth category - surface and sub-surface.
                                                Individual congener/Aroclor non-detects assigned full DL.
                                                    1990          1992          1993          1994           2000          2003          2004          2008          2010           2013          2015          2016          2018



                                        1e+07




                                                                                                                                                                                                                                      surface
                                        1e+05
tPCB concentration (ng/kg dry weight)




                                                                                                                                                                                                                                                    DepthCategory
                                        1e+03                                                                                                                                                                                                          surface
                                                                                                                                                                                                                                                       sub−surface

                                                                                                                                                                                                                                                    AnalysisType
                                        1e+07
                                                                                                                                                                                                                                                       Sum Aroclors
                                                                                                                                                                                                                                                       Sum Congeners




                                                                                                                                                                                                                                      sub−surface
                                        1e+05




                                        1e+03



                                                100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25
                                                                                                                                      RiverMile



                                                                                                                                                                                                                                                                       001001
                                                                                             Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24581 Page 285 of 314
                                         Figure 5D: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of river mile. Subset by year and depth category - surface and sub-surface.
                                         Individual congener/Aroclor non-detects assigned zero.
                                            1990          1992           1993          1994          2000          2003          2004           2008          2010          2013          2015          2016           2018



                                1e+08




                                1e+07




                                                                                                                                                                                                                              surface
                                1e+06
tPCB concentration (ng/kg OC)




                                                                                                                                                                                                                                            DepthCategory
                                1e+05
                                                                                                                                                                                                                                               surface
                                                                                                                                                                                                                                               sub−surface

                                                                                                                                                                                                                                            AnalysisType
                                1e+08                                                                                                                                                                                                          Sum Aroclors
                                                                                                                                                                                                                                               Sum Congeners



                                1e+07




                                                                                                                                                                                                                              sub−surface
                                1e+06




                                1e+05



                                        100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25
                                                                                                                              RiverMile



                                                                                                                                                                                                                                                               001002
                                                                                              Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24582 Page 286 of 314
                                         Figure 5E: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of river mile. Subset by year and depth category - surface and sub-surface.
                                         Individual congener/Aroclor non-detects assigned half DL.
                                            1990           1992          1993          1994          2000          2003           2004          2008          2010          2013          2015           2016          2018



                                1e+08




                                1e+07




                                                                                                                                                                                                                              surface
                                1e+06
tPCB concentration (ng/kg OC)




                                                                                                                                                                                                                                            DepthCategory
                                1e+05
                                                                                                                                                                                                                                               surface
                                                                                                                                                                                                                                               sub−surface

                                                                                                                                                                                                                                            AnalysisType
                                1e+08                                                                                                                                                                                                          Sum Aroclors
                                                                                                                                                                                                                                               Sum Congeners



                                1e+07




                                                                                                                                                                                                                              sub−surface
                                1e+06




                                1e+05



                                        100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25
                                                                                                                              RiverMile



                                                                                                                                                                                                                                                               001003
                                                                                              Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24583 Page 287 of 314
                                         Figure 5F: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of river mile. Subset by year and depth category - surface and sub-surface.
                                         Individual congener/Aroclor non-detects assigned full DL.
                                            1990           1992          1993          1994          2000          2003           2004          2008          2010          2013          2015           2016          2018



                                1e+08




                                1e+07




                                                                                                                                                                                                                              surface
                                1e+06
tPCB concentration (ng/kg OC)




                                                                                                                                                                                                                                            DepthCategory
                                1e+05
                                                                                                                                                                                                                                               surface
                                                                                                                                                                                                                                               sub−surface

                                                                                                                                                                                                                                            AnalysisType
                                1e+08                                                                                                                                                                                                          Sum Aroclors
                                                                                                                                                                                                                                               Sum Congeners



                                1e+07




                                                                                                                                                                                                                              sub−surface
                                1e+06




                                1e+05



                                        100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25 100 75 50 25
                                                                                                                              RiverMile



                                                                                                                                                                                                                                                               001004
                                                                                                     Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24584 Page 288 of 314
                                                Figure 6A: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of river mile. Subset by decade and depth category - surface and sub-surface.
                                                Individual congener/Aroclor non-detects assigned zero.
                                                                           1990                                                         2000                                                          2010



                                        1e+07




                                                                                                                                                                                                                                        surface
                                        1e+05
tPCB concentration (ng/kg dry weight)




                                                                                                                                                                                                                                                      DepthCategory
                                        1e+03                                                                                                                                                                                                            surface
                                                                                                                                                                                                                                                         sub−surface

                                                                                                                                                                                                                                                      AnalysisType
                                        1e+07
                                                                                                                                                                                                                                                         Sum Aroclors
                                                                                                                                                                                                                                                         Sum Congeners




                                                                                                                                                                                                                                        sub−surface
                                        1e+05




                                        1e+03



                                                  100          80          60          40          20          100          80          60          40          20          100          80          60          40          20
                                                                                                                                     RiverMile



                                                                                                                                                                                                                                                                         001005
                                                                                                    Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24585 Page 289 of 314
                                                Figure 6B: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of river mile. Subset by decade and depth category - surface and sub-surface.
                                                Individual congener/Aroclor non-detects assigned half DL.
                                                                           1990                                                         2000                                                         2010



                                        1e+07




                                                                                                                                                                                                                                        surface
                                        1e+05
tPCB concentration (ng/kg dry weight)




                                                                                                                                                                                                                                                      DepthCategory
                                        1e+03                                                                                                                                                                                                            surface
                                                                                                                                                                                                                                                         sub−surface

                                                                                                                                                                                                                                                      AnalysisType
                                        1e+07
                                                                                                                                                                                                                                                         Sum Aroclors
                                                                                                                                                                                                                                                         Sum Congeners




                                                                                                                                                                                                                                        sub−surface
                                        1e+05




                                        1e+03



                                                  100          80          60          40          20          100          80          60          40          20          100          80          60          40          20
                                                                                                                                     RiverMile



                                                                                                                                                                                                                                                                         001006
                                                                                                     Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24586 Page 290 of 314
                                                Figure 6C: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of river mile. Subset by decade and depth category - surface and sub-surface.
                                                Individual congener/Aroclor non-detects assigned full DL.
                                                                           1990                                                         2000                                                          2010



                                        1e+07




                                                                                                                                                                                                                                        surface
                                        1e+05
tPCB concentration (ng/kg dry weight)




                                                                                                                                                                                                                                                      DepthCategory
                                        1e+03                                                                                                                                                                                                            surface
                                                                                                                                                                                                                                                         sub−surface

                                                                                                                                                                                                                                                      AnalysisType
                                        1e+07
                                                                                                                                                                                                                                                         Sum Aroclors
                                                                                                                                                                                                                                                         Sum Congeners




                                                                                                                                                                                                                                        sub−surface
                                        1e+05




                                        1e+03



                                                  100          80          60          40          20          100          80          60          40          20          100          80          60          40           20
                                                                                                                                     RiverMile



                                                                                                                                                                                                                                                                         001007
                                                                                            Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24587 Page 291 of 314
                                        Figure 6D: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of river mile. Subset by decade and depth category - surface and sub-surface.
                                        Individual congener/Aroclor non-detects assigned zero.
                                                                   1990                                                         2000                                                         2010



                                1e+08




                                1e+07




                                                                                                                                                                                                                             surface
                                1e+06
tPCB concentration (ng/kg OC)




                                                                                                                                                                                                                                           DepthCategory
                                1e+05
                                                                                                                                                                                                                                              surface
                                                                                                                                                                                                                                              sub−surface

                                                                                                                                                                                                                                           AnalysisType
                                1e+08                                                                                                                                                                                                         Sum Aroclors
                                                                                                                                                                                                                                              Sum Congeners



                                1e+07




                                                                                                                                                                                                                             sub−surface
                                1e+06




                                1e+05



                                          100          80          60          40          20          100          80          60          40          20          100          80          60          40             20
                                                                                                                             RiverMile



                                                                                                                                                                                                                                                              001008
                                                                                             Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24588 Page 292 of 314
                                        Figure 6E: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of river mile. Subset by decade and depth category - surface and sub-surface.
                                        Individual congener/Aroclor non-detects assigned half DL.
                                                                   1990                                                         2000                                                         2010



                                1e+08




                                1e+07




                                                                                                                                                                                                                             surface
                                1e+06
tPCB concentration (ng/kg OC)




                                                                                                                                                                                                                                           DepthCategory
                                1e+05
                                                                                                                                                                                                                                              surface
                                                                                                                                                                                                                                              sub−surface

                                                                                                                                                                                                                                           AnalysisType
                                1e+08                                                                                                                                                                                                         Sum Aroclors
                                                                                                                                                                                                                                              Sum Congeners



                                1e+07




                                                                                                                                                                                                                             sub−surface
                                1e+06




                                1e+05



                                          100          80          60          40          20          100          80          60          40          20          100          80          60          40             20
                                                                                                                             RiverMile



                                                                                                                                                                                                                                                              001009
                                                                                             Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24589 Page 293 of 314
                                        Figure 6F: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of river mile. Subset by decade and depth category - surface and sub-surface.
                                        Individual congener/Aroclor non-detects assigned full DL.
                                                                   1990                                                         2000                                                         2010



                                1e+08




                                1e+07




                                                                                                                                                                                                                             surface
                                1e+06
tPCB concentration (ng/kg OC)




                                                                                                                                                                                                                                           DepthCategory
                                1e+05
                                                                                                                                                                                                                                              surface
                                                                                                                                                                                                                                              sub−surface

                                                                                                                                                                                                                                           AnalysisType
                                1e+08                                                                                                                                                                                                         Sum Aroclors
                                                                                                                                                                                                                                              Sum Congeners



                                1e+07




                                                                                                                                                                                                                             sub−surface
                                1e+06




                                1e+05



                                          100          80          60          40          20          100          80          60          40          20          100          80          60          40             20
                                                                                                                             RiverMile



                                                                                                                                                                                                                                                              001010
                                                                                                       Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24590 Page 294 of 314
                                                 Figure 7A: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of year. Subset by river stretch and depth category - surface and sub-surface.
                                                 Individual congener/Aroclor non-detects assigned zero.
                                                         AboveStateline                             AboveUpriver                              AboveMonroe                              AboveNinemile                              LakeSpokane                              AboveLittleFalls                               SpokaneArm



                                        1e+07




                                                                                                                                                                                                                                                                                                                                                      surface
                                        1e+05
tPCB concentration (ng/kg dry weight)




                                                                                                                                                                                                                                                                                                                                                                    DepthCategory
                                        1e+03                                                                                                                                                                                                                                                                                                                          surface
                                                                                                                                                                                                                                                                                                                                                                       sub−surface

                                                                                                                                                                                                                                                                                                                                                                    AnalysisType
                                        1e+07
                                                                                                                                                                                                                                                                                                                                                                       Sum Aroclors
                                                                                                                                                                                                                                                                                                                                                                       Sum Congeners




                                                                                                                                                                                                                                                                                                                                                      sub−surface
                                        1e+05




                                        1e+03
                                                1990

                                                       1995

                                                              2000

                                                                     2005




                                                                                          1990




                                                                                                                                                                                                                                                                  1990
                                                                            2010




                                                                                                 1995




                                                                                                                                           1995




                                                                                                                                                                                                                                                                         1995
                                                                                   2015




                                                                                                        2000

                                                                                                               2005




                                                                                                                                    1990
                                                                                                                      2010

                                                                                                                             2015




                                                                                                                                                  2000

                                                                                                                                                         2005




                                                                                                                                                                              1990




                                                                                                                                                                                                                        1990
                                                                                                                                                                2010




                                                                                                                                                                                     1995
                                                                                                                                                                       2015




                                                                                                                                                                                            2000

                                                                                                                                                                                                   2005

                                                                                                                                                                                                          2010




                                                                                                                                                                                                                               1995
                                                                                                                                                                                                                 2015




                                                                                                                                                                                                                                      2000

                                                                                                                                                                                                                                             2005

                                                                                                                                                                                                                                                    2010

                                                                                                                                                                                                                                                           2015




                                                                                                                                                                                                                                                                                2000

                                                                                                                                                                                                                                                                                       2005




                                                                                                                                                                                                                                                                                                            1990
                                                                                                                                                                                                                                                                                              2010




                                                                                                                                                                                                                                                                                                                   1995
                                                                                                                                                                                                                                                                                                     2015




                                                                                                                                                                                                                                                                                                                          2000

                                                                                                                                                                                                                                                                                                                                 2005

                                                                                                                                                                                                                                                                                                                                        2010

                                                                                                                                                                                                                                                                                                                                               2015
                                                                                                                                                                                               Year



                                                                                                                                                                                                                                                                                                                                                                                       001011
                                                                                                     Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24591 Page 295 of 314
                                                 Figure 7B: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of year. Subset by river stretch and depth category - surface and sub-surface.
                                                 Individual congener/Aroclor non-detects assigned half DL.
                                                         AboveStateline                             AboveUpriver                              AboveMonroe                              AboveNinemile                              LakeSpokane                              AboveLittleFalls                               SpokaneArm



                                        1e+07




                                                                                                                                                                                                                                                                                                                                                       surface
                                        1e+05
tPCB concentration (ng/kg dry weight)




                                                                                                                                                                                                                                                                                                                                                                     DepthCategory
                                        1e+03                                                                                                                                                                                                                                                                                                                           surface
                                                                                                                                                                                                                                                                                                                                                                        sub−surface

                                                                                                                                                                                                                                                                                                                                                                     AnalysisType
                                        1e+07
                                                                                                                                                                                                                                                                                                                                                                        Sum Aroclors
                                                                                                                                                                                                                                                                                                                                                                        Sum Congeners




                                                                                                                                                                                                                                                                                                                                                       sub−surface
                                        1e+05




                                        1e+03




                                                                                                                                                                                                                                                                                                     2015
                                                1990

                                                       1995

                                                              2000

                                                                     2005

                                                                            2010

                                                                                   2015

                                                                                          1990

                                                                                                 1995

                                                                                                        2000

                                                                                                               2005

                                                                                                                      2010

                                                                                                                             2015

                                                                                                                                    1990

                                                                                                                                           1995

                                                                                                                                                  2000

                                                                                                                                                         2005

                                                                                                                                                                2010

                                                                                                                                                                       2015

                                                                                                                                                                              1990

                                                                                                                                                                                     1995

                                                                                                                                                                                            2000

                                                                                                                                                                                                   2005

                                                                                                                                                                                                          2010

                                                                                                                                                                                                                 2015

                                                                                                                                                                                                                        1990

                                                                                                                                                                                                                               1995

                                                                                                                                                                                                                                      2000

                                                                                                                                                                                                                                             2005

                                                                                                                                                                                                                                                    2010

                                                                                                                                                                                                                                                           2015

                                                                                                                                                                                                                                                                  1990

                                                                                                                                                                                                                                                                         1995

                                                                                                                                                                                                                                                                                2000

                                                                                                                                                                                                                                                                                       2005

                                                                                                                                                                                                                                                                                              2010



                                                                                                                                                                                                                                                                                                            1990

                                                                                                                                                                                                                                                                                                                   1995

                                                                                                                                                                                                                                                                                                                           2000

                                                                                                                                                                                                                                                                                                                                  2005

                                                                                                                                                                                                                                                                                                                                         2010

                                                                                                                                                                                                                                                                                                                                                2015
                                                                                                                                                                                               Year



                                                                                                                                                                                                                                                                                                                                                                                        001012
                                                                                                     Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24592 Page 296 of 314
                                                Figure 7C: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of year. Subset by river stretch and depth category - surface and sub-surface.
                                                Individual congener/Aroclor non-detects assigned full DL.
                                                         AboveStateline                             AboveUpriver                              AboveMonroe                              AboveNinemile                              LakeSpokane                              AboveLittleFalls                           SpokaneArm



                                        1e+07




                                                                                                                                                                                                                                                                                                                                                      surface
                                        1e+05
tPCB concentration (ng/kg dry weight)




                                                                                                                                                                                                                                                                                                                                                                    DepthCategory
                                        1e+03                                                                                                                                                                                                                                                                                                                          surface
                                                                                                                                                                                                                                                                                                                                                                       sub−surface

                                                                                                                                                                                                                                                                                                                                                                    AnalysisType
                                        1e+07
                                                                                                                                                                                                                                                                                                                                                                       Sum Aroclors
                                                                                                                                                                                                                                                                                                                                                                       Sum Congeners




                                                                                                                                                                                                                                                                                                                                                      sub−surface
                                        1e+05




                                        1e+03
                                                1990

                                                       1995

                                                              2000

                                                                     2005




                                                                                          1990




                                                                                                                                                                                                                                                                  1990
                                                                            2010




                                                                                                 1995




                                                                                                                                           1995




                                                                                                                                                                                                                                                                         1995
                                                                                   2015




                                                                                                        2000

                                                                                                               2005




                                                                                                                                    1990
                                                                                                                      2010

                                                                                                                             2015




                                                                                                                                                  2000

                                                                                                                                                         2005




                                                                                                                                                                              1990




                                                                                                                                                                                                                        1990
                                                                                                                                                                2010




                                                                                                                                                                                     1995
                                                                                                                                                                       2015




                                                                                                                                                                                            2000

                                                                                                                                                                                                   2005

                                                                                                                                                                                                          2010




                                                                                                                                                                                                                               1995
                                                                                                                                                                                                                 2015




                                                                                                                                                                                                                                      2000

                                                                                                                                                                                                                                             2005

                                                                                                                                                                                                                                                    2010

                                                                                                                                                                                                                                                           2015




                                                                                                                                                                                                                                                                                2000

                                                                                                                                                                                                                                                                                       2005




                                                                                                                                                                                                                                                                                                            1990
                                                                                                                                                                                                                                                                                              2010




                                                                                                                                                                                                                                                                                                                   1995
                                                                                                                                                                                                                                                                                                     2015




                                                                                                                                                                                                                                                                                                                          2000

                                                                                                                                                                                                                                                                                                                                 2005

                                                                                                                                                                                                                                                                                                                                        2010

                                                                                                                                                                                                                                                                                                                                               2015
                                                                                                                                                                                              Year



                                                                                                                                                                                                                                                                                                                                                                                       001013
                                                                                            Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24593 Page 297 of 314
                                        Figure 7D: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of year. Subset by river stretch and depth category - surface and sub-surface.
                                        Individual congener/Aroclor non-detects assigned zero.
                                                 AboveStateline                             AboveUpriver                              AboveMonroe                              AboveNinemile                              LakeSpokane                              AboveLittleFalls                           SpokaneArm



                                1e+08




                                1e+07




                                                                                                                                                                                                                                                                                                                                              surface
                                1e+06
tPCB concentration (ng/kg OC)




                                                                                                                                                                                                                                                                                                                                                            DepthCategory
                                1e+05                                                                                                                                                                                                                                                                                                                          surface
                                                                                                                                                                                                                                                                                                                                                               sub−surface

                                                                                                                                                                                                                                                                                                                                                            AnalysisType
                                1e+08                                                                                                                                                                                                                                                                                                                          Sum Aroclors
                                                                                                                                                                                                                                                                                                                                                               Sum Congeners



                                1e+07




                                                                                                                                                                                                                                                                                                                                              sub−surface
                                1e+06




                                1e+05
                                        1990

                                               1995

                                                      2000

                                                             2005

                                                                    2010

                                                                           2015

                                                                                  1990

                                                                                         1995

                                                                                                2000

                                                                                                       2005

                                                                                                              2010

                                                                                                                     2015

                                                                                                                            1990

                                                                                                                                   1995

                                                                                                                                          2000

                                                                                                                                                 2005

                                                                                                                                                        2010

                                                                                                                                                               2015

                                                                                                                                                                      1990

                                                                                                                                                                             1995

                                                                                                                                                                                    2000

                                                                                                                                                                                           2005

                                                                                                                                                                                                  2010

                                                                                                                                                                                                         2015

                                                                                                                                                                                                                1990

                                                                                                                                                                                                                       1995

                                                                                                                                                                                                                              2000

                                                                                                                                                                                                                                     2005

                                                                                                                                                                                                                                            2010

                                                                                                                                                                                                                                                   2015

                                                                                                                                                                                                                                                          1990

                                                                                                                                                                                                                                                                 1995

                                                                                                                                                                                                                                                                        2000

                                                                                                                                                                                                                                                                               2005

                                                                                                                                                                                                                                                                                      2010

                                                                                                                                                                                                                                                                                             2015

                                                                                                                                                                                                                                                                                                    1990

                                                                                                                                                                                                                                                                                                           1995

                                                                                                                                                                                                                                                                                                                  2000

                                                                                                                                                                                                                                                                                                                         2005

                                                                                                                                                                                                                                                                                                                                2010

                                                                                                                                                                                                                                                                                                                                       2015
                                                                                                                                                                                      Year



                                                                                                                                                                                                                                                                                                                                                                               001014
                                                                                             Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24594 Page 298 of 314
                                        Figure 7E: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of year. Subset by river stretch and depth category - surface and sub-surface.
                                        Individual congener/Aroclor non-detects assigned half DL.
                                                 AboveStateline                             AboveUpriver                              AboveMonroe                              AboveNinemile                              LakeSpokane                              AboveLittleFalls                           SpokaneArm



                                1e+08




                                1e+07




                                                                                                                                                                                                                                                                                                                                              surface
                                1e+06
tPCB concentration (ng/kg OC)




                                                                                                                                                                                                                                                                                                                                                            DepthCategory
                                1e+05                                                                                                                                                                                                                                                                                                                          surface
                                                                                                                                                                                                                                                                                                                                                               sub−surface

                                                                                                                                                                                                                                                                                                                                                            AnalysisType
                                1e+08                                                                                                                                                                                                                                                                                                                          Sum Aroclors
                                                                                                                                                                                                                                                                                                                                                               Sum Congeners



                                1e+07




                                                                                                                                                                                                                                                                                                                                              sub−surface
                                1e+06




                                1e+05
                                        1990
                                               1995
                                                      2000
                                                             2005
                                                                    2010



                                                                                  1990
                                                                           2015



                                                                                         1995
                                                                                                2000
                                                                                                       2005




                                                                                                                            1990
                                                                                                              2010




                                                                                                                                   1995




                                                                                                                                                                                                                                                                 1995
                                                                                                                     2015




                                                                                                                                          2000
                                                                                                                                                 2005




                                                                                                                                                                      1990
                                                                                                                                                        2010




                                                                                                                                                                             1995
                                                                                                                                                               2015




                                                                                                                                                                                    2000
                                                                                                                                                                                           2005
                                                                                                                                                                                                  2010



                                                                                                                                                                                                                1990
                                                                                                                                                                                                         2015



                                                                                                                                                                                                                       1995
                                                                                                                                                                                                                              2000
                                                                                                                                                                                                                                     2005
                                                                                                                                                                                                                                            2010



                                                                                                                                                                                                                                                          1990
                                                                                                                                                                                                                                                   2015




                                                                                                                                                                                                                                                                        2000
                                                                                                                                                                                                                                                                               2005




                                                                                                                                                                                                                                                                                                    1990
                                                                                                                                                                                                                                                                                      2010




                                                                                                                                                                                                                                                                                                           1995
                                                                                                                                                                                                                                                                                             2015




                                                                                                                                                                                                                                                                                                                  2000
                                                                                                                                                                                                                                                                                                                         2005
                                                                                                                                                                                                                                                                                                                                2010
                                                                                                                                                                                                                                                                                                                                       2015
                                                                                                                                                                                      Year



                                                                                                                                                                                                                                                                                                                                                                               001015
                                                                                             Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24595 Page 299 of 314
                                        Figure 7F: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of year. Subset by river stretch and depth category - surface and sub-surface.
                                        Individual congener/Aroclor non-detects assigned full DL.
                                                 AboveStateline                             AboveUpriver                              AboveMonroe                              AboveNinemile                              LakeSpokane                             AboveLittleFalls                            SpokaneArm



                                1e+08




                                1e+07




                                                                                                                                                                                                                                                                                                                                              surface
                                1e+06
tPCB concentration (ng/kg OC)




                                                                                                                                                                                                                                                                                                                                                            DepthCategory
                                1e+05                                                                                                                                                                                                                                                                                                                          surface
                                                                                                                                                                                                                                                                                                                                                               sub−surface

                                                                                                                                                                                                                                                                                                                                                            AnalysisType
                                1e+08                                                                                                                                                                                                                                                                                                                          Sum Aroclors
                                                                                                                                                                                                                                                                                                                                                               Sum Congeners



                                1e+07




                                                                                                                                                                                                                                                                                                                                              sub−surface
                                1e+06




                                1e+05
                                        1990
                                               1995
                                                      2000
                                                             2005




                                                                                  1990
                                                                    2010




                                                                                                                                   1995
                                                                           2015




                                                                                         1995
                                                                                                2000
                                                                                                       2005




                                                                                                                            1990
                                                                                                              2010
                                                                                                                     2015




                                                                                                                                          2000
                                                                                                                                                 2005
                                                                                                                                                        2010
                                                                                                                                                               2015


                                                                                                                                                                      1990
                                                                                                                                                                             1995
                                                                                                                                                                                    2000
                                                                                                                                                                                           2005
                                                                                                                                                                                                  2010




                                                                                                                                                                                                                1990
                                                                                                                                                                                                                       1995
                                                                                                                                                                                                         2015




                                                                                                                                                                                                                              2000
                                                                                                                                                                                                                                     2005




                                                                                                                                                                                                                                                          1990
                                                                                                                                                                                                                                            2010
                                                                                                                                                                                                                                                   2015




                                                                                                                                                                                                                                                                 1995
                                                                                                                                                                                                                                                                        2000
                                                                                                                                                                                                                                                                               2005




                                                                                                                                                                                                                                                                                                    1990
                                                                                                                                                                                                                                                                                      2010




                                                                                                                                                                                                                                                                                                           1995
                                                                                                                                                                                                                                                                                             2015




                                                                                                                                                                                                                                                                                                                  2000
                                                                                                                                                                                                                                                                                                                         2005
                                                                                                                                                                                                                                                                                                                                2010
                                                                                                                                                                                                                                                                                                                                       2015
                                                                                                                                                                                      Year



                                                                                                                                                                                                                                                                                                                                                                               001016
                                                                                                    Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24596 Page 300 of 314
                                                Figure 8A: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of river stretch. Subset by key time periods (2000s and 2010s).
                                                Individual congener/Aroclor non-detects assigned zero.
                                                                                             2000                                                                                         2010




                                        1e+06
tPCB concentration (ng/kg dry weight)




                                        1e+05




                                                                                                                                                                                                                                           AnalysisType




                                                                                                                                                                                                                                 surface
                                                                                                                                                                                                                                              Sum Aroclors
                                                                                                                                                                                                                                              Sum Congeners


                                        1e+04




                                        1e+03
                                                            r




                                                                              e




                                                                                             ne




                                                                                                                  ls




                                                                                                                                                        r




                                                                                                                                                                          e




                                                                                                                                                                                           ne




                                                                                                                                                                                                              ls
                                                                                                                               rm




                                                                                                                                                                                                                            m
                                                         ive




                                                                                                                                                     ive
                                                                           ro




                                                                                                                                                                       ro
                                                                                                                 l




                                                                                                                                                                                                             l




                                                                                                                                                                                                                            Ar
                                                                                                              Fa




                                                                                                                                                                                                          Fa
                                                                                            ka




                                                                                                                                                                                          ka
                                                                                                                              eA
                                                                          on




                                                                                                                                                                   on
                                                      pr




                                                                                                                                                  pr




                                                                                                                                                                                                                          ne
                                                                                                             le




                                                                                                                                                                                                         le
                                                                                        po




                                                                                                                                                                                     po
                                                                                                                            an
                                                     U




                                                                                                                                                 U
                                                                      M




                                                                                                                                                                  eM
                                                                                                         itt




                                                                                                                                                                                                      itt




                                                                                                                                                                                                                        a
                                                     e




                                                                                                                                                 e
                                                                                        S




                                                                                                                                                                                      S
                                                                      e




                                                                                                                         ok




                                                                                                                                                                                                                     ok
                                                                                                        eL




                                                                                                                                                                                                    eL
                                                   ov




                                                                                                                                               ov
                                                                    ov




                                                                                                                                                                ov
                                                                                     ke




                                                                                                                                                                                   ke
                                                                                                                       Sp




                                                                                                                                                                                                                   Sp
                                                                                                      ov




                                                                                                                                                                                                  ov
                                                 Ab




                                                                                                                                             Ab
                                                                  Ab




                                                                                                                                                              Ab
                                                                                   La




                                                                                                                                                                                La
                                                                                                    Ab




                                                                                                                                                                                                 Ab
                                                                                                                                    RiverStretch



                                                                                                                                                                                                                                                              001017
                                                                                                     Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24597 Page 301 of 314
                                                Figure 8B: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of river stretch. Subset by key time periods (2000s and 2010s).
                                                Individual congener/Aroclor non-detects assigned half DL.
                                                                                             2000                                                                                         2010




                                        1e+06
tPCB concentration (ng/kg dry weight)




                                        1e+05




                                                                                                                                                                                                                                           AnalysisType




                                                                                                                                                                                                                                 surface
                                                                                                                                                                                                                                              Sum Aroclors
                                                                                                                                                                                                                                              Sum Congeners


                                        1e+04




                                        1e+03
                                                            r




                                                                              e




                                                                                             ne




                                                                                                                  ls




                                                                                                                                                        r




                                                                                                                                                                          e




                                                                                                                                                                                           ne




                                                                                                                                                                                                              ls
                                                                                                                               rm




                                                                                                                                                                                                                            m
                                                         ive




                                                                                                                                                     ive
                                                                           ro




                                                                                                                                                                       ro
                                                                                                                 l




                                                                                                                                                                                                             l




                                                                                                                                                                                                                            Ar
                                                                                                              Fa




                                                                                                                                                                                                          Fa
                                                                                            ka




                                                                                                                                                                                          ka
                                                                                                                              eA
                                                                          on




                                                                                                                                                                   on
                                                      pr




                                                                                                                                                  pr




                                                                                                                                                                                                                          ne
                                                                                                             le




                                                                                                                                                                                                         le
                                                                                        po




                                                                                                                                                                                     po
                                                                                                                            an
                                                     U




                                                                                                                                                 U
                                                                      M




                                                                                                                                                                  eM
                                                                                                         itt




                                                                                                                                                                                                      itt




                                                                                                                                                                                                                        a
                                                     e




                                                                                                                                                 e
                                                                                        S




                                                                                                                                                                                      S
                                                                      e




                                                                                                                         ok




                                                                                                                                                                                                                     ok
                                                                                                        eL




                                                                                                                                                                                                    eL
                                                   ov




                                                                                                                                               ov
                                                                    ov




                                                                                                                                                                ov
                                                                                     ke




                                                                                                                                                                                   ke
                                                                                                                       Sp




                                                                                                                                                                                                                   Sp
                                                                                                      ov




                                                                                                                                                                                                  ov
                                                 Ab




                                                                                                                                             Ab
                                                                  Ab




                                                                                                                                                              Ab
                                                                                   La




                                                                                                                                                                                La
                                                                                                    Ab




                                                                                                                                                                                                 Ab
                                                                                                                                    RiverStretch



                                                                                                                                                                                                                                                              001018
                                                                                                     Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24598 Page 302 of 314
                                                Figure 8C: Total PCB concentrations in sediment from the Spokane River (ng/kg dry weight) as a function of river stretch. Subset by key time periods (2000s and 2010s).
                                                Individual congener/Aroclor non-detects assigned full DL.
                                                                                             2000                                                                                         2010




                                        1e+06
tPCB concentration (ng/kg dry weight)




                                        1e+05




                                                                                                                                                                                                                                           AnalysisType




                                                                                                                                                                                                                                 surface
                                                                                                                                                                                                                                              Sum Aroclors
                                                                                                                                                                                                                                              Sum Congeners


                                        1e+04




                                        1e+03
                                                            r




                                                                              e




                                                                                             ne




                                                                                                                  ls




                                                                                                                                                        r




                                                                                                                                                                          e




                                                                                                                                                                                           ne




                                                                                                                                                                                                              ls
                                                                                                                               rm




                                                                                                                                                                                                                            m
                                                         ive




                                                                                                                                                     ive
                                                                           ro




                                                                                                                                                                       ro
                                                                                                                 l




                                                                                                                                                                                                             l




                                                                                                                                                                                                                            Ar
                                                                                                              Fa




                                                                                                                                                                                                          Fa
                                                                                            ka




                                                                                                                                                                                          ka
                                                                                                                              eA
                                                                          on




                                                                                                                                                                   on
                                                      pr




                                                                                                                                                  pr




                                                                                                                                                                                                                          ne
                                                                                                             le




                                                                                                                                                                                                         le
                                                                                        po




                                                                                                                                                                                     po
                                                                                                                            an
                                                     U




                                                                                                                                                 U
                                                                      M




                                                                                                                                                                  eM
                                                                                                         itt




                                                                                                                                                                                                      itt




                                                                                                                                                                                                                        a
                                                     e




                                                                                                                                                 e
                                                                                        S




                                                                                                                                                                                      S
                                                                      e




                                                                                                                         ok




                                                                                                                                                                                                                     ok
                                                                                                        eL




                                                                                                                                                                                                    eL
                                                   ov




                                                                                                                                               ov
                                                                    ov




                                                                                                                                                                ov
                                                                                     ke




                                                                                                                                                                                   ke
                                                                                                                       Sp




                                                                                                                                                                                                                   Sp
                                                                                                      ov




                                                                                                                                                                                                  ov
                                                 Ab




                                                                                                                                             Ab
                                                                  Ab




                                                                                                                                                              Ab
                                                                                   La




                                                                                                                                                                                La
                                                                                                    Ab




                                                                                                                                                                                                 Ab
                                                                                                                                    RiverStretch



                                                                                                                                                                                                                                                              001019
                                                                                            Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24599 Page 303 of 314
                                        Figure 8D: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of river stretch. Subset by key time periods (2000s and 2010s).
                                        Individual congener/Aroclor non-detects assigned zero.
                                                                                    2000                                                                                         2010




                                1e+08
tPCB concentration (ng/kg OC)




                                1e+07




                                                                                                                                                                                                                                AnalysisType




                                                                                                                                                                                                                      surface
                                                                                                                                                                                                                                   Sum Aroclors
                                                                                                                                                                                                                                   Sum Congeners


                                1e+06




                                1e+05
                                                   r




                                                                      e




                                                                                     ne




                                                                                                         ls




                                                                                                                                                r




                                                                                                                                                                 e




                                                                                                                                                                                  ne




                                                                                                                                                                                                     ls
                                                                                                                       rm




                                                                                                                                                                                                                  m
                                                ive




                                                                                                                                             ive
                                                                   ro




                                                                                                                                                              ro
                                                                                                        l




                                                                                                                                                                                                    l




                                                                                                                                                                                                                 Ar
                                                                                                     Fa




                                                                                                                                                                                                 Fa
                                                                                    ka




                                                                                                                                                                                 ka
                                                                                                                      eA
                                                                  on




                                                                                                                                                           on
                                              pr




                                                                                                                                          pr




                                                                                                                                                                                                               ne
                                                                                                    le




                                                                                                                                                                                                le
                                                                               po




                                                                                                                                                                            po
                                                                                                                    an
                                            U




                                                                                                                                         U
                                                              M




                                                                                                                                                         eM
                                                                                                 itt




                                                                                                                                                                                             itt




                                                                                                                                                                                                              a
                                            e




                                                                                                                                        e
                                                                                S




                                                                                                                                                                             S
                                                              e




                                                                                                                ok




                                                                                                                                                                                                           ok
                                                                                               eL




                                                                                                                                                                                           eL
                                          ov




                                                                                                                                      ov
                                                            ov




                                                                                                                                                       ov
                                                                             ke




                                                                                                                                                                          ke
                                                                                                               Sp




                                                                                                                                                                                                          Sp
                                                                                             ov




                                                                                                                                                                                         ov
                                        Ab




                                                                                                                                    Ab
                                                          Ab




                                                                                                                                                      Ab
                                                                           La




                                                                                                                                                                       La
                                                                                            Ab




                                                                                                                                                                                        Ab
                                                                                                                            RiverStretch



                                                                                                                                                                                                                                                   001020
                                                                                             Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24600 Page 304 of 314
                                        Figure 8E: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of river stretch. Subset by key time periods (2000s and 2010s).
                                        Individual congener/Aroclor non-detects assigned half DL.
                                                                                     2000                                                                                         2010




                                1e+08
tPCB concentration (ng/kg OC)




                                1e+07




                                                                                                                                                                                                                                 AnalysisType




                                                                                                                                                                                                                       surface
                                                                                                                                                                                                                                    Sum Aroclors
                                                                                                                                                                                                                                    Sum Congeners


                                1e+06




                                1e+05
                                                    r




                                                                      e




                                                                                      ne




                                                                                                          ls




                                                                                                                                                r




                                                                                                                                                                  e




                                                                                                                                                                                   ne




                                                                                                                                                                                                      ls
                                                                                                                       rm




                                                                                                                                                                                                                   m
                                                 ive




                                                                                                                                             ive
                                                                   ro




                                                                                                                                                               ro
                                                                                                         l




                                                                                                                                                                                                     l




                                                                                                                                                                                                                  Ar
                                                                                                      Fa




                                                                                                                                                                                                  Fa
                                                                                     ka




                                                                                                                                                                                  ka
                                                                                                                      eA
                                                                  on




                                                                                                                                                           on
                                              pr




                                                                                                                                          pr




                                                                                                                                                                                                                ne
                                                                                                     le




                                                                                                                                                                                                 le
                                                                                po




                                                                                                                                                                             po
                                                                                                                    an
                                             U




                                                                                                                                         U
                                                              M




                                                                                                                                                          eM
                                                                                                 itt




                                                                                                                                                                                              itt




                                                                                                                                                                                                               a
                                             e




                                                                                                                                         e
                                                                                 S




                                                                                                                                                                              S
                                                              e




                                                                                                                 ok




                                                                                                                                                                                                            ok
                                                                                                eL




                                                                                                                                                                                            eL
                                           ov




                                                                                                                                       ov
                                                            ov




                                                                                                                                                        ov
                                                                              ke




                                                                                                                                                                           ke
                                                                                                               Sp




                                                                                                                                                                                                           Sp
                                                                                              ov




                                                                                                                                                                                          ov
                                         Ab




                                                                                                                                     Ab
                                                          Ab




                                                                                                                                                      Ab
                                                                            La




                                                                                                                                                                        La
                                                                                            Ab




                                                                                                                                                                                         Ab
                                                                                                                            RiverStretch



                                                                                                                                                                                                                                                    001021
                                                                                             Case 2:15-cv-00201-SMJ ECF No. 423 filed 01/29/20 PageID.24601 Page 305 of 314
                                        Figure 8F: Total PCB concentrations in sediment from the Spokane River (ng/kg OC) as a function of river stretch. Subset by key time periods (2000s and 2010s).
                                        Individual congener/Aroclor non-detects assigned full DL.
                                                                                     2000                                                                                         2010




                                1e+08
tPCB concentration (ng/kg OC)




                                1e+07




                                                                                                                                                                                                                                 AnalysisType




                                                                                                                                                                                                                       surface
                                                                                                                                                                                                                                    Sum Aroclors
                                                                                                                                                                                                                                    Sum Congeners


                                1e+06




                                1e+05
                                                    r




                                                                      e




                                                                                     ne




                                                                                                         ls




                                                                                                                                                r




                                                                                                                                                                  e




                                                                                                                                                                                   ne




                                                                                                                                                                                                      ls
                                                                                                                       rm




                                                                                                                                                                                                                   m
                                                 ive




                                                                                                                                             ive
                                                                   ro




                                                                                                                                                               ro
                                                                                                        l




                                                                                                                                                                                                     l




                                                                                                                                                                                                                  Ar
                                                                                                     Fa




                                                                                                                                                                                                  Fa
                                                                                    ka




                                                                                                                                                                                  ka
                                                                                                                      eA
                                                                  on




                                                                                                                                                           on
                                              pr




                                                                                                                                          pr




                                                                                                                                                                                                                ne
                                                                                                    le




                                                                                                                                                                                                 le
                                                                                po




                                                                                                                                                                             po
                                                                                                                    an
                                             U




                                                                                                                                         U
                                                              M




                                                                                                                                                          eM
                                                                                                 itt




                                                                                                                                                                                              itt




                                                                                                                                                                                                               a
                                             e




                                                                                                                                         e
                                                                                S




                                                                                                                                                                              S
                                                              e




                                                                                                                 ok




                                                                                                                                                                                                            ok
                                                                                               eL




                                                                                                                                                                                            eL
                                           ov




                                                                                                                                       ov
                                                            ov




                                                                                                                                                        ov
                                                                             ke




                                                                                                                                                                           ke
                                                                                                               Sp




                                                                                                                                                                                                           Sp
                                                                                             ov




                                                                                                                                                                                          ov
                                         Ab




                                                                                                                                     Ab
                                                          Ab




                                                                                                                                                      Ab
                                                                           La




                                                                                                                                                                        La
                                                                                            Ab




                                                                                                                                                                                         Ab
                                                                                                                            RiverStretch



                                                                                                                                                                                                                                                    001022
                                                                                          Case 2:15-cv-00201-SMJ         ECF No. 423      filed 01/29/20   PageID.24602 Page 306 of 314

                                     Figure 9: Total PCB 3xblank censored concentrations in surface water from the Spokane River (ng/L) as a function of River Mile. Subset by year, showing all detection limit treatments.
                                                                 2000                                                           2003                                                           2012

                            10.000




                             0.100




                             0.001




                                                                 2013                                                           2014                                                           2015

                            10.000
tPCB concentration (ng/L)




                                                                                                                                                                                                                               LimitType
                                                                                                                                                                                                                                  Full
                                                                                                                                                                                                                                  Half
                             0.100                                                                                                                                                                                                Zero

                                                                                                                                                                                                                               AnalysisType
                                                                                                                                                                                                                                  Sum Aroclors
                             0.001
                                                                                                                                                                                                                                  Sum Congeners


                                                                 2016                                                           2017                                                           2018

                            10.000




                             0.100




                             0.001



                                             100                75                50                         100               75                50                         100               75                50
                                                                                                                             RiverMile



                                                                                                                                                                                                                                                  001023
                                                                                          Case 2:15-cv-00201-SMJ           ECF No. 423        filed 01/29/20   PageID.24603 Page 307 of 314

                                     Figure 10: Total PCB 3xblank censored concentrations in surface water from the Spokane River (ng/L) as a function of year. Subset by river stretch, showing all detection limit treatments.
                                                              AboveStateline                                                   AboveUpriver                                                     AboveMonroe



                            10.000




                             0.100




                             0.001
tPCB concentration (ng/L)




                                                                                                                                                                                                                                   LimitType
                                                                                                                                                                                                                                      Full
                                                                                                                                                                                                                                      Half
                                                                                                                                                                                                                                      Zero
                                                              AboveNinemile                                                    LakeSpokane                                                     AboveLittleFalls

                                                                                                                                                                                                                                   AnalysisType
                            10.000
                                                                                                                                                                                                                                      Sum Aroclors
                                                                                                                                                                                                                                      Sum Congeners




                             0.100




                             0.001




                                 2000              2005            2010            2015             2000            2005            2010              2015           2000           2005             2010            2015
                                                                                                                                  Date



                                                                                                                                                                                                                                                      001024
                                                                                                     Case 2:15-cv-00201-SMJ         ECF No. 423      filed 01/29/20   PageID.24604 Page 308 of 314

                                                Figure 11A: Total PCB concentrations in suspended sediment from the Spokane River (ng/kg dry weight) as a function of river mile. Subset by year, showing all detection limit treatments.
                                                            2003                           2012                            2013                           2015                            2016                           2017




                                        47000
tPCB concentration (ng/kg dry weight)




                                        29000                                                                                                                                                                                               LimitType
                                                                                                                                                                                                                                               Full
                                                                                                                                                                                                                                               Half
                                                                                                                                                                                                                                               Zero

                                                                                                                                                                                                                                            AnalysisType
                                        18000                                                                                                                                                                                                  Sum Congeners




                                        11000




                                                     80       60       40            80       60       40           80       60       40           80        60       40           80       60       40           80       60        40
                                                                                                                                       RiverMile



                                                                                                                                                                                                                                                               001025
                                                                                             Case 2:15-cv-00201-SMJ         ECF No. 423        filed 01/29/20   PageID.24605 Page 309 of 314

                                         Figure 11B: Total PCB concentrations in suspended sediment from the Spokane River (ng/kg OC) as a function of river mile. Subset by year, showing all detection limit treatments
                                                        2012                                 2013                                  2015                                 2016                                  2017


                                350000




                                220000
tPCB concentration (ng/kg OC)




                                                                                                                                                                                                                                 LimitType
                                                                                                                                                                                                                                    Full
                                                                                                                                                                                                                                    Half
                                                                                                                                                                                                                                    Zero

                                                                                                                                                                                                                                 AnalysisType
                                                                                                                                                                                                                                    Sum Congeners


                                130000




                                81000


                                         80     70     60      50    40       80     70     60      50    40        80     70     60      50     40        80    70    60      50    40        80    70     60       50     40
                                                                                                                                RiverMile



                                                                                                                                                                                                                                                    001026
                                                                                                       Case 2:15-cv-00201-SMJ       ECF No. 423       filed 01/29/20   PageID.24606 Page 310 of 314

                                                Figure 12A: Total PCB concentrations in suspended sediment from the Spokane River (ng/kg dry weight) as a function of year. Subset by river stretch, showing all detection limit treatments.
                                                                        AboveUpriver                                                  AboveNinemile                                                  AboveLittleFalls




                                        47000
tPCB concentration (ng/kg dry weight)




                                        29000
                                                                                                                                                                                                                                               LimitType
                                                                                                                                                                                                                                                  Full
                                                                                                                                                                                                                                                  Half
                                                                                                                                                                                                                                                  Zero

                                                                                                                                                                                                                                               AnalysisType
                                        18000                                                                                                                                                                                                     Sum Congeners




                                        11000
                                                          2005




                                                                             2010




                                                                                                2015




                                                                                                                         2005




                                                                                                                                            2010




                                                                                                                                                               2015




                                                                                                                                                                                        2005




                                                                                                                                                                                                           2010




                                                                                                                                                                                                                              2015
                                                                                                                                          Year



                                                                                                                                                                                                                                                                  001027
                                                                                              Case 2:15-cv-00201-SMJ        ECF No. 423       filed 01/29/20   PageID.24607 Page 311 of 314

                                         Figure 12B: Total PCB concentrations in suspended sediment from the Spokane River (ng/kg OC) as a function of year. Subset by river stretch, showing all detection limit treatments.
                                                                 AboveUpriver                                                 AboveNinemile                                                  AboveLittleFalls


                                350000




                                220000
tPCB concentration (ng/kg OC)




                                                                                                                                                                                                                                LimitType
                                                                                                                                                                                                                                   Full
                                                                                                                                                                                                                                   Half
                                                                                                                                                                                                                                   Zero

                                                                                                                                                                                                                                AnalysisType
                                                                                                                                                                                                                                   Sum Congeners


                                130000




                                 81000
                                                    2005




                                                                      2010




                                                                                       2015




                                                                                                                   2005




                                                                                                                                    2010




                                                                                                                                                      2015




                                                                                                                                                                                 2005




                                                                                                                                                                                                   2010




                                                                                                                                                                                                                    2015
                                                                                                                                   Year



                                                                                                                                                                                                                                                   001028
                                                                                                      Case 2:15-cv-00201-SMJ        ECF No. 423      filed 01/29/20    PageID.24608 Page 312 of 314

                                                Figure 13A: Total PCB concentrations in biofilm and invertebrates from the Spokane River (ng/kg wet weight) as a function of river mile. Subset by year, showing all detection limit treatments.
                                                                                                                                         2018




                                        1e+05




                                                                                                                                                                                                                                         Biofilm
                                        1e+04
tPCB concentration (ng/kg wet weight)




                                        1e+03


                                                                                                                                                                                                                                                        LimitType
                                                                                                                                                                                                                                                           Full
                                        1e+02                                                                                                                                                                                                              Half
                                                                                                                                                                                                                                                           Zero

                                                                                                                                                                                                                                                        AnalysisType
                                                                                                                                                                                                                                                           Sum Congeners
                                        1e+05




                                                                                                                                                                                                                                         Invertebrate
                                        1e+04




                                        1e+03




                                        1e+02
                                                                  60




                                                                                                              70




                                                                                                                                                         80




                                                                                                                                                                                                     90
                                                                                                                                      RiverMile



                                                                                                                                                                                                                                                                           001029
                                                                                                 Case 2:15-cv-00201-SMJ         ECF No. 423       filed 01/29/20    PageID.24609 Page 313 of 314

                                           Figure 13B: Total PCB concentrations in biofilm and invertebrates from the Spokane River (ng/kg lipid) as a function of river mile. Subset by year, showing all detection limit treatments.
                                                                                                                                     2018



                                   1e+08




                                   1e+07




                                                                                                                                                                                                                                         Biofilm
                                   1e+06
tPCB concentration (ng/kg lipid)




                                                                                                                                                                                                                                                        LimitType
                                   1e+05
                                                                                                                                                                                                                                                           Full
                                                                                                                                                                                                                                                           Half
                                                                                                                                                                                                                                                           Zero

                                   1e+08                                                                                                                                                                                                                AnalysisType
                                                                                                                                                                                                                                                           Sum Congeners



                                   1e+07




                                                                                                                                                                                                                                         Invertebrate
                                   1e+06




                                   1e+05
                                                             60




                                                                                                        70




                                                                                                                                                    80




                                                                                                                                                                                               90
                                                                                                                                  RiverMile



                                                                                                                                                                                                                                                                           001030
                                                                                              Case 2:15-cv-00201-SMJ         ECF No. 423      filed 01/29/20    PageID.24610 Page 314 of 314

                                        Figure 13C: Total PCB concentrations in biofilm from the Spokane River (ng/kg OC) as a function of river mile. Subset by year, showing all detection limit treatments.
                                                                                                                                  2018


                                1e+07




                                1e+06
tPCB concentration (ng/kg OC)




                                                                                                                                                                                                                           LimitType
                                                                                                                                                                                                                              Full
                                1e+05                                                                                                                                                                                         Half




                                                                                                                                                                                                                 Biofilm
                                                                                                                                                                                                                              Zero

                                                                                                                                                                                                                           AnalysisType
                                                                                                                                                                                                                              Sum Congeners



                                1e+04




                                1e+03
                                                          60




                                                                                                     70




                                                                                                                                                80




                                                                                                                                                                                            90
                                                                                                                               RiverMile



                                                                                                                                                                                                                                              001031
